Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 1 of 391 Page ID
                                 #:16601                                       1


     1                        UNITED STATES OF AMERICA

     2                      UNITED STATES DISTRICT COURT

     3                    CENTRAL DISTRICT OF CALIFORNIA

     4                             WESTERN DIVISION

     5

     6                                    - - -

     7                    HONORABLE CONSUELO B. MARSHALL,

     8               UNITED STATES DISTRICT JUDGE PRESIDING

     9                                    - - -

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         GLOBEFILL INCORPORATED, a     )
    12   Canadian corporation          )
                                       )           CERTIFIED COPY
    13               PLAINTIFF,        )
                                       )           CV 10-2034 CBM
    14   VS.                           )
                                       )
    15   ELEMENTS SPIRITS, INC., a     )
         California corporation, and   )
    16   KIM BRANDI, an individual,    )
                                       )
    17               DEFENDANTS.       )
         ______________________________)
    18

    19                            TRIAL DAY FIVE
                       REPORTER'S TRANSCRIPT OF PROCEEDINGS
    20                       THURSDAY, MARCH 23, 2017
                                    A.M. SESSION
    21                        LOS ANGELES, CALIFORNIA

    22

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Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 2 of 391 Page ID
                                 #:16602                                       2


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Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 3 of 391 Page ID
                                 #:16603                                           3


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                                   I N D       E X
     3   WITNESS                 DIRECT       CROSS           REDIRECT   RECROSS
         MARMOL, Raul              24          48                86
     4   ISAACSON, Bruce           93         144               192
         ALVAREZ, Jorge            201        212
     5   AYKROYD, Daniel           212        276,331           332
                               E X H I        B I T       S
     6                           NUMBER        PAGE
                                 689            16
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Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 4 of 391 Page ID
                                 #:16604                                          4


     1   LOS ANGELES, CALIFORNIA; THURSDAY, MARCH 23, 2017

     2                               A.M. SESSION

     3

     4

     5                  THE CLERK:      CV 10-2034-CBM:      Globefill

     6   Incorporated versus Elements Spirits, Incorporated, et

     7   al.

     8                  Counsel, state your appearance.

     9                  MS. BIVENS:      Zenobia Harris Bivens for the

    10   plaintiffs.

    11                  THE COURT:      Good morning.

    12                  MS. BIVENS:      Good morning, your Honor.

    13                  MR. VERA:     Good morning, your Honor.          Hernan

    14   Vera for the plaintiffs.

    15                  THE COURT:      Good morning.

    16                  MS. KIM:     Good morning, your Honor.          Jenny

    17   Kim for the plaintiffs.

    18                  THE COURT:      Good morning.

    19                  MR. HUMMEL:      Good morning, your Honor.

    20   Keith Hummel for Elements Spirits.

    21                  With me is Nathan Denning and Rebecca

    22   Rettig.     And I think Mr. Rafferty is outside.

    23                  THE COURT:      Good morning.

    24                  MR. MILLER:      Good morning, your Honor.         Jon

    25   Miller for Kim Brandi.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 5 of 391 Page ID
                                 #:16605                                          5


     1                  THE COURT:      Good morning.

     2                  So the record reflects that we are outside

     3   the presence of the jury just in case there are some

     4   things that need to be discussed before we put the jury

     5   in the box.

     6                  So my staff reported at first there was

     7   nothing to be discussed.         But then there was a question

     8   about a deposition that I believe is to be played

     9   tomorrow.

    10                  So I am hoping it is not that deposition --

    11   that 250-page deposition where the designated portions

    12   were given to me yesterday with the objections, because

    13   I have not read that.        And probably will not read it

    14   until this evening.        So after today's session.

    15                  Law clerk has taken a look at it.            But, of

    16   course, I have to read it as well.            So I just haven't

    17   done that work.

    18                  So I am curious about that.          Maybe it is a

    19   different deposition and I don't need to be concerned.

    20                  MR. VERA:     Good morning, Your Honor.          Hernan

    21   Vera for the plaintiff.

    22                  No.    Your Honor, we are talking about that

    23   deposition.      But we can postpone the discussion until

    24   Your Honor has had a chance.

    25                  What we wanted to avoid was a ruling on that
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 6 of 391 Page ID
                                 #:16606                                       6


     1   without the opportunity addressing the points that's

     2   important deposition and the issue of La Tilica is very

     3   important.     And so we wanted and asked for in our joint

     4   submission the opportunity to have oral argument, brief

     5   oral argument on that issue before the Court rules.

     6                  So Your Honor would like to do that tomorrow

     7   morning, that's fine as well.           Or we can present the

     8   arguments now and you read it with that in mind;

     9   however, Your Honor wishes.

    10                  THE COURT:      No.   I think I need to read it

    11   first.    Because to hear the arguments on something that

    12   I haven't read probably I wouldn't follow it as well.

    13                  MR. VERA:     Okay.

    14                  THE COURT:      This is a question I have been

    15   asking since day one:        When you plan to present that

    16   testimony?     So it would have been good for me to have

    17   known that much earlier so that I could have been

    18   prepared and would not disrupt your case.

    19                  But is it a witness being called by the

    20   plaintiffs or the defendants?           And maybe being called by

    21   both.

    22                  MR. HUMMEL:      That is an interesting

    23   question, Your Honor.        Keith Hummel.

    24                  Mr. Escarcega was only disclosed on our

    25   witness list.      There's a dispute between the parties --
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 7 of 391 Page ID
                                 #:16607                                       7


     1   or was a dispute between the parties about whether

     2   Globefill could add Mr. Escarcega to their list.                The

     3   way this was resolved was we put both sets of

     4   designations together and agreed to play it in our case.

     5                  So I did receive word from Mr. Berg

     6   yesterday that plaintiffs will rest after Mr. Aykroyd.

     7                  And then we will play Mr. Escarcega.             I

     8   would -- I'm not entirely sure of the timing, but we

     9   would expect to play Mr. Escarcega if there is time on

    10   Friday.     And if not, then Mr. Escarcega's deposition

    11   would be played on Tuesday.

    12                  THE COURT:      All right.     That's helpful then

    13   in terms of when the Court should meet with the parties

    14   for purposes of argument.

    15                  I probably will not read that deposition

    16   until this evening.        I expect to be busy with you during

    17   the course of the day.         If we finish early today, then

    18   I'll start reading it sometime this afternoon.

    19                  So in order for -- to hear the argument and

    20   the Court to rule, say tomorrow morning, how much time

    21   are we talking about?        So how much time would you want

    22   to present the arguments to be made before the Court

    23   rules?

    24                  MR. VERA:     I would just need five minutes,

    25   your Honor, just to highlight some of the issues.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 8 of 391 Page ID
                                 #:16608                                             8


     1                  THE COURT:      Okay.    And then for the defense,

     2   about the same amount of time?

     3                  MR. HUMMEL:      About the amount of time.

     4                  THE COURT:      What we could do is probably

     5   have written rulings.        Not anything fancy, but you know,

     6   just a piece of paper that says "sustained, overruled,"

     7   that kind of thing.

     8                  And I may give that to you in writing.                But

     9   I wouldn't want to do that before I heard the arguments.

    10                  So I would probably be prepared to do this

    11   tomorrow morning.       Maybe we could meet -- have you been

    12   able to come into the building at 7:00?

    13                  MR. HUMMEL:      Yes, Your Honor.

    14                  THE COURT:      So maybe we could plan 7:00

    15   tomorrow morning.       That would permit you to argue.              It

    16   would permit the Court to give you the rulings.                And

    17   then you would still have time to set up to play the

    18   deposition.      Now maybe it won't be played tomorrow.               You

    19   may want to play it even Tuesday morning.              But at least

    20   you'll have time.       Because you'll need to take out

    21   portions that the Court is not allowing.              And so you

    22   need time to do that work.

    23                  So I think this probably will not be not be

    24   done tomorrow, probably going to be done on Tuesday, the

    25   actual playing.       But tomorrow we can -- the Court can
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 9 of 391 Page ID
                                 #:16609                                            9


     1   hear the arguments.        The Court can give you the rulings.

     2   You have the weekend to do whatever needs to be done to

     3   the video itself.       And then it could be played on

     4   Tuesday morning.

     5                  Does that seem to work?

     6                  MR. VERA:     That works for plaintiff, Your

     7   Honor.

     8                  THE COURT:      Does that work for the

     9   defendant?

    10                  MR. HUMMEL:      It works fine, your Honor.            In

    11   fact, given the wonders of modern technology we may be

    12   able to adjust that deposition during the day if we have

    13   the rulings in the morning.

    14                  THE COURT:      So then I want to raise

    15   tomorrow's session -- excuse me.            So I do plan to recess

    16   at 12:00 tomorrow.        So our session will be a little bit

    17   shorter than usual.

    18                  So I don't know if we'll finish all of

    19   Mr. Aykroyd's testimony tomorrow or not.              But you

    20   probably have a better handle on that.             So if you

    21   finish, then the plaintiff may be resting tomorrow, and

    22   then everything is fine.

    23                  But I raise it because I don't know if there

    24   is a witness that you plan to call tomorrow that you

    25   were concerned if we recess at 12:00 that that witness
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 10 of 391 Page ID
                                 #:16610                                          10


     1    may be inconvenienced.

     2                   MR. BERG:     Your Honor, good morning.         I

     3    think we probably will get to Dan Aykroyd's testimony

     4    today.    I don't think we can finish it today if we shut

     5    down at 2:00.      But we will certainly -- I anticipate an

     6    hour on direct at the most, if that helps Your Honor

     7    figure out the schedule.

     8                   THE COURT:     Yes, it does.      So we would

     9    actually be recessing tomorrow at 12:00.

    10                   MR. BERG:     And then what about today?

    11                   THE COURT:     Today we can work as long as

    12    everybody wants to.

    13                   MR. BERG:     I want to work until 2:00.            If

    14    that's -- if you would relieve me of the necessity for

    15    filing a motion for afternoon naps, Your Honor.

    16                   THE COURT:     Don't need to file that motion.

    17                   Typically we would be working the five hours

    18    and recessing the jury.         But to accommodates a witness,

    19    if we needed to work longer, then I would just advise

    20    the jury of that.       Unless someone, you know, has made

    21    plans to do something that just does not permit them to

    22    stay longer.      We could stay longer.

    23                   So today is not a problem.          Tomorrow --

    24    typically Friday is my travel day.            And generally my

    25    flights are at around 2:30.          So to make that, I need to
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 11 of 391 Page ID
                                 #:16611                                        11


     1    be here about 12:30.        And so I've arranged for that

     2    transportation.      So today, not a problem.

     3                   MR. BERG:     Thank you, Your Honor.

     4                   MR. HUMMEL:      Your Honor, if -- Keith Hummel

     5    again.    If we end at 2:00 today, that's fine.             I think

     6    we have a witness that has to go tomorrow.              But we'll

     7    have enough time if we go 8:00 to 12:00 based on what I

     8    anticipate with Mr. Aykroyd, and that witness.

     9                   That witness also will be called by video

    10    conferencing.      He is one of our experts who's

    11    unfortunately in New York also on call for another

    12    trial.    So --

    13                   But the four hours, until 2:00 o'clock

    14    today, and the four hours tomorrow, will be enough to

    15    get that witness on.

    16                   THE COURT:     And I've indicated you can call

    17    witnesses out of order if you need to.             But if it's a

    18    witness appearing by video, usually those are the

    19    witnesses that can fill in while we are waiting for the

    20    live witness to either arrive or to accommodate that

    21    witness' convenience.        So I'm sure you will work it out.

    22                   We will have a technician in the courtroom

    23    this morning.      I understand he is coming about 8:00.

    24    Just in case there's anything going on with the

    25    equipment on our side, we will have someone here to take
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 12 of 391 Page ID
                                 #:16612                                        12


     1    care of that.

     2                   When I checked, just before I entered the

     3    courtroom, we didn't have many jurors here.              So much so

     4    that it caused me to say to my staff:            Did I miss

     5    something?     Is today not a session?         So they're usually

     6    here pretty early.       But today we can meet and talk about

     7    things until such time as the jury is here.

     8                   Is there something else that you wanted to

     9    raise with the Court that you are concerned that may

    10    come up today?

    11                   MR. HUMMEL:      Your Honor, I don't think there

    12    is anything from the side of Elements.             I don't know if

    13    Mr. Miller has anything.

    14                   THE COURT:     Mr. Miller.

    15                   MR. MILLER:      No.

    16                   THE COURT:     Plaintiff have something that

    17    you're concerned may come up?

    18                   MR. VERA:     We just have a question, Your

    19    Honor.    We have a lengthier proffer that might take as

    20    much as ten minutes.        Not for today.      But on the

    21    trademark issue, we wanted to ask from the Court, does

    22    the Court prefer that we do that on Tuesday or after the

    23    case is submitted?       Not sure when.       But it will include

    24    some documents, and at least about ten minutes of

    25    proffer on that.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 13 of 391 Page ID
                                 #:16613                                        13


     1                   THE COURT:     Proffer for?

     2                   MR. VERA:     On the trademark issues.         Just

     3    for the record.

     4                   THE COURT:     Oh, okay.     You can do it any

     5    time.    I will let you just decide when you're ready to

     6    make that proffer.

     7                   MR. VERA:     Okay.    Thank you.

     8                   MR. RAFFERTY:      Your Honor, Tom Rafferty for

     9    Elements.

    10                   To the extent that they're going to make a

    11    proffer on the trademarks, then we will also want to

    12    make a proffer, not only on the trademarks, but on the

    13    copyrights that were excluded in connection with the

    14    motions in limine.

    15                   We can do that at the same time at the

    16    Court's convenience.

    17                   THE COURT:     So I would just suggest, parties

    18    meet and confer and decide best time to make the

    19    proffer.

    20                   So if it is a proffer just to preserve the

    21    record, I will let you decide when you wish to put it on

    22    the record.     That's fine.

    23                   MR. VERA:     Thank you, Your Honor.

    24                   MR. RAFFERTY:      One last housekeeping thing.

    25    And we can do this later.         We had a discussion after
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 14 of 391 Page ID
                                 #:16614                                        14


     1    Court on Tuesday about the -- our issue with the Court

     2    instructing the jury on instructions.            And I think we

     3    have reached an agreement on one of the model -- the

     4    Ninth Circuit model rules for jury instructions.               And

     5    we'll submit that with the jury instructions.

     6                   THE COURT:     This is an instruction that

     7    you'd like to have me give to the jury as soon as

     8    possible rather than waiting to give it at the end?

     9                   MR. RAFFERTY:      I think we'd like to have it

    10    done at the end now.        I mean, the witnesses are largely

    11    over.    And so -- from -- the issues that rose were

    12    objections during Kim Brandi's testimony and some

    13    earlier testimony.       So I think we can wait until the

    14    end.    But we would just like to have the instruction

    15    given so the jury is not confused by it.

    16                   THE COURT:     If it's a model instruction, I

    17    probably already know it, and would probably just give

    18    it -- I think it's better to give it sooner than later

    19    if it pertains to a witness' testimony.

    20                   The chances are that it will be more fresh

    21    in their minds now than it will be at the end whenever

    22    the end is.

    23                   So which instruction is it?

    24                   MR. RAFFERTY:      We filed a -- we put in a

    25    filing last night, Your Honor.          It's instruction
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 15 of 391 Page ID
                                 #:16615                                        15


     1    No. 1.13.

     2                   THE COURT:     Okay.     And if you give it to the

     3    clerk, I can take a look.

     4                   And the plaintiffs have seen it?

     5                   MR. FAY:     Yes, we have, Your Honor.         We

     6    agreed that this would be the instruction to give.

     7                   THE COURT:     So this is an instruction that I

     8    even read to the jury as a part of the preliminary

     9    instruction and would always read it at the end.

    10                   So I can certainly read it now.           But if you

    11    prefer the Court just including it in the packet of

    12    instructions that the Court will read at the end, that's

    13    fine too.

    14                   MR. RAFFERTY:      Either way is fine.

    15                   THE COURT:     It's a standard instruction that

    16    the Court would always give.

    17                   MR. RAFFERTY:      Thank you, Your Honor.

    18                   THE COURT:     Yes.

    19                   MS. BIVENS:      Your Honor, this is a very

    20    minor issue, but just for the record.            Exhibit 689 was

    21    listed as one of the exhibits that would be used with

    22    the witness, I believe Mr. Aykroyd.            And the defendants

    23    said they had no objection.           But we got sidetracked and

    24    it was never deemed admitted.

    25                   THE COURT:     Why don't we deem it admitted
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 16 of 391 Page ID
                                 #:16616                                        16


     1    now.   Exhibit 689 is deemed admitted.

     2                   (EXHIBIT 689 WAS ADMITTED.)

     3                   MS. BIVENS:      Thank you, your Honor.

     4                   THE COURT:     Anything else?       If not, I'll

     5    leave the bench and we'll just wait for the jury to

     6    arrive.

     7                   MR. HUMMEL:      I don't mean to delay the

     8    proceedings, but since we have a minute.

     9                   THE COURT:     No.

    10                   MR. HUMMEL:      Your Honor, is there a

    11    particular time that the Court has in mind to discuss

    12    the jury instructions and the verdict form, just for

    13    planning purposes?

    14                   THE COURT:     I don't have a particular time

    15    in mind.    But we are working on the jury instructions

    16    and the verdict form.        So what I will be doing is giving

    17    the parties a set of the proposed -- Court's proposed

    18    instructions and verdict form.          And that is what we will

    19    use to settle the instructions.

    20                   So I will get that to you certainly by

    21    tomorrow.     Maybe even today.       And you will have time to

    22    read it over.

    23                   Basically the way that I like to do it is,

    24    once you have the set that the Court proposes -- and it

    25    would include some of those that you've offered.               To the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 17 of 391 Page ID
                                 #:16617                                             17


     1    extent that you are not in agreement, I will have

     2    selected the one that I think is the appropriate one to

     3    give.    I may include some that you've not included.                 So

     4    I would give each side an opportunity to raise any

     5    objections to the Court's proposed instructions.

     6                   At that time, if I have not included an

     7    instruction that you think should be included, you would

     8    also ask the Court to include that particular

     9    instruction.

    10                   So that's how we go about the settling of

    11    the instructions.       So I would use probably one

    12    afternoon.     So if we give them to you tomorrow, maybe

    13    Tuesday afternoon, after the jury is excused would be

    14    the time that we would be discussing them.

    15                   MR. HUMMEL:      Thank you, Your Honor.

    16                   THE COURT:     And then how -- what is the time

    17    estimate for the defendants' case once you actually

    18    start your case?

    19                   MR. HUMMEL:      Right, Your Honor.       So I think

    20    I didn't anticipate the short day on Friday.              But I'm

    21    recalculating in my head.         I think we will take the day

    22    on Tuesday and I think the morning on Wednesday and then

    23    I would rest, Your Honor, at that point.

    24                   THE COURT:     And then there may be rebuttal

    25    for the plaintiffs.       And if there is, I assume, based on
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 18 of 391 Page ID
                                 #:16618                                        18


     1    this schedule, probably be Wednesday afternoon or

     2    Thursday morning.       If there is no rebuttal, and if we

     3    settle the instructions, then I would expect you to be

     4    prepared to argue once the jury has heard all the

     5    evidence in the case.

     6                   You also need some time to go through the

     7    exhibits to make sure that all of the exhibits that you

     8    think have been admitted in fact have.             So you will be

     9    working with the clerk to do that.            But that can be done

    10    any time with the clerk after the session.

    11                   And because there's a number of exhibits, it

    12    may be helpful to the jury if we have a -- not only a

    13    list of exhibits, because the clerk will give them that,

    14    but some description that would be meaningful.               So the

    15    number and some description that would be meaningful,

    16    just to help the jury find the exhibits once they are

    17    deliberating.

    18                   So those who are working on exhibits may

    19    want to keep that in mind.         You would meet and confer

    20    and just agree what that is going to look like.               Keeping

    21    in mind the whole purpose is to be of assistance to the

    22    jury when you have lots of exhibits.

    23                   MR. HUMMEL:      Your Honor, I started doing

    24    that myself because I can't keep track of all the

    25    numbers either.      So it would be helpful.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 19 of 391 Page ID
                                 #:16619                                          19


     1                   THE COURT:     I do that.      We occasionally do

     2    have jurors ask for some assistance on the numbers and

     3    whatever it is that they are looking for.

     4                   So the question I thought that you would all

     5    be asking is how much time are you going to have for

     6    your arguments?

     7                   MR. HUMMEL:      That is my next question.

     8    That's why I'm still standing here.            At the risk of

     9    wearing out my welcome, Your Honor thought about timing

    10    for closings.

    11                   THE COURT:     I usually start with letting you

    12    tell me how much time you think you need.             And then if

    13    it's reasonable, I'll usually give it to you.               If I

    14    think it's not reasonable, then I will --

    15                   MR. HUMMEL:      Then I'm going to let Mr. Berg

    16    go first.

    17                   THE COURT:     It never gets increased.         No one

    18    ever has:     It's too short.      It's always too long.           So

    19    Mr. Berg.

    20                   MR. BERG:     Our argument would -- in total

    21    would be about an hour, I would think.

    22                   THE COURT:     Including your argument after

    23    the defendants have had an opportunity to address the

    24    jury, right?

    25                   MR. BERG:     To be fair -- to be safe, are we
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 20 of 391 Page ID
                                 #:16620                                        20


     1    going to go held to this strictly, your Honor because I

     2    have a --

     3                   THE COURT:     Pretty much.      Not at this

     4    moment.     So I am asking just to get an idea for

     5    planning.     But at some point, I will ask you again, and

     6    then you will be held to that.

     7                   MR. BERG:     I would say at this point an hour

     8    to an hour and 15 minutes, including the rebuttal.

     9                   Will that work for you guys?

    10                   MR. HUMMEL:      I would love to have an hour

    11    and 15 minutes, Your Honor.          That would be fine.

    12                   THE COURT:     Including --

    13                   MR. HUMMEL:      Try to take less.

    14                   THE COURT:     Including Mr. Miller's argument?

    15                   MR. MILLER:      I don't need a lot of time,

    16    Your Honor.     Maybe ten minutes.        But what I don't want

    17    to be doing is worrying that Mr. Hummel is going to take

    18    up the time and I get one minute left.

    19                   THE COURT:     Well, why don't you go first.

    20    That's an idea, then you don't have to worry.

    21                   MR. HUMMEL:      Then use all my time up.

    22                   MR. MILLER:      I won't belong.      Maybe ten

    23    minutes.

    24                   THE COURT:     I would say hour and 15 minutes

    25    per side.     So that does include Mr. Miller.           So you do
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 21 of 391 Page ID
                                 #:16621                                        21


     1    need to meet and confer to discuss.

     2                   I think two hours and a half of argument,

     3    assuming that you use that amount of time, is too long.

     4                   But if that's the time that you are

     5    requesting, I will give it to you.            So just keep in

     6    mind, it's one voice addressing the jury for an hour.

     7    That is a long time.

     8                   But you're experienced.         And you'll decide

     9    how much time you need to do this.            But, yes, each side

    10    can have an hour and a 15 minutes.

    11                   MR. BERG:     If I can have a moment with

    12    Mr. Hummel, we may resolve an issue that I don't need to

    13    burden the Court with.

    14                   THE COURT:     Okay.

    15                   MR. BERG:     Your Honor, Mr. Hummel and I will

    16    work out this issue.

    17                   THE COURT:     Good.    Looks like our jurors are

    18    all here.     And the technician is here.

    19                   Do you need a short break?

    20                   MR. BERG:     There will be a different team at

    21    our counsel table, your Honor.

    22                   THE COURT:     All right.      Fine with the clerk.

    23                   The video is going to be the first thing we

    24    are going to do, testimony by video.

    25                   What's the time estimate for that?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 22 of 391 Page ID
                                 #:16622                                         22


     1                   MR. FAY:     Yes, your Honor.       I think we said

     2    45 minutes for our side.

     3                   THE COURT:     And about the same for --

     4                   MR. HUMMEL:      Yes.   I will try to do it in

     5    less.    But I tend to draw it on.

     6                   THE COURT:     Just one final question.

     7    Mr. Miller, when I was asking about the time estimate

     8    for the defense, did you feel like your -- the time that

     9    you were going to need was included in that time

    10    estimate?     What day would the defense expect to rest?

    11                   MR. MILLER:      Oh, yes.    My time is included

    12    in that.

    13                   THE COURT:     Your time is included.         Anybody

    14    need a break before the clerk brings the jury in?

    15                   MR. BERG:     Please, Your Honor.

    16                   THE COURT:     All right.      Let's take a short

    17    break.

    18                   THE CLERK:     Please rise.

    19                   THE COURT:     You may be excused.        I am just

    20    going to sit here.

    21                   (BREAK TAKEN.)

    22                   (JURY ENTERS COURTROOM.)

    23                   THE CLERK:     You may be seated.

    24                   Counsel, call your next witness.

    25                   MR. FAY:     Yes.   Thank you.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 23 of 391 Page ID
                                 #:16623                                         23


     1                   Michael Fay for Globefill would like to call

     2    our next witness, Mr. Raul Marmol.

     3                   THE COURT:     I would just indicate to the

     4    jurors, as you can see, the witness is going to be

     5    testifying by video conferencing.           So the witness is in

     6    a different location, not here in the courthouse.                But

     7    we'll be able to hear the questions that are being asked

     8    here in the courtroom.        And you will hear the responses

     9    being given just as if the witness was actually here in

    10    the courtroom.

    11                   So -- that is the way we will be proceeding

    12    with this witness.        And his testimony would be treated

    13    like any other witness.         So all of the things that are

    14    important to you as you listen to witnesses' testimony

    15    so you can judge credibility, those are all the things

    16    you would be considering for this witness just as you

    17    would consider for any other witness.

    18                   Counsel may proceed.

    19                   MR. FAY:     Thank you.     Should we swear the

    20    witness, Your Honor.

    21                   THE CLERK:     Mr. Marmol, could you please

    22    raise your right hand.

    23                                    RAUL MARMOL

    24                        Called as a witness herein, having been

    25    first duly sworn on oath, was examined and testified as
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 24 of 391 Page ID
                                 #:16624                                            24


     1    follows:

     2                     THE WITNESS:        I do.

     3                     THE CLERK:     Please state and spell your name

     4    for the record.

     5                     THE WITNESS:        Raul Marmol, R-A-U-L,

     6    M-A-R-M-O-L.

     7                             DIRECT EXAMINATION

     8    BY MR. FAY:

     9        Q.   Good morning, Mr. Marmol.

    10        A.   Good morning.

    11        Q.   Please introduce yourself to the jury.

    12        A.   Good morning.        Yes.     My name is Raul Marmol.        I

    13    am a partner at Plus Consulting Corporation.

    14        Q.   And where is that located?           Where are you right

    15    now, Mr. Marmol?

    16        A.   I am in Miami, Florida.

    17        Q.   What is the business of Plus Consulting?

    18        A.   Plus Consulting is a group that provides

    19    consulting services to the beverage industry, beverage

    20    alcohol industry primarily, in the spirits and wine

    21    categories.

    22        Q.   Okay.

    23        A.   Yes.     We provide basically three types of

    24    services.       The first service is start-up companies,

    25    those are small companies that are beginning to market
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 25 of 391 Page ID
                                 #:16625                                        25


     1    their products or brands that come from overseas that

     2    want to enter the U.S. market.

     3                     The second part of our practice is to

     4    provide strategic advice to larger corporations.               And we

     5    do that on a project basis.          Our largest client today is

     6    the Gallo Wine Company who is not only -- which is not

     7    only the largest wine company in the world, but it's

     8    also an increasingly important distilled spirits player.

     9                     And finally, we do our own projects.          We

    10    successfully created an organic sangria and took it to

    11    market and were able to sell it to a major wine company

    12    after 18 months.

    13                     We are currently exploring some

    14    opportunities in the domestic Whisky market.

    15        Q.   So part of what Plus Consulting does is launch

    16    new spirits into the beverage industry?

    17        A.   Yes.

    18        Q.   And what is your position at Plus Consulting?

    19        A.   I am a partner.

    20        Q.   Are you a founding partner?

    21        A.   Yes, I am.

    22        Q.   Okay.     And for how long have you been working at

    23    Plus Consulting?

    24        A.   For ten years.

    25        Q.   Prior to your employment and your partnership at
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 26 of 391 Page ID
                                 #:16626                                        26


     1    Plus Consulting, were you involved in the beverage

     2    alcohol industry?

     3        A.    Yes.    I have been involved in the beverage

     4    alcohol business all my professional life.              I started in

     5    1978 working as a marketing trainee in an import company

     6    called W.A. Taylor & Company.          I spent 13 years there.

     7    And when I left, I was director of marketing.

     8        Q.    Okay.

     9        A.    And the company -- yes.       Yes, sir.

    10        Q.    As directed or the marketing at W.A. Taylor, what

    11    was your responsibilities?

    12        A.    I was responsible for all aspects of the

    13    marketing mix.       At that time it was primarily

    14    advertising, sales promotion, PR, pricing and packaging.

    15              And at that point, the whole digital and social

    16    media did not exist.

    17        Q.    And what are some of the brands that you were

    18    responsible for at W.A. Taylor?

    19        A.    The flagship brand of the company was Courvoisier

    20    Cognac.     We also sold Cutty Sark Scotch, Maker's Mark

    21    Whisky and Drambuie Liquer, among others.

    22        Q.    I believe you mentioned that you were at W.A.

    23    Taylor for 13 years.

    24              What did you do after that?

    25        A.    I left W.A. Taylor and joined Bacardi U.S.A.,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 27 of 391 Page ID
                                 #:16627                                        27


     1    which was at the time the second largest spirits company

     2    in the U.S.

     3             I spent another 15 years there.           My final

     4    position was senior vice president and chief marketing

     5    officer.

     6        Q.   Why don't you explain to the jury some of the

     7    responsibilities you had as senior vice president and

     8    chief marketing officer at Bacardi.

     9        A.   Well, I was, of course, in -- responsible for all

    10    aspects of marketing again.          That was the

    11    communication's strategy, the advertising, the

    12    packaging, the research, the pricing, the public

    13    relations and the on-premise programming for the entire

    14    portfolio of brands.        In addition to that, I was also

    15    charged with developing the company's overall strategic

    16    plan.

    17        Q.   And did you have -- did you have a staff as the

    18    chief marketing officer at Bacardi?

    19        A.   Yes.   This was a large organization.           I had a

    20    staff of over 50 professionals, and an annual marketing

    21    budget of $230 million.

    22        Q.   And you said strategic marketing plan.             Could you

    23    explain to us what that is?

    24        A.   That was to develop basically the business plan.

    25    It was a three-year rolling plan for the entire
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 28 of 391 Page ID
                                 #:16628                                        28


     1    portfolio, which included:         Bacardi Rum, Grey Goose

     2    Vodka, Bombay Sapphire and Bombay Original Gin, Dewar's

     3    Scotches, Martini & Rossi, among other brands.               It was a

     4    large organization.       It had -- the last plan that I

     5    submitted was -- had over $2 billion in revenue.

     6        Q.    In your position as chief marketing officer at

     7    Bacardi, did you on occasion reference, look at, rely

     8    upon research on consumer behavior in the beverage

     9    alcohol industry?

    10        A.    Yes.   We had a very robust research consumer

    11    inside analytics department that was headed up by a

    12    research director.       And we reviewed syndicated research

    13    as well as proprietary research that we conducted on our

    14    own.     The annual budget was in excess of a million

    15    dollars.

    16        Q.    Was consumer research important to you as the

    17    chief marketing officer at Bacardi?

    18        A.    Yes.   It was one the tools that guided all of our

    19    communication strategies for each of the brands in the

    20    portfolio.

    21        Q.    And you ultimately left Bacardi; is that right?

    22        A.    Yes, I did.

    23        Q.    And is that when you started Plus Consulting?

    24        A.    That's correct.

    25        Q.    Now, I would like to talk to you, Mr. Marmol,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 29 of 391 Page ID
                                 #:16629                                        29


     1    about your involvement in this case.

     2              Has the plaintiff in this case, Globefill,

     3    retained you to provide some expert opinions?

     4        A.    Yes.   I am here in that capacity to provide

     5    expert opinions.

     6        Q.    And those are opinions about the beverage alcohol

     7    industry?

     8        A.    That is correct.

     9        Q.    And how many years have you been involved in the

    10    beverage alcohol industry?

    11        A.    This year will mark my 38th year in the business.

    12        Q.    How did you come about to being an expert for

    13    Globefill in this action?

    14        A.    Mr. Bill Anderson, who is the director of sales

    15    of Crystal Head is a former colleague of mine at

    16    Bacardi.     And he approached me as to whether I would be

    17    interested in providing expert opinion in this action.

    18        Q.    And did you agree to provide expert opinions in

    19    this action?

    20        A.    Yes, I did.

    21        Q.    And what did Mr. Anderson ask you to do?            What

    22    opinions did he ask you to consider giving in this

    23    action?

    24        A.    I don't -- I was given a list of questions on

    25    issues that were important to the case.             Five of which
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 30 of 391 Page ID
                                 #:16630                                        30


     1    we are going to review today.          And also to submit a

     2    written report.

     3        Q.    Did you submit a written report?

     4        A.    Yes, I did.

     5        Q.    And did you provide opinions on those five issues

     6    that we are going to discuss today?

     7        A.    Yes.

     8        Q.    Okay.     And we are going to discuss each of those

     9    in order, correct?

    10        A.    Yes.

    11        Q.    What did you do to prepare yourself to provide

    12    these opinions, these five opinions?

    13        A.    Well, what I did was I reviewed all of the

    14    information that was available through -- as product of

    15    the trial, including the expert reports from the other

    16    experts in the trial.

    17              I also reviewed my own research documents as they

    18    pertain to the issues in the case.            Looked at syndicated

    19    research.        I also visited and explored the social media

    20    for both brands.        And also went to liquor stores and

    21    bars and restaurants to see how the products were

    22    placed.     And to talk to some of the managers of those

    23    establishments.

    24        Q.    When you say both brands, are you referring to

    25    Crystal Head Vodka and KAH Tequila?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 31 of 391 Page ID
                                 #:16631                                        31


     1        A.   Yes.    Crystal Head Vodka and KAH Tequila.

     2        Q.   Let's talk about your opinions.           What was the

     3    first issue that Globefill asked you to provide an

     4    expert opinion on?

     5        A.   It was to identify important trends, macro or

     6    total industry trends, as they affected premium or super

     7    premium brands.

     8        Q.   Are both Crystal Head Vodka and KAH Tequila, in

     9    your expert opinion, premium or super premium brands?

    10        A.   I would define them as super premium brands.

    11        Q.   And did you reach an opinion on that issue?

    12        A.   Yes.

    13        Q.   And what is that?

    14        A.   Well, the opinion is that there is --

    15    important -- important trends in the distilled spirits

    16    industry that are important to the brands.

    17             The first is that the industry as a whole has

    18    grown consistently since the 1980s.            And that is

    19    predominantly because of favorable demographics in the

    20    population, in the U.S. population.

    21                    Now, within that growth, there have been

    22    some important developments.          There has been some

    23    shifting in category preferences.

    24                    For example, in the late '80s we saw a shift

    25    away from scotch and blends and to some degree bourbons
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 32 of 391 Page ID
                                 #:16632                                        32


     1    and gin towards vodka, tequila and rum.

     2                   And today vodka is the largest category,

     3    with one in three drinks drunk in the United States

     4    being vodka.

     5                   Consistent with that shifting, we also saw

     6    that the industry became more premium.             And so what

     7    happens as a result of the emergence of imported brands,

     8    the value of the industry began to grow, and the

     9    imported brands which were more expensive began to

    10    dominate.

    11                   Then consumers began to see these brands and

    12    transcend categories.        And that's important.        Because

    13    previously, in a broad stroke, consumers had been

    14    consuming categories.        I was a scotch drinker, or I was

    15    a gin drinker or a vodka drinker.

    16                   With the emergence of the imported brands,

    17    the consumer began to place brands above categories, and

    18    view brands in a sense of an affordable luxury which

    19    they could enjoy depending on what their neat steak

    20    [sic], by that we mean the situation or the people that

    21    they are with would affect which brands that they would

    22    choose.

    23                   So it would altogether instead of being I a

    24    scotch drinker someone could direction Absolut Vodka on

    25    one occasion and drink Jose Cuervo Tequila in another or
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 33 of 391 Page ID
                                 #:16633                                         33


     1    Bacardi Rum in another.

     2        Q.   Okay.

     3        A.   So what we had is that consumers and their

     4    choices went from categories to brands, and from brands

     5    they also expanded their repertoire so that they would

     6    drink multiple brands, depending on the occasion.

     7        Q.   Okay.

     8        A.   Finally, and I think it's important also, is that

     9    consumers today are willing to try new brands.               But the

    10    brands have to be well differentiated.             And by

    11    differentiation, we mean they have to be different.

    12    They can't be just another vodka or another rum or

    13    another whisky.      And that differentiation comes from the

    14    packaging, the name, the product story.             And the quality

    15    of the product itself has to be very good.

    16        Q.   Now, these trends you're talking about, these

    17    trends moving from categories to brands, what is that --

    18    what does that mean for a spirit like Crystal Head

    19    Vodka?

    20        A.   Well, it means that there is interactivity

    21    between Crystal Head and other brands in the

    22    marketplace.

    23        Q.   Okay.    And is there an opportunity there for

    24    Crystal Head -- for a brand like Crystal Head Vodka?

    25        A.   Yes, of course.      I think the trends that I have
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 34 of 391 Page ID
                                 #:16634                                        34


     1    described would have been -- are very favorable for a

     2    brand like Crystal Head.

     3        Q.    But you mentioned that a brand needs to

     4    distinguish itself.       What do you mean by that?

     5        A.    That just goes to the issue of differentiation.

     6    What that means, you just can't be another vodka or

     7    another gin, or another scotch.           Because it is a highly

     8    competitive marketplace.

     9              So consumers are predisposed to try new things,

    10    but they have to be compelling.           And by compelling and

    11    differentiated, again, we mean a great name, a great

    12    product story, interesting packaging, and the quality of

    13    the liquid inside the bottle has to be very good.

    14        Q.    Has the number of spirits on the market increased

    15    since the 1980s?

    16        A.    Yes, it has.

    17        Q.    And has it increased significantly?

    18        A.    It -- I don't have the exact numbers, but, yes,

    19    it has.     And more recently -- and I didn't touch upon it

    20    because I didn't think it was that important, we have

    21    seen the emergence of craft spirits.            Those are --

    22    there's a proliferation of those.           So that also is

    23    driving the new products coming into the industry.

    24        Q.    And does the increase in product, spirit

    25    products, increase competition?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 35 of 391 Page ID
                                 #:16635                                        35


     1        A.   Yes.

     2        Q.   And does distinguishing your brand, is that

     3    important in a market where there is increased

     4    competition?

     5        A.   Without the product differentiation, as I

     6    described, it is almost impossible for a new brand to

     7    succeed.

     8        Q.   What was the second issue, Mr. Marmol that

     9    Globefill asked you to provide an expert opinion on?

    10        A.   The second issue was whether vodka and tequila

    11    were related and competitive categories.

    12        Q.   Okay.    And did you reach an opinion on that

    13    issue?

    14        A.   Yes, I did.     I -- and I think based on what I

    15    have talked about in the trends, it is very clear that

    16    they both are related and competitive.

    17        Q.   What do you base that opinion on -- excuse me.

    18    I'm sorry.

    19        A.   Well, I -- I can point to the report provided by

    20    one of the expert witnesses which shows that vodka

    21    consumers consumed -- 60-plus vodka consumers consumed

    22    tequila and 40 percent of tequila consumers consumed

    23    vodka.     And those numbers are very consistent with all

    24    of the research that I have ever done and the syndicated

    25    research that is available in the marketplace.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 36 of 391 Page ID
                                 #:16636                                        36


     1             So that leads me to the conclusion that, yes,

     2    there is a potential interaction or an interaction

     3    between vodka and tequila, and they are both related and

     4    competitive.

     5        Q.   And the fact that, as you said, 60 percent of the

     6    vodka drinkers also drink tequila, is that consistent

     7    with the consumer trends that you were discussing

     8    earlier in your testimony?

     9        A.   Yes.    And it goes to the consumer today having a

    10    wide range of brands in the repertoire that they drink,

    11    as opposed to in the past where they might have been

    12    just a vodka drinker or just a tequila drinker.

    13        Q.   And this consumption of vodka by tequila drinkers

    14    and tequila by vodka drinkers, does that also apply to

    15    premium and super premium brands?

    16        A.   Yes.    Of course.

    17        Q.   What was the third issue Globefill asked you to

    18    opine on?

    19        A.   It was the role on packaging in the context of

    20    premium and super premium brands.

    21        Q.   Did you reach an opinion on that issue?

    22        A.   Yes, I did.

    23        Q.   Okay.    What is that opinion?

    24        A.   Well, consistent with the evolution towards

    25    brands and towards premium and super premium brands,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 37 of 391 Page ID
                                 #:16637                                        37


     1    packaging has become one the most important parts of the

     2    marketing mix.        What brands, super premium and premium

     3    brands strive for is a very differentiated packaging

     4    that becomes synonymous with the brand so it creates

     5    instant awareness and it can act as a silent -- a sales

     6    person for the brand, either at a bar or restaurant or

     7    in a liquor store.

     8              And the evolution of the increase in the

     9    premiumness and the specialty of the packaging began

    10    with Absolut, which was the first to introduce a clear,

    11    paperless label, and to use its iconic packaging as a

    12    center of its communication or advertising for many,

    13    many years.

    14                      Since then, we have seen the emergence of

    15    this in other brands.        I can point to Tanqueray Gin with

    16    the distinctive green bottle.          Bombay sapphire with its

    17    distinctive blue bottle.         Maker's Mark with the red wax

    18    top.     And so -- and perhaps also Grey Goose Vodka with

    19    its tall frosted bottle and clear see-through window.

    20        Q.    Okay.

    21        A.    So we see more and more effort being put into

    22    distinctive packaging as a way to differentiate brands.

    23        Q.    In your opinion, Mr. Marmol, has packaging been

    24    one of the issues that has lead to the success of

    25    Crystal Head Vodka?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 38 of 391 Page ID
                                 #:16638                                          38


     1        A.   Yeah.    I think it is one of the key issues.            And

     2    it is one of several.

     3             I think the first -- if I had to rank, packaging

     4    would be of course very -- near the top, because it is a

     5    very distinctive skull shape that had not been used

     6    before in the industry.         So clearly there is huge

     7    differentiation there.

     8             The other aspect of it is the -- Dan Aykroyd's

     9    celebrity status.       And in the case of Crystal Head

    10    Vodka, it went really beyond celebrity status and what

    11    we called borrowed interest.          Mr. Aykroyd was involved

    12    in the development of the brand from the beginning which

    13    gave it much credibility.         And he has also been a

    14    remarkable ambassador even an evangelist for the brands

    15    with the trade and with consumers.

    16             I saw him to do a presentation to distributors at

    17    a convention some years back in Orlando.             I thought it

    18    was one of the finest presentations that I have ever

    19    witnessed.

    20             And although I have not attended any of the

    21    bottle signings, the bottle signings that he has

    22    conducted at retail stores are legendary because of the

    23    turn-out of his fans and the movement of his products.

    24             Beyond Mr. Aykroyd's celebrity status the brand

    25    has a great story and a very good liquid and has been
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 39 of 391 Page ID
                                 #:16639                                        39


     1    well supported in the marketplace.

     2             So I think all of those in concert lead to the

     3    success of Crystal Head Vodka with packaging being at

     4    the center because it is do distinctive.

     5             In my view, I think that based on the success

     6    that Crystal Head had in the marketplace, that KAH

     7    Tequila adopted a quick follower strategy and entered

     8    into the marketplace in order to benefit from the

     9    success of Crystal Head Vodka.

    10        Q.   You said "quick follower strategy," what did you

    11    mean by that?

    12        A.   That means that -- you know, in the industry when

    13    a competitor sees that something is working, they adapt

    14    to it quickly and move into the market to take advantage

    15    of potential opportunities.

    16        Q.   Have you seen examples of that in your 38 years

    17    in the alcohol beverage industry?

    18        A.   Many examples.

    19        Q.   Can you give us a couple.

    20        A.   Well, I think clearly now we are seeing a

    21    proliferation of craft brands.          And these are all local.

    22    So we are seeing a big increase in distilleries around

    23    the country.

    24             In the vodka segment, there has been a

    25    proliferation of flavors.         If a flavor gets hot, then it
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 40 of 391 Page ID
                                 #:16640                                        40


     1    is altogether possible that -- for example, if Absolut

     2    launches a flavor that is -- becomes very popular, then

     3    it's very reasonable that Smirnoff or some of the other

     4    large vodkas or even smaller vodkas will follow with the

     5    same flavor.

     6                   In my experience, we had -- Smirnoff Ice

     7    came out with a cooler-type product that became very

     8    successful.     And we followed with Bacardi Silver shortly

     9    thereafter.

    10                   In the vodka, in the vodka section, Chopin

    11    came out with a tall frosted bottle with a clear label

    12    and was beginning to have some success.             And Grey Goose

    13    followed suit with very similar packaging.

    14        Q.   When you say "packaging," with respect to Crystal

    15    Head Vodka, what are you referring to?

    16        A.   I am referring to the bottle and the bottle

    17    shape.

    18        Q.   And prior -- when was the first time you saw a

    19    bottle of Crystal Head Vodka?

    20        A.   I saw it in a liquor -- in a liquor store.

    21        Q.   Just ballpark, what time?

    22        A.   Possibly five years ago.         The time has past.

    23        Q.   And when you saw it, had you ever previously seen

    24    a skull-shaped bottle used in the beverage alcohol

    25    industry?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 41 of 391 Page ID
                                 #:16641                                        41


     1        A.   No.    It was completely innovative.

     2        Q.   All right.     Mr. Marmol, what is the next issue

     3    Globefill asked you to provide an expert opinion on?

     4        A.   The next issue was the volume development for a

     5    new brand entering the marketplace.

     6        Q.   Did you form an opinion on that issue?

     7        A.   Yes.    How I can describe is how typically a new

     8    brand is launched in the United States.             By way of just

     9    a very brief history, as a result, going back to 1933,

    10    and repeal of prohibition, the federal government

    11    decided that it was the best interest to leave the

    12    administration of beverage alcohol at the state level.

    13    And as part of that, a three-tier system was created in

    14    which a manufacturer cannot sell directly to retail and

    15    must go through a distributor.          And it must be a

    16    distributor in each state.         And that distributor cannot

    17    sell across state lines.

    18                    So typically what will happen is that a

    19    company like Crystal Head will begin to appoint

    20    distributors in the numerous -- in the 50 states or

    21    wherever they want to roll out the brand to.

    22                    And the first order of business is to sell

    23    to the distributor.       And that is the first level of

    24    pipeline.

    25                    Once the distributor has it, then the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 42 of 391 Page ID
                                 #:16642                                        42


     1    distributor begins the distribution process to liquor

     2    stores, restaurants and bars.          And this is the second

     3    level of pipeline.

     4                      In that effort, the distributor is assisted

     5    by representatives of the Crystal Head company.

     6                      So that over time distribution at retail is

     7    filled.     And at the same time, consumers are picking up

     8    the brand.

     9                      So in the early stages, you have both volume

    10    coming out of consumer pick-up, and volume coming out of

    11    distribution.

    12                      Over time, once your distribution targets

    13    are complete, then the volume that you get is what is

    14    called consumer pool return or velocity, which is the

    15    real number of what the brand is selling in the

    16    marketplace.       And it is not affected by the pipeline

    17    number.

    18        Q.    Okay.    And in your opinion, Mr. Marmol, has

    19    Crystal Head Vodka successfully navigated these three

    20    phases that you are discussing of launching --

    21        A.    Yes.     The -- it had -- it was doing well in

    22    that -- the final measure, which is the important

    23    measure, the turn and the velocity was strong.

    24        Q.    In your opinion, does the skull-shape design of

    25    the Crystal Head Vodka bottle have significance in that
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 43 of 391 Page ID
                                 #:16643                                        43


     1    success?

     2        A.   Without a doubt.       It is, again, one of the

     3    pillars which have driven the success of Crystal Head.

     4        Q.   All right.     Thank you.

     5             There is one last issue I believe that we are

     6    going to discuss today:         What was the fifth issue that

     7    Globefill asked you to opine on?

     8        A.   Whether or not distilled spirits manufacturers

     9    would produce a vodka and a tequila.

    10        Q.   And did you form an opinion on that issue?

    11        A.   Yes.

    12        Q.   And what is that opinion?

    13        A.   The opinion is that the majority of the major

    14    suppliers do, in fact, take to market both vodka and a

    15    tequila under different brand names.

    16             At Bacardi -- Bacardi has Grey Goose and

    17    Cazadores Tequila.       Brown-Forman, the manufacturer of

    18    Jack Daniels has Herradura Tequila and Tallinna Vodka.

    19    Diageo, the largest company in the world has Smirnoff

    20    Vodka, Ciroc and Ketel One.          And on Julio Tequila, Jose

    21    Cuervo, the largest tequila manufacturer in the world

    22    obviously has Jose Cuervo and they also have Three

    23    Olives Vodka.      So yes, it is common.

    24        Q.   How does that opinion impact the issues related

    25    to Crystal Head Vodka and KAH Tequila in your opinion?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 44 of 391 Page ID
                                 #:16644                                          44


     1        A.   I think -- when I first saw KAH Tequila, I

     2    thought that it was a product of Crystal Head because of

     3    the similarity in the skull and the price.

     4                    And so, I think, if obviously -- if I can be

     5    confused or assume that it was part of the Crystal Head

     6    portfolio, I suspect consumers would have the same issue

     7    as well.

     8        Q.   And is part of that because spirits

     9    manufacture -- spirits manufacturers make both, vodka

    10    and tequila?

    11        A.   Yes, that's correct.

    12        Q.   And therefore, it would be reasonable that a

    13    consumer might be confused that Crystal Head Vodka was

    14    making both a vodka and tequila?

    15        A.   Yes.    Or assume that it was -- that KAH Tequila

    16    came from the Crystal Head company.

    17        Q.   What are the benefits of marketing more than one

    18    spirit for spirit manufacturers?

    19        A.   Well, what happens is that these are large

    20    company that have sales forces.           And they use the

    21    commercial platform that they have in their distributor

    22    network to sell multiple -- multiple labels.              It's very

    23    efficient from a business point of view.

    24        Q.   Let me just follow-up on something you said.                 You

    25    said when you first saw KAH Tequila you confused it as a
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 45 of 391 Page ID
                                 #:16645                                         45


     1    Crystal Head Vodka product.

     2             Did you do anything when you saw that KAH bottle?

     3        A.   Yeah.     I called Bill Anderson, and I asked him

     4    about --

     5        Q.   Once again, who's Bill Anderson?

     6        A.   Bill Anderson is the director of sales of Crystal

     7    Head Vodka.

     8        Q.   Okay.

     9        A.   And Bill informed me that, no, it was not their

    10    product.

    11                     MR. FAY:     I believe that's it, Mr. Marmol.

    12    Thank you.

    13                     Pass the witness.

    14                     THE COURT:     Cross?

    15                     MR. HUMMEL:     Mr. Marmol, are you still

    16    there?

    17                     (VIDEO CONNECTION LOST.)

    18                     THE COURT:     The jurors may stand and stretch

    19    while we are waiting.

    20                     I'm going to read a few instructions.           The

    21    witnesses who are called at trial to render opinions and

    22    the witness that we have heard and will continue to hear

    23    this morning has rendered some opinions on issues that

    24    he was asked to address.          The instruction reads as

    25    follows:
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 46 of 391 Page ID
                                 #:16646                                        46


     1                   You heard testimony from a person who,

     2    because of education or experience, is permitted to

     3    state opinions and the reasons for the opinion.

     4                   Opinion testimony should be judged just like

     5    any other testimony.        You may accept it or reject it and

     6    give it as much weight as you think it deserves,

     7    considering the witness' education and experience, the

     8    reasons given for the opinion, and all other evidence in

     9    the case.

    10                   The Court will also read another instruction

    11    at this time.      And I will read these again at the end

    12    and you will have copies.

    13                   There are rules of evidence that control

    14    what can be received into evidence.            When a lawyer asks

    15    a question or offers an exhibit into evidence and the

    16    lawyer on the other side thinks that it is not permitted

    17    by the rules of evidence, that lawyer may object.

    18                   And you've seen some of that in the

    19    courtroom with witnesses who were testifying.

    20                   If I overrule the objection, the question

    21    may be answered or the exhibit received.             If I sustain

    22    the objection, the question cannot be answered and the

    23    exhibit cannot be received.

    24                   Whenever I sustain an objection to a

    25    question, you must ignore the question and must not
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 47 of 391 Page ID
                                 #:16647                                        47


     1    guess what the answer might have been.

     2                   Sometimes I may order that evidence be

     3    stricken from the record and that you disregard or

     4    ignore that evidence.

     5                   That means when you are deciding the case,

     6    you must not consider the stricken evidence for any

     7    purpose.

     8                   Now, this instruction is given to you

     9    because of instances, not with this witness, at least

    10    not on the examination that's been conducted, but other

    11    witnesses who have testified in the trial.

    12                   You will recall that counsel sometimes will

    13    object to the question, and then the witness may not

    14    answer the question if the Court sustains the objection.

    15                   Other times the witness may have answered

    16    before the Court has an opportunity to rule.              And again,

    17    if the Court sustains the objection, the Court has

    18    ordered that the statement or the testimony be stricken

    19    from the record and that the jurors disregard or ignore

    20    that evidence, and the jurors are required to follow

    21    that instruction.

    22                   THE COURT:     I think we have our witness now

    23    and ready to go.       This is cross-examination.

    24                              CROSS-EXAMINATION

    25    BY MR. HUMMEL:
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 48 of 391 Page ID
                                 #:16648                                        48


     1        Q.   Good morning, Mr. Marmol.         I am the lawyer for

     2    Elements Spirits, the lawyer for this action.               You

     3    understand that?

     4        A.   Yes.

     5        Q.   Now, did I hear you at the end of your testimony

     6    say that you had seen Crystal Head Vodka and KAH Tequila

     7    at a store?

     8        A.   Yes.

     9        Q.   I believe you said that after you left that store

    10    you had a conversation with Mr. Anderson about what you

    11    had seen; is that correct?

    12        A.   Yes.

    13        Q.   Are you absolutely sure about that, Mr. Marmol?

    14        A.   I -- I certainly had the conversation.             I can't

    15    say that it was strictly right after I saw it in the

    16    store.

    17             It would have been the next time that I talked

    18    with Mr. Anderson.

    19        Q.   So you believe you took some action based on your

    20    viewing KAH Tequila and Crystal Head Vodka in that

    21    store, right?

    22        A.   Yes.

    23                    MR. HUMMEL:     Your Honor, I would like to

    24    read from Mr. Marmol's deposition dated October 30th,

    25    2013, page 25, line 11 to page 26, line 15.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 49 of 391 Page ID
                                 #:16649                                          49


     1                   THE COURT:     And the date of deposition

     2    again?

     3                   MR. HUMMEL:      October 30th, 2013.

     4                   MS. KIM:     Your Honor, can we have a moment

     5    to review the testimony?

     6                   THE COURT:     Of course.

     7                   MR. HUMMEL:      Page 25 line 11, to page 26,

     8    15.

     9                   THE COURT:     After you've reviewed it, you

    10    will advise the Court whether you have an objection to

    11    it being read.

    12                   MS. KIM:     Yes, Your Honor.

    13                   THE COURT:     And I will read another

    14    instruction to the jurors.

    15                   If you recall, we heard deposition testimony

    16    previous ly, or questions and answers given based upon a

    17    deposition.

    18                   And the Court did explain what a deposition

    19    is.     A deposition is the sworn testimony of a witness

    20    taken before trial.       The witness is under oath to tell

    21    the truth.     And lawyers for each party may ask

    22    questions.     The questions and answers are recorded.                The

    23    deposition is taken on a specific date.             And in this

    24    case, counsel has indicated the date was October 30th,

    25    2013.     And so that an instruction that the Court has
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 50 of 391 Page ID
                                 #:16650                                        50


     1    read as to what the a deposition is.

     2                   The Court also indicated to the jury that

     3    one of the purposes for questioning a witness about his

     4    or her deposition testimony, counsel may believe that

     5    the testimony is either consistent with previous

     6    testimony given or inconsistent with previous testimony

     7    given, and the jurors in deciding credibility of

     8    witnesses and who to believe and not to believe, may

     9    consider that fact in determining credibility.

    10                   In other words, the witness previously

    11    testified consistent with the testimony given at trial.

    12    Or the witness previously testified different or

    13    inconsistent with testimony given at trial.

    14                   That is a factor that you may consider in

    15    judging credibility of witnesses and how much weight

    16    should be given to their testimony.

    17                   Counsel.

    18                   MR. FAY:     Your Honor, we object.        We don't

    19    see the impeachment.

    20                   THE COURT:     All right.      So I think the Court

    21    has the deposition.       And I so I will review it and then

    22    rule.

    23                   (PAUSE.)

    24                   THE COURT:     The Court has reviewed the

    25    sections that have been designated, and the Court would
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 51 of 391 Page ID
                                 #:16651                                        51


     1    permit the reading as a part -- a part of the reading

     2    from the deposition.        Starting at line 22 on page 25.

     3    And then Counsel may read through line 15 on page 26.

     4                   MR. HUMMEL:        Yes, Your Honor.

     5                   "QUESTION:     Okay.     Do you recall when you

     6    first saw KAH Tequila in the marketplace?

     7                   "ANSWER:     No.

     8                   "QUESTION:     Have you ever purchased KAH

     9    Tequila?

    10                   "ANSWER:     No.

    11                   "QUESTION:     Okay.     Did you, once you saw it,

    12    and made a mental note of it, did you do anything with

    13    the information that there is this new product out there

    14    called KAH Tequila?

    15                   "ANSWER:     Yeah, I thought it was a line

    16    extension of Crystal Head.

    17                   "QUESTION:     Okay.     So at that time you knew

    18    about Crystal Head?

    19                   "ANSWER:     Yes.

    20                   "QUESTION:     Okay.     And you had this

    21    particular thought that you just shared.             Did you take

    22    any action based on that thought?

    23                   "ANSWER:     No.

    24    BY MR. HUMMEL:

    25        Q.   Now, Mr. Marmol, you testified that you know
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 52 of 391 Page ID
                                 #:16652                                        52


     1    Mr. Anderson from your time at Bacardi, right?

     2        A.   Yes.

     3        Q.   And in fact --

     4        A.   We were colleagues at Bacardi for 15 years.

     5        Q.   For 15 years.      And you left Bacardi at around the

     6    same time that Mr. Anderson left, right?

     7        A.   Yes.    I left a little before he did.

     8        Q.   You were both around the same level at Bacardi,

     9    right?

    10        A.   I was the chief senior vice president, chief

    11    marketing officer.       Bill was the director of sales.

    12        Q.   And that's about the same level at Bacardi?

    13        A.   Yes, uh-huh.     Yes.

    14        Q.   And after you left Bacardi, you formed your

    15    consulting firm Plus Consulting, correct?

    16        A.   Yes, that's correct.

    17        Q.   And Mr. Anderson, when he left Bacardi, went off

    18    to a company called Infinium, right?

    19        A.   That is correct.

    20        Q.   And you understand that Infinium is the

    21    distributor of Crystal Head Vodka, right?

    22        A.   Infinium is the importer of Crystal Head Vodka.

    23        Q.   Thank you for the correction.

    24                    And Mr. Anderson was the president of

    25    Infinium, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 53 of 391 Page ID
                                 #:16653                                         53


     1        A.   Yes, he was.

     2        Q.   And while Mr. Anderson was at Infinium, he hired

     3    you as a paid consultant for Infinium, right?

     4        A.   Yes.

     5        Q.   And in fact your company, Plus Consulting, did

     6    work for Infinium, right?

     7        A.   Yes.

     8        Q.   And Mr. Anderson was your contact for the work

     9    that Plus Consulting did for Infinium, correct?

    10        A.   Yes, that is correct.

    11        Q.   And at the time that Mr. Anderson called you to

    12    ask you to be an expert in this case, it is true that

    13    you had never been an expert witness in a court case,

    14    correct?

    15        A.   That's correct.

    16        Q.   And in fact the reason you did it is because you

    17    did it as a favor to Mr. Anderson, correct?

    18        A.   I wouldn't categorize that as a favor.             I did it

    19    because I thought the proceedings -- or the case was

    20    interesting.      And I also had an interest to see if this

    21    was a line of business that could be adopted by Plus

    22    Consulting.

    23        Q.   So you thought that if you acted as an expert

    24    consultant, you might get some additional work from that

    25    experience, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 54 of 391 Page ID
                                 #:16654                                        54


     1        A.   Yes.     Well, I wanted to -- had never done it, so

     2    I wanted to see what it was about.

     3        Q.   I want to talk to you about the materials that

     4    you reviewed when you prepared your opinions, okay?

     5        A.   Yes.

     6        Q.   And I want to make sure that there is no

     7    misimpression here today about what you actually

     8    reviewed.       Okay?

     9        A.   Correct.

    10        Q.   I think you testified, if I heard you correctly,

    11    that you reviewed legal materials from this case; is

    12    that correct?

    13        A.   Yes.

    14        Q.   And I thought I heard the word "all," so I want

    15    to make sure you didn't review all the legal materials

    16    submitted in this case, correct?

    17        A.   No.     I reviewed what was given to me to review.

    18        Q.   And you listed in your expert report the

    19    materials that you had reviewed, correct?

    20        A.   Yes.

    21        Q.   And do you have a copy of your expert report in

    22    front of you?

    23        A.   Yes.     Thank you.    Uh-huh.

    24        Q.   Can you turn to the very last page of your expert

    25    report, sir.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 55 of 391 Page ID
                                 #:16655                                        55


     1        A.   Yes.

     2        Q.   There is a section called "Materials considered."

     3             Do you see that?

     4        A.   Yes.

     5        Q.   Okay.    And it lists eight items, right?

     6        A.   Yes.

     7        Q.   And the first -- one, two, three, four, five

     8    items are four declarations and an expert report, right?

     9        A.   Yes.

    10        Q.   And two of those declarations are declarations of

    11    Mr. Anderson, correct?

    12        A.   Yes.

    13        Q.   And then you listed some websites relevant to the

    14    matter, correct?

    15        A.   Yes.

    16        Q.   And then you indicated some industry reports,

    17    which I think you elaborated upon on your direct, right?

    18        A.   Yes.

    19        Q.   And then you had some liquor store bar visits,

    20    right?

    21        A.   That's correct.

    22        Q.   Those are the materials that you reviewed in this

    23    case, correct?

    24        A.   Yes.

    25        Q.   You didn't review any documents that were
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 56 of 391 Page ID
                                 #:16656                                        56


     1    produced by Globefill in this case, correct?

     2        A.   These -- to my recollection, these were the

     3    reports that I reviewed.

     4        Q.   This was it.      But you never reviewed any

     5    documents that -- like business records that came from

     6    Globefill?

     7        A.   No.

     8        Q.   You didn't look at any financial data from

     9    Globefill, right?

    10        A.   No.

    11        Q.   You didn't look at any materials that were

    12    produced by KAH Tequila in this case, right?

    13        A.   No.

    14        Q.   Okay.    Now, one of the things that Plus

    15    Consulting does is consulting for start-ups, right?

    16        A.   Yes, that's correct.

    17        Q.   Can you see me, by the way?

    18        A.   Yes.

    19        Q.   Okay.    Great.    And Plus Consultant's expertise is

    20    in the start-up of liquor brands, right?

    21        A.   Yes.

    22        Q.   And you know from your experience in conducting

    23    consulting work for start-ups that starting up a new

    24    brand is a long and arduous process, right?

    25        A.   That is correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 57 of 391 Page ID
                                 #:16657                                        57


     1        Q.    You are aware that every year hundreds of liquor

     2    brands are introduced into market, new liquor brands,

     3    right?

     4        A.    Yes.

     5        Q.    Is it hundreds or thousands?

     6        A.    It depends on how you say brands; if you count

     7    line extensions, it would be thousands.

     8        Q.    Thousands.    Okay.

     9              And you would agree with me, sir, that, the vast

    10    majority of those start-ups fail, right?

    11        A.    Yes, that is correct.

    12        Q.    And a lot of times start-ups will achieve some

    13    success and then fail, right?

    14        A.    Well, generally speaking, the products fail

    15    because they are either not properly differentiated or

    16    don't have the resources to continue the effort.

    17              Generally speaking, if there is some traction,

    18    then there is some level of success.            I would suggest

    19    that there are few products that are successful and then

    20    are withdrawn.

    21              I'm not sure if I'm being clear.

    22        Q.    If I may, let me ask another question.            I'm not

    23    quite sure you were addressing my question.              Which was

    24    that --

    25        A.    Okay.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 58 of 391 Page ID
                                 #:16658                                          58


     1        Q.    -- there are some start-ups that you are aware of

     2    where it starts out, has some growth, and then flattens

     3    out, right?

     4        A.    Well, yes.    The key here is what I testified to,

     5    was that once the pipeline is filled, okay, and that can

     6    be misconstrued as growth, because that is revenue.                   But

     7    once you filled the pipeline, then the crucial measure

     8    of a brand's success is it's velocity or its turn, which

     9    is the measure of consumer pull.

    10        Q.    I understand your answer, Mr. Marmol.           I would

    11    just like the answer to my question, which is:               There

    12    are some instances where there is a start-up --

    13        A.    Right.

    14        Q.    -- it has some initial success and then that

    15    start-up's sales can flatten out, right?             That can

    16    happen?

    17        A.    Oh, without a doubt.       I would argue that all

    18    consumer brands follow that trend.

    19        Q.    And then --

    20        A.    And they eventually hit a volume threshold.

    21        Q.    And it's the case that some start-ups that start

    22    off and then just fail right at the get-go, correct?

    23        A.    Correct.

    24        Q.    And the fact of the matter is that of these

    25    thousands of brands, you can't predict which ones are
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 59 of 391 Page ID
                                 #:16659                                        59


     1    going to succeed and which ones are going to fail

     2    without them being --

     3        A.   That is correct.

     4        Q.   -- introduced into the market?

     5        A.   That is correct.

     6                    THE COURT:     The Court will just instruct the

     7    witness to wait until counsel completes the question

     8    before you attempt to answer.

     9                    THE WITNESS:     Sorry, Your Honor.

    10    BY MR. HUMMEL:

    11        Q.   Mr. Marmol, one of the opinions that you gave on

    12    direct is essentially that packaging matters, right?

    13        A.   Yes.

    14        Q.   And among the methods for packaging

    15    differentiation are, for example, bottle shape, right?

    16        A.   Yes.

    17        Q.   And another way to differentiate between

    18    packaging is glass type, right?

    19        A.   Excuse me?

    20        Q.   Another way to differentiate packaging is by

    21    different types of glass, right?

    22        A.   Glass?

    23        Q.   Glass.     Yes.

    24        A.   Yes.     Yes.

    25        Q.   And another way to differentiate packaging is by
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 60 of 391 Page ID
                                 #:16660                                        60


     1    having something not made out of glass, right?

     2        A.   Yes.

     3        Q.   For example, you could have a package that's made

     4    out of ceramic, correct?

     5        A.   Correct.

     6        Q.   That would be different than a bottle that's made

     7    out of glass, correct?

     8        A.   Yes.

     9        Q.   And another way to differentiate packaging is

    10    through the use of color, right?

    11        A.   Yes.

    12        Q.   So you could have a clear bottle on the one hand

    13    and you could have a colored bottle on the other hand,

    14    that would be different packaging, correct?

    15        A.   Yes.

    16        Q.   And then another way to differentiate your

    17    packaging is by having different labelling, right?

    18        A.   Yes.

    19        Q.   So the different label you choose and where you

    20    place that label can differentiate one package from

    21    another, correct?

    22        A.   Yes.

    23        Q.   And another way to differentiate your packaging

    24    is to have different closure types, right?

    25        A.   Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 61 of 391 Page ID
                                 #:16661                                        61


     1        Q.   And have different caps, correct?

     2        A.   Yes.

     3        Q.   Of course, there are many, many other ways to

     4    differentiate your packaging from another bottle's

     5    packaging, right?

     6        A.   Yes.

     7        Q.   Now, in your experience there are lots of

     8    different packagings that are introduced into the market

     9    every year, right?

    10        A.   Yes.

    11        Q.   And in fact, that's one of the ways that brands

    12    differentiate themselves from each other, right?

    13        A.   Or try to differentiate, yes.          Try to.

    14        Q.   And there are many, many bottles that are

    15    introduced every year that fail, right?

    16        A.   Yes.

    17        Q.   And then there are many, many standard packaging

    18    bottles that succeed, correct?

    19        A.   Some.    Some.   I would -- I don't think it is in

    20    absolute terms.      What I would suggest is the more

    21    differentiated the packaging, the greater the chance of

    22    success, generally speaking.

    23        Q.   There are lots of different types of unique

    24    packaging that end up failing, right?

    25        A.   Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 62 of 391 Page ID
                                 #:16662                                             62


     1        Q.   Packaging that you as an industry expert look at

     2    and say, That's a really cool bottle, right?

     3        A.   Right.

     4        Q.   And sometimes those bottles fail because people

     5    will only buy them for the novelty of the packaging,

     6    right?

     7        A.   Among other things, it could be the name.             It

     8    could be the liquid itself.          It could be the price.           It

     9    could be lots of variables affecting whether a brand is

    10    successful or not.       Packaging is one the elements.

    11        Q.   You would agree with me that people will buy a

    12    unique package solely for the package, right?

    13        A.   Yeah, sometimes, for sure.

    14        Q.   And then they might not buy another bottle of

    15    that particular spirit again, right?

    16        A.   Possibly.

    17        Q.   You know this for a fact, that people will buy a

    18    novelty bottle and put it on their shelf at their bar

    19    and never drink it.       You know this as an industry

    20    expert, right?

    21        A.   Well, I think what I've heard is at the higher

    22    end there are duty free, people tend to do that with

    23    some brands, yes.

    24        Q.   And some people may never actually drink the

    25    liquid in the bottle, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 63 of 391 Page ID
                                 #:16663                                        63


     1        A.   It is possible.

     2        Q.   Now, one of the other opinions that you rendered

     3    is that tequila and vodka are related or competitive.

     4             Did I get that right?

     5        A.   Yes.

     6        Q.   And you also think that vodka is related and

     7    competitive with rum, for example, right?

     8        A.   Yes.

     9        Q.   You also think that vodka is related and

    10    competitive with gin, right?

    11        A.   Yes.

    12        Q.   And you also consider vodka to be at least

    13    competitive with whisky, right?

    14        A.   Yes.

    15        Q.   So --

    16        A.   Possibly to a lesser extent than the ones you

    17    previously mentioned; but yes.

    18        Q.   When you get to the point -- if I understood your

    19    opinion correctly -- the super premium category, in the

    20    super premium category all of these spirits, vodka,

    21    tequila, rum, gin, and possibly whisky, all compete with

    22    each other; that's your view, right?

    23        A.   Yes, that's correct.

    24        Q.   When you get to the super premium, premium

    25    category, are you talking about bottles that are over a
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 64 of 391 Page ID
                                 #:16664                                        64


     1    certain dollar amount?

     2        A.   Yes.

     3        Q.   What's the dollar amount you are using?

     4        A.   That -- that number can vary, depending on the

     5    definitions used by different sources.

     6             But generally speaking, it would probably be

     7    anything north of 25 or $30.

     8        Q.   So you know that in this case we are involving --

     9    it involves two brands, Crystal Head Vodka and tequila

    10    which are in the super premium category, right?

    11        A.   Yes.

    12        Q.   And in your opinion, purchasers of super premium

    13    brands are relatively sophisticated about spirits,

    14    right?

    15        A.   Generally speaking, I think we could categorize

    16    that.    It is not always the case; but yes.

    17        Q.   But generally speaking --

    18        A.   Generally speaking, yes.

    19        Q.   And generally speaking, consumers of high-end

    20    brands are careful about their purchasing decisions,

    21    right?

    22        A.   Well, I'm not sure that I would categorize it as

    23    careful.    They might be willing also to explore new

    24    items if it's of interest.         So I'm not sure that I would

    25    say careful.      I would say that they are well-informed.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 65 of 391 Page ID
                                 #:16665                                        65


     1        Q.   Well-informed.

     2             And they pay attention to the brands that they

     3    are buying -- or trying, right?

     4        A.   Generally, speaking.        But, again, you know, we

     5    are, in many instances, also impulse consumers.               So...

     6    I'm not sure I would generalize it completely.

     7        Q.   Thank you.

     8             Amongst these different categories of spirits,

     9    vodka, tequila, gin, rum, let's just take those, those

    10    spirits have differ taste s and aromas, right?

    11        A.   Yes.

    12        Q.   And as a general matter, vodka has a taste and

    13    aroma that's very different from tequila, correct?

    14        A.   Yes.

    15        Q.   And in fact, vodka is intended to be odorless and

    16    tasteless and colorless as possible, right?

    17        A.   Well, that's the legal definition.           I would

    18    suggest that the manufacturers of different brands claim

    19    that their vodkas taste different from one another.

    20        Q.   Right.    And you are aware of, based on your work

    21    on this case, that Crystal Head Vodka advertises itself

    22    as being entirely pure, right?

    23        A.   Yes.

    24        Q.   And, in fact, Crystal Head Vodka prides itself on

    25    being as close to true vodka as possible, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 66 of 391 Page ID
                                 #:16666                                        66


     1        A.   Yes.

     2        Q.   So there is no additives in coloring or -- there

     3    are no additives or colorings in Crystal Head Vodka,

     4    right?

     5        A.   Yes.   That's my understanding.

     6        Q.   That's what they're marketing, right?

     7        A.   Yes.

     8        Q.   So Crystal Head Vodka is as close to the paradigm

     9    of colorless, odorless and tasteless followers, right?

    10        A.   I think if that's how you are going to define

    11    purity, then fine.       I think that they are closer to

    12    purity than to odorless, colorless and tasteless.

    13             I am frequently asked this question about vodka.

    14    And the only -- the best answer I could give is if you

    15    taste different waters, right, they're all water, but

    16    they all taste a little bit differently.

    17        Q.   Have you drunk Crystal Head Vodka yourself?

    18        A.   Yes.

    19        Q.   And based on your professional opinion, is it as

    20    colorless, odorless, and tasteless as possible in vodka?

    21        A.   Well, I find it to be a very clean vodka.             I'm

    22    struggling with giving you definitions.             But, yes, vodka

    23    by definition has very little taste.

    24        Q.   And tequila on the other hand has a distinctive

    25    aroma and taste, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 67 of 391 Page ID
                                 #:16667                                         67


     1        A.   Yes.

     2        Q.   And that's because tequila comes from the agave

     3    plant, right?

     4        A.   Correct.

     5        Q.   So if I put your opinions together, I would

     6    assume that your view is that a vodka with very little

     7    taste or aroma would be still related and competitive to

     8    a highly flavored tequila; is that correct?

     9        A.   Yes, that's correct, because it is dependent on

    10    the need, state, or the occasion that the consumer

    11    chooses the product.

    12        Q.   And if --

    13        A.   If I may give you an example.

    14        Q.   Sure.

    15        A.   In the case of Bacardi Rum, Bacardi Rum's lead

    16    competitor was Captain Morgan, which was a rum.               But it

    17    was also in direct competition with Smirnoff Vodka and

    18    Absolut.    And in fact, a heavy or a good Bacardi drinker

    19    drank more vodka than Bacardi.          So really it was just an

    20    interaction, not based on the intrinsics of the product,

    21    but really the mood or the occasion or the mixer that

    22    the consumer wanted when they made the choice between

    23    Captain Morgan and Bacardi or made the choice between

    24    Bacardi and Smirnoff and Absolut.

    25        Q.   So I just want to be clear that your view is that
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 68 of 391 Page ID
                                 #:16668                                        68


     1    a -- as colorless, tasteless vodka is competitive and

     2    related to a flavorful tequila.           In your view, correct?

     3        A.   Yes.

     4        Q.   Now, you did some work -- consulting work for

     5    tequila companies, right?

     6        A.   Right now the only tequila company that we are

     7    working with is the tequila from the Gallo Company.

     8        Q.   What is that tequila called?

     9        A.   Casa Camarena.

    10        Q.   In the past you've done some consulting work for

    11    other tequila companies, right?

    12        A.   Yes.

    13        Q.   One of the companies you did some work for was a

    14    company called Tanteo, right?

    15        A.   Yes.

    16        Q.   And Tanteo Tequila is infused with jalapenos,

    17    correct?

    18        A.   Yes, correct.

    19        Q.   And Tanteo is a high-end tequila, super premium

    20    tequila, right?

    21        A.   Yes.

    22        Q.   But your view is that KAH Tequila does not

    23    compete with Tanteo Tequila, correct?

    24        A.   I would say that because of the difference in the

    25    price points, directly it does not.            On a broad sense,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 69 of 391 Page ID
                                 #:16669                                        69


     1    it could.

     2        Q.   You are aware that KAH Tequila Blanco retails for

     3    about $40 a bottle, right?

     4        A.   Yes.

     5        Q.   And you worked on the Tanteo brand, right?

     6        A.   Right.

     7        Q.   And you are aware that the Tanteo brand

     8    retails -- suggested retail price is 42.99, right?

     9        A.   At this point, yes.

    10        Q.   And today, do you believe that Tanteo Tequila is

    11    competing with KAH or not?

    12        A.   It would -- it would be very difficult for me

    13    to -- I have not worked for Tanteo for many years, so I

    14    don't know what they are doing right now.

    15        Q.   So let me -- I would like to read from

    16    Mr. Marmol's prior testimony, November 22nd, 2013.                This

    17    is lines 10 through 12.         Page 36, lines 10 through 12.

    18                    THE COURT:     We'll give the plaintiffs'

    19    counsel time to read that and advise the Court whether

    20    or not you have any objection.

    21                    MS. KIM:     What were the lines again?

    22                    MR. HUMMEL:     10 through 12.

    23                    MR. FAY:     No objection, Your Honor.

    24                    THE COURT:     You may read it.

    25                    MR. HUMMEL:     "QUESTION:     And is Tanteo
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 70 of 391 Page ID
                                 #:16670                                        70


     1    Tequila a competing tequila with KAH Tequila?

     2                    "ANSWER:    I don't think so.       It is a

     3    flavored jalapeno tequila.

     4    BY MR. HUMMEL:

     5        Q.   So Mr. Marmol, it is not so simple that all

     6    high-end vodkas and tequilas compete with each other,

     7    right?

     8        A.   No.    I think I striven to stress that it is a

     9    complex consumer behavior issue.

    10        Q.   In fact, it is in today's environment an issue of

    11    complex consumer behavior, right?

    12        A.   Yes.

    13        Q.   Now, despite that complexity, you didn't conduct

    14    any interviews of actual consumers to understand their

    15    behavior when it comes to choosing between a tequila or

    16    vodka, right?

    17        A.   No, I did not.

    18        Q.   And you did not ask any actual consumers about

    19    their habits and when they chose -- choose to drink

    20    vodka or tequila, right?

    21        A.   I did not conduct any research for this action,

    22    because based on the questions that I was being asked to

    23    render an opinion on, I felt that my experience of

    24    38 years would be sufficient.          I don't think that there

    25    would be anything that would be revealed to me beyond
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 71 of 391 Page ID
                                 #:16671                                        71


     1    what I know from past experience working in both

     2    categories.

     3        Q.   The fact of the matter is, you didn't go out to

     4    ask any actual consumers if they would substitute vodka

     5    for tequila, right, that's true?

     6        A.   No, I did not.      I relied on my experience.

     7        Q.   In fact, in your experience, there are some

     8    consumers who will under no circumstances substitute

     9    tequila for vodka, right?

    10        A.   That is possible, yes.

    11        Q.   It is not --

    12        A.   The research indicates that over time that

    13    becomes an increasingly smaller number.             But, yes, there

    14    are still, I am sure, people who only drink tequila.

    15    The trend is for consumers to have a varied brand

    16    assortment.

    17        Q.   And there are a lot of people out there, a lot of

    18    consumers of alcoholic beverages who always stick to

    19    their brand, right?

    20        A.   The trend is increasingly to have a varied --

    21    now, if I am a vodka drinker and prefer Ketel One, yes,

    22    that would be my brand of choice.           If Ketel was not

    23    available, I probably would go to a Grey Goose or

    24    something else.

    25             I think the importance of what I'm getting at is
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 72 of 391 Page ID
                                 #:16672                                        72


     1    that I could be a Ketel One drinker but I can also enjoy

     2    a Jose Cuervo Margarita depending on the occasion.

     3             If we are ordering, for example, appetizers at a

     4    restaurant, I might choose to have a Margarita instead

     5    of a -- a Cuervo Margarita instead of having a Ketel One

     6    vodka on that occasion.         This is where the relatedness

     7    of these spirit brands occur.

     8        Q.   Mr. Marmol, my question to you was, you are aware

     9    of the fact that there are people out there, consumers

    10    of alcoholic beverages who will stick with their brand,

    11    right?

    12        A.   Yes.

    13        Q.   And, in fact, you have a personal preference for

    14    Grey Goose vodka, right?

    15        A.   No, no longer.      But I used to.

    16        Q.   You used to.

    17             At the time you gave your deposition in this case

    18    that was your preference, right?

    19        A.   Yes.

    20        Q.   Now, you gave some views about the flattening of

    21    sales for Crystal Head Vodka, right?

    22        A.   If you could refresh me.

    23        Q.   You were opining that the introduction of KAH in

    24    your view had some effect on Crystal Head Vodka, right?

    25        A.   Yes, I think so.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 73 of 391 Page ID
                                 #:16673                                        73


     1        Q.   And those opinions were not based on any

     2    documents you reviewed from Globefill, correct?

     3        A.   I don't think so.       No, that is correct.

     4        Q.   Well, do you know or do you think?

     5                   THE COURT:     Does the witness have the

     6    question in mind?       Do you recall the question that was

     7    asked.

     8                   MR. HUMMEL:      I can ask another one.

     9                   THE WITNESS:      Yes.   I just --

    10                   THE COURT:     All right.      Does counsel --

    11                   THE WITNESS:      I don't recall if there was,

    12    in any of these declarations, sales -- sales

    13    information.

    14    BY MR. HUMMEL:

    15        Q.   Sitting here today, you don't recall whether

    16    there are any sales figures that you reviewed, right?

    17        A.   I just don't recall.

    18        Q.   And you didn't contact any -- sorry.            Did you

    19    want to say something?

    20        A.   No.

    21        Q.   And you did not -- and isn't it a fact, sir, that

    22    you did not review any Crystal Head or Infinium

    23    documents referring to any reason for any flattening or

    24    decline in sales of the Crystal Head product?

    25        A.   That's correct.      The only materials that I
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 74 of 391 Page ID
                                 #:16674                                        74


     1    considered were the ones that you pointed to in my

     2    report.

     3        Q.    Isn't it the case you did not contact any Crystal

     4    Head or Infinium executives to ask for any actual

     5    reasons why Crystal Head Vodka had a flattening or

     6    decline in sales, right?

     7        A.    That's correct.

     8        Q.    You didn't ask for any written materials to back

     9    up that opinion, right?

    10        A.    No.

    11        Q.    And you didn't think it was important to have any

    12    actual information from Crystal Head Vodka about their

    13    sales, right?

    14        A.    If I recall, I -- my instructions were to review

    15    these materials.

    16        Q.    My question --

    17        A.    Strictly these materials.

    18        Q.    This all counts against my time.

    19              So let me make sure that we are clear about the

    20    question I'm asking here.

    21                    Did you think it was important that you have

    22    actual information from Crystal Head's company,

    23    Globefill, as well as from the U.S. importer of Infinium

    24    with respect to the sales of Crystal Head Vodka?

    25        A.    My answer to that was not within the scope of the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 75 of 391 Page ID
                                 #:16675                                        75


     1    questions that I was asked to address.

     2        Q.    So the answer is no?

     3        A.    No.

     4        Q.    So the -- your opinion here today about the

     5    flattening or the cause of the flattening of Crystal

     6    Head Vodka sales is simply your belief, right; your

     7    personal belief, right?

     8        A.    Yes, it is my opinion.

     9        Q.    Now, at the time you rendered the opinions, that

    10    was 2013, right?        Your date of your report is in August

    11    of 2013?

    12        A.    Yes, that's correct.

    13        Q.    And at that point vodka was at an upward trend?

    14        A.    Yes.   Slight upward trend.

    15        Q.    And I think you testified earlier today about

    16    vodka is the biggest category of spirits, right?

    17        A.    Yes, it is.     It is still today the largest

    18    category of spirits.        Approximately one third of the

    19    volume.

    20        Q.    Thank you.

    21              But you know that after you rendered your report

    22    in 2013, vodka sales began a decline in the United

    23    States, right?

    24        A.    There was a decline in vodka to some degree as a

    25    result of the recession and to some degree as a
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 76 of 391 Page ID
                                 #:16676                                          76


     1    shake-out of the flavored vodkas which had proliferated

     2    the category.

     3        Q.   There was a decline after 2013 in vodka sales?

     4        A.   Yes.

     5        Q.   And there was a dramatic decline in the United

     6    States after you rendered your report in imported vodka

     7    into the United States, correct?

     8        A.   Yes.   But there -- you have to understand, too,

     9    that there was a shift in the marketplace towards Tito's

    10    Vodka and New Amsterdam Vodka.

    11        Q.   But there was a dramatic shift away from imported

    12    vodka to these domestic brands, like Tito's, right?

    13        A.   Yes.   It's primarily the decline of Absolut

    14    Vodka.

    15        Q.   Where is Absolut from?

    16        A.   Sweden.

    17        Q.   There also was a tremendous decline in vodkas

    18    imported from Canada, right?

    19        A.   That I was not aware of.

    20        Q.   Are you aware of the fact that from 2013, 2014,

    21    Canadian imported vodka into the United States declined

    22    by 24 percent?

    23        A.   I was not aware of that.         I -- I'm not familiar

    24    with major Canadian vodka brands.

    25        Q.   I'm not talking about Canadian vodka brands.                 I'm
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 77 of 391 Page ID
                                 #:16677                                        77


     1    talking about Canadian vodka in general.

     2        A.   Yeah, I just -- I'm not aware of large volume

     3    Canadian brands.

     4        Q.   But you are aware that there was a decline in

     5    imports of Canadian vodka into the United States between

     6    2013, and 2014, right?

     7        A.   No, I was not.

     8        Q.   And one of the things that -- I believe that you

     9    review on a regular basis is the liquor handbook, right?

    10        A.   Yes.

    11        Q.   And you do you review the liquor handbook on a

    12    regular basis?

    13        A.   I look at it generally once a year when it, when

    14    it is published.       And then we use it as a reference

    15    source as a good catalog -- imperfect, but the best

    16    catalog of volume that exists for the industry in the

    17    United States.

    18             So we would use it within the context of our

    19    consulting business.

    20        Q.   And you use it as a reference point in your

    21    consulting business in your day-to-day work, right?

    22        A.   Yes.

    23        Q.   It's considered to be a reliable source of

    24    information?

    25        A.   It is considered to be one of the most reliable
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 78 of 391 Page ID
                                 #:16678                                        78


     1    with the understanding that because of the complex

     2    nature of the three-tier system, the actual sales

     3    revenue for brands is not 100 percent accurate.

     4             We can find accurate statistics in part of the

     5    liquor channel that goes through grocery, which is

     6    proximately 20 percent of the business.             And we can also

     7    get very accurate data from the control state, which is

     8    approximately 20 percent of the business.             The other

     9    60 percent is less reliable.          The liquor handbook tries

    10    to bridge that gap and give us a number.             But it is an

    11    accepted member in the industry.

    12        Q.   I think there is someone on our behalf with you

    13    in the room.      I think it is Mr. Perez.         Is he there?

    14                   MR. PEREZ:     Yes.

    15                   MR. HUMMEL:      Could you hand Mr. Marmol

    16    what's been marked as Defendants Exhibit 2000-E for

    17    identification.

    18    BY MR. HUMMEL:

    19        Q.   Mr. Marmol, do you have that book in front of

    20    you?

    21                   THE COURT:     I think the witness now has the

    22    exhibit.

    23                   THE WITNESS:      Yes, your Honor.

    24    BY MR. HUMMEL:

    25        Q.   This is the liquor handbook for 2006, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 79 of 391 Page ID
                                 #:16679                                         79


     1        A.   2016.

     2        Q.   2016.

     3                     MR. FAY:     I object, Your Honor.

     4                     THE COURT:     Objection?

     5                     MR. FAY:     This exhibit was never designated.

     6                     THE COURT:     All right.     So --

     7                     MR. HUMMEL:     Impeachment, Your Honor.

     8                     THE COURT:     Well, if it's -- Counsel is not

     9    offering it into evidence.             Then don't publish the

    10    contents.

    11                     MR. HUMMEL:     No.

    12                     THE COURT:     So ask the witness that

    13    question.     What is the date or whatever it is that

    14    counsel wishes to now ask.

    15    BY MR. HUMMEL:

    16        Q.   Mr. Marmol, can you take a look at page 210.

    17                     THE COURT:     And, sir, you are not being

    18    asked to read from that page.

    19                     Counsel will give you some instruction as to

    20    what he wishes you to do with that page.                But you have

    21    the reference, page 210?

    22                     THE WITNESS:     Yes.     Yes, I do.

    23    BY MR. HUMMEL:

    24        Q.   I would like you to take a look at the title of

    25    this.    Okay?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 80 of 391 Page ID
                                 #:16680                                        80


     1        A.    Yes.

     2        Q.    Not read it out loud.        And I want you to look

     3    under the category that says "Vodka."

     4        A.    Yes.

     5        Q.    And I want you to look at the -- at the figures

     6    between 2013 and 2014.          And I want to ask you if that

     7    refreshes your recollection that Canadian imports of

     8    vodka to the United States had declined in those two

     9    years.

    10        A.    Again, I am aware.

    11                     THE COURT:     Sir.   Sir.   Excuse me for a

    12    moment.     Just review the reference that counsel asked

    13    you to review.

    14                     The question that he is asking:         Having

    15    reviewed that, do you now know about the decline of

    16    Canadian vodkas?

    17                     So just read it.      And wait for the next

    18    question.

    19                     If it refreshes your recollection, you will

    20    say yes.     And Counsel will ask some additional

    21    questions.       If it does not refresh your recollection,

    22    you should so indicate.

    23                     So have you reviewed the area that Counsel

    24    asked?

    25                     THE WITNESS:     Yes, Your Honor.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 81 of 391 Page ID
                                 #:16681                                        81


     1                    THE COURT:    All right.      Counsel's question.

     2    BY MR. HUMMEL:

     3        Q.   Does that refresh your recollection that between

     4    2013 and 2014, there was a decline in imported vodka to

     5    the United States from Canada?

     6        A.   No.

     7        Q.   Now, you testified briefly about the

     8    quick-follower strategy, as you called it.

     9             Do you remember that?

    10        A.   Yes.

    11        Q.   And there is actually nothing wrong in your view

    12    with the quick-follower strategy, right?

    13        A.   That is correct.

    14        Q.   And in fact, that is a strategy that you employed

    15    at Bacardi, right?

    16        A.   Yes.    Just about every company employs it.

    17        Q.   Everybody in the industry employs the

    18    quick-follower strategy, right?

    19        A.   Yes.

    20        Q.   Now, one of the key factors that you attribute to

    21    the success of Crystal Head Vodka is Dan Aykroyd's

    22    celebrity, right?

    23        A.   Yes.

    24        Q.   It's very important to the success of Crystal

    25    Head Vodka Mr. Aykroyd's efforts to promote the brand,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 82 of 391 Page ID
                                 #:16682                                        82


     1    right?

     2        A.   Yes, that is correct.

     3        Q.   And, in fact, there are lots of celebrity

     4    alcohols that are out there, right?

     5        A.   Yes.   Not all are successful.

     6        Q.   Well, you mentioned Ciroc, which is P. Diddy's

     7    vodka, right?

     8        A.   That is one that has been successful.

     9        Q.   It's been successful because of P. Diddy's

    10    endorsement, at least in part, right?

    11        A.   Yes.

    12        Q.   And you are aware that KAH Tequila has no

    13    celebrity endorsements, right?

    14        A.   I have not found any in the materials that I have

    15    seen.

    16        Q.   Now, you also believe that part of the success of

    17    a brand is if there is a story behind the brand; is that

    18    right?

    19        A.   Yes, that is correct.        It has to be a credible

    20    story behind the brand.

    21        Q.   A credible story behind the brand?

    22        A.   Yes.

    23        Q.   Are you aware of the story behind the creation of

    24    KAH Tequila?

    25        A.   What I read in the -- in the Website.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 83 of 391 Page ID
                                 #:16683                                        83


     1        Q.   And you understand that KAH Tequila is associated

     2    with Mexican Day of the Dead, right?

     3        A.   Yes, that's correct.

     4        Q.   You understand that Crystal Head Vodka is closely

     5    associated with the legend of the 13 crystal heads,

     6    right?

     7        A.   Yes.

     8        Q.   And that's a strong part of the story of Crystal

     9    Head Vodka, right?

    10        A.   Yes.

    11        Q.   Now, another are the things that you attribute

    12    success in the marketplace for a start-up is the, what

    13    you call the liquid, the liquid in the bottle, what's in

    14    the bottle?

    15        A.   Yes.   The quality the product.

    16        Q.   Have you tasted KAH Tequila?

    17        A.   No, I have not.

    18        Q.   You know that in the bottle of KAH Tequila is

    19    tequila, right?

    20        A.   Yes.

    21        Q.   And you know that what's in the bottle of Crystal

    22    Head vodka is vodka, right?

    23        A.   Yes.

    24        Q.   Now, you also testified that it is not unusual

    25    for a producer of alcoholic beverages to offer both a
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 84 of 391 Page ID
                                 #:16684                                          84


     1    vodka and a tequila, right?

     2        A.   Yes, that's correct.

     3        Q.   And you offered some examples, one of which

     4    was -- I wasn't fast enough to write them all down.                   One

     5    of them was Diageo?

     6        A.   Yes.

     7        Q.   And if I remember this correctly, Diageo has

     8    Smirnoff Vodka, right?

     9        A.   It has Smirnoff, Ketel One, Ciroc, among others.

    10             They have a wide staple of also value vodkas.

    11    And they Don Julio tequila.

    12        Q.   That's the one I was going to ask you.             They also

    13    have Don Julio Tequila, right?

    14        A.   Yes, that's correct.

    15        Q.   It's typically the case, isn't it, that when a

    16    producer of alcoholic beverages has a vodka and tequila,

    17    they will put those -- those different products in

    18    different bottles, right?

    19        A.   Yes.

    20        Q.   Packaging, as we learned from earlier in your

    21    testimony, is really, really important, right?

    22        A.   Yes, that's correct.

    23        Q.   And that is how a producer can differentiate its

    24    products, right?

    25        A.   Among -- that is one of the elements of the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 85 of 391 Page ID
                                 #:16685                                        85


     1    marketing mix for differentiation, yes.

     2        Q.   And Smirnoff's bottle is a tall, thin bottle,

     3    right?

     4        A.   Yes.

     5        Q.   And the Don Julio bottle is a short, squat

     6    bottle, right?

     7        A.   Correct.    With a cork seal.

     8        Q.   With a big cork on the top?

     9        A.   Yes.    Uh-huh.

    10        Q.   Now, the last opinion, I think you gave, was your

    11    opinion that KAH Tequila can cause confusion in the

    12    marketplace, right?

    13        A.   Yes.    I stated that within the context, that

    14    since it was a quick follower and a second skull entry,

    15    that someone might think that it's part of the Crystal

    16    Head collection, even though it is a tequila.

    17        Q.   It's the case that you are not aware of any

    18    actual confusion between KAH and Crystal Head Vodka,

    19    right?

    20        A.   No.

    21        Q.   "No" meaning you are not aware of any confusion?

    22        A.   No.    I have not done any research in that area.

    23    I'm just -- that was my opinion based on my personal

    24    experience.

    25        Q.   And you've done no surveys to conduct -- to
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 86 of 391 Page ID
                                 #:16686                                         86


     1    determine whether there's any actual confusion, right?

     2        A.   No, I have not.

     3        Q.   You are not aware of anyone who has been confused

     4    between the two bottles, correct?

     5        A.   I am not aware, no.

     6                     MR. HUMMEL:     Thank you very much.       Pass the

     7    witness.

     8                     THE COURT:     Redirect?

     9                     MR. FAY:     Yes, Your Honor.     Thank you.

    10                           REDIRECT EXAMINATION

    11    BY MR. FAY:

    12        Q.   Mr. Marmol, just a few.        You were confused

    13    between the two bottles, weren't you, Mr. Marmol?

    14        A.   Well, yes.     And within the context that I thought

    15    that this was a product that was brought to market by

    16    the Crystal Head company.

    17        Q.   And why did you think that?          What about KAH

    18    Tequila made you think it was a line extension of

    19    Crystal Head vodka?

    20        A.   Well, it was -- in this particular instance, it

    21    was 40 -- the same price.          Had a similar glass skull.

    22        Q.   Okay.

    23        A.   Admittedly it was tequila.         And KAH was painted.

    24    I was -- I assumed the similarity was an attempt to

    25    differentiate.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 87 of 391 Page ID
                                 #:16687                                         87


     1        Q.   So the with line extension, you might make some

     2    changes?

     3                     THE COURT:     I'm not sure that I understand

     4    the question.

     5                     THE WITNESS:     Possibly.

     6    BY MR. FAY:

     7        Q.   With the line extension, you might take the

     8    skull-shaped bottle and paint it, right?

     9        A.   Yes.     That would be certainly something that

    10    could be done.

    11        Q.   And if Crystal Head Vodka wanted to do that,

    12    that's a decision that Crystal Head Vodka should have

    13    been able to make on its own, right?

    14        A.   That would be a business decision.

    15        Q.   Okay.     Somebody else shouldn't be making that

    16    decision for Crystal Head Vodka, correct?

    17        A.   I -- I would -- if I was in the position of the

    18    Crystal Head company, I would certainly have that view.

    19        Q.   In your opinion, Mr. Marmol, is Crystal Head

    20    Vodka just a novelty?

    21        A.   No.     I think that there's a staying power.           And

    22    its ability to sell year-in and year-out, it certainly

    23    has transcended a novelty status.

    24        Q.   The sale of 10 million bottles of a spirit, is

    25    that a novelty, in your estimation?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 88 of 391 Page ID
                                 #:16688                                         88


     1        A.    I think that is a significant volume achievement,

     2    particularly at the price points.

     3        Q.    Okay.     You spoke a little bit about quick

     4    follower.

     5              One of your examples was Maker's Mark.            What was

     6    the quick -- what happened there?

     7        A.    I don't think that I talked about Maker's Mark in

     8    this context.        I think I talked about Maker's Mark in

     9    the context of the red wax being very distinctive

    10    packaging.

    11        Q.    And was there an attempt to quick follow on the

    12    red wax?

    13        A.    In terms of the red wax, there wasn't a quick

    14    follow.     What happened was -- again, I'm not an expert

    15    on trade dress, but what occurred was that the Jose

    16    Cuervo --

    17                      MR. HUMMEL:    Objection.

    18                      THE COURT:    Excuse me for a moment.

    19    Objection to the question that has been asked.

    20                      MR. HUMMEL:    And to this answer which is

    21    nonresponsive.

    22                      THE COURT:    Objection to the answer being

    23    given --

    24                      MR. HUMMEL:    Yes, Your Honor.

    25                      THE COURT:    Is that -- the Court will strike
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 89 of 391 Page ID
                                 #:16689                                        89


     1    the answer.

     2                     Let counsel ask the question again and let

     3    the witness answer.

     4    BY MR. FAY:

     5        Q.   Let me ask you this a different way.            If you are

     6    going to be a quick follower, do you have to abide the

     7    law?

     8        A.   Yes, of course.

     9                     MR. HUMMEL:    Objection, Your Honor.

    10                     THE COURT:    Sustained.

    11    BY MR. FAY:

    12        Q.   You said, Mr. Marmol, that there's lots of

    13    different packaging each year in the beverage alcohol

    14    industry?

    15        A.   Yes, that's correct.

    16        Q.   And I think if we count variations in flavors, it

    17    could even be thousands?

    18        A.   Yes, that's correct.

    19        Q.   When you wrote your -- when you first saw Crystal

    20    Head Vodka, how many skull-shaped bottles were in the

    21    marketplace?

    22        A.   None.     It was original.     And that's what made it

    23    so unique and differentiated.

    24        Q.   You also spoke about the way alcohol is sold.

    25    And the first sale is to distributor; is that right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 90 of 391 Page ID
                                 #:16690                                        90


     1          A.   That is correct.     That is correct.      And that is

     2    by law and that is by state.

     3          Q.   And the distributor actually buys the spirits,

     4    right?

     5          A.   That is correct.     Title changes from the

     6    manufacturer to the distributor.

     7          Q.   And so in some ways a distributor is a consumer?

     8                    MR. HUMMEL:     Objection, Your Honor, leading.

     9                    THE COURT:     Sustained.

    10    BY MR. FAY:

    11          Q.   Who does the distributor then sell the product

    12    to?

    13          A.   The distributor then sells it to bars,

    14    restaurants and liquor stores --

    15          Q.   And those bars --

    16          A.   -- or grocery stores, depending on the channel.

    17          Q.   And those bars, restaurants and liquor stores

    18    actually buy the product?

    19          A.   That is correct.     From the distributor.

    20          Q.   And then what is the next step?         Who does the

    21    bar, the restaurant --

    22          A.   The next step is for the consumer to buy the

    23    product, either buy the drink at a bar or restaurant or

    24    buy the bottle at a liquor store or a grocery store,

    25    depending on the state.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 91 of 391 Page ID
                                 #:16691                                            91


     1        Q.   Okay.     At each of these three steps, actual money

     2    is being paid for the spirit; is that right?

     3        A.   That is correct, yes.

     4                     MR. FAY:     That's it.

     5                     THE COURT:     Can the witness be excused?

     6                     MR. FAY:     Yes.

     7                     THE COURT:     No objection by the defense?

     8                     MR. HUMMEL:     No.

     9                     THE COURT:     No questions by the jurors?           I

    10    don't think so.

    11                     Sir, you are excused at this time.          Thank

    12    you.

    13                     THE WITNESS:        Thank you very much, Your

    14    Honor.

    15                     THE COURT:     Is there another witness that

    16    the plaintiff would like to call at this time?

    17                     MR. FAY:     Yes, Your Honor.     We would like to

    18    call Dr. Bruce Isaacson.

    19                     THE COURT:     I believe his testimony will

    20    take about an hour and a half for the plaintiff and

    21    about 30 minutes or so for the defendant, correct?

    22                     MR. FAY:     Correct.

    23                     THE COURT:     So I will just take the recess

    24    early, so that we don't have to interrupt his testimony.

    25                     We will take our 15-minute break at this
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 92 of 391 Page ID
                                 #:16692                                        92


     1    point.     The jurors are excused for 15 minutes.

     2                   THE CLERK:     Please rise.      This Court is in

     3    recess.

     4                   (RECESS.)

     5                   THE COURT:     You may be seated.        So we are

     6    taking our break at this point.

     7                   And the witness is actually here not

     8    testifying by video; is that correct?

     9                   MR. VERA:     That's correct, Your Honor.

    10                   THE COURT:     So we'll be in recess for 15

    11    minutes.

    12                   (RECESS TAKEN.)

    13                   THE COURT:     The next witness to be called.

    14                   MR. FAY:     Yes, Your Honor.       Plaintiff

    15    Globefill would like to call Dr. Bruce Isaacson.

    16                   THE COURT:     The witness will come forward.

    17    The clerk will administer the oath.

    18                   And counsel has identified the exhibits to

    19    be used.     And defendants are aware of what those

    20    exhibits are, correct?

    21                   MR. FAY:     Correct, Your Honor.

    22                   MR. RAFFERTY:      Yes, Your Honor.

    23                   THE CLERK:     Go to the witness stand, please.

    24    Please raise your right hand.

    25                              BRUCE ISAACSON,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 93 of 391 Page ID
                                 #:16693                                        93


     1         Called as a witness herein, having been first duly

     2      sworn on oath, was examined and testified as follows:

     3                     THE WITNESS:     I do.

     4                     THE CLERK:     Please have a seat.

     5                     State and spell your name for the record.

     6                     THE WITNESS:     My name is Bruce Isaacson.

     7    B-R-U-C-E.       Last name I-S-A-A-C-S-O-N.

     8                     THE COURT:     Counsel may proceed.

     9                     MR. FAY:     Thank you, your Honor.

    10                             DIRECT EXAMINATION

    11    BY MR. FAY:

    12        Q.   Good afternoon, Dr. Isaacson.          Could you

    13    introduce yourself to the jury, please.

    14        A.   My name is Dr. Bruce Isaacson.

    15        Q.   Are you currently employed, Dr. Isaacson?

    16        A.   I am.

    17        Q.   And where are you employed?

    18        A.   I am president of a marketing research and

    19    consulting firm called MMR Strategy Group.

    20        Q.   And how long have you worked at MMR Strategy

    21    Group?

    22        A.   As of this coming June, it will be 12 years.

    23        Q.   And what kind of work does MMR Strategy Group do?

    24        A.   Well, we do marketing research and consulting.

    25             And what that means is, that we gather
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 94 of 391 Page ID
                                 #:16694                                        94


     1    information about what consumers and customers are doing

     2    and thinking.      Typically we gather that information by

     3    surveys, but we also conduct other kinds of research,

     4    such as focus groups.        And we use that information to

     5    analyze what customers are doing or to develop

     6    strategies for companies.         Practically, we work in three

     7    years.     We call them practice areas.

     8             One area in which we work is commercial marketing

     9    research.     So we work with companies to help them

    10    improve products or services to help them figure out why

    11    customers are buying or not buying a particular product.

    12    Or figure out what their advertising should say, for

    13    example.

    14                   A second practice area in which we work is

    15    what we call claims.        And this has to do with the

    16    statements that companies make in places like

    17    advertising or on product packages.

    18                   And we help companies to understand how

    19    consumers evaluate and process and understand those

    20    claims and the messages that they take away from the

    21    statements that companies make.

    22                   And then the third thing that we do is we

    23    conducts surveys for litigation like this one.               Those

    24    surveys are sometimes done for private parties, like the

    25    parties in this matter.         But there are also sometimes
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 95 of 391 Page ID
                                 #:16695                                         95


     1    done -- for example, I have been retained a number of

     2    times by the Federal Trade Commission.             I've been

     3    retained a few times by the Department of Justice.                So

     4    sometimes it's private parties; sometimes it's

     5    government entities that we are conducting those surveys

     6    for.

     7        Q.   And do those -- is the intent of those surveys

     8    able to measure consumer confusion?

     9        A.   Yes.     There are specific formats that we use to

    10    measure the likelihood that consumers would confuse two

    11    products or two trademarks.

    12        Q.   Why don't you give us a little background on your

    13    education, Dr. Isaacson.

    14        A.   Sure.     So I am originally trained as an engineer.

    15    I have a bachelor of science degree in engineering from

    16    Northwestern University.         I also have an M.B.A., a

    17    master of business administration degree.             That's from

    18    Harvard Business School.         And I also have a DBA, and

    19    that stands for doctor of business administration.                That

    20    degree is also from Harvard Business School.

    21             And my DBA is in marketing.          And the DBA degree

    22    includes course work in marketing, in research, and in

    23    strategy.       So I took classes like consumer behavior and

    24    statistics and research design and organizational

    25    behavior.       And I taught and I wrote teaching materials.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 96 of 391 Page ID
                                 #:16696                                           96


     1             And I ultimately wrote -- conducted independent

     2    research in the form of a thesis or dissertation.

     3        Q.   Did you receive any awards during your graduate

     4    education?

     5        A.   I did.    When I came into the DBA program, I was

     6    designated as a dean's doctoral fellow, which was a

     7    specific fellowship or scholarship that I was awarded by

     8    my way in.

     9             And during the course of my studies, I received

    10    two awards; one from the Institute for the Study of

    11    Business Markets at Penn State University.              And the

    12    other award was from Harvard University.             And both of

    13    those were for research that I had conducted.

    14        Q.   And how about speeches, do you give speeches in

    15    marketing?

    16        A.   I do.    I -- I regularly write and speak on topics

    17    related to surveys and research and strategy and

    18    marketing.

    19             So for example, I conduct continuing legal

    20    education seminars for attorneys.           I have spoken at

    21    marketing research conferences.           I have written articles

    22    in publications that address the same topics of surveys,

    23    marketing and strategy.

    24        Q.   Okay.    And you mentioned consumer surveys.             What

    25    is your best estimate of how many consumer surveys MMR
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 97 of 391 Page ID
                                 #:16697                                        97


     1    Strategy Group has conducted over the years?

     2        A.   Well, the firm itself has been around since 1974.

     3    But in the 11 and a half or so years that I have been

     4    there, we have conducted, well, more than a thousand

     5    surveys.     And I have been involved in the vast majority

     6    of those surveys.

     7        Q.   And finally, are you on any editorial boards

     8    related to marketing and consumer surveys?

     9        A.   I am.    I sit on two editorial boards.          One is a

    10    magazine called the Journal of Business to Business

    11    Marketing.       This is a peer review journal that publishes

    12    research on marketing of products that are sold to

    13    businesses.

    14             And then I also sit on the editorial board with

    15    The Trademark Reporter.         This is another peer-reviewed

    16    journal.     And The Trademark Reporter publishes research

    17    on trademarks, including surveys that analyze

    18    trademarks.

    19        Q.   Now, Dr. Isaacson, were you retained by the

    20    plaintiff in this action, Globefill, to render expert

    21    opinions in this action?

    22        A.   I was.

    23        Q.   Okay.    And did you receive a call from someone

    24    asking you to do that?

    25        A.   Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 98 of 391 Page ID
                                 #:16698                                        98


     1        Q.   Okay.    And do you recall when that was?

     2        A.   I believe that was back in 2012 when I was first

     3    retained.

     4        Q.   Okay.    And --

     5        A.   Latter part of 2012.

     6        Q.   And what issue were you asked to render an

     7    opinion on?

     8        A.   I was asked to conduct research and render an

     9    opinion as to the likelihood that consumers would

    10    confuse KAH Tequila and Crystal Head Vodka.

    11        Q.   And did you reach an opinion on that issue?

    12        A.   I did.

    13        Q.   And what is that opinion?

    14        A.   My opinion is that there is a substantial

    15    likelihood of confusion between those two products.

    16        Q.   Okay.    And what is the basis for that opinion?

    17        A.   The basis for that opinion is research that I

    18    have conducted, as well as other research that I have

    19    seen and analyzed in this matter.

    20        Q.   Okay.    And the research you are referring to,

    21    does that include consumer surveys?

    22        A.   It does.

    23        Q.   So did you conduct consumer surveys in order to

    24    reach your opinion in this action?

    25        A.   Yes, sir.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 99 of 391 Page ID
                                 #:16699                                         99


     1        Q.   What kind of consumer surveys did you conduct?

     2        A.   I conducted a particular kind of consumer survey

     3    called "A Likelihood of Confusion Survey" to reach my

     4    opinion about confusion in this matter.

     5        Q.   All right.     How many surveys did you conduct?

     6        A.   I conducted two types of surveys.           So I classify

     7    it as two surveys on confusion.

     8        Q.   Do those surveys -- is there a name for those

     9    kinds of surveys?

    10        A.   There is.     One of the surveys uses a format which

    11    goes by the name of "Squirt."          And the other survey uses

    12    a format which goes by the name of "Eveready."

    13        Q.   Okay.     Those are funny names.       Can you explain to

    14    us why one is called Squirt and the other is called

    15    Eveready?

    16        A.   They acquired those somewhat humorous names after

    17    the original cases when they were first used.               So those

    18    particular kinds of formats are now referred to by the

    19    names from the legal cases in which those were first

    20    used.

    21             These are both standard formats that are used to

    22    measure likelihood of confusion in litigation matters.

    23        Q.   Okay.     Now I want you to explain these two

    24    different tests to the jury.

    25                     And I think we have a slide.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 100 of 391 Page ID
                                  #:16700                                      100


      1                     Could you explain to us, Dr. Isaacson, how

      2   the Squirt survey works and differs from the Eveready

      3   survey?

      4       A.    Sure.     I am going to start with the Eveready

      5   survey.     That is the easier of the two to explain.

      6                     The Eveready survey is relatively

      7   straightforward in that one shows a particular product

      8   to people and asks questions to see whether they confuse

      9   it with another product.

     10                     So if -- let's imagine I had come out with a

     11   cola and my cola came in a red container with white

     12   cursive lettering on it.         And I wanted to test whether

     13   that cola was confused with Coca-Cola.            I would show

     14   that can to respondents.         We call people in interviews

     15   respondents.        I would show that can to interviewees or

     16   respondents.

     17                     And I would see when I ask them "Who makes

     18   it" if they come back with answers that relate to

     19   Coca-Cola.

     20                     And that is the basic format for the

     21   Eveready survey.        You show one product and see whether

     22   or not people confuse that product with another product.

     23                     And the Squirt survey is a little bit

     24   different.        What the Squirt survey does is it replicates

     25   the process, for example, in a supermarket or a
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 101 of 391 Page ID
                                  #:16701                                      101


      1   convenience store where products would appear on the

      2   shelf near each other or where consumers might encounter

      3   products in the marketplace.

      4                  So what you do in a Squirt format is you

      5   show one product, and then you show what we call an

      6   array.    And that's a series of products -- the same way,

      7   for example, if I went into -- let's say in this matter

      8   if I went into a liquor store, I might see tequila or

      9   vodkas lined up on the shelf.          That's what we present in

     10   the Squirt format.       We ask a similar set of questions in

     11   order to understand whether consumers are likely to

     12   confuse the products.

     13                  The formats are executed differently, and

     14   they have different requirements to make them

     15   appropriate, depending on the matter.

     16       Q.   And what are those requirements?

     17       A.   Well, if you think about -- you can see on the

     18   screen, it says that the requirement for an Eveready

     19   survey is that the plaintiffs' product has to be

     20   well-known.

     21                  And if we go back to my example, what we are

     22   asking the respondent to do, or seeing whether the

     23   respondent does in that example, is we are seeing

     24   whether the respondent makes a connection in their own

     25   mind between the product that we show them and the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 102 of 391 Page ID
                                  #:16702                                      102


      1   product that we're looking to test.

      2                  And the requirement, in order for that to be

      3   an appropriate test, is that product has to be

      4   well-known.

      5                  In the example I used a minute ago was

      6   Coca-Cola.     That's is a well-known product.

      7                  So when I show you another product, most

      8   people have an image in their mind of what Coca-Cola is.

      9   They have an image perhaps that it comes in a red can

     10   and that red can has white cursive letters on it.

     11                  So they have certain images already formed

     12   in their mind.      And I show them another product to see

     13   whether they connect it.

     14                  The requirement for an Eveready that it's an

     15   absolute imperative is that the product is well-known.

     16   If not, then it's not an appropriate test.

     17                  There's a different requirement for a Squirt

     18   survey.

     19                  And you remember I mentioned that a Squirt

     20   survey replicates a process where consumers encounter

     21   products in the marketplace.          And we look for, with a

     22   Squirt survey, that the products are related to each

     23   other or approximate in the marketplace.             And that could

     24   be where the products appear on the same shelf next to

     25   each other.     It could be, as in this matter, where the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 103 of 391 Page ID
                                  #:16703                                      103


      1   products might appear in the same liquor store.              It

      2   could be where I might encounter one product in a bar,

      3   and another product shortly thereafter in a liquor

      4   store.    It could also be -- it extends beyond physical

      5   proximity and gets into issues relating to the

      6   consumers' mind.

      7                  So if products are similar in use and

      8   function, if they are used for the same use or used for

      9   the same function, they are said to be proximate.                 And

     10   sometimes if they are complimentary, like for example,

     11   wine and cheese or ham and cheese, we might think about

     12   those products as being proximate as well.

     13                  So what we are looking for is we are looking

     14   for an experience for proximity, where the consumer

     15   experiences both product either at the same time or in

     16   rapid succession, one after the other in some fashion.

     17   That can be physical or that can be nonphysical.

     18       Q.   And you have been referring to confusion.             What

     19   kind of confusion were you testing for in your test?

     20       A.   My surveys tested for two kinds of confusion.

     21   One kind of confusion is confusion as to source.

     22                  And what that means is that I see one

     23   product and I see another product, and I think that the

     24   products come from the same source.           In other words,

     25   they are made by the same company.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 104 of 391 Page ID
                                  #:16704                                      104


      1                    The other kind of confusion is confusion as

      2   to sponsorship or approval.         And I see two products and

      3   I believe that one product was sponsored or approved by

      4   another.

      5                    And a good example of confusion as to

      6   sponsorship or approval or relationships of sponsorship

      7   or approval would be if I was to buy, let's say, an NFL

      8   T-shirt that has my favorite football team on it.               I

      9   might not believe that the NFL actually manufactured

     10   that T-shirt, but I might believe that they approved or

     11   gave permission or sponsored that T-shirt to be made,

     12   and that's why I purchased it.

     13                    These are -- this is not the kind of

     14   confusion where I come into a store and I come in I'm

     15   expecting to buy Crystal Head and I walk out with KAH.

     16                    This is where I'm coming into a store and I

     17   see KAH and I see Crystal Head, and I believe that maybe

     18   they are made by the same company.           Or I believe that

     19   maybe one of those companies sponsored or approved for

     20   the other company to make that particular product.

     21   That's the kind of relationship that we are talking

     22   about here.

     23       Q.   Okay.     Thank you.

     24            Let's move on to your test.         Why don't you tell

     25   us how you conducted first your Squirt test.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 105 of 391 Page ID
                                  #:16705                                      105


      1                  MR. FAY:     Can you go to the text slide.

      2                  THE WITNESS:      The Squirt test was -- this

      3   survey was conducted in malls.          So these are

      4   professional interviewing facilities that are located in

      5   malls.

      6                  As you can see on the screen, I conducted

      7   this research in malls located all across the country.

      8   These are located in states that were chosen as states

      9   that are likely to be places where people drink tequila.

     10   If you look at the distribution, the consumption of

     11   tequila across the country, it's heavily focused in

     12   certain states.

     13                  And those were the states where I conducted

     14   this research.      So it was conducted all across the

     15   country.

     16                  As you can see in the lower right of the

     17   screen, I conducted a total of 455 interviews looking at

     18   confusion between KAH and Crystal Head.

     19   BY MR. FAY:

     20       Q.   You mentioned malls.       How is that done in a mall?

     21       A.   The way that is done, we post someone in the main

     22   concourse of the mall.        And as people are walking down

     23   the concourse of the mall, at random we -- what we call

     24   intercept them.      What that means is we politely

     25   interrupt them and ask them some questions.             And if they
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 106 of 391 Page ID
                                  #:16706                                      106


      1   answer the questions in a particular way, they have

      2   qualified for the survey.

      3                  And if they qualified and agreed to take the

      4   survey, then we take them to an interviewing room that's

      5   located within the confines of that mall.             And in

      6   exchange for the interview, we give them a small

      7   incentive that might be on the order of $3 or $5, to

      8   compensate them for their time spent taking that

      9   interview with us that afternoon.

     10                  They are located at random in the concourse

     11   of the mall.      We ask them some questions.         And then we

     12   take them into a room designated for that interviewing.

     13       Q.   Did you do all this yourself?          Or did you have a

     14   staff that assisted you in this?

     15       A.   I had a staff that assisted me.          But it was done

     16   to very specific instructions.          And the interviewers who

     17   were conducting this research were all trained.                The

     18   interview itself is done on computer.            And that computer

     19   program was written -- the survey itself was written by

     20   me, and then programmed so that we know exactly what's

     21   asked in the course of these interviews and the order in

     22   which -- and the phrasing in which questions are asked

     23   during the interviews.

     24       Q.   Now, you said that you intercept these folks in

     25   the mall and you ask them some questions.             What were
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 107 of 391 Page ID
                                  #:16707                                      107


      1   those questions that you ask them?

      2       A.   Well, it starts with questions to qualify them.

      3   So I want you to imagine for this set of questions that

      4   you see on the screen, we are standing in the concourse

      5   of the mall and we're asking people these questions.

      6   Not like you see them here.         But there is a series of

      7   questions in the language of a questionnaire.              And we

      8   are asking questions that confirm, first, that they are

      9   at least 21 years old.        Secondly, that they've purchased

     10   alcoholic beverages.        Third, that they're likely to

     11   purchase tequila in the next six months.             Fourth, that

     12   in the next six months they will consider purchasing a

     13   750-milliliter bottle.        That is a standard-size bottle

     14   of tequila that has a retail price -- we actually tested

     15   two retail prices.       One price was $30 for that bottle

     16   and the other was $35 for the bottle.            And then there's

     17   other criteria for data quality.           For example, we make

     18   sure that they are not working in an occupation where

     19   they would be likely to have an unusual amount of

     20   knowledge about this industry.

     21       Q.   And why are these qualifications important?

     22       A.   Well, one of the fundamental elements of a survey

     23   like this is to make sure that we are talking to people

     24   who represent the category.         We want to talk to

     25   people -- in this case, I was looking to talk to
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 108 of 391 Page ID
                                  #:16708                                      108


      1   consumers of tequila, people who are purchasing tequila.

      2   And you want the people you are talking to in the survey

      3   to look like the marketplace.          So that when you are

      4   done, you have a database that represents the

      5   marketplace.

      6       Q.   So you intercept someone.         You ask them these

      7   questions.     They qualify.      They agree to participate.

      8                  What happens next?

      9       A.   Well, if they agree to participate, then we take

     10   them into the interviewing room and we conduct the

     11   interview, which, as I mentioned before, is conducted

     12   according to a very specific inscriptive process.

     13       Q.   Why don't you describe that specific inscriptive

     14   process to us?

     15       A.   Remember, this is the Squirt format.           This format

     16   replicates the scenario where somebody sees Crystal Head

     17   in a store perhaps and then encounters KAH amidst other

     18   tequilas or where they're previously familiar with

     19   Crystal Head, and then they encounter KAH amidst other

     20   tequilas.

     21            So the first thing we have to do is we have to

     22   replicate that process where they see Crystal Head.               So

     23   what we showed them in the interview to start with was

     24   an actual bottle of Crystal Head and the box of Crystal

     25   Head.    The box was an empty box.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 109 of 391 Page ID
                                  #:16709                                      109


      1                     And prior to conducting this research, I had

      2   looked how stores typically display Crystal Head at

      3   retail.

      4                     And if you think about it, there's three

      5   ways to display it.        You could display the bottle.         You

      6   could display the box with the bottle inside the box.

      7   Or you could display the bottle and the box side by

      8   side.

      9                     And based on the research that I did, the

     10   most common way of showing Crystal Head at retail was

     11   the box and the bottle next to the box.

     12                     So the first thing that we did when we went

     13   into the interviewing room was we showed them an actual

     14   box and an actual bottle, just like you see on the

     15   screen, except actual products.

     16       Q.    You didn't show them pictures, you showed them

     17   the actual product?

     18       A.    Correct.     Everything that we are going to see in

     19   these slides is pictures.         But what was shown in the

     20   interviews was all actual products.

     21       Q.    Okay.     So now you've shown your qualified

     22   participants the Crystal Head box and the Crystal Head

     23   skull.     What next?

     24       A.    The next thing that we have to do -- remember, we

     25   are replicating a scenario where someone is previously
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 110 of 391 Page ID
                                  #:16710                                      110


      1   familiar with Crystal Head or sees Crystal Head and then

      2   sees KAH with other tequilas.

      3                  So the next thing we do is we should them

      4   what we call an array.        And as you can see here --

      5   again, in the interview, these were actual products.

      6   But this is an array consisting of four tequilas.               And

      7   on the far left we have Patron Silver.            And then we have

      8   KAH in Blanco.      Then we have 1800.       And then we have Don

      9   Julio.

     10                  There were actually four different versions

     11   of these arrays that we showed.          And you can see here a

     12   version where we've replaced the bottle of KAH with a

     13   different bottle.

     14                  You'll notice if you look on the neck label

     15   it says KAH, but this is a control.           This is one of the

     16   three controls that we tested.

     17                  We also had another line up that tested a

     18   slightly different version of this control.

     19                  And then finally in a fourth line-up, we

     20   tested yet another control.

     21                  So there were in total four line-ups.            And

     22   each -- the line-ups only differed in the product that

     23   they were shown.       In one of the line-ups, they were

     24   shown KAH.     And in the other three line-ups they were

     25   shown one of three different controls.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 111 of 391 Page ID
                                  #:16711                                      111


      1       Q.   Why don't you ex -- excuse me, Dr. Isaacson.

      2                  Please explain to the jury what you mean by

      3   a control.

      4       A.   So what's at issue in this case is not that KAH

      5   is making tequila, it's that KAH is making tequila in a

      6   skull-shaped bottle.

      7                  And when you think about the answers that

      8   you can get in a survey, people could give you answers

      9   for all kinds of reasons.         They could give you answers

     10   because they're not paying attention.            They could give

     11   you answers because they believe that all spirits that

     12   are light colored are made by the same company.

     13                  They are lots of reasons why people -- they

     14   could give you answers because they're having a good day

     15   or a bad day that day.

     16                  What we want to do in research like this is

     17   not just measure whether or not there's confusion but

     18   isolate the amount of confusion specific to KAH's use of

     19   a skull-shaped bottle.        This is very important.        We are

     20   isolating the amount of confusion that is specific to

     21   KAH's use of a skull-shaped bottle.

     22                  And the way that we do that is with a

     23   product that we call a control.          And if you think about

     24   this in medical, as an example, in medical research, if

     25   I was developing, let's say a cold medicine, I might
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 112 of 391 Page ID
                                  #:16712                                      112


      1   have one group of people who would take that medicine

      2   and another group of people who would take an identical

      3   looking medicine that didn't have the active ingredient.

      4   In medical research that's called the placebo.

      5                  And you compare the difference between with

      6   and without the active ingredient.           And that tells

      7   you -- that tells you the effect of the ingredient.

      8                  Here the active ingredient that we're

      9   looking to test, what I referred to as the element of

     10   interest, is KAH's use of a skull-shaped bottle.

     11                  So I have three different bottles that are

     12   not skull-shaped but otherwise have a lot of the same

     13   elements.     So if you look at control one, and if you

     14   look at control two, you will notice that those are both

     15   rounded bottles on the bottom.          They both have a neck

     16   and then a stopper on the top, just like KAH Blanco.

     17   You'll notice that they are in a white and black design,

     18   just like KAH Blanco.        And you'll notice that that

     19   design has elements of the design from KAH Blanco.

     20                  If you look on the lower right, the control

     21   4, the Cuervo skull bottle, you will notice that that

     22   element -- that's a bottle that actually has skull-like

     23   elements in its design.

     24                  And so what we have here is we have three

     25   different controls which are in some way similar to KAH
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 113 of 391 Page ID
                                  #:16713                                      113


      1   but are not skull-shaped.         And by comparing the results

      2   from the test, from the KAH with the results from the

      3   other controls, then I can identify specifically the

      4   amount of confusion due to KAH's use of a skull-shaped

      5   bottle.

      6       Q.    Okay.     Were all your qualified participants shown

      7   all four of these arrays?

      8       A.    No.     No.   You only -- you saw one array in the

      9   research.

     10                     And generally you saw -- it -- it -- we ran

     11   Control 4 later than we ran the other three.

     12                     But the test array, the Control 1, the

     13   Control 2, you would have been randomly assigned by the

     14   computer program to see one of those arrays.

     15                     So one participant who was interviewed could

     16   only see one of these four.         But we conducted enough

     17   interviews to get data on all four.

     18       Q.    And why was Control 4 run at a later date?

     19       A.    Well, an expert retained by KAH wrote a report

     20   discussing my survey, and he had criticized my controls.

     21                     And in his report he provided on two

     22   separate pages pictures of that specific bottle.               And

     23   said that that would be a much better control than the

     24   controls that I used.

     25                     So I took up his suggestion and tested the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 114 of 391 Page ID
                                  #:16714                                      114


      1   bottle that KAH's expert had recommended as one of the

      2   best controls that could be used.

      3       Q.   Okay.     Why did you -- when we look at these

      4   arrays of bottles, why did you pick the three tequilas:

      5   Patron, 1800 and Don Julio?

      6       A.   I went into stores and -- specifically went into

      7   15 stores where I -- this was either me or people who

      8   did this based on specific instructions.             But I actually

      9   wrote down what was in the stores and what was near KAH

     10   in the stores.

     11                    And these are premium or super premium

     12   tequilas.     When we are talking about KAH or a tequila

     13   that's at the price point that calls it premium or super

     14   premium.     All of these are premium or super premium

     15   tequilas.

     16                    So if you look at Patron Silver at the time

     17   that I did the research, this was -- Patron was the

     18   No. 2 selling brand of tequila in the United States.

     19                    And in the 15 stores that I looked at, this

     20   was near KAH in 14 or 15 of the stores.

     21                    If you look at 1800, that is -- at the time,

     22   that was the No. 5 selling brand of tequila in the

     23   United States.       It was a premium or super premium.          It

     24   is owned by the company that makes Jose Cuervo, which

     25   makes the No. 1 selling brand in the United States.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 115 of 391 Page ID
                                  #:16715                                      115


      1                  And then finally on the right we have Don

      2   Julio.     Don Julio is owned by a company called Diageo.

      3   Diageo is the biggest spirits company in the world.                 So

      4   bigger than any other company in the world that makes

      5   spirits.     And they make other tequilas.

      6                  They also make five different vodkas,

      7   including the No. 1 selling vodka in the United States.

      8                  So all of these bottles -- these other three

      9   bottles were in 14 or 15 of the 15 stores that I

     10   checked, near KAH.

     11                  They are commonly sold -- they're some of

     12   the most commonly sold premium or super premium

     13   tequilas.     So I was replicating what it might look like

     14   in a store if you went to the tequila aisle looking for

     15   KAH.

     16       Q.    Now, you first showed them the Crystal Head Vodka

     17   bottle.     And then your qualified participant saw one of

     18   these arrays.      What next?

     19       A.    After they saw one of these arrays, then we asked

     20   them questions that were intended to measure confusion.

     21   And there were two groups of questions, what we call

     22   batteries of questions.         And these are the questions

     23   that measured confusion as to source.

     24                  And so the question started with:           Please

     25   tell me whether you think that,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 116 of 391 Page ID
                                  #:16716                                      116


      1                  One or more of the products you see now is

      2   made by the company or person that makes the product I

      3   showed you before;

      4                  None of the products you see now is made by

      5   the company or person that makes the product I showed

      6   you before;

      7                  Or you don't know or have no opinion.

      8                  So if you said that one or more of these

      9   products is made by the company or person that makes the

     10   product I showed you before, then we asked you Question

     11   5:

     12                  Which product or products that you see now

     13   is made by the company or person that makes the product

     14   I showed you before?

     15                  So we give them a chance to indicate whether

     16   or not one of these products is made by the company or

     17   person that made the Crystal Head.

     18                  We obviously don't refer to it by the name

     19   Crystal Head.

     20                  And then we asked them which one.

     21                  And then we give them a chance to explain

     22   their answer.

     23                  So for each product that they selected in

     24   Question 5, we asked them:

     25                  What makes you say that this product is made
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 117 of 391 Page ID
                                  #:16717                                      117


      1   by the company or person that makes the product I showed

      2   you before?

      3                     So we get identification of the products

      4   that they think is made by the company or person, and we

      5   get an explanation of why they think that.

      6                     This is one set of questions that we ask to

      7   measure confusion.

      8       Q.    Okay.     Let's go to the next slide.

      9                     Is this the other set?

     10       A.    Yes, it is.

     11       Q.    Can you explain this set to the jury?

     12       A.    It's parallel construction to what we asked

     13   before.

     14                     So now the question asks:      Looking at these

     15   products, do you think that one or more of the products

     16   you see now is sponsored or approved by the company or

     17   person that makes the product I showed you before?

     18                     If they answer yes to one or more, then we

     19   ask:     Which product or products that you see now is

     20   sponsored or approved by the company or person that

     21   makes the product I showed you before?

     22                     And then as before we give them a chance to

     23   explain their answer.

     24                     In Question 9 we ask them:      What makes you

     25   say that this product is sponsored or approved by the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 118 of 391 Page ID
                                  #:16718                                      118


      1   company or person that makes the product I showed you

      2   before?

      3                  So once again we give them an opportunity to

      4   identify a product if they want.           We ask them which

      5   product.     And then ask them why.

      6       Q.    And what was the result of asking those

      7   questions?

      8       A.    Well, this slide shows the results, the measures

      9   that we got from these questions.

     10                  And this is -- the percentage of people who

     11   in response to either one of those sets of questions

     12   selected this particular product.

     13                  So when we asked them:        Is one of more of

     14   these products made by the same company or person?

     15                  Or when we asked:       Is one or more of these

     16   products sponsored or approved by that company or

     17   person?

     18                  This is the percentage of people who

     19   selected each of the products in the arrays.

     20                  So as you can see, KAH was selected more

     21   often than any other product.          It was selected by

     22   58.7 percent of respondents.

     23                  You can see that the three controls were

     24   selected by 24.8, 17.8 and 14.8 percent of respondents.

     25   And you can see that the other three products in the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 119 of 391 Page ID
                                  #:16719                                      119


      1   array were selected by lower percentages of respondents

      2   that range from 7 percent to 13 percent.

      3       Q.   When you referenced that company, what I showed

      4   you before, you're referring to the Crystal Head Vodka?

      5       A.   Correct.     But again, we never used the term

      6   "Crystal Head," and we never used the term "vodka" in

      7   the survey.

      8       Q.   Now, is this the end result of your test?             Or are

      9   there further calculations that need to be done?

     10       A.   There's a little bit of math to do to get to what

     11   we refer to as the net numbers from the research.

     12       Q.   Okay.     Why don't you explain that to the jury.

     13       A.   Sure.     Remember I said before that we want to

     14   identify the amount of confusion that's specifically due

     15   to KAH's use of a skull-shaped bottle.

     16                    And the way that we do that is we compare

     17   the measures from KAH with the measures from the three

     18   controls.

     19                    Can we go back one slide?       And then I'll

     20   explain this one.

     21       Q.   Sure.

     22       A.   So I've got a measure for KAH.          And then I've got

     23   a measure for Control 1.         I've got a measure for Control

     24   2 and I've got a measure for Control 3.

     25                    And what I'm going to do in the next slide
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 120 of 391 Page ID
                                  #:16720                                      120


      1   is compare those measures and generate what I call a net

      2   measure for confusion.

      3                   And that is the amount of confusion

      4   specifically due to KAH's use of a skull-shaped bottle.

      5                   Now, if we go to the next slide, you can see

      6   that math on the bottom of the slide.            If we look at the

      7   measure, you can see -- for each of these three bottles,

      8   the measure for KAH is 58.7 percent, that's straight off

      9   the prior slide.       And then we just subtract either

     10   Control 1, Control 2 or Control 3.           Then we get a net

     11   measure.     So we get a net measure 33.9 for the first

     12   control.     We get a net measure of 40 .9 for the second

     13   control.     And for the Cuervo skull bottle, the one

     14   recommended by KAH's expert, we get 43.9.

     15                   So what's striking here is that no matter

     16   which control you use the measures are all within a

     17   relatively narrow band.        They range from 33.9 percent to

     18   43.9 percent.

     19       Q.   In your expert opinion, Dr. Isaacson, do those

     20   numbers, 33.9 percent to 43.9 percent, do those

     21   demonstrate consumer -- or likelihood of consumer

     22   confusion?

     23       A.   Yes.    Those are in the range that would normally

     24   be taken as indicating substantial likelihood of

     25   confusion.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 121 of 391 Page ID
                                  #:16721                                      121


      1       Q.   Now, in your Squirt test, you used two

      2   skull-shaped bottles?

      3       A.   Correct.

      4       Q.   Was it unfair to use two skull-shaped bottles in

      5   your test?

      6       A.   No.

      7       Q.   And why is that?

      8       A.   Well, I'm replicating the marketplace.            And in

      9   the marketplace there is a skull-shaped Crystal Head and

     10   there's a skull-shaped KAH.

     11                    Had there been more skull-shaped bottles in

     12   the marketplace, my design would have been different.

     13                    But at the time that I did the research, I

     14   only knew of two skull-shaped bottles.            And so my

     15   research design replicated what the marketplace looked

     16   like at the time.

     17       Q.   Okay.     Let's move on, Dr. Isaacson, and let's

     18   talk about -- go to the next one.

     19                    Oh, I always forget this one.

     20                    When you interviewed your qualified

     21   participants, and they indicated confusion, did you ask

     22   them why?

     23       A.   Yes.

     24       Q.   Okay.     And what do we see here on this slide?

     25       A.   What we see here are some of the reasons given by
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 122 of 391 Page ID
                                  #:16722                                      122


      1   people who thought that KAH was made or sponsored by the

      2   same company as Crystal Head Vodka.

      3                  This is that last question in the three

      4   question series.       When we asked people why, you can see

      5   respondent, whose ID number was 2, said, "The skeleton

      6   design, they both have the same design and features."

      7                  You can see ID No. 20.        "Because both

      8   designs are skulls."

      9                  ID No. 232.     "They both use a skull shape."

     10                  ID No. 151.     "The shape of the bottle, it's

     11   unique.    It's pretty much a skull."

     12                  So these are not all of the responses like

     13   these.    But these are some of the responses that people

     14   gave for selecting KAH from the array.

     15       Q.    Now, let's move on, Dr. Isaacson, to the other

     16   test you discussed, the Eveready test.            How did you

     17   conduct that?

     18       A.    I conducted the Eveready test like the Squirt

     19   test in interview locations that were located, once

     20   again, throughout the country.          This time, again,

     21   focused on the locations where -- that are most

     22   important to tequila.

     23                  So you can see the locations on the -- on

     24   this slide where that research was conducted.              And you

     25   can see that there were a total of 134 Eveready
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 123 of 391 Page ID
                                  #:16723                                      123


      1   interviews that were conducted.

      2       Q.   Okay.     And why don't you explain to the jury how

      3   you conducted your Eveready survey.

      4       A.   Well, the general -- the general idea was similar

      5   to what we talked about where we are stopping people in

      6   the concourse of a mall, seeing if they qualify.               And if

      7   they qualify, we are taking them -- if they're willing,

      8   we are taking them to an interview room located within

      9   that mall where they are interviewed by a trained

     10   interviewer.

     11                    The way -- this is a different format than

     12   the Squirt survey.          And this format started by showing

     13   people -- by showing people a bottle and seeing if that

     14   bottle is confused with another bottle.

     15       Q.   And do you have -- what bottles were you showing

     16   them?

     17       A.   I was showing them the KAH Blanco bottles in that

     18   research.

     19                    MR. FAY:     Your Honor, can we have that

     20   Blanco bottle handed to the witness?

     21                    THE COURT:     Yes.     The exhibit number?    You

     22   can identify that.

     23                    MR. FAY:     772.     It is right there at the

     24   end.

     25                    THE COURT:     The clerk will place 772 before
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 124 of 391 Page ID
                                  #:16724                                      124


      1   the witness.

      2                     THE WITNESS:   Thank you.

      3   BY MR. FAY:

      4       Q.    So once again, Dr. Isaacson, you showed that

      5   bottle to your qualified participant?

      6       A.    Correct.     After qualifying, they were brought

      7   into a room.        And the first thing that they were shown

      8   in the room is -- this bottle was placed on the table in

      9   front of them facing them.         And they were given an

     10   opportunity to look at the bottle.

     11                     The same way that in the other research we

     12   had started with the Crystal Head bottle and box, this

     13   time now we are starting with just a KAH Blanco.

     14   Actually, that's for half of the respondents.              The other

     15   half of the respondents in the Eveready survey saw one

     16   of the controls.

     17       Q.    Okay.

     18       A.    But for the people who were in the test version,

     19   they would have seen a bottle like this, the KAH Blanco

     20   bottle, placed on the table in front of them, and they

     21   would have been given an opportunity to examine that

     22   bottle.

     23       Q.    What questions did you ask your participants in

     24   the Eveready test in order to qualify them?

     25       A.    We asked them -- we asked them similar questions
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 125 of 391 Page ID
                                  #:16725                                      125


      1   to the questions that we asked for the -- for the

      2   Eveready -- for the Squirt survey.           We confirmed that

      3   they were 21 years old or older.           We confirmed that they

      4   purchased alcoholic beverages.          We confirmed in this

      5   case that they are likely to purchase a bottle of vodka

      6   in upcoming months.       And then we also confirmed that

      7   they're likely to purchase it at a particular price

      8   point.    And then finally we confirmed other things for

      9   data quality.

     10                  So it's an analogous set of questions the

     11   way that we qualify people for the Squirt survey.

     12       Q.    So you show them the KAH Tequila bottle.           What

     13   questions did you then ask your qualified participants

     14   in this Eveready survey?

     15       A.    I do believe that we have a slide with those

     16   questions.

     17                  This is -- these are similar to what I

     18   talked about earlier with regard to the Squirt survey,

     19   they're just formatted a little differently to

     20   accommodate the different research design.

     21                  Question 2 asks:       Who do you think makes or

     22   puts out this product?

     23                  So again, you've got the -- the interviewee

     24   has the KAH Blanco bottle in front of them, and we are

     25   asking:     Who do you think makes or puts out this
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 126 of 391 Page ID
                                  #:16726                                      126


      1   product?

      2                  Then we ask them a why question.             What makes

      3   you think that?      Anything else?      So we are giving them

      4   an opportunity to explain their answer.

      5                  And then we ask them Question 4:             Are you

      6   aware of any other products or brands put out by the

      7   company or person who makes or puts out this product?

      8                  If they say yes, we ask them:          What other

      9   products or brand do you think are put out by the

     10   company or person who makes that product?

     11                  And then once again, as before, we give them

     12   an opportunity to explain their answer with Question 6:

     13   What makes you think that?

     14       Q.   These were -- there's another set of questions,

     15   too, right?

     16       A.   No.   These are all of the questions -- oh, I'm

     17   sorry.

     18                  Like I was saying, there's questions with

     19   regard to sponsorship or approval as well.             My

     20   apologies.

     21                  So there's a follow -- there is in fact a

     22   follow-on set of questions.         And those questions are:

     23   If you have an opinion, do you think that whoever makes

     24   or puts out this product is sponsored or approved by

     25   another company or person; is not sponsored or approved
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 127 of 391 Page ID
                                  #:16727                                      127


      1   by another company or person; or you don't know?

      2                  If they say:      Is sponsored or approved.

      3   Then we ask them:       What other company or person you

      4   believe sponsored or approved whoever makes the product

      5   I showed you?

      6                  And then finally we ask them a why question:

      7   What makes you think that?

      8                  So similarly to what I described in the

      9   Squirt survey, we have a set of questions to measure

     10   confusion as to source, and a set of questions to

     11   measure confusion as to sponsorship or approval.

     12       Q.    And you asked those questions.

     13                  What were the results of your Eveready

     14   survey?

     15       A.    Well, if you look at the people who were shown

     16   the KAH Blanco bottle, not a singling one of them

     17   mentioned Crystal Head or Crystal Head Vodka or skull

     18   vodka or any response that could reasonably be inferred

     19   as referring to Crystal Head in response to seeing the

     20   KAH Blanco bottle.       So the results were strikingly

     21   different from the Squirt survey.

     22       Q.    So then -- so what do you do with that?

     23       A.    Well, it was surprising, because normally if you

     24   have the same thing and you are measuring it by two

     25   different methods, you would expect those methods to
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 128 of 391 Page ID
                                  #:16728                                      128


      1   converge.

      2                  So if I get up in the morning and I go into

      3   the bathroom and I have two different bathroom scales,

      4   and I measure myself on one scale and I measure myself

      5   on the other scale, the weight that comes up, regardless

      6   of whether I like it, should be similar on the two

      7   scales.

      8                  But here we have two different measuring

      9   methods, two different scales, if you will, and the

     10   result is very different on the two scales.

     11                  So I thought about it and the only answer as

     12   to why these results could be so different could be that

     13   the conditions are not appropriate for one of the tests.

     14   And more specifically, I mentioned before, that in order

     15   to do an Eveready, one has to have a well-known brand.

     16   And if the brand is not well-known, then an Eveready is

     17   not appropriate.       And that would explain the difference

     18   between these two sets of results that I just described.

     19       Q.    On this slide here we have a couple quotations

     20   that are in your report.         Right?

     21       A.    That's correct.     And as I mentioned before, the

     22   way that an Eveready design works, is it requires the

     23   respondent to make a leap in their own mind, to make a

     24   connection.     I see one product and it brings to mind

     25   another product.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 129 of 391 Page ID
                                  #:16729                                      129


      1                  But if that other product isn't in mind,

      2   then all that -- and Eveready really measures is it

      3   measures the absence of awareness of that other product.

      4   Your ignorance of the other product, that's what it

      5   would be measuring.

      6                  So this first quote here is from a treatise

      7   called McCarthy on Trademarks and Unfair Competition.

      8   And Professor McCarthy says that Eveready surveys are

      9   only appropriate for brands that are widely recognized.

     10                  The second quote is from the expert who I

     11   referred to earlier who had recommended the Cuervo skull

     12   control that I used in my research.           In a prior report

     13   that he had written in a case called Lumber Liquidators,

     14   he had written that Eveready can entirely fail to

     15   measure the likelihood of confusion when the plaintiffs

     16   mark is not very well-known.

     17                  So if you think about the issue of whether

     18   or not in this case Crystal Head is well-known.              If it's

     19   not well-known, that would explain the difference

     20   between the results from the these two, from my Eveready

     21   survey and my Squirt survey.

     22       Q.   And the Squirt survey, is that designed to

     23   measure consumer confusion when a product is not

     24   well-known?

     25       A.   You could use a Squirt survey on a product that
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 130 of 391 Page ID
                                  #:16730                                      130


      1   is well-known and you could use a Squirt survey on a

      2   product that's not well-known.

      3                    We have two independent sets of conditions.

      4   In order to use Squirt, we have to have proximity.               The

      5   products have to be near each other either physically or

      6   in consumers' minds.

      7                    And in order to use Eveready, we have to

      8   have a product that's well-known.           If a product is not

      9   well-known, you cannot use Eveready, it's an improper

     10   measure.

     11       Q.   So what did you do next?

     12       A.   The obvious question was:         Is Crystal Head

     13   well-known?       So the next thing that I did was conducted

     14   research to measure the awareness of Crystal Head to

     15   determine whether in fact it was well-known.

     16       Q.   Okay.     Describe that.     How did you conduct that

     17   research?

     18       A.   That research was also conducted in malls similar

     19   to the kind of locations that we talked about

     20   previously.

     21                    And what I did was, I showed consumers a

     22   bottle of Crystal Head and I also showed them bottles of

     23   two other well-known vodkas, and asked them if they

     24   recognize -- if they've seen these before and if they

     25   can name them.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 131 of 391 Page ID
                                  #:16731                                      131


      1                  So I want you to imagine for this research

      2   that -- once again, we've qualified people in the

      3   concourse of the mall the same way that I've described

      4   for the other two studies.         And now when I take them

      5   into a room -- in this case the other two surveys we

      6   were showing actual products.          This survey we showed

      7   pictures.     And so they saw a picture of the front and

      8   the side of the Crystal Head bottle.

      9                       And in the same interview we showed them

     10   a picture of the front and the side of a bottle for a

     11   brand called Absolut.

     12                       Now you'll notice that if you look at

     13   that bottle that the brand name on it has been -- it's

     14   fuzzy.    You can't read it.       We did that intentionally.

     15   We didn't want people to be able to read the name of the

     16   brand off the bottle.

     17                  And you can also see the third bottle is

     18   Grey Goose.     And if you look in the middle of the bottle

     19   on the left, the Grey Goose bottle, just above the word

     20   "vodka," that's where -- normally where the word Grey

     21   Goose would appear.       But once again we made that fuzzy.

     22                  So if you are sitting in the interview, you

     23   can't read the word Absolut off this bottle.              You can't

     24   read the word Grey Goose off the Grey Goose bottle.               And

     25   you will also notice that there's no name Crystal Head
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 132 of 391 Page ID
                                  #:16732                                      132


      1   on the Crystal Head bottle as well.

      2                    So we have three bottles.       And we're asking

      3   in the survey two questions to understand and measure

      4   the awareness of these three particular bottles.

      5       Q.    Let me just ask you, Dr. Isaacson, I assume the

      6   names of the three vodkas didn't appear at the top of

      7   the pictures like it does here?

      8       A.    No.    That's correct.    The names that appear here

      9   are on these slides but were never shown to people

     10   during the research.        And I was just going to say that

     11   the reason why I picked Absolut and Grey Goose is

     12   because Absolut and Grey Goose at the time were the

     13   No. 2 and No. 3 selling brands of vodka in the United

     14   States.     These are premium brands, similar to Crystal

     15   Head being a premium brand.         These are unique iconic

     16   bottles.        These are interestingly shaped bottles with

     17   interesting designs on them, similar to Crystal Head

     18   being a unique, interestingly shaped bottle.              So they

     19   were great comparisons to use in the research in

     20   addition to Crystal Head.

     21       Q.    Your in your awareness study, participants see

     22   these three pictures.        And did you ask them questions?

     23       A.    Yes, sir.

     24       Q.    What were those?

     25       A.    Well, once again, as with the other research, the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 133 of 391 Page ID
                                  #:16733                                      133


      1   questions were scripted.         And here you see the two most

      2   important questions in the research.            So they got asked

      3   these questions three times.

      4                  One set of questions for the first bottle

      5   they saw.     One set of questions for the second bottle.

      6   And one set of questions for the third bottle.

      7                  And so the question would have been

      8   Question 3:     Even though the picture of the product has

      9   been altered, have you ever seen the product shown in

     10   this picture before?        You may answer yes, no, or that

     11   you don't know.

     12                  So it's a very simple question:          Have you

     13   ever seen this before?        And we're looking for an answer

     14   of yes, no, or I don't know.

     15                  And then for those who said yes, we asked

     16   them Question 4:       What do you think is the brand name of

     17   this product?      If you don't know or you're not sure, you

     18   may simply say that you don't know.

     19                  So they're getting two questions for each of

     20   these three bottles.        By the way, they're getting the

     21   bottles in random order.         So it's a different order for

     22   every respondent.

     23                  But they're getting the question of:            Have

     24   you ever seen it before?         And what is the brand name of

     25   the product?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 134 of 391 Page ID
                                  #:16734                                      134


      1       Q.   Okay.     And what were your results?

      2       A.   These are the measures from the research.             And

      3   you can see that for Question 3, the percentage of

      4   respondents who say that they have seen the product in

      5   the picture before is 46 percent for Crystal Head; 93

      6   percent for Absolut, and 85 percent for Grey Goose.

      7                    And what's nice about that first set of

      8   results, is it's consistent with the market share of

      9   these brands in the marketplace -- at least at the time

     10   that I was doing the research.          Absolut was the No. 2

     11   brand.    That had the highest numbers, 93 percent.             Grey

     12   Goose was the No. 3 brand, and that was at 85 percent.

     13   And obviously Crystal Head was a much smaller brand and

     14   that was at 46 percent.

     15                    If I look at Question 4 now, the percentage

     16   of all respondents who could identify the product by

     17   name -- and when I say by name as opposed to by name or

     18   nickname, by name means I said, let's say, Crystal Head,

     19   or something very close to that.           Nickname could be

     20   skull vodka or some name that's not Crystal Head but

     21   that could be reasonably inferred as indicating Crystal

     22   Head.

     23                    And if we take the name or nickname

     24   measures, we get to 14.5 percent for Crystal Head.               And

     25   you can compare that with 83.6 percent for Absolut, and
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 135 of 391 Page ID
                                  #:16735                                      135


      1   74.5 percent for Grey Goose.

      2                     So once again, the numbers are in the drink

      3   that one would expect based on the market share of these

      4   brands.     And you can also see that only -- let's say

      5   approximately 15 percent of people in the marketplace

      6   can identify Crystal Head at the time that I did the

      7   research, either by name or by nickname.             So in any

      8   fashion whatsoever.

      9       Q.    This is -- 14.5 percent of people who were able

     10   to name Crystal Head vodka after seeing it, the bottle?

     11       A.    Correct.     In many ways -- this is an easier task.

     12   If we compare this to the Eveready, this is an easier

     13   task than the Eveready.        Because in the Eveready, I show

     14   you KAH, but I never show you Crystal Head.             You are

     15   expected -- or were measuring whether or not you made a

     16   connection, a cognitive connection, a connection in your

     17   mind between KAH and Crystal Head.           And then you have to

     18   name Crystal Head without ever seeing it.

     19                     In this research we are showing people the

     20   Crystal Head bottle and measuring whether or not they

     21   can name it after seeing it in front of them.              And only

     22   15 percent can name it by anything, either the actual

     23   name or some name that we could interpret as reasonably

     24   related to Crystal Head.

     25       Q.    Okay.     Is your awareness study an example of an
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 136 of 391 Page ID
                                  #:16736                                      136


      1   assisted memory study?

      2       A.   This is what we would call an aided task or

      3   assisted task.      They are seeing the Crystal Head bottle,

      4   and they need to identify it based on seeing the bottle.

      5   This is an unassisted or unaided task in the Eveready

      6   where they don't have that Crystal Head bottle in front

      7   of them.

      8       Q.   If your awareness survey had been an unaided

      9   survey, would you expect that 14.5 percent number to be

     10   lower?

     11       A.   Yes.

     12       Q.   When you were retained as an expert in this

     13   action, Dr. Isaacson, did Globefill provide you with

     14   various documents to review?

     15       A.   Yes.

     16       Q.   And did any of those documents bear on this

     17   issue, this issue of brand awareness?

     18       A.   Yes.    Globefill had some marketing research which

     19   I looked at and compared to this research that I had

     20   done.

     21       Q.   Okay.    Is this the report to which you are

     22   referring?

     23       A.   Yes.

     24       Q.   And what's your understanding of what this is?

     25       A.   This is a what's called a usage and attitudes
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 137 of 391 Page ID
                                  #:16737                                      137


      1   study.     In the field of marketing research, this is a

      2   standard kind of a research study that companies

      3   undertake.        And they undertake it in order to understand

      4   how consumers use certain products in a category, and

      5   what their attitudes are towards products or towards

      6   brands in that category.

      7                     This particular research as you can see was

      8   conducted in 2011 and it was based on 2,000 vodka

      9   drinkers.     And it was conducted online.

     10                     So this is -- I'm -- this is a relatively

     11   standard format for marketing researches.             It's a

     12   commonly used format.        That's what I want to say.         And

     13   it's based on a pretty good size database, namely, 2,000

     14   respondents.

     15       Q.    Okay.    What about this report had a bearing on

     16   Crystal Head Vodka brand awareness?

     17       A.    One of the things that was asked of respondents

     18   in this research was they showed respondents a list of

     19   brands.     And you can see the question at the top of the

     20   screen that these respondents were asked:             Please review

     21   the list below and indicate which vodka brands you are

     22   aware of.

     23                     And you remember, in my awareness survey, I

     24   surveyed three brands:        Absolut, Grey Goose and Crystal

     25   Head.     And all of the measures for my survey are within
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 138 of 391 Page ID
                                  #:16738                                      138


      1   five percentage points of the measures for this survey.

      2                  You remember my measure for Crystal Head was

      3   four 14.5 percent, including name or nickname.              Here it

      4   is 10 percent.      You can see the Absolut number is the

      5   highest number.      And you remember it was the highest

      6   number in my survey.        And you can see Grey Goose is

      7   lower than Absolut, and it was lower than Absolut in my

      8   survey.

      9                  So this is -- when I looked at this, this

     10   corroborates my research and indicates that this 10

     11   percent number is very close to my 14.5 number from my

     12   research.

     13       Q.    So your awareness study and this awareness study

     14   that was commissioned by Globefill, what did you take

     15   away from all of this?

     16       A.    I took away that, either by this research or my

     17   research, that Crystal Head does not have sufficient

     18   research -- does not have sufficient awareness for

     19   Eveready to be an appropriate research design.

     20                  And so that means that the Squirt measure --

     21   the measure from the Squirt format survey is the

     22   appropriate measure to use in this matter.

     23             Q   Now, that survey, the Squirt survey, I

     24   believe you said in order to conduct that, that the

     25   products being tested have to be related.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 139 of 391 Page ID
                                  #:16739                                      139


      1       A.   They have to be proximate, correct.

      2       Q.   Okay.     So -- so why don't you tell the jury once

      3   again what that means.        What does proximate mean in --

      4   in -- in the industry in which you -- you were employed?

      5       A.   So proximate can be physical.          So I might have

      6   two products that exist side by side on the same shelf.

      7                    Proximity can be I might experience one

      8   product.     So, for example, I might see Crystal Head in

      9   a bar and then I might go into a liquor store and I

     10   might see KAH on the -- on the tequila shelf, and so I

     11   see them in succession.

     12                    Products can become complimentary.         That

     13   could be a form of proximity.          Products can be used for

     14   a similar use and a similar function.            That's another

     15   kind of proximity where products are -- are substitutes,

     16   one for another.

     17                    So really what you're looking for is you're

     18   asking yourself the question, did these products ever

     19   exist in the consumer's mind at the same time or in

     20   rapid succession, because that's what my Squirt format

     21   survey replicates.       It replicates a process where you

     22   see Crystal Head and then you see KAH.            And what you

     23   look for in the marketplace is to see whether or not

     24   either physically or by some other fashion those

     25   products are in the consumer's mind at the same time.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 140 of 391 Page ID
                                  #:16740                                      140


      1       Q.   Okay.    And did you do any research into this

      2   issue of proximity?

      3       A.   I did.

      4       Q.   Okay.    And what did you look at?

      5       A.   I looked at some data from a company.            And I

      6   believe it's -- it's on the next slide.            This is data

      7   from a company called Simmons.          They're a very large

      8   company that is a standard provider of information on

      9   consumers that marketers use throughout the country.

     10   They're a division of a very large company called

     11   Experian.     And this is a survey based on nearly 25,000

     12   consumers.       So this is a specified process they have.

     13                    They gather data on what they call a rolling

     14   basis.    So every month they conduct more interviews and

     15   the drop the oldest interviews from the database.                 So at

     16   time that I looked at this database, it was based on

     17   responses from 24,772 consumers gathered over multiple

     18   months of conducting research.

     19                    And they asked -- among many other questions

     20   asked in the research, they asked two very

     21   straightforward questions.         One is, do you drink vodka?

     22   And the other is, do you drink tequila?

     23                    And so if you look at of the respondents who

     24   say that they drink vodka, 63 percent, nearly two-thirds

     25   say that they also drink tequila.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 141 of 391 Page ID
                                  #:16741                                      141


      1                    And if you look at the opposite drink, if

      2   you look at the respondents who say that they drink

      3   vodka, nearly half, 49 percent, say that they also drink

      4   tequila.

      5       Q.   So what does this data tell you?

      6       A.   What it tells you is that these are not products

      7   that have, by and large, separate consumer bases.               These

      8   are products that overlap.         Two-thirds of those who

      9   drink tequila also drink vodka.          About half of those who

     10   drink vodka also drink tequila.          What this means is that

     11   potentially a tequila bottle could be relevant for a

     12   vodka bottle for a vodka drinker and the vodka bottle

     13   could be relevant for a tequila drinker.             So we're not

     14   looking at -- at categories that are completely

     15   separate, but rather we're looking at categories that

     16   share a consumer base, a consumer who often drinks both

     17   tequila and vodka.

     18       Q.   Okay.     And do manufacturers respond to this kind

     19   of data and --

     20       A.   They do.     They do.    And if you look at the

     21   category, it's a common thing that companies

     22   will manufacture and sell both tequila and vodka.

     23                    So a minute ago I talked about the overlap

     24   among the consumer base.         There's also an overlap

     25   between tequila and vodka in the manufacturer base.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 142 of 391 Page ID
                                  #:16742                                      142


      1                    So if you look at a company called Beam,

      2   named after Jim Beam, you can see that they make three

      3   different vodkas -- Pinnacle, Effen and Pucker.              And

      4   they also make three different tequilas that you see

      5   listed on that slide.        Patron, which was one of the

      6   tequilas that was tested in my lineup.            Patron Silver, I

      7   mentioned that that's the No. 2 brand of tequila in the

      8   United states, they make a vodka called Ultima -- Ultmat

      9   vodka.    And then finally, I mentioned Diageo.            They're

     10   the manufacturers of a product called Don Julio, and

     11   they make not only Don Julio, but they three different

     12   vodkas, including Smirnoff, the No. 1 at the time, the

     13   No. 1 selling brand of vodka in the United States.

     14                    So these products not only share a consumer

     15   base, but they also share a base of manufacturers who

     16   sell both products.       So for a consumer to conclude that

     17   a vodka and a tequila were both made by the same company

     18   would not be crazy; it would be consistent with what

     19   happens frequently in the marketplace.

     20       Q.   Okay.     Could we go back to Slide 15.

     21                    This slide, Dr. Isaacson, is about your

     22   Eveready survey, right?

     23       A.   Correct.

     24       Q.   Okay.     And the total number of qualified

     25   participants you had at that the 134 number?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 143 of 391 Page ID
                                  #:16743                                      143


      1       A.   That is correct.

      2       Q.   Okay.     And that's a little less than one-third of

      3   the qualified participants that you had in your Squirt

      4   survey, right?

      5       A.   Correct.

      6       Q.   Okay.     Did you end this survey early, this

      7   Eveready survey?

      8       A.   No.     I ended it when I had enough interviews to

      9   know how it was -- how it was turning out.             But I

     10   conducted more interviews for the Squirt survey in part

     11   because I -- I tested more products.

     12                    You remember that Squirt survey had four

     13   line-ups, and each of those was a new set of

     14   respondents.       The Eveready survey we had only two

     15   products as opposed to four products.

     16       Q.   Okay.     So let's bring it all to an end here,

     17   Dr. Isaacson.

     18                    Once again, what was the issue that you were

     19   asked to provide an expert opinion on in this case?

     20       A.   The likelihood of confusion, whether consumers

     21   are likely to confuse Crystal Head Vodka and KAH

     22   Tequila.

     23       Q.   Okay.     And did you reach an opinion on that

     24   issue?

     25       A.   I did.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 144 of 391 Page ID
                                  #:16744                                      144


      1       Q.    And what is that opinion?

      2       A.    My opinion is that there's a substantial or

      3   significant likelihood of confusion between those two

      4   products.

      5       Q.    And is that based on the testing that we've

      6   discussed here today?

      7       A.    Yes, sir.

      8                     MR. FAY:     Okay.     Thank you.   Pass the

      9   witness.

     10                     THE COURT:     Before the cross-examination, if

     11   anybody wishes to stand and stretch, you may do so.

     12                     Counsel may proceed when you're ready.

     13                     MR. RAFFERTY:        Thank you, Your Honor.

     14                            CROSS-EXAMINATION

     15   BY MR. RAFFERTY:

     16       Q.    Still good morning, Dr. Isaacson.

     17       A.    Good morning.

     18       Q.    My name is Tom Rafferty.           I don't think we've

     19   met.     I represent Elements Spirits.

     20                     Dr. Isaacson, on your -- when you did your

     21   Eveready study, generally speaking, are Eveready studies

     22   considered the gold standard of confusion surveys?

     23       A.    In certain context, yes.

     24       Q.    Okay.     But gold standard meaning this is the most

     25   reliable, and I take it -- you're in certain context.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 145 of 391 Page ID
                                  #:16745                                      145


      1       A.   Yes, in certain context.        That's correct.

      2       Q.   In your Eveready study you said you had 134

      3   people who participated, who were interviewed?

      4       A.   Correct.

      5       Q.   They qualified -- they got through your

      6   qualifications.      They were taken to the room in the

      7   mall.    They were asked questions, shown the bottle, and

      8   then gave their answers and left?

      9       A.   Yes, sir.

     10       Q.   Of that 134 number, how many of them actually saw

     11   the KAH Blanco bottle?

     12       A.   Approximately half.

     13       Q.   So half of them saw the KAH Blanco bottle and the

     14   other half you didn't show them that bottle?              You were

     15   using them as a control group?

     16       A.   The other half saw the control bottle as opposed

     17   to the KAH Blanco bottle.

     18       Q.   Okay.    Now, were they allowed to pick the bottle

     19   up and look at it?

     20       A.   Yes.

     21       Q.   And I think you said that you concluded that

     22   there was no substantial confusion that could be

     23   demonstrated by virtue of that study between the KAH

     24   Tequila bottle and the Crystal Head vodka bottle; is

     25   that right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 146 of 391 Page ID
                                  #:16746                                      146


      1       A.    I said that there wasn't a single person who

      2   mentioned Crystal Head in response to seeing that

      3   bottle.

      4       Q.    So every single person who was showed the KAH

      5   Blanco in answer to those questions, not a single one of

      6   them made any reference to the Crystal Head vodka

      7   bottle; is that right?

      8       A.    That's correct.

      9       Q.    And not a single one of them made any reference

     10   to Mr. Aykroyd; is that right?

     11       A.    That's correct.

     12       Q.    Okay.     And in fact many of those respondents, in

     13   answering your questions, correctly identified the

     14   Blanco bottle as a product of KAH, didn't they?

     15       A.    Correct.

     16       Q.    And they said so?      They said this is KAH Tequila?

     17       A.    Some of them, that's correct.

     18       Q.    Do you remember how many of them, sir?

     19       A.    I don't remember.

     20       Q.    Dozens?

     21       A.    I don't remember the exact number, but many.

     22       Q.    Many.     And many -- so many were not confused at

     23   all?     They new exactly what it was when you gave it to

     24   them?

     25       A.    I agree with the second half of your statement.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 147 of 391 Page ID
                                  #:16747                                      147


      1   They knew what it was when I gave there to them and they

      2   didn't mention Crystal Head.

      3       Q.   So they weren't confused, were they, sir?

      4       A.   Well, I don't think that that test was an

      5   appropriate measure of confusion.           So I don't --

      6       Q.   I didn't ask you that question.          I asked you

      7   whether they were confused.

      8       A.   I can't answer that.

      9       Q.   You gave them a Blanco tequila bottle and they

     10   correctly identified it as the KAH Tequila bottle?               Not

     11   the Crystal Head vodka bottle, not something associated

     12   with Mr. Aykroyd or Globefill, didn't they?

     13       A.   That's correct.

     14       Q.   Okay.    So they weren't confused, were they, sir?

     15   They new exactly what they had in their hand?

     16       A.   I wouldn't go from the first part of your

     17   statement to the second part of your statement.

     18       Q.   You still think they were confused?

     19       A.   Well, I think that the awareness study indicates

     20   that that's not an appropriate measure of confusion.

     21       Q.   That is a different study with different

     22   participants, wasn't it, sir?

     23       A.   Which study?

     24       Q.   The awareness study.

     25       A.   That's correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 148 of 391 Page ID
                                  #:16748                                      148


      1       Q.   That came long after you closed down your

      2   Eveready study?

      3       A.   It came the very next month; it wasn't long

      4   after.

      5       Q.   It was a month later?

      6       A.   Less than a month; it was a few weeks later.

      7       Q.   Okay.    I'm asking you about the participants in

      8   this first study, the Eveready study, who were handed

      9   this bottle and asked whether they could identify what

     10   brand it was and who manufactured it, were they

     11   confused?

     12       A.   I can't answer that, because I don't believe that

     13   that survey was measuring confusion.            It was measuring

     14   something else.

     15       Q.   Whatever you were measuring, sir, some of them,

     16   you said maybe dozens, in fact told you in their written

     17   responses to your questions that they knew exactly who

     18   made the bottle and what brand it was and what it was.

     19   It was KAH Tequila?

     20       A.   That's correct.

     21       Q.   Okay.    Now, you said that, I think on your

     22   direct, that you -- you concluded that you had enough

     23   interviews in the Eveready study in the 134 to know how

     24   it was turning out; is that right, sir?

     25       A.   That's correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 149 of 391 Page ID
                                  #:16749                                      149


      1       Q.    And you knew how it was turning out what -- the

      2   way it was turning out was there was absolutely not a

      3   scintilla of confusion among the participants in that

      4   survey?

      5       A.    There was nobody who mentioned Crystal Head in

      6   response to seeing that KAH Blanco bottle.

      7       Q.    Was there anyone who mentioned Mr. Aykroyd?

      8       A.    No.

      9       Q.    Was there anyone who mentioned the legend of the

     10   13 crystal heads?

     11       A.    No.

     12       Q.    In fact, what they did mention was KAH Blanco

     13   tequila manufactured by a company in Mexico and sold

     14   under the KAH brand, right?

     15       A.    Well, they didn't say that whole statement.            But

     16   some people said KAH in response to seeing that bottle.

     17       Q.    Okay.   Now, you also concluded that the -- the

     18   items you were studying -- the KAH Tequila and the

     19   Crystal Head vodka -- were premium items?

     20       A.    Yes, sir.

     21       Q.    Okay.   And -- but the people in your study, they

     22   weren't being asked whether they would buy any of these.

     23   They were -- in fact, you didn't even ask them whether

     24   they actually had purchased tequila at that price point,

     25   had you?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 150 of 391 Page ID
                                  #:16750                                      150


      1         A.   Well, we asked them about purchasing.          But the

      2   purchase question was about future purchase, whether

      3   they were likely to purchase at a particular price

      4   point.

      5         Q.   Was it whether they were likely to purchase or

      6   whether they would consider purchasing?

      7         A.   Whether they would consider purchasing, I believe

      8   was the exact phrasing.

      9         Q.   Okay.     Do you believe that whether someone would

     10   consider doing something is a -- is a way to measure

     11   whether they're likely to do it?

     12         A.   It depends on the context.       But I believe that

     13   the question I used was an appropriate way to see

     14   whether people would purchase at the right price point.

     15         Q.   Dr. Isaacson, I'm on a clock, so I'd like you to

     16   answer my questions.

     17                      Do you believe that someone saying that I

     18   would consider purchasing something in the future at

     19   this point is an indication that they're likely to do

     20   so?

     21         A.   I'm not sure how to answer your question other

     22   than to say I think it was an appropriate question to

     23   qualify people --

     24         Q.   I think yes or no might get there.

     25                      THE COURT:   And apparently the witness is
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 151 of 391 Page ID
                                  #:16751                                      151


      1   unable to answer the question yes or no.             That's what

      2   the Court understands.

      3                    Is that correct, sir?

      4                    THE WITNESS:    Yes, ma'am.

      5   BY MR. RAFFERTY:

      6       Q.   Did -- so let's move on to your -- your -- your

      7   Squirt study.       Now, in the Squirt study you showed

      8   people the box of Crystal Head vodka and the bottle

      9   outside of the box?

     10       A.   Yes, sir.

     11       Q.   And I think you said that you did that in part

     12   because you -- you visited a lot of liquor stores and

     13   concluded that that's how it was often marketed?

     14       A.   Yes.     I mentioned that I also spoke to Jonathan

     15   Hemi, who me that that was the common way that it was

     16   marketed as well.

     17       Q.   Okay.     And so people would come in.        They would

     18   qualify.     They would be taken to the room.          They'd be

     19   shown the Crystal Head vodka bottle and the box, right?

     20       A.   Correct.

     21       Q.   And then what would happen?

     22       A.   Then those items would be removed from sight, and

     23   then they would see one of the four arrays that I

     24   described earlier.

     25       Q.   When -- when -- and so when you showed these
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 152 of 391 Page ID
                                  #:16752                                      152


      1   participants the arrays, the Crystal Head vodka bottle

      2   they had been shown, for how long were they shown that

      3   bottle before it was taken away?

      4       A.   As long as they wanted to look at it.

      5       Q.   Okay.     And they were getting between three and

      6   five dollars for their time?

      7       A.   Yes.

      8       Q.   Did anybody spend a substantial amount of time

      9   studying the Crystal Head vodka bottle and the box?

     10       A.   They would -- they would spend as long as they

     11   wanted to.       I dont know what "substantial" is.         But --

     12       Q.   Well, how long on average, do you know?

     13       A.   I don't know the exact amount of time that they

     14   would spend.

     15       Q.   Did you have some amount of time that you thought

     16   was an appropriate amount for them to be viewing the

     17   bottle to take on what information they would need then

     18   to be participants in the further questions they were

     19   going to be asked?

     20       A.   No.     Because what we're doing is replicating what

     21   happens in the marketplace.         And you could look at a

     22   bottle in the marketplace quickly and you could look at

     23   a bottle in the marketplace for a long time.

     24                    And in the research, some people I'm sure

     25   looked at it very quickly and some people studied it
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 153 of 391 Page ID
                                  #:16753                                      153


      1   like it was a quiz, and it would depend on the

      2   respondent the same way that it might in the liquor

      3   store.

      4       Q.   One other question about the Eveready survey,

      5   sir, you put up a slide that had some quotes from people

      6   who said they -- they were -- they thought these bottles

      7   might have a common sponsorship or -- or -- or be from

      8   the common source.       Do you recall that slide?

      9       A.   Yes, sir.

     10       Q.   And that slide was the -- the ones from the

     11   400-plus participants who participated in your survey,

     12   your Squirt survey, that was conducted, right?

     13       A.   Yes, sir.

     14       Q.   So it was a handful?

     15       A.   Yes.

     16       Q.   Did you -- did you prepare a slide with the

     17   comments that the participants in the Eveready study

     18   gave you?

     19       A.   No.

     20       Q.   And so -- and in the Squirt study, how many of

     21   the participants actually filled out the questionnaires

     22   beyond simply checking the -- the numbered boxes?               How

     23   many gave you written comments?

     24       A.   I don't know the exact number.          But -- but you

     25   had to either answer the question or say "I don't know"
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 154 of 391 Page ID
                                  #:16754                                      154


      1   in response to those verbal questions, the "why"

      2   questions and in the Squirt survey.

      3       Q.   Okay.     And the why questions in the Squirt

      4   survey, did you have to answer them?            Or could you just

      5   get up and go?

      6       A.   You had to provide some kind of an answer.             But

      7   that answer could be "I don't know."

      8       Q.   Okay.     And could you also sort of just say what

      9   the source is and not explain it?           Did you have to

     10   explain it before you could leave?

     11                    THE COURT:   Counsel has two questions.

     12                    MR. RAFFERTY:    Your Honor, I apologize.

     13       Q.   Did the participants in that survey, were they

     14   required to fill out a narrative of their reasoning for

     15   their answers?

     16       A.   They were asked a question, and they could either

     17   answer it or say "I don't know," and some people were

     18   articulate and some people were inarticulate.

     19       Q.   Okay.     And some people in fact said things like

     20   "I took a wild guess"?

     21       A.   I don't think we -- if there were comments like

     22   that, there were very few of them.           I don't remember any

     23   comments that said "I took a wild guess."

     24       Q.   Are you sure?

     25       A.   I'm not positive that we didn't have a few of
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 155 of 391 Page ID
                                  #:16755                                      155


      1   those in there.      But the fact that we had controls were

      2   specifically designed to address for issues such as

      3   guessing.

      4       Q.   Well, if somebody wrote in their comments "I took

      5   a wild guess," did you disregarded their input, or were

      6   they still included in the survey?

      7       A.   We went through all of the verbatim comments, and

      8   if there's someone who said "I took a wild guess," I'd

      9   want to look at the rest of their comments.

     10                  But if they provided comment that indicated

     11   that they weren't paying attention, things that were

     12   crazy or outlandish, generally we would have removed

     13   them from the database.

     14       Q.   How many people were removed from the database on

     15   this study?

     16       A.   I'm happy to look it up.        It's in -- it's in my

     17   second report.      But I don't remember the number off the

     18   top of my head.

     19                  We started with -- we started with an

     20   interview.     We -- we approached, I believe, a little

     21   more than 1200 people to get the 455 people.              But that

     22   455 interviews that we ended up with was after we had

     23   removed people for things like comment that were not

     24   pertinent or germane to the matter that they were asked

     25   to look at.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 156 of 391 Page ID
                                  #:16756                                      156


      1       Q.    Do you recall that in -- in connection with this

      2   case you submitted a confusion survey verbatim responses

      3   for the Squirt study?

      4       A.    I'm sorry.     Say that again.

      5       Q.    Do you recall that in connection with your

      6   reports in this case, you submitted a confusion survey

      7   verbatim responses exhibit?

      8       A.    Yes.

      9       Q.    And were those actual participants in the survey?

     10   Or were those -- did it include people who had been

     11   called out?

     12       A.    No.     Those would be participants in the survey.

     13       Q.    Okay.     And you don't recall then among the

     14   comments, the verbatim comments:           "I just took a wild

     15   guess"?

     16       A.    I don't recall that specific comment.

     17       Q.    Should that person have stayed in the survey?

     18       A.    It depends on what their other responses were to

     19   other items that they saw in the survey.             So if they

     20   gave us that response -- and I don't know if that

     21   response was on KAH or on one of the other products.                It

     22   could have been on 1800 or -- or Patron.

     23                     But if they gave us articulate responses to

     24   all of the questions and maybe gave us a response like

     25   that on Patron or on one of the other products that's
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 157 of 391 Page ID
                                  #:16757                                      157


      1   not the subject of the survey, I would have included

      2   that person in the final database.

      3       Q.   So you would have in the -- in the support, the

      4   data support for your conclusion that there was

      5   confusion in your Squirt study, you would have included

      6   someone even if they told you point blank that they took

      7   a wild guess?

      8       A.   It -- it depends on what the rest of their

      9   responses were.      And if there was someone who gave me

     10   one response like that on an item that was not KAH, then

     11   I likely would have included them in the final database.

     12       Q.   Is that smart?      You would have included them?

     13       A.   Yes.

     14       Q.   Okay.    Did you tell the consumers what the price

     15   of any of the bottles that you included in your array

     16   was?

     17       A.   Do you mean the retail price or -- or --

     18       Q.   Yeah, the retail price.

     19       A.   I don't remember all the retail prices off the

     20   top of my head.

     21       Q.   That's not the question I asked you, sir.             I

     22   asked you whether you informed the participants, who

     23   viewed these various arrays, what the retail prices were

     24   of the bottles in the arrays they were looking at?

     25       A.   Oh, I'm sorry.      I answered the wrong question.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 158 of 391 Page ID
                                  #:16758                                      158


      1   The answer is no, I did not inform them.

      2       Q.   So unless they happened to have otherwise been

      3   familiar with the bottles in your array, they wouldn't

      4   have had any idea whether they were premium vodka or

      5   tequilas or non-premium tequilas or super premium

      6   tequilas?

      7       A.   Correct.

      8       Q.   Okay.    And you don't think that that might have

      9   had some impact on how they viewed the -- your questions

     10   and the appropriate answers?

     11       A.   In don't think that would have been appropriate

     12   to tell people in the interview.

     13       Q.   Okay.    But you did try to screen them by asking

     14   them whether in the next six months they might consider

     15   buying a premium tequila?

     16       A.   Well, we didn't use the word "premium," but we

     17   asked about a particular price point.

     18       Q.   So -- but were you asking about a price point

     19   that made the tequila a premium tequila?

     20       A.   Yes, sir.

     21       Q.   Okay.    So whether you said the word "premium,"

     22   that's what you were doing?         You were screening to get

     23   participants who might purchase a premium tequila

     24   within the next six months?

     25       A.   That's correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 159 of 391 Page ID
                                  #:16759                                      159


      1       Q.   Did you do anything to screen for whether the

      2   participants in the Squirt survey had any idea about or

      3   had any experience with any of the bottles in the array?

      4       A.   No.

      5       Q.   So as far as you know, somebody could have come

      6   in and they -- they -- they were a regular purchaser of

      7   Don Julio tequila and you wouldn't have screened for

      8   that?

      9       A.   Correct.

     10       Q.   Okay.    Now, you said in your direct that you

     11   wanted to -- that the array survey is something that --

     12   that you're attempting to make it look like the

     13   marketplace, right?

     14       A.   Yes, sir.

     15       Q.   Okay.    And is part of that that it's important

     16   that the little environment that you're creating in your

     17   Squirt survey is supposed to look like what the real

     18   world looks like?

     19       A.   Yes, sir.

     20       Q.   Okay.    And -- and have I got that wrong?          Do

     21   you -- do you disagree that what you've striving to do

     22   is to recreate the real world?

     23       A.   We're recreating a simplified version of the real

     24   world.    So that's -- I generally agree with you.             But a

     25   survey environment is by necessity a simplified version
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 160 of 391 Page ID
                                  #:16760                                      160


      1   of that.

      2       Q.    Okay.    So could we put up Slide 6.

      3                     Now, Slide 6 is -- is one of the arrays that

      4   you -- you showed in your Squirt survey after the

      5   participants had been shown the Crystal Head vodka box

      6   and Crystal Head vodka bottle outside, right?

      7       A.    Correct.

      8       Q.    Is there a reason why the 1800 tequila you chose

      9   was not a Blanco and was a Reposado instead?

     10       A.    I didn't want the -- the lineup to be a hundred

     11   percent Blancos, because the category is not a hundred

     12   percent Blancos.        And I wanted to have a lineup that

     13   looked like the tequila aisle, and so I thought it was

     14   appropriate to include a tequila in here that was not a

     15   Blanco.

     16       Q.    Okay.    Now, this -- the second bottle, the white

     17   bottle with the KAH label on the neck, that's a bottle

     18   that doesn't really exist in the real world, does it?

     19       A.    That's correct.

     20       Q.    In fact, it's a bottle that you made yourself?

     21       A.    Yes, sir.

     22       Q.    Okay.    But you didn't go out and order a kind of

     23   unique bottle?        You went out and got a bottle off the

     24   shelf and converted it, didn't you?

     25       A.    Actually, I think we got a very unique bottle.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 161 of 391 Page ID
                                  #:16761                                      161


      1       Q.   Did you get a bottle of Cazul 100 tequila from a

      2   liquor store and paint it?

      3       A.   It -- it was a bottle of Cazul 100, and it was

      4   painted.     And I think it's a unique bottle.

      5       Q.   It was already on the market?

      6       A.   Correct.

      7       Q.   Okay.    Maybe I'll leave that for the semantics.

      8                    You took a bottle that was already on the

      9   market, and you took the label that was on that bottle

     10   and you took it off and you painted the bottle white?

     11       A.   Correct.

     12       Q.   It was a clear bottle when you got it?

     13       A.   Yes, that's correct.

     14       Q.   Okay.    And then you had someone paint some

     15   graphic design on it loosely based on the graphic design

     16   on the KAH Blanco bottle?

     17       A.   Correct.

     18       Q.   Did you think that this bottle looked like a

     19   skull?

     20       A.   I think it had elements that were reminiscent of

     21   the KAH Blanco bottle.

     22       Q.   The graphics?

     23       A.   Correct.

     24       Q.   And it has a straight stem?

     25       A.   Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 162 of 391 Page ID
                                  #:16762                                      162


      1       Q.   Doesn't have the swept back stem, does it?

      2       A.   It does not.

      3       Q.   So you didn't show -- other than the KAH Blanco

      4   bottle, the only bottle that was shown in any of your

      5   arrays that had a slanted spout on the top was the KAH

      6   Blanco bottle?

      7       A.   That's correct.

      8       Q.   You didn't look to reproduce -- there are other

      9   bottles with slanted spouts on the market, aren't there?

     10       A.   There are.     I thought this was closest to the

     11   shape overall of the KAH Blanco bottle, and that's why I

     12   used it.

     13       Q.   Okay.    And the same thing in -- if you go to the

     14   next slide, seven, this is an array in which you changed

     15   out the control.       The second bottle is again a former

     16   Cazul 100 tequila bottle that you have taken, painted

     17   and added graphics to it?

     18       A.   That's correct.

     19       Q.   And did you -- did you believe that this looked

     20   like a skull?

     21       A.   No.

     22       Q.   Okay.    Were there any bottles in your array that

     23   in any way, shape or form resembled a skull?

     24       A.   The -- yes.     The -- the Jose Cuervo skull bottle.

     25       Q.   Where is that?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 163 of 391 Page ID
                                  #:16763                                      163


      1       A.   That's on the next slide.

      2       Q.   Go to the next slide.

      3                  This tall straight bottle you believe

      4   resembles a skull?

      5       A.   Well, your expert told me it resembled a skull

      6   and told me that it was a better control than the

      7   controls that I used.        So I took his word on it.

      8                  I don't believe that the controls should be

      9   a skull body bottle.        But because it was suggested by

     10   one of KAH's experts, I tested this bottle which I was

     11   told was a skull bottle.

     12       Q.   Did you have any concern at all that having shown

     13   a group of participants a skull bottle for however long

     14   they cared to look at it before they moved on and then

     15   showed them an array of bottles -- the only other bottle

     16   that had anything resembling the skull shape was the KAH

     17   Blanco bottle that you used, do you have any concern

     18   that you might be suggesting what the answer to the

     19   question is?

     20       A.   Are you asking me if I'm concerned --

     21                  THE COURT:     Excuse me for a moment.

     22   Apparently the witness doesn't understand the question.

     23                  MR. RAFFERTY:      Then I'll try it again, Your

     24   Honor.    Clearly my fault.

     25       Q.   In designing an array in which the only bottle
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 164 of 391 Page ID
                                  #:16764                                      164


      1   that had anything resembling a skull shape was the KAH

      2   Blanco bottle, did you have any concern at all that what

      3   you were doing was suggesting to the participants what

      4   the answer to your question was?

      5       A.   No.

      6       Q.   Okay.    Now, when you -- Dr. Isaacson, the two

      7   slides that I put up, these are slides that you worked

      8   with counsel for Globefill in putting together?

      9       A.   Yes.

     10       Q.   Okay.    And so -- and you explained, I think,

     11   the -- the all measured confusion.           And we'll get to the

     12   confusion, the net confusion a little bit later.

     13                    But in the all measured confusion, were you

     14   at all concerned by the fact that 25 percent of the

     15   people thought that the bottle that you created in

     16   Control 1 was either sponsored by or sourced from

     17   Globefill?

     18       A.   No.

     19       Q.   But in fact 25 percent of the people -- of the

     20   participants who were shown that particular array said,

     21   yes, that one is either made by Globefill or approved by

     22   them?

     23       A.   That's correct.      Sponsored or approved, yes.

     24   That's correct.

     25       Q.   Okay.    And that -- that -- your study was
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 165 of 391 Page ID
                                  #:16765                                      165


      1   designed to -- to measure confusion and that was -- the

      2   output of that study was that there was confusion

      3   between that bottle that you created and the Globefill

      4   Crystal Head skull?

      5       A.   That's -- there was 25 percent, nearly 25 percent

      6   of the people picked that one out from the array.

      7   That's correct.

      8       Q.   Okay.     And in fact there's not a single bottle in

      9   that array that some people, given the questions they

     10   were asked, didn't give you an answer that says it's

     11   either sourced by Globefill or sponsored by Globefill;

     12   isn't that right?

     13                    THE COURT:   I'm not sure I understand the

     14   question, counsel.

     15                    MR. RAFFERTY:    Okay.    Then I'll try again.

     16       Q.   Let's take this source since you've combined

     17   these on this chart, the numbers that -- that we're

     18   looking at, the percentages, that shows the aggregate

     19   confusion.       So both of your questions it either is comes

     20   from Globefill or Globefill somehow approved it; is that

     21   right?

     22       A.   That's correct.

     23       Q.   Okay.     So is it the case there isn't a single

     24   bottle that you showed in these arrays that some number

     25   of the participants didn't identify as either sourced
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 166 of 391 Page ID
                                  #:16766                                      166


      1   from Globefill or sponsored by Globefill?

      2       A.    Some number of participants identified each of

      3   these bottles, some percentage of -- of respondent.

      4                  Now, in some cases it's quite small,

      5   6.6 percent of respondents, I don't know if that's

      6   materially different from zero.          That's a low number.

      7   7.4 percent of respondents, that's also a very low

      8   number.     But the other bottles, it's somewhere in the

      9   mid-teens that were identified.

     10       Q.    So, sir, your testimony was you want this jury to

     11   believe is that 6.6 percent is not materially different

     12   than zero?

     13       A.    I would have to look at it.        I don't know if it's

     14   statistically different from zero.           But -- but if you --

     15   if you conduct this kind of research, seeing that --

     16   that 6 or 7 percent of the people are picking a couple

     17   of -- of bottles out of a lineup is not a very high

     18   number, particularly when we compare it with the

     19   58.7 percent who are picking out KAH.            The numbers for

     20   KAH are substantially higher than the other numbers.

     21       Q.    KAH is the only bottle that has anything

     22   resembling -- that is in the form of anything resembling

     23   a skull in this study, isn't it?

     24       A.    Well, we've also got the Cuervo skull bottle.

     25   And we've got two controls that have elements from --
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 167 of 391 Page ID
                                  #:16767                                      167


      1   from the KAH bottle as well.

      2       Q.   But they're Cazul 100 bottles.

      3       A.   They're not Cazul 100 bottles.          They're control

      4   bottles.     They've been painted.       They've been relabeled.

      5   The name KAH has been on their neck.

      6       Q.   But they're not KAH bottles?

      7       A.   They're control bottles for KAH.

      8       Q.   Okay.     That you created?

      9       A.   Correct.

     10       Q.   Could you have used other bottles from the

     11   marketplace as a control bottle?

     12       A.   If there was an appropriate bottle, I could have

     13   used a different bottle from the marketplace.

     14       Q.   Could you have found any number of bottles that

     15   had some skull motif associated with them that you might

     16   have used?

     17       A.   I said this before, I don't think that it's

     18   appropriate to use a skull as a control.             I only used it

     19   because it was recommended most heavily by an expert

     20   retained by KAH.

     21                    But I believe there's very good reason to

     22   not to use a skull on a control because it's potentially

     23   objectionable in this matter.

     24                    But yes, physically I could have used a

     25   different bottle that had a skull on it as a control
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 168 of 391 Page ID
                                  #:16768                                      168


      1   instead of the Cuervo skull bottle.

      2       Q.   Okay.    And I'm going to -- I'll just, before I

      3   move on to another area.         Since -- so you're confident

      4   that having shown people a bottle in the shape of a

      5   skull, then having shown an array of four bottles, only

      6   one of which contained a bottle in the shape of a skull,

      7   albeit a calaveras, that you weren't suggesting the

      8   answer to your own question?

      9       A.   There's -- there's two ways your question can be

     10   interpreted.      If you're me was I was unfairly suggesting

     11   an answer to respondents, I would say no.             But if you're

     12   asking would respondents in my survey have picked up

     13   from the survey the idea that these two are related,

     14   then that is potentially correct.           And that mimics the

     15   process they would experience when they see two

     16   skull-shaped bottles in the liquor store.

     17       Q.   So let's talk about a little bit about the liquor

     18   store.     Your -- your test measures what happens when

     19   someone sees a Crystal Head vodka bottle first, right?

     20       A.   Sees or experiences or is previously familiar

     21   with it.     It's not that they immediately have to see it

     22   prior to, but somehow it's planted in their mind.

     23       Q.   Well, but in your -- in your Squirt survey they

     24   do see it immediately prior to.          They're shown it.

     25   They're shown the bottle and the box and given an
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 169 of 391 Page ID
                                  #:16769                                      169


      1   opportunity to look at it?

      2       A.   That's correct.

      3       Q.   Okay.     And in the real world, are all of the

      4   vodka sections in liquor stores right at the front door

      5   so you have to pass by the Crystal Head vodka bottle to

      6   get to the tequila section?

      7       A.   No.

      8       Q.   Okay.     In fact, there are a lot of instances in

      9   which you might see the KAH bottles first before you saw

     10   the Crystal Head bottle?

     11       A.   That's correct.

     12       Q.   And you didn't test for that?

     13       A.   I didn't test the scenario where someone sees KAH

     14   and then comes to the vodka aisle and encounters Crystal

     15   Head; that's correct.

     16       Q.   Okay.     You just didn't test for it.        So you have

     17   no basis one way or the other to know whether anyone

     18   would be confused?

     19       A.   I didn't measure that.

     20       Q.   Okay.     So is that a yes to my question?         You have

     21   no basis to know whether there's any confusion?

     22                    THE COURT:   I think the witnesses has

     23   answered the question.

     24                    MR. RAFFERTY:    Okay, Your Honor.       Thank you.

     25       Q.   Now, you did four arrays here, and you only used
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 170 of 391 Page ID
                                  #:16770                                      170


      1   the KAH Blanco bottle.        You think you -- you've

      2   testified in the past that you -- it was the best

      3   selling of the bottles?

      4       A.   I believe that KAH Blanco out of the three

      5   different varieties, maybe more than I'm aware of, of

      6   KAH is the best selling.

      7       Q.   Okay.    But you didn't for example, show anybody

      8   in your survey this bottle?

      9       A.   I did not.

     10       Q.   Okay.    And you didn't show them this bottle?

     11       A.   I did not.

     12       Q.   Okay.    So do you have any scientific basis for

     13   determining whether the results would have been the

     14   same, different or -- or -- or the same or different had

     15   you shown one of these other bottles in an array to the

     16   participants?

     17       A.   I don't have any measurements to show you.

     18       Q.   Okay.    And the same is true for the black bottle,

     19   you didn't measure that so you don't know?

     20       A.   I don't have any measurements to show you on that

     21   one either.

     22       Q.   But you did visit a whole variety of liquor

     23   stores, or people did it for you and they took

     24   photographs, didn't they?

     25       A.   Both of those were true.        I visited some, and
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 171 of 391 Page ID
                                  #:16771                                      171


      1   then in some cases people visited under my drink.

      2       Q.   Was it your experience that the KAH bottles were

      3   typically sold in groups of the different varieties?

      4       A.   Oftentimes, yes.

      5       Q.   So you would go into a liquor store and on a

      6   shelf would be two or three of the KAH bottles lined up

      7   together in rows of the different colors?

      8       A.   That was very common, yes.

      9       Q.   Okay.    And you didn't think that it was important

     10   to replicate that real world, that a customer going into

     11   a liquor store wouldn't just see the Blanco bottle, but

     12   would typically see all three of these bottles, maybe

     13   even a forth?

     14       A.   No, I didn't think that was necessary to include

     15   in my survey, and I thought it was inappropriate to

     16   include that in my survey.

     17       Q.   And you didn't?

     18       A.   That's correct.

     19       Q.   So as we sit here today, you have no idea whether

     20   there is any confusion at all as to this bottle and the

     21   Globefill Crystal Head bottle, right?

     22       A.   I don't have a measurement for it, that's

     23   correct.

     24       Q.   Okay.    And you don't have a measurement for

     25   whether there's any confusion at all as to this bottle
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 172 of 391 Page ID
                                  #:16772                                      172


      1   of the Globefill Crystal Head bottles?

      2       A.   That's correct.

      3       Q.   Now, is it true, sir, that you don't hold

      4   yourself out to be an expert in the alcoholic beverage

      5   industry?

      6       A.   That's correct.

      7       Q.   And in fact prior to this case, you had never

      8   ever conducted a marketing survey in connection with the

      9   marketing of alcoholic beverages?

     10       A.   I think that's true.

     11       Q.   Okay.    And that's -- that includes the entire

     12   period that you've been the president of MMR Strategy?

     13       A.   It is.     I did work at a wine company earlier in

     14   my career, so I'm not entirely unfamiliar with alcoholic

     15   beverages.       But at the time that I've been at MMR, prior

     16   to survey I don't believe that I conducted a survey on

     17   alcoholic beverages; although since then I've conducted

     18   a survey and testified about alcoholic beverages.

     19       Q.   But this was the first one?

     20       A.   This was the first one at MMR, not including my

     21   experience working at a wine company.

     22       Q.   Okay.    Now, if you put up exhibit --

     23   demonstrative 25.

     24                    On your direct you put this up -- and you

     25   talked about the -- the results being somewhat
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 173 of 391 Page ID
                                  #:16773                                      173


      1   consistent with your 14 percent conclusion of --

      2   awareness conclusion versus this 10 percent awareness

      3   conclusion.

      4         A.   Yes.

      5         Q.   Is that right?

      6                      And -- and this survey that you got here, do

      7   you know what time period it covered?

      8         A.   Well, the research is -- is dated 2011.          So --

      9   and if I had the full report in front of me, I could

     10   tell you when it was covered, when it was conducted.

     11   But it would have been prior to May of 2011.

     12         Q.   Prior to testifying today did you have an

     13   opportunity to review that full report?

     14         A.   Yes.

     15         Q.   And 2011 was how many years after Crystal Head

     16   vodka been announced on the market?

     17         A.   I believe approximately three, if I'm correct.

     18   That it was introduced around 2008.

     19         Q.   Okay.    And so from the time of its introduction

     20   through the time that this survey was taken a whole lot

     21   of marketing had occurred for Crystal Head vodka, hadn't

     22   it?

     23         A.   You're asking me about the time between this

     24   survey and the introduction of Crystal Head?

     25         Q.   I think just the opposite.       The introduction of
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 174 of 391 Page ID
                                  #:16774                                      174


      1   Crystal Head up to the time when the data for this

      2   survey is gathered.

      3                    THE COURT:   And the question is?

      4   BY MR. RAFFERTY:

      5       Q.   There had been -- during that period from the

      6   time that Crystal Head vodka had been introduced to the

      7   time of this survey there had been a great deal of

      8   marketing activity undertaken on behalf -- by Crystal --

      9   by Globefill on behalf of Crystal Head vodka, right?

     10       A.   I don't know if it was a great deal.           It wasn't a

     11   great deal compared to Absolut or Grey Goose.              But it

     12   was a great deal for a fledgling brand.            We just have to

     13   put it in perspective.

     14       Q.   Okay.     So whatever Mr. Aykroyd did in his various

     15   signings and promotions and whatever anyone else did for

     16   Crystal Head vodka, by the time of this survey it had a

     17   recognition or an awareness among the public between

     18   10 percent in this survey and 14 percent in yours?

     19       A.   Correct.

     20       Q.   So not many people knew about it?

     21       A.   Correct.

     22       Q.   Okay.     Now, I think you testified on direct that

     23   you had been retained from time to time by some

     24   government agencies?

     25       A.   Yes, sir.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 175 of 391 Page ID
                                  #:16775                                      175


      1       Q.   And you said that in addition to work you had

      2   done for private parties, you've also have done work for

      3   the -- I think you said the FTC?

      4       A.   The FTC and the Department of Justice, that's

      5   correct.

      6       Q.   All right.     And the FTC is the Federal Trade

      7   Commission?

      8       A.   That is correct.

      9       Q.   Okay.     During that time have -- the time that

     10   you've been doing these marketing surveys, have you ever

     11   been criticized for the methodology that you've used?

     12                    MR. FAY:     Objection.     Hearsay.

     13                    THE COURT:     Well, we don't -- the question

     14   doesn't ask for the criticism.             It just asks has there

     15   been criticism.

     16                    Overruled.     You may answer, sir.

     17                    THE WITNESS:     I've had a court which in

     18   one -- in a case disagreed with the methodology that I

     19   had used and criticized it.

     20   BY MR. RAFFERTY:

     21       Q.   Just one?

     22       A.   I think there's only one substantive criticism

     23   that I can think of.          I've testified on about two dozen

     24   likelihood of confusion surveys, and there's only one

     25   that I can think of where a court criticized the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 176 of 391 Page ID
                                  #:16776                                      176


      1   methodology.

      2                     There's another one where a court disagreed

      3   with my use of an Eveready survey.           But really only one

      4   that I can think of where there was a critical comment.

      5       Q.    And putting aside whether it's limited to -- to

      6   likelihood of confusion studies, has your work ever been

      7   criticized by other federal judges in other marketing

      8   survey work?

      9       A.    Not that I'm aware of.       I'm aware of a single

     10   case where a survey was criticized and another case

     11   where, again, a court disagreed with my use of an

     12   Eveready.

     13       Q.    Okay.    Are you aware of the Parallel Materials

     14   case?

     15       A.    I'm aware of a case called Parallel Networks.

     16       Q.    Okay.    Did you testify in that case?

     17       A.    I was deposed in that case.        I didn't testify in

     18   court.

     19       Q.    Okay.    And did you offer an expert opinion?

     20       A.    Yes.

     21       Q.    And did the -- did that opinion get criticized by

     22   the court?

     23       A.    I haven't seen any criticism by the court in that

     24   matter.

     25       Q.    You haven't read the published opinion from the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 177 of 391 Page ID
                                  #:16777                                      177


      1   court in the Parallel Networks versus Microsoft case?

      2       A.   I have not.        It's quite recent, and I haven't --

      3   I didn't know that an opinion was published.

      4       Q.   When you say "quite recent," what do you mean by

      5   that?

      6       A.   Well, I -- the last I heard about that case, I

      7   believe that the court had reached some kind of decision

      8   about a month ago.          And -- but I haven't -- I don't know

      9   what that decision was or what the court wrote.

     10       Q.   No one told you that the court had concluded that

     11   your survey --

     12                    MR. FAY:     Objection, Your Honor.      This is --

     13                    THE COURT:     Sustained.

     14                    MR. RAFFERTY:     Your Honor --

     15                    THE COURT:     Objection sustained.

     16                    MR. RAFFERTY:     Thank you, Your Honor.

     17       Q.   Now, you are aware of the Tokey Dokey case?

     18       A.   I am.

     19       Q.   Okay.     And the court in that case --

     20                    MR. FAY:     Once again, Your Honor, this is

     21   hearsay.

     22                    THE COURT:     It's not offered for the truth

     23   of the matter asserted so I think it's not hearsay.

     24                    MR. FAY:     I think --

     25                    THE COURT:     So I would overrule the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 178 of 391 Page ID
                                  #:16778                                      178


      1   objection.

      2   BY MR. RAFFERTY:

      3       Q.   Do you understand that your survey in Tokey Dokey

      4   was seriously flawed?

      5       A.   I understand that it was -- that the court had

      6   some comments critical of the survey.

      7       Q.   Was one of those comments that the survey was

      8   seriously flawed?

      9       A.   It could have been.       I don't remember the exact

     10   phrasing of the comments.

     11       Q.   Was one the comments that the survey was leading

     12   and unrealistic?

     13       A.   It could have been.       Again, I don't remember the

     14   exact phrasing.

     15       Q.   Was another of the comments that the survey was

     16   an artificial matching game?

     17       A.   Again, I don't remember the exact phrasing.

     18       Q.   Could have been?

     19       A.   It could have been.

     20       Q.   Okay.    Was another of the comments that the

     21   survey didn't measure real world confusion?

     22       A.   Again, it could have been, but I don't remember

     23   the exact phrasing.

     24       Q.   Okay.    Was another of the comments in that case

     25   that you had excluded from your survey colorful
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 179 of 391 Page ID
                                  #:16779                                      179


      1   representations of the defendant's products and used

      2   others instead as your -- your array materials?

      3       A.   Again, I -- I don't recall.         But I do recall that

      4   the court's opinion was critical.           That decision was a

      5   number of years ago, at this point.

      6       Q.   Okay.     But you don't recall that one of the bases

      7   of the criticism was that you had excluded colorful

      8   products and instead used others?

      9       A.   I do remember that the court did not like the

     10   product selection that I had used.

     11       Q.   Now, you did in this case a variety of internet

     12   research, either directly yourself or having other

     13   people do it for you?

     14       A.   That is correct.

     15       Q.   So you did some research on the internet and --

     16   and the purpose of which was to look at the pricing of

     17   KAH tequilas?

     18       A.   Well, that was some of the research that I did.

     19   I did research beyond that.         But, yes.

     20       Q.   I apologize if I -- I just want to take them one

     21   at a time.       So I wanted to start with you did some

     22   research for -- directed at the pricing issue?

     23       A.   Correct.

     24       Q.   Okay.     And -- and part of that research was to go

     25   on to the internet and to pull down web pages that you
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 180 of 391 Page ID
                                  #:16780                                      180


      1   thought supported your view that -- that the price for

      2   KAH Blanco put it into the premium category?

      3       A.   I didn't have the view about what the price for

      4   KAH Blanco was so I wasn't looking for research that

      5   supported it.       I was looking for research that reflected

      6   the pricing of KAH Blanco.

      7       Q.   Okay.     Can we put up 684.

      8                    Do you remember in -- in -- as an exhibit to

      9   one of your reports you -- and you can just page through

     10   for a second -- you -- you admitted a collection of web

     11   pages dealing with pricing?

     12       A.   Yes, sir.

     13       Q.   Okay.     So let's go back to the first page.

     14                    Did you factor -- well, first of all, this

     15   first page really doesn't have anything to do with the

     16   pricing, does it, because it's looking at the

     17   50-milliliter bottles, the little tiny guys, right?

     18       A.   No.     I believe this page was looking at cross

     19   selling between KAH and Crystal Head.

     20       Q.   Okay.     And the cross selling that you're talking

     21   about the section on the left of the page that says

     22   customers who bought this also bought?

     23       A.   Correct.

     24       Q.   Okay.     And the first item is KAH Reposado

     25   tequila?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 181 of 391 Page ID
                                  #:16781                                      181


      1       A.   Correct.

      2       Q.   The second item Anejo tequila?

      3       A.   Correct.

      4       Q.   And the third item is Crystal Head vodka?

      5       A.   Correct.

      6       Q.   Is there any confusion reflected in those

      7   internet entries as to the brand or the source of those

      8   bottles?

      9       A.   I'm not sure what you're asking me.

     10       Q.   Well, if a person who looked at this page on the

     11   web would see KAH Tequila and Crystal Head vodka,

     12   wouldn't they?

     13       A.   They would.

     14       Q.   And if you would go to the third page, this is a

     15   KAH Blanco bottle.       And flip around to the next one, and

     16   at the bottom of this next page is a whole long

     17   description, which I won't take up a lot of time

     18   reading.     But it -- it says that KAH Tequila Blanco

     19   bottle was inspired by traditional calaveras, skulls

     20   made from sugar, which are used in the Day of the Dead

     21   ritual to symbolize death and rebirth.            Then it does on

     22   from there.

     23                    Do you see that?

     24       A.   Yes, sir.

     25       Q.   Okay.     And let's go to the next page.         This page
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 182 of 391 Page ID
                                  #:16782                                      182


      1   which you -- you -- you took this down from the internet

      2   and -- and submitted it as an exhibit to your -- to one

      3   of your reports, didn't you?

      4       A.   Yes.

      5       Q.   And this one also has the three KAH bottles, and

      6   they're clearly labeled that they're KAH Tequila.               It's

      7   not Crystal Head and not Globefill?

      8       A.   They're clearly labeled as KAH Tequila.

      9       Q.   Okay.     So let's go to Exhibit 754.

     10                    THE CLERK:   Excuse me, counsel.       What's the

     11   exhibit number?

     12                    MR. RAFFERTY:    754.

     13                    THE CLERK:   Thank you.

     14   BY MR. RAFFERTY:

     15       Q.   This is again materials that you collected from

     16   the internet and submitted as part of your reply and

     17   additional survey?

     18       A.   Correct.

     19       Q.   Okay.     And this too, if you look at it, shows KAH

     20   Tequila bottles and it shows a Crystal Head vodka

     21   bottle, and they're all properly labeled with what they

     22   are.

     23       A.   They're all labeled.       Yes, sir.

     24       Q.   Are they labeled correctly?

     25       A.   Yes, as far as I know.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 183 of 391 Page ID
                                  #:16783                                      183


      1       Q.    And doesn't seem to evidence any confusion on the

      2   part of whoever created this web page, does it?

      3       A.    They're not mislabeled, if that's what you're

      4   asking me.        I don't know whether someone would be

      5   confused based on this or not.

      6       Q.    Okay.     Let's go the -- two pages in.       So 7543.

      7                     THE COURT:   743?

      8                     MR. RAFFERTY:   754 Exhibit, page 3, Your

      9   Honor.     Sorry.

     10       Q.    And this one is a -- looks like it's an offer for

     11   a 50-milliliter KAH Anejo bottle.           And on the right-hand

     12   column it says you may also like.           And that -- could you

     13   blow that up.

     14                     And there's Crystal Head vodka bottle at the

     15   top.     And is it appropriately labeled?

     16       A.    It's -- it's labeled.       It's labeled as Crystal

     17   Head.

     18       Q.    So it's correctly labeled as Crystal Head?

     19                     THE COURT:   I don't know that that witness

     20   could tell us whether it's correctly labeled or not.

     21   But he --

     22                     MR. RAFFERTY:   Okay.    Your Honor, I'll

     23   withdraw the question and I'll move on.

     24                     THE COURT:   It is so labeled.

     25                     How much longer does counsel expect to be on
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 184 of 391 Page ID
                                  #:16784                                      184


      1   cross?

      2                     MR. RAFFERTY:     Another ten minutes, Your

      3   Honor.

      4                     THE COURT:     All right.

      5   BY MR. RAFFERTY:

      6       Q.    So let me short circuit this.         If you could go to

      7   Exhibit 754, page 6.           This is a page that has a Crystal

      8   Head vodka bottle on it.           And then the customers who

      9   bought this product also bought -- it has the smaller

     10   Crystal Head, and then the second item is the Patron

     11   Silver.     Do you see that?

     12       A.    Yes, I do.

     13       Q.    Okay.     So those -- now, if you can go to 754, 12.

     14   This is a -- it looks like an offer to buy a 12-pack of

     15   Crystal Head vodka by Dan Aykroyd, 50-milliliter bottle.

     16                     Do you see that?     It's in the text at the

     17   top.

     18       A.    Yes.

     19       Q.    And then it goes on.        If you skip a little bit it

     20   says:     Brought to us by Dan Aykroyd, known for his

     21   fascination with the invisible world.            Crystal Head

     22   vodka ties in the story of the 13 crystal heads that

     23   have been unearthed at various times --

     24       A.    Yes, sir.

     25       Q.    And this was again, you're looking at this for
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 185 of 391 Page ID
                                  #:16785                                      185


      1   the cross marketing issue, right?

      2       A.   Yes.

      3       Q.   And down below we also suggest there's two

      4   Crystal Head vodkas, and then there's a KAH Day of the

      5   Dead Reposado 50-millimeter 3-pack, along with a KAH Day

      6   of the Dead Blanco tequila 750-milliliter.

      7                    Do you see any confusion on this page?

      8       A.   Well, I didn't measure confusion so I don't know

      9   whether someone could look at this page and -- and, for

     10   example, come to a conclusion that Crystal Head and KAH

     11   are made by the same company or are in some way related.

     12   They're all labeled.        But I don't know whether or not

     13   it's confusion -- confusing.          I didn't measure it.

     14       Q.   Okay.     So could we go to 754, 17.        And if you

     15   could blow up the text underneath the -- no, the lower

     16   text.    Sorry.     The two lower ones.

     17                    It says Crystal Head vodka is probably the

     18   best known of the bottles we're talking about today,

     19   co-founded by Dan Aykroyd and manufactured by Estates

     20   Wines & Spirits, LTD.        Crystal Head is probably more

     21   famous for its bottle than the vodka it contains.

     22                    Do you see that?

     23       A.   Yes, sir.

     24       Q.   And then if you could blow up the text that

     25   follows the KAH Blanco bottle.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 186 of 391 Page ID
                                  #:16786                                      186


      1                    It says on the opposite side end of the

      2   design spectrum from the crystal skull are the

      3   hand-painted skull bottles from KAH Tequila designed

      4   to -- designed to -- and then it -- there's a miss -- a

      5   typo.    Dead celebration.       Every bottle is hand crafted

      6   because each bottle is done by hand.            No two bottles

      7   will ever look exactly alike.          KAH -- and the final bit

      8   is KAH is the Mayan word for life.

      9                    Do you see that?

     10       A.   Yes, sir.

     11       Q.   And this is all information that you took down

     12   off the internet?

     13       A.   Yes.

     14       Q.   And if you go to 754, 18, this is a picture at

     15   the top of the page of -- the text underneath says KAH

     16   comes in three different varieties, and then there's a

     17   picture of the three varieties.

     18                    Do you see that?

     19       A.   Yes.

     20       Q.   Okay.     And let me see if I can -- you know,

     21   you -- you used a number of slides -- and why don't we

     22   put up Slide 27.

     23                    And in Slide 27, you said that vodka and

     24   tequila can be sold by the same companies.             Do you see

     25   that?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 187 of 391 Page ID
                                  #:16787                                      187


      1       A.   Yes.

      2       Q.   Okay.     And you also had two slides that I don't

      3   think counsel used in your direct, but they were given

      4   to us last night, 36 and 37.

      5                    You can take this one down.

      6                    36 and 37.

      7                    And the slide title -- and this is a slide,

      8   by the way, that you worked with your counsel for

      9   Globefill in preparing?

     10       A.   Yes, sir.

     11       Q.   Okay.     And the slide caption says some bottles

     12   show the manufacturer.

     13                    Do you see that?

     14       A.   Yes, sir.

     15       Q.   What did you intend to convey by putting those

     16   words there?

     17       A.   Well, if you look at the top bottle, it's Ultimat

     18   vodka.    It's made by the Patron Spirits Company.

     19                    So this goes to the earlier point that

     20   someone who concludes that a vodka and a tequila come

     21   from the same company is concluding something that is

     22   not unusual and is not a crazy idea, and in some cases

     23   would be reenforced perhaps by bottles that they had

     24   previously seen in the marketplace.           So a consumer who

     25   knows that Ultmat -- a consumer could easily find out
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 188 of 391 Page ID
                                  #:16788                                      188


      1   that Ultmat comes from the same source as Patron Silver.

      2   A consumer could find out that Don Julio -- it's hard to

      3   read.    But that Don Julio bottle on the bottom comes

      4   from a company called Diageo.          And Diageo make Smirnoff,

      5   among other vodkas.

      6                    So it's reasonable for a consumer to know

      7   that vodkas and tequilas, in many cases, come from the

      8   same companies.       And in many of those cases, those are

      9   the best known or highest selling vodkas and tequilas in

     10   the marketplace.

     11       Q.   And one way they could know that was by looking

     12   at the label?

     13       A.   Correct.

     14       Q.   Okay.    And in fact a consumer who had any

     15   question at all about whether KAH Tequila was made by

     16   Globefill or by Crystal Head could resolve that

     17   confusion by just looking at the label, couldn't they?

     18       A.   They could look at the label.          And I don't know

     19   whether that would resolve or not resolve the confusion,

     20   but they could certainly look at the label.

     21       Q.   Well, why don't you pick up the KAH bottle.             On

     22   the cap it says KAH Tequila on the top of the cap,

     23   doesn't it?

     24       A.   You mean on the neck label?

     25       Q.   On the neck label.       Okay.    And then if you go to
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 189 of 391 Page ID
                                  #:16789                                      189


      1   the back there's a label, isn't there?

      2       A.   There is.

      3       Q.   And it says that it's produced and bottled by

      4   Fabrica de Tequilas Finos, and it gives an address in

      5   Mexico, doesn't it?

      6       A.   It does.

      7       Q.   And it then says it's imported by Worldwide

      8   Beverage, Inc., doesn't it?

      9       A.   Mine is hard to read, but I'll take your word

     10   that it says that.

     11       Q.   And if you take out the -- you've got the Crystal

     12   Head bottle up there.        We don't want to neglect them.

     13   Back of the Crystal Head bottle it says Crystal Head

     14   vodka, product of Canada, doesn't it?

     15       A.   Yes, sir.

     16       Q.   Okay.    It also says Crystal Head on the cap?

     17       A.   Yes, sir.

     18       Q.   And one side labeled on the base of the skull is

     19   the government warning.        And the other label on the base

     20   of the skull says distilled from grain.            Sold U.S.

     21   Importer Wilson Daniels Limited, St. Helena, California,

     22   produced and barreled in Canada for Globefill, Inc.,

     23   doesn't it?

     24       A.   I'm having troubling reading mine.           But -- but

     25   I'll take your word that that's -- that's what it says.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 190 of 391 Page ID
                                  #:16790                                      190


      1       Q.   Okay.     So a consumer who had any question at all

      2   as to whether these bottles were from the same source

      3   could solve that question by simply reading the bottles?

      4       A.   If they bothered to read the bottles.            And if

      5   they could read the bottles and if they concluded based

      6   on reading the bottles of what you just read to me, that

      7   might -- or it might resolve their confusion, that's

      8   correct.

      9       Q.   And it would tell them who the -- what the brand

     10   was, who the importer was, and who the manufacturer was,

     11   wouldn't it?

     12       A.   Not in every case.

     13       Q.   And the cases that we just looked at would tell

     14   them, wouldn't it?

     15       A.   Well, you're an attorney and you're reading the

     16   labels to me.       Not every consumer is going to read these

     17   labels like an attorney.         And even some consumers who

     18   read them might not understand them.

     19                    So you're correct that some consumers will

     20   read the labels, others will not.           Some will understand

     21   the labels that they've read and come away with the

     22   understanding that these are separate companies.               Others

     23   may not.

     24       Q.   When you did your Eveready survey and you got

     25   written comments back from the people who had been given
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 191 of 391 Page ID
                                  #:16791                                      191


      1   the opportunity to hold the KAH Tequila, the Blanco

      2   bottle, didn't some of them say it's KAH Tequila, it

      3   says so on the label?

      4       A.   Yes.

      5       Q.   They read the label, didn't they?

      6       A.   That's correct.      Not everybody was confused in

      7   the survey.      That's correct.

      8       Q.   But some of the people who weren't confused

      9   weren't confused because they took the simple expedient

     10   of reading the label?

     11       A.   I don't know that that's the simple expedient.

     12   These two companies have invested a lot money in

     13   unusually shaped bottles, and those bottles communicate

     14   a lot of the marketplace.         And some people are visual

     15   and some people are verbal, and some people will read

     16   and some won't.      And some will understand it.

     17       Q.   Okay.    I'll ask you one last question.          In the

     18   Eveready study that you conducted, you thought it was a

     19   well-structured Eveready study, didn't you?

     20       A.   I thought it was well structured but

     21   inappropriate for the context.

     22       Q.   Okay.    But the actual structure of the survey was

     23   well done, in your opinion?

     24       A.   Though inappropriate, yes, well done.

     25       Q.   Okay.    And in that survey, numbers of people got
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 192 of 391 Page ID
                                  #:16792                                      192


      1   the affiliation of KAH Tequila correct, and they

      2   expressly said in their written comments that they did

      3   so on the basis of having read the label; isn't that

      4   right?

      5       A.   Some people did that, that's correct.

      6                    MR. RAFFERTY:    I have no further questions,

      7   Your Honor.       Thank you.

      8                    THE COURT:    Redirect.

      9                        REDIRECT EXAMINATION

     10   BY MR. FAY:

     11       Q.   Dr. Isaacson, we're almost done here.

     12                    The case Tokey Dokey, the survey that you

     13   did here, was that exactly like the one you did in that

     14   case?

     15       A.   It was not exactly and not at all like the one I

     16   did in that case.       I did that --

     17       Q.   So the survey in Tokey Dokey was different than

     18   the one you did here?

     19       A.   Correct.     I did the Tokey Dokey survey nine years

     20   ago, approximately, and the court criticized the format,

     21   and I learned some things from that format, and those

     22   are reflected in this survey.

     23       Q.   Okay.     So the survey you did in this case

     24   reflects some changes based on criticisms from Tokey

     25   Dokey?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 193 of 391 Page ID
                                  #:16793                                      193


      1         A.     Correct.     Based on things the court said, I

      2   learned not to do that.           And I -- this was a different

      3   form.        This was a different structure than Tokey Dokey.

      4         Q.     Why is it inappropriate to use all three of these

      5   bottles in your Squirt survey?

      6         A.     There's -- there's a few reasons.       Remember what

      7   the survey is doing.           It's replicating a scenario where

      8   someone encounters KAH amidst other tequilas after

      9   they're aware of or they see Crystal Head.

     10                        And we don't need all three of those bottles

     11   in order to replicate that.           We only need a single

     12   bottle, I picked what I believed to be the highest

     13   selling bottle to replicate that.

     14                        Had I included all three or two of those KAH

     15   bottles in the lineup, that might have increased the

     16   numbers because now there's more KAHs to pick from than

     17   if I just have a single bottle.

     18                        There's an infinite number of arrays that I

     19   could have set up in the research, but I felt that the

     20   arrays that I did set up were the most appropriate ways

     21   to represent KAH in a format that for most consumers is

     22   probably the format in which they're going to purchase

     23   it.        And I only need a single bottle to do that.

     24         Q.     Okay.    And was it unfair to use KAH Tequila and

     25   Crystal Head vodka in your survey?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 194 of 391 Page ID
                                  #:16794                                      194


      1       A.   No.     My survey replicates -- it's a little

      2   miniature environment to replicate the marketplace, and

      3   I used the only two skull-shaped bottles that I was

      4   aware of at the time in the marketplace.

      5       Q.   Okay.     And was it unfair that your qualified

      6   participants might have thought that these two products

      7   were related?

      8       A.   No, I didn't test that color of KAH bottle.

      9       Q.   Sorry.     Do it again.    Okay.    Was it unfair that

     10   some of your qualified participants thought that these

     11   two bottles were related?

     12       A.   No.     Any suggestiveness in the survey is

     13   reflecting the suggestiveness in the marketplace.               It's

     14   what you see when you go into a store.            And these two

     15   products are both in the same store.

     16       Q.   Could you put up Slide 12.

     17                    Dr. Isaacson, when you look at the results

     18   from your Squirt survey -- let's look, for example, at

     19   Control 1, and you have 24.8 percent of your qualified

     20   participants demonstrating some kind of confusion.

     21                    What does that tell you about your control?

     22       A.   It tells me that my control has elements from the

     23   original, and those original from the original are

     24   causing people to make a connection.

     25                    And remember, the purpose of the control is
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 195 of 391 Page ID
                                  #:16795                                      195


      1   to remove everything except that which is of interest

      2   here.    And what's of interest here is KAHs use of a

      3   skull-shaped bottle.        So you would expect to see the

      4   controls having non-zero confusion.

      5                    These are not particularly high numbers for

      6   controls.       Numbers like the numbers I was looking at

      7   are -- are routine -- these are relatively routine

      8   numbers for controls.        And the fact that these controls

      9   have elements from the original are why you're picking

     10   up some confusion on them.

     11       Q.   Okay.     And -- and you subtracted these responses

     12   to your controls from your ultimate data; is that right?

     13       A.   That is correct.

     14       Q.   So you take the gross confusion you saw of KAH

     15   and then you subtract these numbers from it?

     16       A.   Yes.     I took the -- let me be more specific.          I

     17   took the 58.7 percent, and in the Control 1 calculation

     18   I subtracted the 24.8 percent.

     19                    So had that 24.8 percent been lower than the

     20   net number that we ended up with at the end of the

     21   survey would be even higher than it is now.

     22                    These are actually what I would call

     23   conservative controls because they're picking up some

     24   confusion.       You want your control to pick up some

     25   confusion in a study like this so that you know that all
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 196 of 391 Page ID
                                  #:16796                                      196


      1   you're left with at the end of the day is the confusion

      2   that is specific in case to the use of a skull-shaped

      3   bottle.

      4       Q.    That, Dr. Isaacson, is what we see on this slide

      5   as net confusion?

      6       A.    That's correct.     So if we take the left-hand

      7   column, we've got the 58.7 and we're subtracting from

      8   that the 24.8 percent.        So -- and we end up in this case

      9   with for Control 1 with 33.9 percent.

     10                  Had the confusion for the control been

     11   lower, then we would have been subtracting a smaller

     12   number and those net numbers would all be higher.

     13                  So again, this is a conservative element of

     14   the research the fact that the controls are picking up

     15   and removing some of the confusion from the marketplace.

     16   That's what they're supposed to do.

     17                  MR. FAY:     Okay.     Thank you, Dr. Isaacson.

     18                  THE COURT:     May the witness be excused?

     19                  MR. FAY:     Yes, Your Honor.

     20                  THE COURT:     No objection?

     21                  MR. RAFFERTY:        No objection, Your Honor.

     22                  THE COURT:     And no questions from the jury

     23   apparently.     The witness may be excused.

     24                  This is an appropriate time for us to take a

     25   short recess at this point, and we will do so.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 197 of 391 Page ID
                                  #:16797                                      197


      1                  The jurors have expressed through the clerk

      2   that they are willing to work longer today.             That's what

      3   the Court understands.        And so what I will do is I will

      4   talk with counsel about other witnesses that could be

      5   called today.      And depending upon how much time we would

      6   need, then I may make the recess a little bit longer.

      7                  So I'll ask the jurors to just remain in the

      8   jury room for a few minutes until I've had that

      9   conversation, and I'll advise you if this should be a

     10   longer recess.      So for those of you who wish to get

     11   something to eat, you will have time to do so.

     12                  We're in recess at this time for the jury.

     13                  THE CLERK:     Please rise for the jury.

     14                  (THE JURORS EXIT THE COURTROOM.)

     15                  THE COURT:     Okay.    I think the jurors have

     16   been excused.      Counsel may be seated.

     17                  So counsel identified the witness Alvarez

     18   that you intended to call today.           Do you still intend to

     19   call that witness?

     20                  MR. BERG:     Please address the Court.

     21                  MS. BIVENS:     Yes, Your Honor.       Mr. Alvarez

     22   is here in the hallway.

     23                  THE COURT:     Okay.    And the time estimate, as

     24   I recall, was not a very long one.           But give me the time

     25   estimate again.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 198 of 391 Page ID
                                  #:16798                                      198


      1                  MS. BIVENS:     For the plaintiff it should be

      2   about 15, 20 minutes max.

      3                  THE COURT:     And for the defense.

      4                  MR. HUMMEL:     Ten minutes.

      5                  THE COURT:     Okay.    Ten.

      6                  MR. HUMMEL:     Fifteen.       Somewhere along that

      7   line.

      8                  THE COURT:     And then the other witness that

      9   counsel was intending to call today, depending upon how

     10   much time we had, we have a time estimate for that

     11   witness as well.       So I'll ask counsel, Mr. Aykroyd,

     12   whether you are prepared to at least start in

     13   examination of him today.

     14                  MR. BERG:     Yes, of course.

     15                  THE COURT:     Okay.    And again, just refresh

     16   my recollection as to your time estimate for direct and

     17   cross.

     18                  MR. BERG:     I hope this is the same thing I

     19   said before.      I think it's an hour and a quarter.

     20                  THE COURT:     Okay.

     21                  MR. BERG:     Or maybe an -- yes.       I'll try

     22   to -- Your Honor, I really do want to try to -- I keep

     23   it that short.      And then also we will reaffirm with the

     24   Court that after Mr. Aykroyd, the plaintiff's case will

     25   rest.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 199 of 391 Page ID
                                  #:16799                                      199


      1                  THE COURT:     Okay.    And the defense, your

      2   cross-examination.

      3                  MR. HUMMEL:     Yeah, I think it's going to be

      4   an hour and a quarter also, Your Honor.

      5                  THE COURT:     Okay.    So if the jurors wanted

      6   to stay to permit us to complete this examination,

      7   Mr. Aykroyd's examination, they would be staying about

      8   three hours past our time today.           It's 1 o'clock now.

      9                  So I'll ask the clerk to inquire of the

     10   jurors.    If the jurors are willing to stay until four to

     11   try to complete these two witnesses, do you wish to

     12   place anything on the record concerning that, this is

     13   the time to do so.       I don't know how long they were

     14   willing to stay.       But the clerk advised me they said we

     15   could stay longer today.         So if they wish to stay

     16   longer, that's fine with counsel?           No problems?      I'm

     17   assuming no problems.

     18                  MR. BERG:     No, Your Honor.      No.     Sorry.

     19                  THE COURT:     Defense, no problem?

     20                  MR. HUMMEL:     No, Your Honor.

     21                  THE COURT:     Okay.    Thank you.       I'll tell the

     22   clerk to tell the jurors that we could take other

     23   witnesses today.       The recess will probably be about

     24   4 o'clock.     If that's fine with them, then I'll make

     25   this break a half hour instead of 15 minutes.               Come back
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 200 of 391 Page ID
                                  #:16800                                      200


      1   at 1:30.     Unless there were matters that counsel wished

      2   to raise with the Court, then we'll take our break, and

      3   the break will be between 15 and 30.            So maybe the

      4   better plan is just to have counsel wait here in the

      5   courtroom, I think some of you, so you'll know is this

      6   is a lunch break, 30 minutes or is it a 15-minute break.

      7                  We're in recess at this time.

      8                  MR. VERA:     Thank you, Your Honor.

      9                  (LUNCH RECESS TAKEN.)

     10                  THE COURT:     Thank you.     Please be seated

     11   next witness to be called.

     12                  MS. BIVENS:     Your Honor, the plaintiff calls

     13   Mr. George Alvarez.

     14                  THE CLERK:     Please raise your right hand.

     15                             JORGE ALVAREZ,

     16   called as a witness on behalf of the Plaintiff, being

     17   first duly sworn, was examined and testified as follows:

     18                  THE WITNESS:      I do.

     19                  THE CLERK:     Please have a seat.       State and

     20   spell your name for the record.

     21                  THE WITNESS:      Jorge Alvarez.      J-O-R-G-E,

     22   A-L-V-A-R-E-Z.

     23                       DIRECT EXAMINATION

     24   BY MS. BIVENS:

     25       Q.   Good afternoon, Mr. Alvarez.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 201 of 391 Page ID
                                  #:16801                                      201


      1       A.   Good afternoon.

      2       Q.   Thank you for being here today.

      3            Can you again introduce yourself to the jury?

      4       A.   My name is Jorge Alvarez.

      5       Q.   Go ahead.

      6       A.   That's it.

      7       Q.   And what's your current occupation?

      8       A.   I am the chief financial officer for a company

      9   called Whittier Distributors.

     10       Q.   And what is Whittier Distributors?

     11       A.   We are a sub wholesaler of beer wine and liquor

     12   beverages.

     13       Q.   Is Whittier Distributors affiliated with East

     14   L.A. Wholesale Beverages?

     15       A.   We are doing business as East L.A. Wholesale.

     16       Q.   What exactly does Whittier Distributors, East

     17   L.A. Wholesale Beverages do?

     18       A.   We service retail customers, stores, markets,

     19   restaurants, nightclubs with beverages.

     20       Q.   Do they come to you to purchase the beverages?

     21       A.   Yes, they do.      We are what they call a cash and

     22   carry.     So the customers call in or walk in and place

     23   their Orders and we fill the orders and take them out to

     24   the car.

     25       Q.   Who exactly are your customers specifically?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 202 of 391 Page ID
                                  #:16802                                      202


      1       A.   I can name some stores.        We have -- Self Produce

      2   is a market.      Ramiro's Liquor Store.        We have -- Legal's

      3   Restaurant is a nightclub that -- I mean we have like

      4   900 different customers.

      5       Q.   And how long has East L.A. Wholesale Beverages

      6   been in existence?

      7       A.   It was founded in 1933, right after prohibition.

      8   And it's been in business since.

      9       Q.   What are your responsibilities as chief financial

     10   officer at East L.A. Wholesale Beverages?

     11       A.   My job there is to purchase the merchandise that

     12   we sell from other wholesalers.          And choose which

     13   products we bring in.        And the other part is to pay all

     14   the bills, and make sure our money is correct.

     15       Q.   Okay.    And so how long have you been with the

     16   company?

     17       A.   I have been there since 1986.          And -- I've been

     18   working there.

     19       Q.   For about 31 years then?

     20       A.   Yes.    I started June 26th of 1986.

     21       Q.   And how did you come to work at East L.A.

     22   Wholesale Beverages?

     23       A.   I had another job, and my wife was wanting me to

     24   leave that company that I was working for.             And she

     25   worked at East L.A. Wholesale.          And she talked to her
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 203 of 391 Page ID
                                  #:16803                                      203


      1   boss and told her about me.         And he interviewed me and

      2   brought me onboard.

      3       Q.    What were you doing before that?         What were the

      4   specifics?

      5       A.    I was a security officer.        And I worked my way up

      6   to operations manager for a security company.

      7       Q.    Why did your wife want you to leave the security

      8   business?

      9       A.    I got shot it.     And she was kind of worried that

     10   I would get hurt.

     11       Q.    So you went to work at East L.A. Wholesale

     12   Beverages in 1986?

     13       A.    '86.

     14       Q.    What was your first position with the company?

     15       A.    I started off as a forklift operator and a truck

     16   driver.

     17       Q.    And what were the positions that you held after

     18   that?

     19       A.    From there I went to warehouse manager, cashier,

     20   store manager.      After that I went as general manager and

     21   took the position of doing the IT at the store.              And

     22   after that I became the chief financial and operating

     23   officer.

     24       Q.    So you worked your way up essentially?

     25       A.    Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 204 of 391 Page ID
                                  #:16804                                      204


      1       Q.   Do you have any hobbies?

      2       A.   Bowling, golfing, playing around with computers.

      3       Q.   Let's talk a little bit about Crystal Head Vodka.

      4   Are you aware of Crystal Head Vodka?

      5       A.   Yes, I am.

      6       Q.   How did you become aware of the product called

      7   Crystal Head Vodka?

      8       A.   The rep, Ray Ramos, who worked for Young's Market

      9   at the time brought it to my attention and asked me if I

     10   would carry the product.

     11       Q.   So Ray Ramos -- now does he work for Young's

     12   Market, you said?

     13       A.   I think he works for Infinium Spirits now.

     14       Q.   Do you understand the relationship between

     15   Infinium Spirits and Crystal Head Vodka?

     16       A.   Yes.

     17       Q.   What is that relationship?

     18       A.   They represent the product.         They call it the

     19   supplier.       They supply the product to Young's Market.

     20   And from there -- we buy it from Young's Market.

     21       Q.   Just to make sure that I'm clear.           So you said

     22   Crystal Head Vodka is the supplier?

     23       A.   No.     Infinium Spirits has the right to the

     24   product.       And they sell it to Young's Market.         And from

     25   there we buy it from Young's Market.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 205 of 391 Page ID
                                  #:16805                                      205


      1       Q.   So your store, East L.A. Wholesale beverages

      2   actually purchases Crystal Head Vodka?

      3       A.   Yes.

      4       Q.   From a company that's affiliated with Ray Ramos?

      5       A.   Yes.

      6       Q.   So Ray Ramos came to you and spoke to you about

      7   the Crystal Head Vodka?

      8       A.   He presented the product and told me -- actually

      9   he brought it to my attention before it was even out

     10   that they were going to acquire new product.              And he'd

     11   like me to carry it in our store and sell it.

     12       Q.   So did you decide to sell Crystal Head Vodka?

     13       A.   Yes, I did.

     14       Q.   How long have you been selling Crystal Head

     15   Vodka?

     16       A.   You know, right now I couldn't tell you.              That

     17   information was burned up in a fire that we had in 2010.

     18   Our business was shut down for two years.             It was

     19   completely burned down.        And all the computer

     20   information was lost.

     21       Q.   So when you first saw Crystal Head Vodka, did you

     22   like the product?

     23       A.   Yes, I did.     I thought the bottle was unique.

     24   And the way Ray Ramos presented the product, explained

     25   it to me, it seemed like it would be a good product to
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 206 of 391 Page ID
                                  #:16806                                      206


      1   bring in.

      2       Q.   What did you like about the bottle?

      3       A.   Well, I liked the skull shape.          And I -- he told

      4   me who was backing it financially.           And I thought that

      5   there would be plenty of advertising, you know, of the

      6   product and it would be helpful to sell.

      7       Q.   And have you ever seen a skull-shaped bottle

      8   before this?

      9       A.   No, no.    That was the first one that I personally

     10   had seen.

     11       Q.   When is the next time that you saw a product with

     12   a skull-shaped bottle?

     13       A.   When I was, you know, checking out the industry

     14   magazines.     I think it was the BIN magazine or Beverage

     15   Wolf.    I couldn't remember exactly which one I saw a

     16   tequila in a skull-shaped bottle, which is KAH Tequila.

     17   And it caught my attention.

     18       Q.   So after you saw KAH Tequila, what did you do?

     19       A.   I placed a call to Ray Ramos and asked him why

     20   hadn't he told me that Crystal Head had come out with a

     21   new -- different type of spirit in a new bottle -- I

     22   mean, a similar shape bottle, and like a line extension

     23   of the product.

     24       Q.   So you thought KAH Tequila was made by Crystal

     25   Head Vodka?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 207 of 391 Page ID
                                  #:16807                                      207


      1       A.    Yes.

      2       Q.    And you made a connection then between Crystal

      3   Head Vodka and KAH Tequila?

      4       A.    Yes.

      5       Q.    And what was the connection that you made between

      6   the two products?

      7       A.    You know, the similar shape skull.          The bottle.

      8   And it just seemed like to me was a logical conclusion

      9   that somebody else would, you know, come with the line

     10   extension which would be, you know, Crystal Head, with

     11   the line extension of the product.           And I thought it was

     12   theirs.

     13       Q.    So you used this phrase "line extension" several

     14   times.     Can you explain to the jury what you mean by

     15   line extension?

     16       A.    Let's say, for example, Seagrams.          Seagrams had

     17   come out -- I knew them as whisky.           But they'd come out

     18   with rum, flavored vodkas.         And they'd continuously

     19   expand their portfolio of products that they sell.

     20       Q.    So when you saw KAH Tequila you thought it was a

     21   line extension the Crystal Head Vodka?

     22       A.    Yes.    An expansion of the portfolio, you know,

     23   like a Seagrams product.

     24                    MS. BIVENS:   All right.     Thank you.     I pass

     25   the witness.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 208 of 391 Page ID
                                  #:16808                                      208


      1                   THE COURT:     Cross?

      2                              CROSS-EXAMINATION

      3   BY MR. HUMMEL:

      4       Q.   Good afternoon, Mr. Alvarez.

      5       A.   Good afternoon.

      6       Q.   Do you know William Anderson, Bill Anderson?

      7       A.   Yes, I do.

      8       Q.   Who's Bill Anderson?

      9       A.   I knew him from Corona.        He represented Corona,

     10   which is a beer imported from Mexico.

     11       Q.   So at time that you were contacted and saw KAH

     12   Tequila, you were familiar with Mr. Anderson, right?

     13       A.   Yes.

     14       Q.   And you knew that Mr. Anderson was working for

     15   Infinium Spirits, right?

     16       A.   Yes.

     17       Q.   And you knew that Infinium Spirits represented

     18   Crystal Head Vodka, right?

     19       A.   Yes.

     20       Q.   Now at the time -- you described -- withdrawn.

     21            You described your store as a wholesaler?

     22       A.   Uh-huh.    Yes.

     23       Q.   You're a wholesaler, correct?

     24       A.   Correct.

     25       Q.   You're sitting her today testifying in your
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 209 of 391 Page ID
                                  #:16809                                      209


      1   capacity as a wholesaler of alcoholic beverages, right?

      2       A.   Yes.

      3       Q.   Your job as a wholesaler is to buy from the

      4   distributor and then ultimately sell to the other stores

      5   the 900 customers that you described, correct?

      6       A.   Yes.

      7       Q.   And the first time that you saw Crystal Head

      8   Vodka -- sorry.       Withdrawn.

      9                    The first time you saw KAH Tequila was in a

     10   magazine, right?

     11       A.   Yes.

     12       Q.   And therefore, you saw a picture?

     13       A.   Yes.

     14       Q.   You did not see the actual bottle?

     15       A.   No, I did not see the actual bottle.

     16       Q.   Okay.     Now, you have now seen the actual bottle

     17   of KAH Tequila, right?

     18       A.   Yes.

     19       Q.   And you agree that there are differences between

     20   the Crystal Head Vodka bottle and the bottle of KAH

     21   Tequila, right?

     22       A.   Yes.

     23       Q.   And you are personally not confused between the

     24   two bottles, correct?

     25       A.   No, no.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 210 of 391 Page ID
                                  #:16810                                      210


      1       Q.   When you found out that KAH Tequila was not made

      2   by Crystal Head Vodka, the same people that make Crystal

      3   Head Vodka, you still made a decision to purchase KAH

      4   Tequila, right?

      5       A.   Yes.

      6       Q.   And you stocked it in your store, right?

      7       A.   Yes.

      8       Q.   Now, do you know what the retail price of the

      9   Tequila Blanco is?

     10       A.   No.    Not off the top of my head, no.

     11       Q.   Do you know what the retail price is for the

     12   Reposado?

     13       A.   No.

     14       Q.   Do you know what the retail price is for the KAH

     15   Anejo?

     16       A.   No, I don't.

     17       Q.   Do you know what the suggested retail price is

     18   for the KAH Tequila Extra Anejo?

     19       A.   No.

     20       Q.   Now, you used the word "natural extension"

     21   several times in your testimony, right?

     22       A.   Yes.

     23       Q.   And the first time you got involved in this case

     24   is when you were contacted by the lawyers from

     25   Globefill, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 211 of 391 Page ID
                                  #:16811                                      211


      1       A.   Yes.

      2       Q.   And they asked you if you would sign an affidavit

      3   in this case, right?

      4       A.   Yes.

      5       Q.   And they prepared an affidavit for you, right?

      6       A.   Yes.    After phone conversations.

      7       Q.   And they brought the affidavit to you, I think

      8   while you were on the golf course, right?

      9       A.   Yes.

     10       Q.   And you took a look at it as best you could,

     11   right?

     12       A.   I read it, yes.      I read the whole thing.

     13       Q.   And then you signed it, right?

     14       A.   Yes.

     15       Q.   And in that affidavit it does use the word

     16   "natural extension," right?

     17       A.   Yes.

     18                   MR. HUMMEL:    No further questions.

     19                   THE COURT:    Redirect?

     20                   MS. BIVENS:    Your Honor, may I ask you to

     21   please explain to the jury what an affidavit or

     22   declaration is?

     23                   THE COURT:    I'm not sure that needs an

     24   explanation.      It doesn't necessarily have a legal

     25   meaning.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 212 of 391 Page ID
                                  #:16812                                      212


      1                   But a declaration or an affidavit would be a

      2   document that someone would sign.           It has some content

      3   indicating that you either declare or you agree or --

      4   there's content in it.        And at the end it may be signed

      5   under penalty of perjury or not.           Sometimes they are

      6   signed under penalty of perjury, sometimes they are not.

      7                   But that would be my explanation for what an

      8   affidavit or declaration is.

      9                   MS. BIVENS:    Thank you, Your Honor.

     10                         REDIRECT EXAMINATION

     11   BY MS. BIVENS:

     12       Q.   Mr. Alvarez, Mr. Hummel asked you about your

     13   declaration.      And you said that you remember reading it,

     14   correct?

     15       A.   Yes.

     16       Q.   Have you read that recently?

     17       A.   Yes.    It was presented to me again.

     18       Q.   When you read it the first time, did you make any

     19   edits to it?

     20       A.   Yes, I did.     The name was not complete, so I

     21   filled it in and initialed it.

     22       Q.   You read it very closely?

     23       A.   Yes.

     24       Q.   Are any of the statements that you made in your

     25   declaration -- how do I say this?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 213 of 391 Page ID
                                  #:16813                                      213


      1                    Would you change anything that you wrote in

      2   your declaration?

      3       A.   No.

      4       Q.   When you asked "Were you on the golf course,"

      5   where were you at?

      6       A.   I was playing at a charity golf -- charity golf

      7   event that I was invited by one of the suppliers as a

      8   thank you for doing a good job of representing our

      9   product.

     10       Q.   Okay.     One more question.

     11                    So Mr. Hummel also asked you if are confused

     12   between the two bottles.

     13       A.   No.     There are the differences.       One is painted,

     14   one is not.       One is clear.     But that -- that didn't

     15   change my thought about it being the same, you know,

     16   same people making it, because of the bottle.

     17                    The bottle was unique at the time that it

     18   was presented to me.          And the uniqueness is what really

     19   interested me in the product without tasting it.

     20   Second, then afterwards, Ray Ramos tasted me on the

     21   product.       I found it good quality and brought it into

     22   our store.

     23                    MS. BIVENS:     All right.   Thank you,

     24   Mr. Alvarez.       I really appreciate it.

     25                    THE COURT:     May the witness be excused?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 214 of 391 Page ID
                                  #:16814                                      214


      1                   MS. BIVENS:     Yes, Your Honor.

      2                   THE COURT:     No objection by the defense?

      3                   MR. HUMMEL:     No objection, Your Honor.

      4                   THE COURT:     You are excused and free to

      5   leave.    Thank you.

      6                   Next witness to be called by the Plaintiff.

      7                   MR. BERG:     Good afternoon, Your Honor,

      8   members of the jury, counsel.

      9                   I call Dan Aykroyd to the stand.

     10                   THE CLERK:     Please raise your right hand.

     11                             DANIEL AYKROYD,

     12       Called as a witness on behalf of the Plaintiff, being

     13   first duly sworn, was examined and testified as follows:

     14                   THE WITNESS:     I do swear.

     15                   THE CLERK:     Please have a seat.      State and

     16   spell your name for the record.

     17                   THE WITNESS:     Daniel Edward Aykroyd.

     18   A-Y-K-R-O-Y-D.

     19                   THE COURT:     Counsel may proceed.

     20                   DIRECT EXAMINATION

     21   BY MR. BERG:

     22       Q.   I don't know if it's necessary, but would you

     23   please introduce yourself to the jury, sir.

     24       A.   Yes.    Well, Dan Aykroyd.      Just Dan or Danny.       My

     25   mother calls me Daniel.         So that's me.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 215 of 391 Page ID
                                  #:16815                                      215


      1       Q.   Mr. Aykroyd, let me ask you a little bit about

      2   your history.

      3                    Where were you born, sir?

      4       A.   I was born in Ottawa, Ontario, Canada.

      5       Q.   You're a Canadian citizen?

      6       A.   I am.     551 holder.    I'm a resident alien here in

      7   the United States.       So Canadian citizen.

      8       Q.   Where do you have your residence, sir?

      9       A.   California.

     10       Q.   And can you tell the jury exactly where it is in

     11   California?

     12                    THE COURT:   Does Counsel -- are you asking

     13   for an address or just the southern, northern?

     14   BY MR. BERG:

     15       Q.   Could you give us an idea the subdivision you

     16   live in?

     17       A.   Pacific Palisades.

     18       Q.   Thank you.

     19            Do you live there with your family?

     20       A.   I do.

     21       Q.   Would you tell us, sir, are you a married man?

     22       A.   I am.

     23       Q.   Who are you married to?

     24       A.   Donna Dixon Aykroyd.

     25       Q.   Is this Donna Dixon here in the back of the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 216 of 391 Page ID
                                  #:16816                                      216


      1   courtroom?

      2       A.   Yes.    That young woman right there.

      3       Q.   How long have you and Donna been married?

      4       A.   34 years.

      5       Q.   Do you and Donna have children?

      6       A.   Yes.    Three daughters.

      7       Q.   Are some of your daughters here in the courtroom?

      8       A.   Two are.

      9       Q.   Could you tell the jury the ages of your

     10   children?

     11       A.   Yes.    I've got a 23 and a 19.

     12       Q.   And the third also?

     13       A.   The eldest is 27.

     14       Q.   Where do you spend the principal amount of your

     15   time, sir.      Strike that.

     16            Do you have another residence, sir?

     17       A.   Yes.    In Canada.

     18       Q.   Where do you spend the principal amount of your

     19   time?

     20       A.   It's half and half.       But lately more at the old

     21   farm at Canada.

     22       Q.   And why have you spent more time up there of

     23   late, sir?

     24       A.   Well, I'm graced with two parents who are

     25   elderly.     My mom's going to be 99 in April.          My dad's
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 217 of 391 Page ID
                                  #:16817                                      217


      1   going to be -- or was 95.         And I run their care for

      2   them.     I run the rotating care.       I'm their primary care

      3   giver for 24-hour help.        And their minds are good and

      4   it's so enjoyable to be with them.           It's really fun.

      5       Q.    Can you tell me a little bit about your

      6   educational background.        Where did you attend elementary

      7   school?

      8       A.    Our Lady of the Annunciation Elementary School in

      9   Hull, Quebec.

     10       Q.    Where?

     11       A.    Hull, Quebec.     That's the town across from

     12   Ottawa.     There's the twin -- as you would say, twin

     13   cities, Ottawa, Hull, twin provinces, Ontario, Quebec,

     14   side by side.       The French Province and the English

     15   Province.     And we lived in Hull after I was born.

     16       Q.    What kind of -- how would you describe your

     17   family background, if you would, sir?

     18       A.    Would you like me -- I'm sorry.         Education, I'm

     19   not sure whether I finished.

     20       Q.    I know.    I was going to come back to it.         But go

     21   ahead.     Tell us where you went to high school.

     22       A.    Just to get all of them.       So as I remember,

     23   elementary school was Our Lady of the Annunciation.

     24   High school was St. Pius X.         Minor Preparatory Seminary

     25   for Boys.     And then final high school was at St.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 218 of 391 Page ID
                                  #:16818                                      218


      1   Patrick's School Educational High in Ottawa.              Both the

      2   latter in Ottawa.

      3       Q.   You were in seminary?

      4       A.   Yes.

      5       Q.   Were you considering the priesthood?

      6       A.   For a few minutes.

      7       Q.   Where did you go -- you didn't finish at the

      8   seminary, I take it?

      9       A.   I did not finish at the seminary, no.            I went to

     10   a coeducational school after that.

     11       Q.   Did you obtain a college degree, sir?

     12       A.   No, sir.

     13       Q.   Did you attend college?

     14       A.   For three and a half years.

     15       Q.   While going to school -- and I'm going to take

     16   you back to high school -- did you maintain employment

     17   to -- to supplement your income?

     18       A.   I did.

     19       Q.   And could you tell the jury what age you were

     20   when you had your first job and what the job was.

     21       A.   I started at the Canadian National Railway, 14,

     22   15 years old.       I was a warehouseman.       I unloaded box

     23   cars.

     24       Q.   And I kind of lost a word there.          Did you say the

     25   Canadian Railway?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 219 of 391 Page ID
                                  #:16819                                      219


      1       A.   Canadian National Railway, yes.          CN Rail.

      2       Q.   What did you do after that?

      3       A.   I worked for the Department of Transport as an

      4   airport runway load technician.          And then I went on to

      5   work for the Canadian Penitentiary Service as a clerk 5.

      6   I wrote a manual for correctional workers, the

      7   employment manual.

      8                  And then after that I worked for the

      9   Department of Public Works as a road surveyor.               And I

     10   was promoted to assistant mechanic on the Tundra

     11   Crawlers.     That's the flex drive vehicles.          We had to

     12   fix them a lot.      And so I was assistant mechanic.

     13                  By the time I left college, I was driving

     14   full time for Rod's Service, a mail contractor, as a

     15   royal mail courier truck driver.           And then subsequently

     16   went to Toronto and worked for Bacon Brothers, another

     17   mail hauler, hauling royal mail.

     18       Q.   In that period of time, were you a member of any

     19   union?

     20       A.   Yes, sir.     I was proud to have been one of the

     21   last members of the Letter Carriers Union of Canada, and

     22   then the Canadian Unit of Postal Workers, at the time

     23   that I was working for the mail haulers.

     24       Q.   To carry you forward in point of time, are you

     25   still a union member?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 220 of 391 Page ID
                                  #:16820                                      220


      1       A.    Multiple unions, yes.

      2       Q.    Would you tell us what those are?

      3       A.    The Association of Canadian Television Radio

      4   Artists.     The American Federation of Television and

      5   Radio Artists Screen Actors Guild.           The Writers Guild of

      6   America, Directors Guild of America.            And the American

      7   Federation of Musicians Union, Memphis Chapter.

      8       Q.    Why the Memphis chapter, out of curiosity?

      9       A.    Well, because I had an incredible base player in

     10   Blues Brothers Band.        His name was Donald "Duck" Dunn.

     11   He played all the sax folk records.           He was Otis

     12   Redding's guitar player.         And he got me into the Memphis

     13   union.     He got me my card, because he was in my band.

     14       Q.    Mr. Aykroyd, we know you've had a career in

     15   entertainment.      Could you give us an idea how that came

     16   about?

     17       A.    Well, I performed in high school and college.             In

     18   1969 I went to Toronto to work with Lorne Michaels on a

     19   television special.       Kind of got bit by the show biz

     20   bug.     And left the potential career in corrections and

     21   deviant psychology behind and went into show business

     22   permanently as an announcer at a TV station in Toronto.

     23       Q.    You mentioned Lorne Michaels.         You're speaking of

     24   the producer of Saturday Night Live?

     25       A.    That's correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 221 of 391 Page ID
                                  #:16821                                      221


      1       Q.   When you knew him -- did you say in '66?

      2       A.   '69.

      3       Q.   How did you know Mr. Michaels in '69?

      4       A.   I auditioned for a role on his television program

      5   that he was producing at the time.

      6       Q.   Where was that?

      7       A.   At CBC in Toronto.

      8       Q.   Let me bring you forward in point of time.             Did

      9   you do a stint at Second City?          If you did, please tell

     10   the jury what that is.

     11       A.   Sure.    Second City is a live cabaret.          It's an

     12   improv theater.      And I worked there from about 1971 to

     13   '74.

     14       Q.   Where is it, sir?

     15       A.   Well, there's two of them.         One in Chicago where

     16   it was founded.      It's an offshoot of the Compass Players

     17   in Chicago.      It started as a WPA program in the '30s,

     18   interestingly enough.        And then there's a shop in

     19   Toronto where I came out of.          So there's two franchises.

     20   I worked in the Toronto office.

     21       Q.   And did you work with others who you would work

     22   later -- with later in life?

     23       A.   Oh, sure, yes, uh-huh.

     24       Q.   Tell the jury who was there with you.

     25       A.   John Candy, Gilda Radner, Eugene Levy, Catherine
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 222 of 391 Page ID
                                  #:16822                                      222


      1   O'Hara.

      2       Q.    I guess for the younger people in the room, tell

      3   us a little bit about who those -- where you worked with

      4   those people.

      5                    Start with Gilda Radner.

      6       A.    I worked at Second City with Gilda.          And then we

      7   went on to Saturday Night Live together.             And John Candy

      8   and I did films together.         And Gene Levy and I also

      9   worked in film.       And Catherine O'Hara worked on stage

     10   with me, and -- they were my colleagues at the time.

     11       Q.    When did you first join Saturday Night Live?

     12       A.    It was September 1975.

     13       Q.    And who contacted you to be part of that show?

     14       A.    Lorne Michaels.

     15       Q.    And was that the premiere year of Saturday Night

     16   Live?

     17       A.    It was.

     18       Q.    And were you a permanent cast member for some

     19   time?

     20       A.    Yes.

     21       Q.    And from when till when?

     22       A.    Until the -- basically the summer of 1979.            Well,

     23   we finished in '79.       In the autumn, I left in -- after

     24   four years.       '75, '6, '7, '8, '9, we're done -- done

     25   with the show and moving on to other things.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 223 of 391 Page ID
                                  #:16823                                      223


      1       Q.   In 1979, did you have a chance to meet John

      2   Alexander?

      3       A.   Yes.

      4       Q.   And can you tell us the circumstances under which

      5   you met him?

      6       A.   We were introduced by a mutual acquaintance.

      7       Q.   Would that be the woman he spoke of in his

      8   testimony?

      9       A.   Yes.

     10       Q.   So it's true, this man, this balding man over

     11   here stole your girlfriend; is that correct?

     12       A.   He did.

     13       Q.   What happened between the two of you?

     14       A.   Well, after we were introduced, we kind of fell

     15   in love as friends, you know.          And we became very close.

     16   And as Rosi has said to us subsequently, Well, at least

     17   you have each other.

     18       Q.   Rosi is the woman who introduced you?

     19       A.   Yes.

     20       Q.   You still remain friends with her?

     21       A.   Yes.     A wonderful lady.     Certainly.

     22       Q.   Let me ask you:      Over the years, did you follow

     23   John's art career?

     24       A.   I did.

     25       Q.   Did your friendship deepen?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 224 of 391 Page ID
                                  #:16824                                      224


      1       A.   It did.

      2       Q.   And could you tell us a little bit about what you

      3   observed about his art career?

      4       A.   His talent, his skill, his knowledge of art.

      5   Knowledge of art history.         His commitment to his work.

      6   His originality.       And the dynamism and wonderful color

      7   and motion in his painting.         He's really quite a

      8   spectacular artist.       And his work can be seen on

      9   electronic media after this is all over, or in his book,

     10   John Alexander, very impressive.           One of the great

     11   painters of our time.

     12       Q.   Have you collected his work?

     13       A.   Yes, I have several pieces I'm privileged to say.

     14       Q.   And have you seen his work in museums?

     15       A.   Yes, I have.

     16       Q.   Could you give us an idea some museums that have

     17   acquired his work?

     18       A.   I saw his work at the Corcoran Museum in

     19   Washington, D.C.; at the Smithsonian Museum, the western

     20   wing.    He also has a piece at the Metropolitan Museum of

     21   Art, the Houston Museum of Art.

     22                  I've seen the Houston piece and the Corcoran

     23   piece and the Smithsonian piece.           The Metropolitan

     24   Museum of Art piece, they must have it in the basement

     25   there somewhere.       But time to haul it out.        I haven't
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 225 of 391 Page ID
                                  #:16825                                      225


      1   seen that one.

      2       Q.   It goes without saying that I take it that you

      3   respected his art skills?

      4       A.   Unquestionable.

      5       Q.   Would you take us to the night that he described

      6   where the two of you first discussed the notion of

      7   selling alcohol in a skull-shaped bottle?

      8       A.   Yeah, sure.     We went out to dinner and I was so

      9   excited about this new Patron product.

     10       Q.   Can you tell us about when this happened?

     11       A.   February '05, '06.       I'm thinking '06, you know,

     12   again.     February '05, '06.      We went out to dinner.        I

     13   was looking to show him this beautiful new beverage that

     14   we were bringing into Canada, Patrón XO.             It's a cafe

     15   tequila.     It's a beautiful product.        And I was looking

     16   around in Manhattan to find a bar room.            Found it.     Had

     17   a few shots of it.       He was impressed by it.        And then

     18   went to his house after that.

     19       Q.   How did the subject come up?

     20       A.   I was telling him how excited it was to work with

     21   John Paul DeJoria to bring Patron Tequila into Canada.

     22       Q.   Let me stop you there.        Tell the jury who John

     23   Paul DeJoria is.       And if you will, I'll ask you a

     24   question after that.

     25       A.   John Paul DeJoria is an entrepreneur.            He owns
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 226 of 391 Page ID
                                  #:16826                                      226


      1   Paul Mitchell Hair Systems.         He owns Patron Tequila.

      2                   And simply because I wanted a better

      3   Margarita at the dock in the summer, I wanted to bring

      4   Patron into Canada.       I love its beautiful smoky silver

      5   aroma.     So I worked to bring it into the country.

      6                   He said, Well, Dan, you can't just bring it

      7   to your home town down at the dock.           You've got to bring

      8   it to the whole country.         So we worked together to bring

      9   it into the country.

     10                   And he granted me the commission of the

     11   importing license for Patron to Canada.            Now it's the

     12   No. 1 luxury tequila in the country.

     13       Q.   You were telling John about this?

     14       A.   Yes.    I was relating how exciting it was to work

     15   with JP and have all these new products.             And he

     16   responded, Well, I've always wanted to see a

     17   skull-shaped bottle with a tequila in it.

     18                   And I thought, skull-shaped bottle, that's a

     19   great idea.

     20                   When I responded to him, I said, I couldn't

     21   do tequila because I do Patron into Canada.             I wanted --

     22   it would be disloyal to JP if I was coming up with my

     23   own tequila.      There's no way I could do that.

     24       Q.   Because he has Patron in the United States, a

     25   tequila?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 227 of 391 Page ID
                                  #:16827                                      227


      1       A.   He had Patron in the states.         And that would be a

      2   conflict.     And he'd been so good to me, I could not be

      3   disloyal.     I said, I won't put a tequila in that.            But I

      4   think I know what I'd put in it.           My mind is worrying.

      5   And I'm thinking that I was coming up with the idea just

      6   as he mentioned it.

      7                  I said, Well, John, maybe draw that up

      8   sometime, that bottle.        I turned out to the blowing snow

      9   on the windows over Broadway there, and looked out for a

     10   second and looked back and in two-minutes he had

     11   sketched up essentially our skull bottle on a piece of

     12   paper with a charcoal.

     13                  I looked at it.      I said, this looks like a

     14   Mitchell Hedges' skull, one of the 13 crystal heads.                I

     15   said, I know exactly what to put in it.            He said, What?

     16   We won't do tequila.        We won't do tequila, but we'll do

     17   a stripped down, no additive vodka.

     18                  I've been researching vodka.          I did not like

     19   the smell of some vodkas.         You open them up, they smell

     20   like Chanel No. 10.       That's because they put a fragrance

     21   in there called lemony.        I did not like the sweet kind

     22   of over-sucrose taste that you get in a lot of vodkas.

     23   That's because they put in fatty acid, a lipid, a

     24   glyceride.     We all have it in our body, but these are

     25   put in as a sugar additive.         And then sometimes they put
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 228 of 391 Page ID
                                  #:16828                                      228


      1   straight cane sugar right in there.

      2                  I said, We'll do a pure spirit.          And we'll

      3   put it in this beautiful Crystal Head bottle, which

      4   we'll sell our story of enlightened drinking, of purity

      5   and cleanliness, because the crystal heads were used by

      6   the Mayan, the Aztec and the Navajo in legend as scrying

      7   devices, crystal balls, if you will, or devices to

      8   advance the tribe in a positive manner.

      9                  I thought, We'll take these positive

     10   elements of the story and basically imbue them into the

     11   fluid we're going to make.

     12       Q.    Did you set about the business of creating the

     13   bottle?

     14       A.    At that point, immediately we got going.

     15       Q.    And what did that consist of?

     16                  And I want to ask you, because it is a

     17   little confusing, you were creating the bottle, and you

     18   were seeking out the proper distiller; is that correct?

     19       A.    Well, we worked on the bottle first.          I took that

     20   original drawing.       I said, John, do more.

     21                  At some point he came up with the sculpture

     22   and then more detailed drawings.

     23                  I took it to our -- to a wine company that I

     24   was working with in Ontario, and I took it to a couple

     25   of people there.       There were some skeptics about it
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 229 of 391 Page ID
                                  #:16829                                      229


      1   couldn't be done.        Too expensive, too -- the engineering

      2   on it.     No.    I stayed on it.     Stayed on it.

      3                    And the company agreed, Well, yeah, we'll

      4   help you find some -- the glassmaker.            And then we began

      5   to simultaneously in parallel the concept of the fluid

      6   as the bottle began to come together.

      7       Q.    Did John produce few or many sketches of the

      8   bottle?

      9       A.    Many sketches.

     10       Q.    Did he send them to you?

     11       A.    Oh, yes.

     12       Q.    Did the two of collaborate on the bottle?

     13       A.    We did.

     14       Q.    What were your concerns?       What is that you

     15   wanted -- you've told us what you wanted to put in it.

     16   What did you want to do with that bottle?

     17       A.    We wanted it to look beautiful.         We wanted it to

     18   have a smile.        We wanted it to convey the image of

     19   purity and cleanliness and no additives.

     20                    So, again, we went with the Crystal Head

     21   legend.     And we wanted it to just look aesthetically

     22   pleasing all the way around.          And that's what I

     23   collaborated with him on.

     24       Q.    What did you -- strike that.

     25                    How did you go about finding a bottle maker?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 230 of 391 Page ID
                                  #:16830                                      230


      1       A.    I went to a trade show, the World Spirits and

      2   Wine Show in Florida, and we looked at a few bottle

      3   makers, and eventually settled on a company in Italy

      4   called Bruni Glass.       They have been around since the

      5   1950s and they do sophisticated pieces of work like

      6   this.     They're the only company in the world that really

      7   could do it.

      8       Q.    Did you talk to other bottle companies too before

      9   deciding on Bruni?

     10       A.    We did.    But no one could have handled the

     11   complexity of this particular model.

     12       Q.    When you say "We did" -- you were personally

     13   involved in this search, I take it?

     14       A.    Yes.    Myself and an executive who no longer works

     15   with us.

     16       Q.    And tell us a little bit about the process of

     17   going from sketches -- you told us a little bit about

     18   it -- to the modeling to the bottle itself.

     19       A.    Well, we got the sketches.        We got the model.

     20   And then in order to cut a mold -- for a bottle you need

     21   a mold.     You need a steel mold.       Usually they're made

     22   out of steel.       And they're cut by laser.        And you need a

     23   precise software program to do that, for the lasers to

     24   cut this mold.

     25                    So what we did was we translated John's
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 231 of 391 Page ID
                                  #:16831                                      231


      1   designs into a schematic on AutoCAD, the computer system

      2   that is used in design.        And we had an operator in L.A.,

      3   Los Angeles.        He worked at Warner Brothers, this kid,

      4   very talented.        He's deceased now.     But we worked with

      5   him.     And he came up with an AutoCAD design.           We were

      6   then able to take that computer design, give it to

      7   Bruni.     They inserted it into their hardware and

      8   software platform and then cut the mold.             And from that

      9   mold, we were able to begin to build bottles and test

     10   the firing of them to see whether we really had a

     11   feasible product here or not.

     12       Q.    When did you determine whether you had a feasible

     13   product or not?        Do you have an idea along this time

     14   line?

     15       A.    Well, it would have been around 2007 that we

     16   finally had the glass we needed.           After 400 -- we had to

     17   run 400 bottles.        They were melting, and you know,

     18   breaking up and cracking, and were all kinds of

     19   problems.        But then we got it right.      And here we are.

     20   You know, 11 million sold around the world.             And they've

     21   held up.     And they'd be a terrible Molotov cocktail

     22   because they just don't break.

     23       Q.    Mr. Aykroyd, do you remember when you first saw

     24   the bottle, when you first held it?

     25       A.    Yes.     It would have been in '07.      Probably summer
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 232 of 391 Page ID
                                  #:16832                                      232


      1   of '07, I think.

      2       Q.    What was your reaction when you saw it?

      3       A.    Very pleased.     Very satisfied.      So happy with the

      4   result.     And just thrilled with how it looked.

      5       Q.    I take it you had concerns that it come out

      6   right?

      7       A.    Oh, at the price point that we were expecting to

      8   sell this premium luxury product, it had to be right.

      9       Q.    Now, I'd like to take you back.         Tell us a little

     10   bit about what efforts, if any, you personally made

     11   regarding the distillation of the vodka itself.

     12       A.    Well, sure.     You know, vodka's an old Russian

     13   word for water.      Great vodka starts with water.          Clean

     14   water.

     15                  We sourced water in Newfoundland, Canada.

     16   Newfoundland is a province that joined Canada in 1949.

     17   And there's water there under the province.             It's a deep

     18   glacial lake.      We decided we were going to use the most

     19   beautiful, pristine sweet water that we could, never

     20   touched by pollution, the acid rain of the '70s.

     21                  The still where we make the product is the

     22   Newfoundland Liquor Distillery Corporation.             It's the

     23   last state-owned still in the world.            It's owned by the

     24   province, the government of Newfoundland and Labrador.

     25   It sits right above this beautiful glacial lake.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 233 of 391 Page ID
                                  #:16833                                      233


      1                    So here we had incredible manufacture

      2   possibilities.       We had great water.      And we had a

      3   government facility where quality could be absolutely

      4   assured when it came time to build our final product.

      5   So we settled on that distillery.

      6                    And then I worked with them to strip out the

      7   fusel oils that I mentioned, the lemony, the glyceride

      8   and all the sugars.       And we worked with them to come up

      9   with a mash and a formula that just simply met the taste

     10   profile that we wanted.

     11       Q.   Did you have to do that -- to get to the

     12   distillation that you wanted, was that an easy process?

     13       A.   No.     Well, they expressed a little concern that

     14   we were taking the fusel oils out, because -- you see,

     15   these oils are there to mask the smell and the fragrance

     16   of alcohol.       I don't mind the fragrance or smell of

     17   alcohol.       We are in the alcoholic beverage business.           If

     18   it's clean, it should smell like alcohol and not like

     19   perfume.

     20                    So they said, Well, you know, we better try

     21   to play around a little bit.          Strip the fusel oils out.

     22   Try different distillations.          We tried three, four,

     23   five, six, seven.       We got to the point of four, where we

     24   were able to maintain a little of the taste of our mash,

     25   which is peaches and cream corn.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 234 of 391 Page ID
                                  #:16834                                      234


      1       Q.   Could I stop you there for a moment, Mr. Aykroyd.

      2                  What is the role of mash?         You said it was

      3   peaches and cream.       Would you explain a little bit of

      4   the role of the mash?

      5       A.   It's the plant matter, the vegetable matter that

      6   ferments to produce the ethyl alcohol that eventually

      7   becomes an alcoholic beverage, yeah.

      8                  So we use cream corn from Chatham, Ontario.

      9   And we distilled it only four times, enabling the

     10   consumer to taste the corn sweetness.            So we didn't have

     11   to put the sugar in, because that sweetness is there

     12   already in that corn.

     13                  We were really pleased with the four-times

     14   distillation.      And we began to get into production.

     15       Q.   Is it a fair statement that the content in that

     16   bottle was critical to you?

     17       A.   You know, a nice package is fine to have.             But if

     18   the juice ain't in the jug, you don't have a business.

     19   And the consumer knows it.

     20       Q.   Let me talk to you now about the roll out of

     21   Crystal Head Vodka.

     22                  And by roll out, would you explain to the

     23   jury what that -- what I'm talking about, if you will,

     24   sir.

     25       A.   Well, certainly.      When you've got a new product,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 235 of 391 Page ID
                                  #:16835                                      235


      1   you have to get it out into the world, got to do media.

      2   You have to get it imported.          You've got to get it

      3   distributed.       You've got to get it into the retail

      4   space.     That's on premise, which we call in the business

      5   bars; and then off premises we call the retail.              All of

      6   that has to be done, right through the chain:

      7   importation, distribution, retail.

      8                    And the people have to know it's coming.

      9   And we have to advertise to make sure that it moves off

     10   the shelves.       So it's got to be on the shelves, and then

     11   there has to be a launch or a publicity campaign to

     12   inform the trade, the industry and the world of beverage

     13   alcohol consumers that that product is there now.

     14       Q.    Do you remember, first, where the launch took

     15   place, the first launch in America?

     16       A.    Yes.    I'm proud to say we went over to the House

     17   of Blues here in Anaheim -- the old House of Blues, and

     18   we launched in September '08.

     19       Q.    Some question's been raised, sir.          So let me ask

     20   you:     Where were you on the night of September 23, 2008?

     21       A.    I was shaking hands and taking pictures with

     22   everybody in the room; meeting wholesalers,

     23   distributors, consumers, bartenders, waiters,

     24   waitresses.       Just so proud to explode and expose this

     25   product to the world.        I was right there in the House of
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 236 of 391 Page ID
                                  #:16836                                      236


      1   Blues the entire time.

      2       Q.   What kind of reaction did you get that night to

      3   Crystal Head Vodka?

      4       A.   People were smiling when they saw the bottle.

      5   You know, the little grin we have there.             It just made

      6   them feel good.

      7                   And when we started to play around with

      8   things like White Cosmos and the Bar Car Martini, and

      9   the clean taste of it, and the fact that it's a

     10   no-additive vodka that bartenders can put additives in

     11   as a virgin canvas or a clean slate.            Everybody was just

     12   blown away.      The reaction was just as we would have

     13   dreamed.

     14       Q.   I take it a White Cosmos is a kind of mixed

     15   drink?

     16       A.   Yes.    White cranberry juice, elderberry flower,

     17   with a little soda water, and then the vodka poured in

     18   there.

     19       Q.   Let me ask you:      Was there much media coverage at

     20   that time?

     21       A.   Oh, quite extensive.

     22       Q.   Please give us some idea of the media coverage,

     23   if you will, sir?

     24       A.   Well, we did morning television, breakfast

     25   television there in L.A. for that launch.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 237 of 391 Page ID
                                  #:16837                                      237


      1                  And then subsequently as we would go across

      2   the country, we would do radio -- morning radio.               Come

      3   in for breakfast television.          Maybe a noon television

      4   show.    And then we would do a print ad for a local

      5   newspaper or magazine.        And then there would be

      6   electronic media at the bottle signings we did.

      7                  So we really did a comprehensive publicity

      8   program; starting with radio and ending with electronic

      9   media at the signing.        So exposure and print and

     10   television and radio in every town we went to.

     11       Q.   Let me take you across country now.           Did you

     12   start a tour in Florida?

     13       A.   Yes, we did.

     14       Q.   How soon was that after the opening in Anaheim;

     15   do you have an estimate?

     16       A.   A month later, about October '08.

     17       Q.   And at that point, did you have the Crystal Head

     18   mobile as yet or no?

     19       A.   No.   We had two tour buses which we rented for

     20   our group.     Because I don't like to fly.

     21       Q.   Did you -- do you recall the cities you visited

     22   on that first tour?

     23       A.   Uh-huh.    Sure.    Well, Miami, Tampa, New Orleans,

     24   Houston, Dallas, San Antonio.          I believe we ended up in

     25   Vegas.    We ended in Vegas.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 238 of 391 Page ID
                                  #:16838                                      238


      1       Q.    Let me ask you now, you've told us in general

      2   what happened.        Give us an idea about a typical bottle

      3   signing.     Do you remember any specific store, for

      4   instance, you opened at?

      5       A.    Oh, sure.     ABC, Total Wine.     I mean, specific

      6   store?     Yeah.    I can tell you, say ABC Beverages in

      7   Florida, in Tampa.

      8       Q.    What kind of reaction -- I'm talking about bottle

      9   signings now, how is that set up?           Who would attend?

     10       A.    Well, we would do our advance publicity.           The

     11   store would know we were coming a couple of weeks in

     12   advance.     They would put up posters.         They would do

     13   radio ads.     I'd often call in and say, Hi, I'm coming to

     14   your town.     Come and see my bottle.        Come and meet me

     15   and greet me.       So we would set it up for the public to

     16   have access to a table at the back of the room.              The

     17   bottles would be piled up, and I would sign the bottle.

     18   I'd have everybody sit down next to me and take a

     19   picture.     I'd meet them.      Give them a moment.       Ask them

     20   what they were doing.        Ask what they drank or why they

     21   were there.        So it was a great exposure to the consuming

     22   public.

     23       Q.    Did you enjoy it?

     24       A.    Oh, I did.     It was a lot of fun, because -- you

     25   know, they'd come with their kids and grandkids.               And
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 239 of 391 Page ID
                                  #:16839                                      239


      1   they'd come with, you know, Ghostbusters CD's and Blues

      2   Brother's stuff, and I'd sign them.           The kids would

      3   dress up.      And, you know, I'd see the third generation

      4   of enjoying my work from the past.           And it was just

      5   wonderful.      And I'm sending people home with a fluid I'm

      6   proud of.      Consumers who would go home and enjoy it.

      7       Q.   Did you that sort of response continue through

      8   your trip all the way to Vegas?

      9       A.   All the way to Vegas.        All the way through today.

     10   Wherever I go and do a bottle signing, people show up

     11   and they -- the response is great.

     12       Q.   Let me restrict this question to the first couple

     13   of years.      Do you have an idea of how many states you

     14   visited in those first two years?

     15       A.   35.    Roughly -- over 30.

     16       Q.   What about the cities?        Did you visit some of

     17   those cities more than once?

     18       A.   Oh, yeah.     Oh yeah.    We went back.      We went back

     19   over Florida.      And went back over Texas.         And we did the

     20   Northeast.      I probably visited about 50 cities.

     21   Indianapolis we were in a couple of times.             Chicago.

     22       Q.   Did you come back to the L.A. area?

     23       A.   Oh, frequently.

     24       Q.   Could you give us an idea of some of the stores

     25   where you visited here or some of the media -- well, you
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 240 of 391 Page ID
                                  #:16840                                      240


      1   already have talked about the media, but some of the

      2   stores?

      3       A.    Yeah.   Mission Liquor, we were at.         Stater Bros.

      4   in Temecula.      Costco on Sepúlveda Boulevard.          BEVMO.

      5   Couple other retailers.        Napa Cabs, they're down

      6   there -- and then Orange Coast Liquors down there in

      7   Orange County.

      8       Q.    Did you cover just L.A. or did you also go

      9   farther south?

     10       A.    We were down in Temecula, down in San Diego, down

     11   that way, yes.

     12       Q.    Now, when you first opened up -- or first

     13   launched your product, did you have a Website?

     14       A.    Yes.

     15       Q.    And could you tell the jury what happened with

     16   the Website and how soon it happened?

     17       A.    Well, we opened a Website, we wanted to just get

     18   the story out about the fluid, about the legend the

     19   crystal heads.      And I kind of -- I don't know.          I guess

     20   you could think -- if you had to say I had a religion it

     21   would be spirituality.        I do believe in the spirit, the

     22   endurance of life after death.          And I also believe in

     23   the positive energy of a legend of the heads.              And so I

     24   got that across in a web video that we put up there.

     25   And it was well received.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 241 of 391 Page ID
                                  #:16841                                      241


      1       Q.   And that was part of the marketing of the bottle,

      2   the Legends of the Crystal Head?

      3       A.   Yes.

      4       Q.   Did it continue to be the basis of your

      5   marketing?

      6       A.   Once we were launched and on our way, we began to

      7   stress the quality of the fluid more not than the story

      8   of the heads; because the fluid was winning awards by

      9   that time.

     10       Q.   And --

     11       A.   And we had our tasting notes, which were

     12   spectacular.

     13       Q.   Couple of questions.       First about the awards.

     14   Could you give the jury some idea of the awards Crystal

     15   Head has won?

     16       A.   We've won the World Spirits Competition in

     17   San Francisco twice.        We won the Australian Luxury Brand

     18   Award.    And we won the ProdExpo in Moscow.           Two years

     19   ago at a Russian contest out of 400 beverages, we were

     20   voted "Excellent Taste" by the Russians.

     21            And our notes are spectacular.          Anthony Dias

     22   Blue, he's like the Robert -- Robert Parker's the guy

     23   when you have a hundred point wine, he's the guy with

     24   the tongue that tells you it's 90 or a hundred points.

     25   So we had a great tasting.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 242 of 391 Page ID
                                  #:16842                                      242


      1                    Anthony Dias Blue rated us with the

      2   following notes:       Sweet, vanilla, dry, crisp, with a

      3   kick of heat off the finish.          My car left the highway

      4   when I heard those notes.         It was just -- as a vodka

      5   maker, to get that approbation from a professional, it

      6   was really gratifying.

      7       Q.   His job is to critique --

      8       A.   Exactly.

      9       Q.   -- alcohol?

     10       A.   Yes.

     11       Q.   Tell us about the Website.         Do you remember what

     12   happened right at the first with the Website; did you

     13   get any hits on it?

     14       A.   Yeah.     This is back -- relatively back before

     15   social media has exploded to the point where it is.               We

     16   got 60,000 hits, more than the servers for the Toyota

     17   Motor Company were handling across Canada.

     18                    So people were responding around the world

     19   to the story of the heads and anticipating this new

     20   product coming to market.

     21       Q.   Danny, do you recall how many -- you got 60,000

     22   hits.    Was that in one day, one week, or do you know?

     23       A.   That was in the first day.

     24       Q.   Now, did you have a goal -- to go to the business

     25   side here.       Did you have a goal for the first year of
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 243 of 391 Page ID
                                  #:16843                                      243


      1   how many cases of Crystal Head you wanted to sell?

      2       A.   That would have been determined by the buyer of

      3   the product, who was Infinium Beverages, the importer.

      4   And they basically set the goal -- or they set the --

      5   they set the demand.        And they -- yeah.

      6       Q.   What was the goal?

      7       A.   Well, they agreed to order 5,000 cases.

      8       Q.   And that was for the -- that was the goal for a

      9   year, I take it?

     10       A.   Correct.

     11       Q.   And how long did it take to sell those

     12   5,000 cases?

     13       A.   Well, you know, about under two months.

     14       Q.   And did that create production issues for you?

     15   Did you have to produce some more?

     16       A.   We did have to start to ramp things up and

     17   accelerate production, because the orders were coming in

     18   on the product.      The turn was good.

     19       Q.   During the past -- let's see, it would be -- the

     20   bottle came out in 2008.         You began work in 2006 or so?

     21       A.   Yeah.

     22       Q.   How much time have you devoted between the

     23   beginning of this idea and now to Globefill and Crystal

     24   Head Vodka?

     25       A.   Basically I would say three quarters of my
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 244 of 391 Page ID
                                  #:16844                                      244


      1   working time now is spent on the product.

      2       Q.    Has this been at the sacrifice of your movie

      3   career?

      4       A.    Yes, I would say so.

      5       Q.    And during this period of time, have you done any

      6   roles?

      7       A.    Two years ago I was in the remake of

      8   Ghostbusters, with the spectacular women comedians.               And

      9   I had a small role in it; half day's work.

     10                  Prior to that, I was in a movie called Get

     11   on Up, the life story of James Brown.            I didn't seek

     12   that out, but I would have when I was pursuing my movie

     13   career.     Two people came to me as a favor to ask me to

     14   be in it.     And I knew James Brown.        He was -- we were

     15   friends.     And I wanted to kind of pay tribute to his

     16   legacy so I agreed to play the part of his manager.               But

     17   that's the only two movies I have been in in the last I

     18   guess eight years.

     19       Q.    Did you put your own money into this project?

     20       A.    I did put family money in the project, yes.

     21       Q.    Can you give us an estimate of how much went into

     22   the business?

     23       A.    Two and a half million Canadian.

     24       Q.    When you say two and a half million Canadian, you

     25   are speaking of Canadian dollars?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 245 of 391 Page ID
                                  #:16845                                      245


      1       A.    Right.

      2       Q.    And that converts into real money in America,

      3   does it not?

      4       A.    Green money.

      5       Q.    And how much, sir?      About how much?

      6       A.    It's now -- you get a good deal going to Canada

      7   now.     It's like 30 cents you get on your dollar there.

      8   It was a little less at the time.           So like two million,

      9   say.     A little less.

     10       Q.    Did it take a while to recoup that investment, if

     11   you did?

     12       A.    I got that back within three years, I guess.

     13       Q.    Did you have an agreement about -- with your

     14   partners -- well, first of all, tell us who are the

     15   partners in the business?

     16       A.    Well, John, obviously the artist, first partner.

     17   Second partner, David Brown, who brings Patron Tequila

     18   into Canada with me.        He's an ex-postee as well.

     19       Q.    Wait a minute.     What is a postee?

     20       A.    Postal worker.

     21                  We're kind of that fraternity.          He delivered

     22   mail in Toronto for many years.          And then we got into

     23   Patron.     He retired from the post office.          Again,

     24   working full time on that.         And then we did the vodka.

     25                  And then we brought in a manger, Jonathan
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 246 of 391 Page ID
                                  #:16846                                      246


      1   Hemi.    And we liked him at the time, and we made him a

      2   partner.

      3       Q.   You liked him at the time?

      4       A.   Yeah.

      5       Q.   What about now?

      6       A.   Oh, well, we have our issues.          But, no, we love

      7   him.

      8       Q.   Let me -- I know you are going to be asked this

      9   so let me ask you:       Do you charge appearance fees to the

     10   company?

     11       A.   Yes.    I'm doing the work.       I've got to be paid

     12   for my time.      And I do have a rate schedule for personal

     13   appearances, media signings, bartender education

     14   sessions, yes.

     15       Q.   Do you charge the full rate -- the full boat, if

     16   you will, for your appearances for the company as you

     17   would, for instance, for a Blues Brothers concert?

     18       A.   Blues Brothers concert, I take that figure, I

     19   chop it in half, and then I discount 10 percent to the

     20   partners.

     21       Q.   Over the years, do you have an idea -- well, let

     22   me ask you this:       When you charge back to the company --

     23   or when you send an invoice to the company for your

     24   appearance, do you demand immediate payment?

     25       A.   No.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 247 of 391 Page ID
                                  #:16847                                      247


      1       Q.    Have you been paid everything that you have

      2   earned?

      3       A.    No.

      4       Q.    Have there been some -- you might want to talk to

      5   Mr. Hemi after this.

      6                   Do you have an idea of how much money you

      7   have taken out in terms of your appearance fees?

      8       A.    Well, seven figures, it would be.          Because if you

      9   add it all up -- I mean, I've done so many appearances,

     10   and if you take the rate, I would say around -- over the

     11   life of the projects, say from inception to now, a

     12   couple of million.

     13       Q.    During this period of time, have your partners --

     14   any of your partners complained about that?

     15       A.    No.   In fact, it was really their idea for me to

     16   be compensated.      Because they knew the level of work

     17   that I was doing and the level of commitment.              And so

     18   they -- they agreed that I should be compensated.

     19                   And that's when I come up with the rate.            I

     20   said, Well, I'll take the Blues Brothers concert rate

     21   and I'll chop that in half and I'll discount it to you.

     22       Q.    When you have taken a distribution, have you

     23   taken -- you're the 62 percent owner of the business?

     24       A.    The business breaks down 62 percent; 20 percent

     25   for John; 10 percent for Hemi; and 8 percent for David
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 248 of 391 Page ID
                                  #:16848                                      248


      1   Brown.    And that's the way the percentage breaks down.

      2   I wanted to get them all in there.           I don't own all of

      3   the company.

      4       Q.   Is Davey Brown -- who else, related to Davey

      5   Brown, is in this business, sir?

      6       A.   Well, Martha Mendoza, his wife.          She handles our

      7   point ever sale.       That's all the bar mats and shot

      8   glasses and shakers, all the neat stuff that bartenders

      9   like to work with the product.

     10       Q.   Just parenthetically, Davey could not attend,

     11   could he?

     12       A.   He's tending to his wife.         She's very, very ill

     13   right now, I'm sorry to say.

     14       Q.   Has it been a family affair with all the

     15   partners?

     16       A.   No doubt.

     17       Q.   Let me ask you this --

     18       A.   Excuse me.     You did have a question about

     19   distribution.

     20       Q.   I did.    I did.

     21                   You're also a member of the Directors Guild;

     22   is that correct, sir?

     23       A.   Yes.

     24       Q.   If you don't mind, let me direct.

     25       A.   Yes, sir.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 249 of 391 Page ID
                                  #:16849                                      249


      1       Q.   The question I have is when you get your

      2   distributions, what have you done with those funds?

      3       A.   Well, I don't take the full 62.          I never take

      4   more than -- I take about 50 percent.            So I take the 12,

      5   and I kind of spread it around in the office.

      6       Q.   Among employees?

      7       A.   Yeah.

      8       Q.   Mr. Aykroyd, did there come a point in time when

      9   you became aware of KAH Tequila?

     10       A.   Yes.

     11       Q.   If you want to go ahead and pour some water, go

     12   ahead, sir.

     13                    Do you recall when that happened?

     14       A.   March 2010.

     15       Q.   And under what circumstances?          Where was this?

     16       A.   It was the Las Vegas Nightclub and Bar Show, a

     17   trade convention for the beverage and alcohol industry.

     18       Q.   We've heard a lot of discussion about that.             Can

     19   you tell us:       How did you first become aware of it?

     20   What did you see?

     21       A.   I saw a magazine.

     22       Q.   Let me show you Exhibit 618.         This is the

     23   magazine, of course, you're talking about?

     24       A.   Yes, correct.

     25       Q.   You see on the top on the front that it features
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 250 of 391 Page ID
                                  #:16850                                      250


      1   KAH Tequila:      Spirit of the Afterparty?

      2       A.   That was not the alarming element of the magazine

      3   that got to me.

      4       Q.   Tell us what you saw.        Where was it?     And we'll

      5   put it up on the screen?

      6       A.   The alarming element was the back cover.

      7       Q.   Please go to 618-52.

      8                  MR. BERG:     Would you blow that up, please.

      9   BY MR. BERG:

     10       Q.   Tell us what you -- you said it was alarming.

     11   Why, sir?

     12       A.   It was obvious to us that our bottle had been

     13   replicated.     And what the giveaway was, the catted

     14   spout.    That told me right there that this was a feature

     15   of our bottle that was copied by the makers of KAH.

     16   That catted spout.       And then there were other things.

     17   But the caudad spout, that's the giveaway.

     18                  Because logically, for a machine fill in a

     19   vodka or -- I mean, a tequila or bottle of any kind, you

     20   would have that spout straight up.           But KAH was copying

     21   our aesthetic of that caudad spout.           Which on our bottle

     22   it's -- may I pick this up?

     23       Q.   Please, go ahead.

     24       A.   The caudad spout comes beautifully off the angle

     25   of the forehead and off the angle of the head.              And it's
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 251 of 391 Page ID
                                  #:16851                                      251


      1   got that slight cant to it.

      2                  The KAH Tequila bottle has taken that same

      3   angle, that same cant, because this is aesthetically

      4   pleasing.     The KAH creators saw the aesthetically

      5   pleasing value of that, and they put it into their

      6   bottle.

      7                  Now, logically, if they were going to go for

      8   cost and they thought about it, they'd put that straight

      9   up, but it doesn't look as good.

     10       Q.    Why would they put it straight up?

     11       A.    Because a machine can fill it much easier.            This

     12   requires a hand-fill.        You've got to put this under --

     13   because it's canted, you have to have someone push a

     14   button to fill it.

     15                  So the logic would be to do a machine fill.

     16   But here, that was overridden by their desire to copy

     17   our aesthetic.

     18       Q.    Is there a bottle, another bottle by you, a KAH

     19   Tequila bottle, 772?

     20                  MR. BERG:     And if not, may I ask the deputy

     21   courtroom clerk to please hand that to Mr. Aykroyd.

     22   772.

     23                  THE COURT:     Yes.    The clerk will place it in

     24   front of the witness.

     25   BY MR. BERG:
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 252 of 391 Page ID
                                  #:16852                                      252


      1       Q.   Mr. Aykroyd, you might want to remove that blue

      2   piece of paper and put it back on after you...

      3       A.   Thank you.

      4       Q.   Would you be so kind as to compare -- when you

      5   say canted spout, you mean tilted?

      6       A.   Yes.    Tilted back.     Yes.

      7       Q.   Could you show the jury what you're talking

      8   about.

      9       A.   Here's the cant here and the cant here, coming

     10   off the forehead and producing a very pleasing visual

     11   aesthetic, much more pleasing than if it had been

     12   straight up and down.

     13                   And we were the first ones to do this.           So

     14   you can see the angle here of the cant.

     15       Q.   You mentioned the problem with the filling of

     16   your bottle with the canted spout, the tilted spout.

     17                   Tell the jury again what the problem was and

     18   then how it was fixed.

     19       A.   Well, a straight-up spout enables the bottles to

     20   just go right in the line and get filled automatically

     21   with an automatic filler.         A canted spout requires a

     22   hand-fill.      Now we did go to the Newfoundland

     23   Corporation and we did adapt machines to fill the canted

     24   spouts eventually; but it was expensive.

     25       Q.   Do you know about how much it cost to fix that
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 253 of 391 Page ID
                                  #:16853                                      253


      1   problem?

      2       A.   $700,000 to adjust the line.

      3       Q.   Do you recall about how long after you brought

      4   the bottle to -- well -- yes.          After you brought the

      5   bottle to market, about how long did it take before your

      6   company could afford to fix it?

      7       A.   It was several years; two, three years at least.

      8       Q.   As of now, is it filled by machine?

      9       A.   It's filled by machine now.

     10       Q.   If you were looking to save money on a bottle,

     11   would you tilt that spout like that?

     12       A.   No.

     13       Q.   Did you read the magazine?

     14       A.   Yes.

     15       Q.   And did you read an article in the magazine about

     16   KAH Tequila?

     17       A.   I did.

     18       Q.   Would you please go to 628 -- 618-28 and 29.

     19                   Is this the article you are referring to?

     20       A.   It is.

     21       Q.   And would you go to page 30.

     22                   MR. BERG:    Could you blow that up again.

     23   BY MR. BERG:

     24       Q.   Were those the same pictures?

     25       A.   Yes, sir.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 254 of 391 Page ID
                                  #:16854                                      254


      1                    MR. BERG:   And if you go back to page 28 for

      2   a moment.       If you would blow up this paragraph.         Start

      3   the first full paragraph, Kim Brandi.

      4   BY MR. BERG:

      5       Q.   Was this the first time you had heard of Kim

      6   Brandi or Elements?

      7       A.   It was.

      8       Q.   What did you take away from just the very first

      9   part `of this story?

     10       A.   Well, I was -- naturally, I was struck by the

     11   near exact similarity to our bottle in many respects;

     12   dimensions and proportions, near exact replica.

     13       Q.   They're not exact, I take it?

     14       A.   Near exact.     Near exact enough so as to cause

     15   confusion in the marketplace as to the source; who makes

     16   the bottle; or as to the sponsorship.

     17       Q.   Were you concerned about the confusion about who

     18   made the bottle?

     19       A.   Yes.     As a manufacturer, it was unacceptable for

     20   me -- people think I am making a premium vodka -- to

     21   believe we have a line extension into tequila.              Because

     22   I don't have quality control over KAH Tequila.              I don't

     23   make it.     So to have people think and be confused and

     24   think that this is a line extension of Crystal Head,

     25   which we had to go around and try to correct eventually,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 255 of 391 Page ID
                                  #:16855                                      255


      1   it created the type of confusion that a manufacturer

      2   fears.

      3                   I don't know what's in the quality.          I can't

      4   police the quality of that tequila or the bottle that's

      5   it made in.

      6                   If I were doing a line extension of Crystal

      7   Head into tequila, we would be sure that quality was

      8   first class.

      9                   I don't have control over that.         And that's

     10   why confusion is so egregious here.           And just one person

     11   being confused is enough.

     12                   You saw Christina's testimony where she

     13   showed that one lady there with the -- you know, going

     14   out over the Internet to thousands of people with the

     15   two bottles:      tequila, Crystal Head.        Of course there's

     16   confusion.

     17       Q.   What if KAH Tequila had superb vodka?            Just

     18   assume it was excellent.         Would you then have an

     19   objection to KAH Tequila being on the market?

     20       A.   Yes.

     21       Q.   What would the objection be, to make it very

     22   clear why you are here?

     23       A.   We believe that the law protects our rights to

     24   our skull-shaped bottle and to the containment of

     25   beverage alcohol in that bottle.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 256 of 391 Page ID
                                  #:16856                                      256


      1                   And we believe that we have been infringed

      2   upon, and intentionally infringed upon, with a

      3   quick-follow product that was contemplated and

      4   premeditated by its creators once the creators saw our

      5   bottle.

      6       Q.    It's been asked several times:         Are you trying to

      7   put Ms. Brandi out of the tequila business?

      8       A.    Absolutely not.

      9       Q.    What is it that you are trying to do?

     10       A.    We are trying -- we are here to try to protect

     11   our rights under the law against trade dress

     12   infringement, against a bottle that we believe copies

     13   many features of ours, so enough to cause confusion in

     14   the marketplace as to sponsorship, or source of

     15   manufacturer of the goods.

     16       Q.    They are also dissimilarities?

     17       A.    Oh.   No.   No.   Absolutely, sure.

     18       Q.    If Ms. Brandi were to sell something else,

     19   something other than an alcoholic beverage in a

     20   skull-shaped bottle, would you have an objection then?

     21       A.    Not at all.

     22       Q.    Do you have -- didn't you suggest one idea

     23   already that would be perfect?

     24       A.    I suggested a line of food stuffs for

     25   supermarkets in mini bottles.          I think it would be a big
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 257 of 391 Page ID
                                  #:16857                                      257


      1   hit.     And, you know, Kim, go for it.         I give you that.

      2       Q.    Were you made aware that Crystal Head vodka was

      3   asked to put an ad in this magazine -- not Crystal Head

      4   Vodka, but Infinium was asked ad in the magazine?

      5       A.    Not at the time of the bar show, no.

      6                  MR. BERG:     Could we go to that page.         That

      7   would be 618-4 and -5.

      8   BY MR. BERG:

      9       Q.    What was your reaction when you saw this?

     10       A.    I felt that -- that Kim, we see here, was

     11   attempting to associate our product with hers in a way

     12   that implied a sponsorship or approval?

     13       Q.    What does that mean to you, sir?

     14       A.    That Crystal Head would approve of or would

     15   sanction in some way KAH Tequila.           I believe that she

     16   was attempting to draw that as an inference.

     17       Q.    Thank you.    What did you do after you saw this

     18   magazine?

     19       A.    Well, we conferred as a company and decided, this

     20   is our trade dress.        This is our life.      We've worked

     21   years on this.      And we have dependents and people -- you

     22   know, from the line in Newfoundland to foreign sales.

     23   We had to protect ourselves.

     24                  So we prepared a legal letter which we sent

     25   to Elements and to Kim.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 258 of 391 Page ID
                                  #:16858                                      258


      1       Q.   And that legal letter, is that called "A cease

      2   and desist letter"?

      3       A.   As I recall, yes.

      4       Q.   Could we please -- before we leave, there has

      5   been some discussion of this.          Did you speak at that

      6   convention?

      7       A.   Yes.

      8       Q.   And could you tell the jury what -- a little bit

      9   about the convention, why Globefill would be there, and

     10   why you would be there?

     11       A.   Well, the bar show begins the trade show.             We

     12   wanted to talk about some of the recipes we'd come up

     13   with, and sort of just basically be a presence in market

     14   for Vegas and for the bar show.

     15                   So I agreed to be a key note speaker and do

     16   a seminar on the product.

     17       Q.   Is this attended -- who attends the -- a

     18   convention like this?

     19       A.   Wholesalers, retailers, the public.           Bartenders,

     20   bar owners, bar operators.         Multiple operators; hotel,

     21   dining room, beverage managers, beverage buyers,

     22   distributors.      Basically anyone interested in bar

     23   service.

     24       Q.   Did that enhance your concern about this magazine

     25   and about KAH Tequila?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 259 of 391 Page ID
                                  #:16859                                      259


      1       A.    Well, it was very widely exposed, this Liquid

      2   Living Magazine.        And we had people coming up to us

      3   congratulating us on our new tequila at the convention.

      4       Q.    Let me just divert a little bit here.

      5                        Have you had people over the years say

      6   that to you more than at that convention?

      7       A.    Yes.

      8       Q.    Can you estimate how often that has been said?

      9       A.    I -- I really couldn't count how many people have

     10   come and asked me about our new tequila in the skull

     11   bottle, no.       Numbers.     Numbers of people.     I couldn't

     12   count.

     13       Q.    Could you give us a couple of names?

     14       A.    Well, sure.     Rocky Wirtz; Wirtz Beverages up

     15   there in Chicago.        Bill Goldring there with RNDC down in

     16   the south.       David Jabour in Austin, Texas.        Mike

     17   Binstein; Binny, our pal in Chicago with Binny's Liquor.

     18   Burt Notarius and his son up there at Premier Beverages

     19   up there in Buffalo.

     20                    All of them were calling and saying, Why

     21   didn't you tell us?          We would have promoted this for

     22   you.     They wanted to know why we didn't tell them about

     23   this.     Why it just appeared on the market without us

     24   telling them.       We had to say:     It's not ours.

     25       Q.    And, Mr. Aykroyd, are they -- this is always
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 260 of 391 Page ID
                                  #:16860                                      260


      1   asked:     Are they coming here to testify?

      2       A.    Not that I am aware of, no.

      3       Q.    And what are you asking of the jury then?

      4       A.    I'm asking the jury to look at the law carefully,

      5   to listen to Judge Marshall's instructions, and to find

      6   in favor of Globefill; that there is a trade dress

      7   infringement here, which is on the part of KAH Tequila,

      8   which has caused and continues to cause confusion in the

      9   industry trade and the consumer marketplace as to the

     10   source, the origin of the goods.           And that's simply what

     11   we want to take care of today.          Hopefully we can have a

     12   proper resolution, in our view.

     13       Q.    Mr. Aykroyd, have you bought a bottle of KAH

     14   Tequila?

     15       A.    Yes.

     16       Q.    And what was your experience with the bottle

     17   itself?

     18       A.    Well, I bought a white one and -- I prefer

     19   Patron.     So, you know -- I prefer Patron.          So, you know,

     20   I love that Blanco.       So I wasn't sure about the taste.

     21   As I said, I'm kind of bias there.

     22                    There was a glass, a little chip of glass.

     23   The original now -- they make them out of ceramic now,

     24   the KAH.     But this was -- the infringing product

     25   originally was glass.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 261 of 391 Page ID
                                  #:16861                                      261


      1       Q.    Show that to the jury, the bottom, if you would,

      2   sir.

      3       A.    So somehow, somehow, now, now, look, now maybe I

      4   dropped it or it shipped badly or something, but there

      5   was a chip of glass in the bottle that I poured.               And I

      6   poured it all out just to take a look at the liquid.

      7   And about halfway through this chip was there.

      8                  I thought to myself, even more reason for me

      9   to be concerned about source.          What if someone got hurt?

     10   And then to have someone think that we have a product on

     11   the market that's inferior to our vodka, unacceptable.

     12       Q.    When you went shopping for a bottle manufacturer,

     13   did you consider any Chinese companies?

     14       A.    No, we did not.

     15       Q.    Were you concerned about quality?

     16       A.    Concerned about quality and replication.

     17       Q.    And in the -- pardon me.

     18                  Let's get back to the cease and desist

     19   letter.     To time that, was that about March of 2010?

     20       A.    Right after the bar show, yes.

     21       Q.    And did you take other steps at that point in

     22   addition to your trade dress protection?             Did you take

     23   other steps as a company to protect your bottle?

     24       A.    We filed a trademark.

     25                  MR. BERG:     Could we go to Exhibit 700,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 262 of 391 Page ID
                                  #:16862                                      262


      1   please.

      2                    Now, this is hard to read, so I'm going to

      3   ask Willa to please go to the line beginning with "First

      4   use."

      5   BY MR. BERG:

      6       Q.    Now, do you understand why this -- these words

      7   "first use" are in here, Mr. Aykroyd?

      8       A.    Yes.    "First use" is the standard which is

      9   accepted in law and business for the protection of trade

     10   dress.     Once you have first use in commerce, it's

     11   assumed that your trade dress has been established as an

     12   original presentation to the market.

     13       Q.    This indicates if you -- if I could read it,

     14   "First use 9, 0, 2008," September 2008.            Is that

     15   consistent with your memory of when you went to Anaheim

     16   and launched the bottle?

     17       A.    Yes, it is.

     18       Q.    Let's go now to where it starts with the serial

     19   number, right there.        Next to bottom line, right there.

     20                    I just want to point out the first line

     21   there.     Do you see the word "filed," sir?

     22       A.    Yes, sir.

     23       Q.    And does that comport with your memory?            It says

     24   it was filed on 3/24/2010.

     25       A.    Uh-huh.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 263 of 391 Page ID
                                  #:16863                                      263


      1       Q.   And it issued -- we have --

      2                   MR. BERG:    Let's go up to the first line.

      3   Let's see first where it says "for alcoholic beverages."

      4   Right there.

      5   BY MR. BERG:

      6       Q.   And the purpose was for alcoholic beverages;

      7   namely, vodka; in class 33.

      8                   MR. BERG:    And then go down, if you would,

      9   to "Principal register."         And then -- please.

     10   BY MR. BERG:

     11       Q.   Do you see where it says "The mark" -- right

     12   there, "The mark consists of"?

     13                   And it says, "The mark consists of a

     14   configuration of a bottle in the shape of a skull."

     15                   Is that your understanding of your

     16   trademark?

     17       A.   Correct.

     18       Q.   And if we go to the -- we'll get the date --

     19                   MR. BERG:    If you'll take that down.

     20   BY MR. BERG:

     21       Q.   -- and it was registered or issued on -- do you

     22   see where it says "Registered" -- October 25th, 2011.

     23   So that's your trademark.

     24       A.   Yes.

     25       Q.   And this -- why did your company apply for this?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 264 of 391 Page ID
                                  #:16864                                      264


      1       A.   Supplemental protection of our product and our

      2   trade dress.

      3       Q.   If you would, have you noticed something in

      4   particular about this application or this trademark?

      5       A.   With regards to the copy or the graphic?            I'm

      6   sorry.

      7                  I would ask you to clarify the question,

      8   "noticed" what?

      9                  THE COURT:     Maybe counsel can just state a

     10   different question.

     11                  MR. BERG:     Yes.

     12   BY MR. BERG:

     13       Q.   Would you tell jury what this is.           Describe that

     14   top.

     15       A.   Right.    That's a little bit of nostalgia.           That's

     16   our original hexagonal wooden top.           In the beginning, we

     17   matched the hexagonal pattern on the bottle here.               There

     18   is a little X pattern on the bottle.            We matched it with

     19   a hexagonal top.

     20                  Subsequently, in order to reduce price, we

     21   found that we could get a savings if we just went to a

     22   round top.

     23                  But we filed the trademark with the original

     24   hex top.     And that's the drawing of it right there.             You

     25   can see the facets all around making it a hexagonal
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 265 of 391 Page ID
                                  #:16865                                      265


      1   shape, not round.

      2       Q.   By mention hexagonal, you mean it has six sides

      3   to it?

      4       A.   Yes.     The facets.    You can see the facets there

      5   depicted in the drawing.

      6       Q.   I would like to go now to Exhibit 574-A.            This is

      7   the original top that you had?

      8       A.   Original top.      No longer.     Now we're round.      But

      9   that was the original, yeah.

     10       Q.   Mr. Aykroyd, are you familiar with these pictures

     11   that are on the screen?

     12       A.   I am.

     13       Q.   When did you become familiar with these?

     14       A.   During our preparation.

     15       Q.   And can you tell us, sir, if any of those

     16   pictures drew your attention in particular?

     17       A.   Well, the one on the right, because --

     18       Q.   On your right, sir?

     19       A.   Well, the blue one.       That brought attention

     20   because it's so obviously a mold replica of our bottle,

     21   inspired by our bottle.

     22                    And then the picture next to it, I -- I --

     23       Q.   Could you use your finger to draw a circle around

     24   the picture you are talking about.

     25                    Did you notice something in particular about
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 266 of 391 Page ID
                                  #:16866                                      266


      1   that picture?

      2                  MR. HUMMEL:     Your Honor, I object to these

      3   questions.

      4                  THE COURT:     The basis for the objection?

      5                  MR. HUMMEL:     There is no foundation.         He is

      6   offering opinion about something he didn't see until

      7   this lawsuit.

      8                  THE COURT:     Overruled.

      9   BY MR. BERG:

     10       Q.   What was it that got your attention about that

     11   top --

     12       A.   That --

     13       Q.   -- that mold?

     14       A.   That was one of our hexagonal tops sitting on her

     15   mold.    That is one of our tops taken from one of our

     16   bottles.

     17                  You can see the facet there.          And that was

     18   placed on the mold to assist her in her -- create her

     19   project.     You can see the facets.

     20       Q.   And what about?

     21       A.   It's not even a copy.        It's one of our tops.       I

     22   do really believe that.

     23       Q.   What about the color, did that match?

     24       A.   It matched, yep.      Matched the brown color, yes.

     25       Q.   As a result of these pictures -- now so that the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 267 of 391 Page ID
                                  #:16867                                      267


      1   jury may be reminded, would you go do 574, please, page

      2   2.

      3                    This is the clay calavera prototype of

      4   May 2009?

      5        A.   Uh-huh.

      6        Q.   Now, as a result of seeing that, did you take

      7   other action; of seeing that top, did that draw your

      8   attention?

      9        A.   Yes.    It just reinforced our conviction that we

     10   had been copied.

     11        Q.   When you say our conviction, who are you talking

     12   about?

     13        A.   The partners.

     14        Q.   Did that cause you to do further comparisons?

     15        A.   Oh, yes.    Absolutely, sure.

     16        Q.   What comparisons did you make?

     17                    Do you have 772 in front of you, sir?

     18        A.   Yes, uh-huh.

     19        Q.   And 45?

     20        A.   Uh-huh.

     21        Q.   Tell the jury what other comparisons you made.

     22        A.   Well, we were stricken by the overall

     23   presentation and similarity in presentation.

     24                    Now, of course, there are differences in the

     25   skulls, and they are obvious.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 268 of 391 Page ID
                                  #:16868                                      268


      1                  But we actually -- we actually -- John and I

      2   were struck by the proportions and the dimensions that

      3   seem to copy our bottle in exact -- exactly.

      4                  If I might, if you look at this angle here,

      5   from the back of the skull right to the jaw, right here,

      6   that angle right there, and this angle, they -- they are

      7   exactly the same.

      8                  If you were to take a line from the back of

      9   the skull to the front the jaw, that is a linear plane.

     10   That is exactly the same.

     11       Q.   Could you let all the jurors see that angle, sir?

     12       A.   May I stand up?

     13                  THE COURT:     Well, do you wish to have them

     14   circulated among the jury?

     15                       The witness has held them up.          And I

     16   think the jurors have seen them, but do you wish --

     17                  THE WITNESS:      I will do --

     18                  THE COURT:     Wait just a moment.

     19                  Do you wish to have him do something more?

     20                  MR. BERG:     He needs the bottles for a while,

     21   Your Honor.

     22                  THE COURT:     Okay.

     23                  MR. BERG:     And I thought the angle was --

     24                  THE WITNESS:      Okay.   So there and there.        If

     25   you just take the base of the skull through the chin,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 269 of 391 Page ID
                                  #:16869                                      269


      1   now that's eliminating our base there.            But if you chop

      2   that off, there is an angle, linear angle there.

      3                       Next, you look at the caps, if we might.

      4   So here's our round cap.         And here is the KAH cap.        This

      5   is an old bottle from the past, so I can't quite get

      6   this off.     Sorry.    I'll tell you what, same diameter of.

      7                       And, Your Honor, I do not have to use

      8   the blackboard, but I will take up this ruler.

      9                  THE COURT:     Oh, that's fine.

     10                  THE WITNESS:      I won't go there.

     11                       And this is one and three, about --

     12   yeah.     I would say about one and a half -- yeah, one and

     13   a half inches across according to this ruler.

     14   BY MR. BERG:

     15       Q.    When you say "this is," what are you talking

     16   about?

     17       A.    The top of the cap.

     18       Q.    Of which bottle?

     19       A.    Of the Crystal Head bottle.        And then this is the

     20   same, one and a half inches across.           So the cap's

     21   exactly the same dimension.

     22                  Moving on down, if we look at the top of the

     23   skull to the top of the bottle, that's one and a quarter

     24   inches.     If we take the top of our bottle and go

     25   there -- excuse me.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 270 of 391 Page ID
                                  #:16870                                      270


      1                    That is one and a quarter inches, maybe 1/16

      2   or so higher than that.        But really near exact.

      3       Q.   But they're not exact.        To be clear, they're not

      4   exact?

      5       A.   Okay.     Next, let's look at the eye sockets.

      6   Okay.    So eye sockets could be any size in the skull.

      7   Why are they exactly the same?          Ours from the top of the

      8   orbit here, the eye, to the bottom, is -- that would be

      9   one inch.     One inch.     And across, across the orbit, a

     10   little less.       About one inch.     One inch across as well,

     11   if you took -- there may be -- it would be one and a

     12   quarter, one inch this way and here.            If you look at the

     13   orbit from top to bottom, one inch, one inch.              And then

     14   an inch and a quarter, as in our bottle.

     15                    Next from the center of the eye to the chin.

     16   Okay.    We'll take our bottle first.         Center of the eye

     17   to the chin, right here roughly.           And that's three and a

     18   half inches.       Center of the eye to the chin, three and a

     19   half inches.

     20                    Width of the nose at the bottom.         Our

     21   bottle, one inch.       KAH bottle, triangular nose again,

     22   one inch.

     23                    And that brings me to the angle and the

     24   cant.    We have this base here which put a label on.

     25   Now, we do that because the fluid has to sit level in
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 271 of 391 Page ID
                                  #:16871                                      271


      1   our clear bottle.       If it were canted -- if we didn't

      2   have the base, such as the KAH bottle does not have the

      3   base -- they have an opaque bottle so the liquid doesn't

      4   have to be -- it doesn't have to sit quite level.

      5   Because we have a clear bottle, so we have this base.

      6   And we didn't want to put a label on our bottles so we

      7   built this base.

      8                  But if you were to take the KAH bottle and

      9   put a base on it, the profile and the cant gives you an

     10   idea of the replication that has occurred here.

     11       Q.   Mr. Aykroyd, why did you do this by yourself,

     12   these measurements?

     13       A.   John Alexander and I did it.

     14       Q.   What did you do it do begin with?

     15       A.   Because we noticed proportions and dimensions

     16   that matched our skull exactly in the KAH replica.

     17       Q.   Are you suggesting that every measurement you

     18   could take of those two bottles is similar or very close

     19   to being exact?

     20       A.   No.   The cheeks are wider.        The -- well, this

     21   skull is almost -- just about the same.

     22                  Now, their new bottles are a little wider in

     23   terms of the back and the front of the skull, the cheeks

     24   are wider.

     25                  Otherwise, there is so much that matches up,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 272 of 391 Page ID
                                  #:16872                                      272


      1   I -- I -- I see there that -- why someone would think

      2   that this is a line extension of ours.            And confusion is

      3   obvious.

      4       Q.   Is that the -- did you just use the Blanco to

      5   compare?

      6       A.   I did, yeah.

      7       Q.   Obviously -- this has been pointed out -- they

      8   have a chiseled mouth, you don't?

      9       A.   Right.    Right.    Well, their piece of glass --

     10   that's less expensive.        Because they have it painted on,

     11   it's a less expensive piece to make.            They're saving

     12   money there.

     13                   It's quite expensive to make the chiseled

     14   mouth, but they don't need it, because they painted on a

     15   smile.

     16       Q.   Are there other -- you've told us about some

     17   dissimilarities.

     18                   You are here to talk about the similarities,

     19   are you not, sir?

     20       A.   Yes.

     21       Q.   And that is why I take it you filed this suit?

     22       A.   Because it's so obviously a quick-follow copy of

     23   the Crystal Head bottle with another similarities to go

     24   into the market and confuse as to the source of the

     25   manufactured goods or as to sponsorship.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 273 of 391 Page ID
                                  #:16873                                      273


      1       Q.    Let me take you to one last subject matter, if I

      2   might.     Are you aware of a lawsuit Elements filed in

      3   Mexico?

      4       A.    Yes.

      5       Q.    What was the allegation in that lawsuit about the

      6   bottle -- KAH Tequila bottle and another skull-shaped

      7   bottle?

      8       A.    That they were confusingly similar.

      9       Q.    And as a result of that lawsuit, what happened to

     10   your stock or your bottles in Mexico?

     11       A.    Our goods were seized at a retail store,

     12   impounded, and taken off the shelves away from the

     13   public view on the basis of confusion.

     14       Q.    And if I might ask you, sir, they're saying in

     15   Mexico the bottles are similar?

     16       A.    Yes.

     17       Q.    They're saying here -- well, first, let me ask

     18   you:     What do you think of that --

     19       A.    I --

     20       Q.    -- allegation?

     21                    THE COURT:    Excuse me.    What's the question?

     22                    MR. BERG:    Yes.

     23   BY MR. BERG:

     24       Q.    In Mexico, Elements is saying the bottles are

     25   similar.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 274 of 391 Page ID
                                  #:16874                                      274


      1                  And I'm asking you, sir, do you agree or

      2   disagree?

      3                  MR. HUMMEL:     Object, Your Honor.

      4                  THE COURT:     Overruled.

      5                  THE WITNESS:      I agree with the Mexican

      6   filing.

      7                  MR. BERG:     Let me confer with my colleague

      8   for a moment.

      9                  (PAUSE.)

     10   BY MR. BERG:

     11       Q.    One last thing, Mr. Aykroyd.        When you first saw

     12   the bottle, did you characterize it -- and I'm talking

     13   about KAH Tequila.        What was your emotional response to

     14   that?

     15       A.    Well, I was pretty mad.       You know, a lot of work

     16   had gone into this.        A lot of time and a lot of effort.

     17   And it just seemed like these operators were

     18   piggybacking on our hard work and coming with a

     19   quick-follow replica.        And I was upset.

     20       Q.    Did you say something you might regret?

     21       A.    Well, I don't know.      I don't know how you can

     22   regret insulting a material object.           But I -- I insulted

     23   the bottle, the KAH bottle.         I was mad and I threw out a

     24   comment about it.

     25       Q.    What kind of comment?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 275 of 391 Page ID
                                  #:16875                                      275


      1       A.   Said it looked -- I said one of them looked like

      2   a monkey.

      3                  But I don't feel that today.          And didn't at

      4   the time.     I was just being -- kind of reacting.            And

      5   the heat of the emotion took me to that insult, I guess.

      6       Q.   I just have a couple more questions.

      7                  You told us what happened in -- how much

      8   work you've done in the last almost ten years.              It's a

      9   fair statement that it's been at the sacrifice of your

     10   movie career?

     11       A.   I would say so, yeah.

     12       Q.   Have you observed Mr. Alexander's career in the

     13   last ten years; has he in fact sacrificed his career to

     14   some extent as well?

     15       A.   He has less time in the studio to work, because

     16   we've been on the road.        And he has -- his production

     17   output is down from his usual -- his usual schedule of

     18   work.

     19                  MR. BERG:     I'll pass the witness, Your

     20   Honor.

     21                  THE COURT:     Cross?

     22                  Before we commence cross, if anyone wishes

     23   to stand and stretch, you may do so.

     24                  (PAUSE.)

     25                  THE COURT:     I think everyone has now
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 276 of 391 Page ID
                                  #:16876                                      276


      1   returned.

      2                  So I will just indicate to the jurors -- the

      3   jurors will remember that we have two defendants in the

      4   case, Elements Spirits and Kim Brandi, and they are

      5   represented by different counsel.

      6                       So during the cross-examination, you may

      7   see counsel representing the entity, counsel

      8   representing the individual, conducting

      9   cross-examination.

     10                       And the Court would just ask:          Which

     11   counsel is going to go first?

     12                  MR. HUMMEL:     I am going to go first, Your

     13   Honor.

     14                  THE COURT:     All right.

     15                  MR. HUMMEL:     I have my own props.

     16                  May I begin, Your Honor?

     17                  THE COURT:     Yes.    You may proceed.

     18                           CROSS-EXAMINATION

     19   BY MR. HUMMEL:

     20       Q.   Good afternoon, Mr. Aykroyd.

     21       A.   Good afternoon, Mr. Hummel.

     22       Q.   Globefill sent the cease and desist letter to

     23   Ms. Brandi in Elements on March 18th, right?

     24       A.   I believe that's the date.

     25       Q.   And in that cease and desist letter, you asked
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 277 of 391 Page ID
                                  #:16877                                      277


      1   her to stop selling KAH Tequila in the bottle of which

      2   it was intended to be launched, correct?

      3       A.   Stop selling beverage alcohol in a skull-shaped

      4   bottle, yes.

      5       Q.   And you gave her a week to comply, right?

      6       A.   If that is in the record, I will say yes.

      7       Q.   And then you know that Globefill filed a lawsuit

      8   against Elements and Ms. Brandi just a few days later,

      9   right?

     10       A.   Yes, we did.

     11       Q.   And, in fact, you filed a lawsuit on March 22nd,

     12   correct?

     13       A.   If that's what's in the record, I will accept

     14   that as fact, yes.

     15                   MR. HUMMEL:    And let's pull up Exhibit 700.

     16   Let's pull up Exhibit No. 700.

     17   BY MR. HUMMEL:

     18       Q.   This is the trademark application that Globefill

     19   filed on its bottle, right?

     20       A.   It is.

     21       Q.   You just testified to that on direct, correct?

     22       A.   Yes.

     23       Q.   As you see, there is a configuration of a bottle,

     24   right?

     25       A.   Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 278 of 391 Page ID
                                  #:16878                                      278


      1       Q.   So the trademark that you have is on that

      2   configuration?

      3       A.   A skull-shaped bottle.

      4       Q.   And that configuration, right, sir?

      5       A.   That configuration of a skull-shaped bottle, yes.

      6       Q.   And if you -- I think you testified on direct

      7   that it says that the trademark is for alcoholic

      8   beverages; namely, vodka.         Right?

      9       A.   That's what it says, yes.

     10       Q.   And if you look, it was filed -- if you look

     11   here -- there I go obliterating it -- on March 22nd,

     12   2010, right?

     13       A.   Correct.

     14       Q.   24th.    Sorry.    March 24th, 2010.      Correct?

     15       A.   Yes.

     16       Q.   That was just a few days after this lawsuit was

     17   filed, right?

     18       A.   Yes.

     19       Q.   Now, if you look up here, you were talking about

     20   the cap, right?

     21       A.   I was.

     22       Q.   And if you look carefully on this trademark

     23   application right here, it says, "The bottle cap is

     24   shown in dotted lines and is not part of the mark,"

     25   right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 279 of 391 Page ID
                                  #:16879                                      279


      1       A.   I see that.

      2       Q.   So the cap that's depicted here is the hexagonal

      3   cap you were talking about, right?

      4       A.   The hexagonal cap that originally was placed in

      5   our production run when the bottle -- when we began

      6   production.

      7       Q.   Right.    You have no rights to that cap; you have

      8   no trademark right to that cap, correct?

      9       A.   No, we don't have any trademark rights to the

     10   cap.

     11       Q.   Have you seen a single bottle of KAH Tequila in

     12   the market that had a hexagonal cap?

     13       A.   I have not.

     14       Q.   You believe that the document you showed the jury

     15   in your opinion has a hexagonal cap, right?

     16       A.   A hexagonal cap, taken from our bottle, and

     17   placed on the mold that was Kim was working with.

     18       Q.   Just based on your observation, right?

     19       A.   Of course.

     20       Q.   You've never actually seen that cap?

     21       A.   That particular cap?

     22       Q.   Right?

     23       A.   Of course not.

     24       Q.   Now, soon after you filed this lawsuit --

     25   Mr. Aykroyd, I noticed that, particularly early in your
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 280 of 391 Page ID
                                  #:16880                                      280


      1   testimony, you were giving a lot of details.

      2                    Do you consider yourself to have a good

      3   memory?

      4       A.    For someone my age, a reasonable memory; a

      5   reasonable human memory.

      6       Q.    And do you recall that soon after you filed the

      7   lawsuit you submitted a declaration to the Court?

      8       A.    I don't recall the specifics of that.

      9       Q.    You don't recall submitting a declaration

     10   March 31st, 2010?

     11       A.    I don't recall specifics.        I would have to be

     12   refreshed there.

     13                    MR. HUMMEL:     I will ask the clerk to hand

     14   you Exhibit No. 39, sir.

     15                    THE COURT:     This is an exhibit not in

     16   evidence?

     17                    MR. HUMMEL:     No.   This is marked for

     18   identification, Your Honor.

     19                    THE COURT:     The clerk may place it before

     20   the witness.

     21                    THE WITNESS:     Thank you.

     22   BY MR. HUMMEL:

     23       Q.    Mr. Aykroyd, I want to direct your attention to

     24   paragraph No. 4 here.

     25       A.    Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 281 of 391 Page ID
                                  #:16881                                      281


      1         Q.     Now, do you recall -- actually, having taken a

      2   look at this affidavit declaration, you can take as long

      3   as you want to examine it.

      4                     Do you recall now submitting an affidavit --

      5   a declaration to the Court in March?

      6                     THE COURT:     You may review it before you

      7   answer.

      8                     THE WITNESS:     Well, it has my signature on

      9   it.        So it was submitted with my signature on it.

     10                     And I will say, although I don't

     11   specifically recall when I signed it, it is obviously a

     12   submission, so I accept what you are saying here.

     13   BY MR. HUMMEL:

     14         Q.     And do you recall that in this affidavit you

     15   described the idea of commemorating the legend of 13

     16   crystal skulls as originating with Mr. Alexander?

     17         A.     We originated the idea together with Alexander,

     18   yes.

     19         Q.     Do you see that the affidavit says that he's the

     20   one that suggested that?

     21         A.     John drew the skull up suggesting the design of

     22   the skull.        And I connected the Mitchell Hedges legend

     23   to it once I saw his drawing.

     24         Q.     So Mr. Alexander was not the one who came up with

     25   the idea of connecting Crystal Head Vodka with the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 282 of 391 Page ID
                                  #:16882                                      282


      1   legend of the 13 crystal heads?

      2       A.   No.

      3       Q.   Did you prepare this affidavit or did your

      4   lawyers?

      5       A.   Oh, undoubtedly the lawyers prepared this.

      6       Q.   The idea for Crystal Head Vodka was hatched in

      7   2005, I think you testified, right?

      8       A.   '5 or '6.     I -- around then, yeah.

      9       Q.   And you described the process that you went to in

     10   detail to get to the final bottle, right?

     11       A.   Yes, sir.

     12       Q.   And that process took from 2005 in the winter

     13   until the introduction of the vodka -- of the vodka in

     14   2008, correct?

     15       A.   Well, the -- '07 was when we had a final product.

     16   And then the introduction in '08, correct.

     17       Q.   You recall that -- so the total process took

     18   about four years; is that correct?

     19       A.   That would be about right.

     20       Q.   I just want to go back once again to the

     21   trademark application -- the trademark.

     22       A.   Yes.

     23       Q.   Do you recall when that trademark was applied

     24   for, that color was not claimed as a feature of the

     25   mark?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 283 of 391 Page ID
                                  #:16883                                      283


      1       A.   Color is not mentioned in the mark.

      2       Q.   And you understand that when you applied for the

      3   mark, you applied for a clear bottle, correct?

      4       A.   Well, our bottle is clear.         We applied for a

      5   skull-shaped bottle.          It didn't specify clear in the

      6   trademark.       But that's obviously our -- you know, our

      7   package starts there with the clear bottle.

      8       Q.   With the clear bottle?

      9       A.   Yeah.

     10       Q.   Are you aware --

     11       A.   Clear, skull-shaped bottle, yes.

     12       Q.   Are aware that the lawyers when they filed the

     13   application for this trademark disclaimed color?

     14       A.   Can you clarify for that for me?          I'm not sure I

     15   follow you there.

     16       Q.   Right.     Are you aware that the lawyers when they

     17   applied for this trademark told the trademark office

     18   that Globefill was not claiming a colored glass?

     19       A.   I don't remember specifically that aspect of the

     20   trademark.       And it certainly doesn't eliminate -- it's

     21   not stated here.

     22       Q.   Do you have Exhibit 492 in front of you?

     23                    THE COURT:     Marked for identification is

     24   492?

     25                    MR. HUMMEL:     I think, your Honor, this is an
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 284 of 391 Page ID
                                  #:16884                                      284


      1   actual exhibit.

      2                  THE COURT:     All right.     You think it's in

      3   evidence?

      4                  MR. HUMMEL:     I don't think it's been

      5   admitted into evidence, your Honor.

      6                  THE COURT:     Is there any objection -- does

      7   counsel offer it?       Are you offering it or not?

      8                  MR. HUMMEL:     No, I'm not offering it --

      9                  THE COURT:     Okay.

     10                  MR. HUMMEL:     -- I'm just --

     11                  THE COURT:     All right.     It will be placed

     12   before the witness.       It's 492.

     13                  The jurors will remember not every exhibit

     14   or every document that you see here in the courtroom is

     15   in evidence.

     16                  And you also remember the instruction that I

     17   read earlier before we started the trial was the jury

     18   may consider only those things that are received into

     19   evidence.

     20                  So when you go into the jury room to

     21   deliberate, you may notice not every piece of paper that

     22   may be used during the trial is actually in evidence.

     23   Apparently, this is an example of one of those.

     24                  The witness has before him 492.

     25   BY MR. HUMMEL:
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 285 of 391 Page ID
                                  #:16885                                      285


      1       Q.   All right.     Mr. Aykroyd, would you take a look at

      2   492, please.

      3       A.   Yes.

      4       Q.   I want you to look down about -- see the part

      5   that says "Marked information"?

      6       A.   Yes.

      7       Q.   Do you see the part that says "Colors claimed"?

      8       A.   Yes.

      9       Q.   Do you see it says, "Color is not claimed as a

     10   feature of the mark"?

     11                   THE COURT:     I will ask Counsel not to go

     12   into the contents since it's not in evidence.              But the

     13   witness may use it to refresh recollection or for other

     14   purposes.

     15                   THE WITNESS:     Oh, I'm happy to read this:

     16   "Color is not claimed as a feature of the mark."

     17   BY MR. HUMMEL:

     18       Q.   Mr. Aykroyd, you did some measurements with your

     19   ruler earlier today?

     20       A.   I did.

     21       Q.   You said that you and Mr. Anderson had?

     22       A.   Alexander, yes.

     23       Q.   Mr. Alexander.      Sorry.    You're right.

     24                   Mr. Alexander had done a bunch of

     25   measurements of both of those skulls, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 286 of 391 Page ID
                                  #:16886                                      286


      1       A.    We did, after seeing proportions and dimensions

      2   that we believe were near exact copies of our bottle,

      3   yes.

      4       Q.    You sat together and you measured every part of

      5   both skulls and compared them, right?

      6       A.    Where we saw similarities, obvious similarities,

      7   yes.

      8       Q.    When you did measurements, you found a bunch of

      9   areas where there were dissimilarities, right?

     10       A.    Oh, absolutely.

     11       Q.    You didn't testify about those?

     12       A.    No.     I believe I said that the --

     13                     MR. BERG:    Excuse me.   Objection.     That is a

     14   misstatement of his exact testimony, your Honor.

     15                     THE COURT:    Objection sustained.

     16   BY MR. HUMMEL:

     17       Q.    All right.     Mr. Aykroyd, could you pick up your

     18   ruler, please.

     19       A.    Uh-huh.

     20       Q.    Would you take up the Crystal Head vodka bottle,

     21   please.

     22       A.    Sure.

     23       Q.    Could you measure the base from the front to the

     24   back, please.

     25       A.    From the chin to the --
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 287 of 391 Page ID
                                  #:16887                                      287


      1       Q.    Yes.

      2       A.    -- the stern?

      3                     It's four and a quarter inch.

      4       Q.    Would you take up the bottle -- do you have the

      5   bottle of KAH Tequila still there?

      6       A.    I don't see where it went.

      7       Q.    Okay.     We'll put that one in front of you.

      8                     THE CLERK:     772.

      9                     MR. HUMMEL:     772.

     10                     THE WITNESS:     So that's four.    From chin

     11   to -- four and a quarter inch.

     12   BY MR. HUMMEL:

     13       Q.    What is the same measurement on the KAH Tequila

     14   bottle?

     15       A.    It's five inches across at the bottom here.

     16       Q.    Is it exactly five inches or is it about five and

     17   a quarter?

     18       A.    Well, I would say -- oh, yes, five and a quarter,

     19   yeah.     It's full inch longer in the base than the

     20   original.

     21       Q.    Would you please then compare -- do the same

     22   measurement going -- at the widest part of both bases,

     23   please.

     24       A.    Okay, sure.

     25                     Across our base is 2 and 3 quarter inches.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 288 of 391 Page ID
                                  #:16888                                      288


      1   And now the KAH would be at the base -- well, about the

      2   same here.       I am seeing two and three-quarter widest

      3   part.

      4       Q.   Are you sure the widest part is not three and a

      5   quarter, Mr. Aykroyd?

      6       A.   Let me just check here.        That's two and

      7   three-quarter inches across the bottom here.

      8            And -- no.     It's two and three-quarter according

      9   to what I see, across the bottom.

     10       Q.   Mr. Aykroyd, let's be clear about something.

     11       A.   Yeah.

     12       Q.   This bottle of KAH Blanco --

     13       A.   Uh-huh.

     14       Q.   -- is not simply a painted copy of the Crystal

     15   Head Vodka bottle, right?

     16       A.   It's -- it's a painted copy of -- well, it's a

     17   painted skull-shaped bottle which has enough

     18   similarities to our original bottle, leading us to

     19   believe there will be confusion in the marketplace as to

     20   the source of goods.

     21                    But, no, it is not simply a painted copy of

     22   our bottle.

     23       Q.   Someone didn't take this bottle, copy it exactly

     24   and paint it, right?

     25       A.   They --
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 289 of 391 Page ID
                                  #:16889                                      289


      1       Q.   Yes or no?

      2       A.   No.

      3       Q.   And someone didn't take this bottle and paint it

      4   and produce the KAH Reposado --

      5       A.   No.

      6       Q.   -- right?

      7                    And someone didn't take the Crystal Head

      8   Vodka bottle, paint it, and make the Anejo bottle --

      9       A.   No.

     10       Q.   -- right?

     11            Now, Mr. Aykroyd you testified that you owned

     12   62 percent of Globefill, right?

     13       A.   My family and I.      My family.     Yes.

     14       Q.   And you're involved in all aspects of Globefill's

     15   business, right?

     16       A.   I have a very capable manager.          And I am more

     17   involved in the publicity side.          But I do follow the

     18   progress of the company.         But I'm not a -- I'm not a

     19   managing director.

     20       Q.   But you are very involved in all aspects of

     21   Globefill's business, right?

     22       A.   I am.

     23       Q.   You are the only one that has voting shares in

     24   Globefill, right?

     25       A.   No.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 290 of 391 Page ID
                                  #:16890                                      290


      1       Q.   Was there a time in which you were the only one

      2   who had voting shares in Globefill?

      3       A.   There was.     That was altered recently so that

      4   everyone -- it's all equal shares now.

      5       Q.   Mr. Aykroyd, would you agree with me that

      6   consumers of premium alcoholic spirits exercise common

      7   sense?

      8       A.   Yes.

      9       Q.   Would you agree with me that purchasers of super

     10   premium or premium liquors exercise care in their

     11   purchases?

     12       A.   Yes.

     13       Q.   You would agree with me that purchasers of

     14   Crystal Head Vodka are sophisticated, right?

     15       A.   Yes, sure.     Well, sophisticated in terms of

     16   tasting a superior vodka, sure.

     17       Q.   What's the demographic of the target audience of

     18   Crystal Head Vodka?

     19       A.   Everyone.     I mean, we would like to see, you

     20   know, 21 to 81.       And, indeed, that is our target.          We

     21   would like all consumers of beverage alcohol to try our

     22   product.     That would be the target.

     23                   MR. HUMMEL:    Can you put up Exhibit 755.

     24   BY MR. HUMMEL:

     25       Q.   Mr. Aykroyd, are you familiar with this document?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 291 of 391 Page ID
                                  #:16891                                      291


      1       A.   Yes.

      2       Q.   This is a Crystal Head presentation that was made

      3   to Wilson Daniels?

      4       A.   Correct.

      5       Q.   And Wilson Daniels is the importer of Crystal

      6   Head Vodka in the United States, right?

      7       A.   Correct.

      8       Q.   Can you turn to page 755-6.

      9       A.   Will they do that for me?

     10       Q.   Yeah.    They'll do that for you.

     11                    So this is a presentation that Crystal Head

     12   Vodka made on "Who drinks super premium vodkas," right?

     13       A.   Yes.

     14       Q.   The characteristics of that person are male and

     15   female, right?

     16       A.   Yes.

     17       Q.   Mainly white, but that is changing.           Right?

     18       A.   Well, this is according to industry survey.             I

     19   hope it's changing.

     20       Q.   This is a presentation that Crystal Head Vodka

     21   made to its importer, right?

     22       A.   Based upon industry surveys.         I did not prepare

     23   this, but it was presented to the importer, yeah.

     24       Q.   It was presented on behalf of Globefill, the

     25   company?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 292 of 391 Page ID
                                  #:16892                                      292


      1       A.   Yes, it was.

      2       Q.   You said to Wilson Daniels that it has limited

      3   ethnic exposure, right?

      4       A.   Again, this is a result of a survey in the white

      5   spirits industry that seemed to indicate that statistic.

      6   Again, I did not prepare this document.            We presented it

      7   as part of a data to try to isolate the demographic --

      8   or widen our demographic.

      9       Q.   Let's go to the next page.

     10       A.   We would want to open that up.          We don't want to

     11   limit ethnic exposure.        We want to open it up to all

     12   ethnicities.

     13       Q.   This is a page that Globefill presented to Wilson

     14   Daniels about who drinks the luxury vodkas, right?

     15       A.   Yes.

     16       Q.   And No. 2 says, "We can assume income plays an

     17   even more important role than in the super category."

     18   Right?

     19       A.   That is the assumption that is here.

     20       Q.   If you go to the second-to-last bullet point, it

     21   says, "Most likely a professional of some sort," right?

     22       A.   Yes.

     23       Q.   If you go to page 755-9.

     24                   MR. BERG:    Your Honor, may I interpose an

     25   objection under Rule 406?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 293 of 391 Page ID
                                  #:16893                                      293


      1                   Mr. Hummel has raised a point that his

      2   answers are completed by the second line of this page.

      3                   If I made read it to the jury?

      4                   THE COURT:    Well, counsel will have an

      5   opportunity for redirect.

      6   BY MR. HUMMEL:

      7       Q.   If you look at page 755-9, there's an underline

      8   of the second bullet.        It says, "People that" --

      9                   "Who will drink Crystal Head," first of all,

     10   is the title of this page, right?

     11       A.   Yes.

     12       Q.   The second bullet point, which is underscored,

     13   says, "People that care about what is in their vodka."

     14   Is that correct?

     15       A.   Yes.

     16       Q.   And this is an important selling point for

     17   Crystal Head Vodka, the liquid that's actually in the

     18   bottle, right?

     19       A.   It is.

     20       Q.   And the liquid that's in the bottle is marketed

     21   as being absolutely pure, right?

     22       A.   It is marketed as such.

     23       Q.   In fact, you pride yourself as having a pure,

     24   no-additive vodka, right?

     25       A.   We do.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 294 of 391 Page ID
                                  #:16894                                      294


      1       Q.   If you look at the bottom here, this again is

      2   Globefill's presentation to its importer under, "Who

      3   will drink Crystal Head Vodka?"          You have -- the

      4   second-to-last bullet point, it says, "Collectors, they

      5   will not drink it, but they will buy it."

      6                    Do you see that?

      7       A.   I do.

      8       Q.   And you've had experience with collectors buying

      9   a single bottle of Crystal Head Vodka, right?

     10       A.   We have.

     11       Q.   And then the last bullet point says, "It will not

     12   be Goths or bikers to niche," right?

     13       A.   That's what it says.       But that has changed.

     14       Q.   Again, this was Crystal Head Vodka's presentation

     15   to its U.S. importer, right?

     16       A.   Yes.     But Goths and bikers like our vodka.

     17       Q.   Now, Crystal Head Vodka was inspired by the

     18   legend of the 13 crystal heads, right?

     19       A.   Our packaging, yes.

     20       Q.   In fact, Crystal Head Vodka is named after the

     21   legend of 13 crystal heads?

     22       A.   It is.     It's named after the crystal heads that

     23   were part of the legend, yes.

     24       Q.   You've always been an avid researcher of the

     25   legend of the 13 crystal heads, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 295 of 391 Page ID
                                  #:16895                                      295


      1       A.    Yes.    Love a good story.

      2       Q.    In fact, you are a fourth generation of

      3   researcher into mystical or spiritual phenomena, right?

      4       A.    My great-grandfather Sam Aykroyd was a dentist.

      5   And he was an Edwardian spiritualist.            We inherited that

      6   interest in spirituality, yes.

      7       Q.    The 13 crystal heads have been found all around

      8   the world, right?

      9       A.    Well, the legend is that there were 13 of them.

     10   And that there are five in the possession of mankind and

     11   eight of them are missing.

     12                    Now, there's two schools of thought.          How

     13   could they be circulated around the world?             Some people

     14   think it's a hoax.

     15                    The woman at the Smithsonian, she's

     16   analyzing it.       Says, no, no.     They were all made in the

     17   1800s by a German lapidary.

     18                    But I choose to believe the bright and

     19   positive side of it, that they were really given to the

     20   Navajo, the Aztecs and the Mayans.           And that they were a

     21   scrying device, and that they positivized the tribe's

     22   energy.     And that's why we stayed with the legend.

     23                    But no one can say whether they really

     24   existed or not or whether they were from someplace in

     25   the beyond.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 296 of 391 Page ID
                                  #:16896                                      296


      1                     It made a great marketing story.        And one

      2   which told our story of pure liquid and the cleanliness

      3   of it.

      4         Q.     You believe Mr. Aykroyd that eight of the crystal

      5   heads have actually been found on the earth, right?

      6         A.     Well, there are five -- there are five -- eight

      7   in the possession of mankind.           And five of them are

      8   missing.

      9                     The owners purport to -- represent them as

     10   the genuine Crystal Head and such.           And Mitchell Hedges

     11   found the first one.           She was a little girl.     She found

     12   it.        And subsequent to her death, she gave it to her

     13   caretaker.        He has it.

     14                     There's a woman in Mexico City that's got

     15   one with a cross stuck right in the top of it.              It's a

     16   mini.        How do you put that in there without breaking it?

     17                     There's one named Max owned by Phyllis

     18   Newman.

     19                     And a few others around the world.        They

     20   speak of them as being the genuine artifacts.

     21                     Hewlett-Packard engineers took the Mitchell

     22   Hedges skull in the 1960s and said, How could a solid

     23   block of quartz be carved into this without splitting

     24   it?        So they believed that the age on these heads was

     25   genuine.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 297 of 391 Page ID
                                  #:16897                                      297


      1                     Again, I can't speak with authority.         I -- I

      2   look at both sides of the myth.             I look at the hoax side

      3   of it and I look at the positive side of it, and come

      4   down somewhere in the middle.

      5       Q.    You yourself believe that these crystal heads,

      6   you know were placed on the earth by some aliens, right?

      7       A.    Well, the Navajo, the Aztec and the Mayans speak

      8   about the star children, that they were delivered --

      9       Q.    I'm sorry, Mr. Aykroyd.         I asked about your

     10   belief.

     11                     MR. BERG:    Pardon me.     Your Honor, may I

     12   object on grounds of relevance and materiality?

     13                     THE COURT:    Yes.    The objection is

     14   overruled.

     15   BY MR. HUMMEL:

     16       Q.    Okay.     You --

     17       A.    I don't -- I would like to believe that because

     18   it's such a positive story.            But again, as I say,

     19   there's a -- I look at both sides of the evidence.                Some

     20   believe it's a hoax, some believe it's not.

     21                     Personally I would like to believe that,

     22   because I would say that's a part of my religious

     23   makeup, is the belief in higher powers.             And more -- and

     24   positive energy from beyond that can help us here on

     25   earth.     Whether that be a God-head, whether that be the
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 298 of 391 Page ID
                                  #:16898                                      298


      1   cosmic engineer or alien species that have our

      2   benevolent -- a benevolent view of mankind.             I like to

      3   believe that.

      4                  But I'm a pragmatist.        So I also know that

      5   there are some people that believe the whole thing's a

      6   hoax.

      7       Q.    Now, there are some people that believe that

      8   crystal heads are actual living things, right?

      9       A.    They -- the Navajo, the Aztec, the Mayans, they

     10   believe that they were Santillan pieces of crystal that

     11   would store energy, store images and they were living

     12   things.     That was what the nativist belief was, yes.

     13       Q.    And you believe that they are living things too,

     14   right?

     15       A.    Again, I want to believe that there is power

     16   there.    I've seen the Mitchell Hedges skull.            But people

     17   reported to me that the Mitchell Hedges skull when it

     18   was uncovered by the black velvet cloth that Anna kept

     19   it in, a feeling of well-being and warmth would come

     20   over the viewer.

     21                  And wouldn't that be a nice thing to believe

     22   that there's such objects on this planet that would give

     23   us that healing feeling.         I want to believe that.

     24                  But again, I have to look at science.            And

     25   I've got to look at the woman at the Smithsonian that
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 299 of 391 Page ID
                                  #:16899                                      299


      1   says, you know, they really are not genuine.              So I see

      2   both sides of it.

      3       Q.   Would you agree that the head -- a head is a

      4   living thing, and that's the way we connect to the

      5   legend, positive thinking, positive drinking,

      6   enlightenment from a replica of a living device used by

      7   the average tribes -- is that a fair statement about the

      8   connection of crystal skulls to Crystal Head Vodka?

      9       A.   Sure.    I said that.

     10       Q.   Now, I think we are clear about this, but the

     11   Crystal Head bottle you believe looks like the Mitchell

     12   Hedges Crystal Head, right?

     13       A.   Yes.

     14       Q.   Now, the Mitchell Hedges skull is the purest and

     15   the clearest of the 13 heads, right?

     16       A.   It is the prettiest.       There's a green one;

     17   there's an orange one.        Two of them are owned by the

     18   Victorian Museum in London -- or one of them is there.

     19   Two of them are in the Smithsonian.           And Phyllis

     20   Newman's Max, and then the one with the cross.              So all

     21   of are them clear, except there's an orange one and a

     22   cloudy green one.       So the Mitchell Hedges is the

     23   prettiest of them all.

     24       Q.   And it's the purest, right?

     25       A.   Well, purity.      I don't know about pure.        I don't
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 300 of 391 Page ID
                                  #:16900                                      300


      1   know how you can say pure.         It's the most beautiful.         I

      2   wouldn't use the word pure in terms of like the image.

      3   The fluid inside is pure.

      4       Q.   So we can agree that the legend of the 13 crystal

      5   skulls has been used by Globefill as part of its sales

      6   story, right?

      7       A.   Definitely.

      8       Q.   Even until this day, it is used as part of its

      9   sales story, right?

     10       A.   Less so.    We don't suppress it.        People want to

     11   talk about it in bars and bartenders wants to talk about

     12   it, we do speak of it.        But it's less.      We apply it

     13   less.    Now we are more about the fluid in the bottle.

     14   That's our marketing push now.

     15       Q.   When you sell the Crystal Head Vodka, you include

     16   an insert in that box?

     17       A.   Yes.

     18       Q.   And the box tells the story of the purity of the

     19   liquid, right -- the insert tells the story of the

     20   purity of the liquid, right?

     21       A.   There are old inserts and there are new inserts.

     22   I'm not sure which insert you're referring to.

     23       Q.   There are inserts that talked about the legends

     24   of the 13 crystal skulls, right?

     25       A.   Yes, sir.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 301 of 391 Page ID
                                  #:16901                                      301


      1       Q.   Now, you're the public face -- there's no doubt

      2   that you're the public face of Crystal Head Vodka,

      3   right?

      4       A.   I am.

      5       Q.   And you worked tirelessly to promote Crystal Head

      6   Vodka, right?

      7       A.   Pretty much full time now.

      8       Q.   And you use the legend in your own marketing of

      9   Crystal Head Vodka, right?

     10       A.   If people inquire about it, I go through it.             But

     11   generally now in our bartender education sessions, we

     12   don't volunteer that.        We're more of a -- making

     13   cocktail and recipes and the purity of the vodka and

     14   the -- you know, the recipes.          But I will talk about it

     15   happily.     I love talking about it.        It's such a great

     16   story.

     17       Q.   And over the years you've talked about the legend

     18   and connected it to Crystal Head Vodka on TV, right?

     19       A.   Yes.

     20       Q.   And on radio?

     21       A.   Yes.

     22       Q.   Including the Howard Stern show?

     23       A.   Uh-huh.

     24       Q.   And in print media?

     25       A.   Yes.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 302 of 391 Page ID
                                  #:16902                                      302


      1       Q.   And you've also done that in YouTube videos?

      2       A.   Sure.

      3       Q.   You've done it at bottle signings?

      4       A.   I have.

      5       Q.   You've done it at industry events, right?

      6       A.   I have.

      7       Q.   In fact, you made a rather lengthy promotional

      8   video right at the beginning in 2008 that talked all

      9   about the legend, right?

     10       A.   Yes.

     11       Q.   You've also talked about the legend in 2009 when

     12   you were out promoting Crystal Head, right?

     13       A.   Yes.

     14       Q.   And you made comments and connected the legend to

     15   Crystal Head Vodka in 2010, right?

     16       A.   Yes.

     17       Q.   And you did the same thing in 2011, right?

     18       A.   Yes.    Again, less so than in the beginning; but

     19   yes.

     20       Q.   You continued to do that.         In fact in 2012, you

     21   gave an interview on Bloomberg where you talked about

     22   the legends of the crystal heads, right?

     23       A.   Yes.

     24       Q.   And then in 2013 you made a YouTube video where

     25   you talked all about the legend of the 13 crystal skulls
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 303 of 391 Page ID
                                  #:16903                                      303


      1   and connected it to Crystal Head vodka, right?

      2       A.   Yes.

      3       Q.   And in 2014 you made a presentation at Total Wine

      4   & More where you talked all about Crystal Head Vodka and

      5   the legend of the 13 crystal skulls, right?

      6       A.   Yes.

      7       Q.   And even today Crystal Head Vodka's Website

      8   discusses the legend of the 13 crystal skulls, right?

      9       A.   It does.     It's part of our story.

     10       Q.   Now you understand that KAH Tequila doesn't have

     11   any connection to the 13 crystal skulls, right?

     12       A.   No.     Yes, I understand that.

     13       Q.   You understand that KAH Tequila has a story

     14   that's connected to the Day of the Dead, right?

     15       A.   I do.

     16       Q.   And as far as you know, is there any connection

     17   between the legend of 13 Crystal skulls on one hand and

     18   the Mesoamerican Day of the Dead celebration on the

     19   other?

     20       A.   Only that they are associated with the same

     21   geographical region of the world; Mexico, Central

     22   America, South America.        They're associated in that way.

     23   But only in that way, I would say.

     24                    MR. HUMMEL:   Your Honor, I would like to

     25   read from Mr. Aykroyd's deposition.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 304 of 391 Page ID
                                  #:16904                                      304


      1                  THE COURT:     Reference.

      2                  MR. BERG:     May we have the reference?

      3                  MR. HUMMEL:     Yes.      It's page 37, lines 1

      4   through 5.

      5                  MR. BERG:     May we impose on the court

      6   reporter to hear the question that was asked again, Your

      7   Honor.

      8                  THE COURT:     If the court reporter will read

      9   back the outstanding question.

     10                  (RECORD READ.)

     11                  MR. BERG:     We don't have any objection to

     12   that, your Honor.

     13                  THE COURT:     You have no objection to counsel

     14   reading the portion of the deposition that he's

     15   designated; is that correct?

     16                  MR. HUMMEL:     Right.

     17                  THE COURT:     Is that correct?

     18                  MR. HUMMEL:     He has no objection.

     19                  THE COURT:     Mr. Berg?

     20                  MR. HUMMEL:     Mr. Berg.

     21                  MR. BERG:     Your Honor?

     22                  THE COURT:     You have no objection --

     23                  MR. BERG:     No.   No.     I thought I -- yes,

     24   ma'am.

     25                  THE COURT:     All right.      Counsel.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 305 of 391 Page ID
                                  #:16905                                      305


      1                  MR. HUMMEL:        As far as you know -- this was

      2   the question you were asked.

      3                  "QUESTION:     As far as you know, is there any

      4   connection between the legend of the 13 crystal skulls

      5   on the one hand and the Mesoamerican Day of the Dead

      6   celebration on the other?

      7                  "ANSWER:     No.

      8   BY MR. HUMMEL:

      9       Q.   The Mesoamerican Day of the Dead celebration

     10   never entered into your design concept for Crystal Head

     11   Vodka?

     12       A.   Never.

     13       Q.   During the design process for Crystal Head Vodka,

     14   this period of years, there was no consideration

     15   whatsoever to implementing design features that might

     16   tie back to the Day of the Dead Celebration, correct?

     17       A.   No.

     18       Q.   No, it's correct?

     19       A.   Correct.

     20       Q.   In your view, KAH Tequila bottles do not evoke

     21   any aspects of the legend of the 13 crystal skulls,

     22   correct?

     23       A.   Only that they are -- it's a skull-shaped bottle.

     24   That's the only connection.

     25                  MR. HUMMEL:        I would like to read, Your
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 306 of 391 Page ID
                                  #:16906                                      306


      1   Honor, from Mr. Aykroyd's deposition, 228, lines 19

      2   through 23.

      3                  MR. BERG:     No objection, Your Honor.

      4                  THE COURT:     All right.       You may read it.

      5                  MR. HUMMEL:        "QUESTION:    In your view, do

      6   the KAH bottles evoke any aspects of the legend of the

      7   13 skulls?

      8                  "ANSWER:     The 13 crystal heads?

      9                  "QUESTION:     Yes.

     10                  "ANSWER:     No.

     11   BY MR. HUMMEL:

     12       Q.   In all of your research about the legend of the

     13   13 crystal skulls, have you ever heard of the skulls or

     14   the heads referred to as calaveras?

     15       A.   Well, calaveras is -- is it not, it's a Spanish

     16   word for skull, calavera.

     17       Q.   Let me make sure I got my question.           In

     18   connection with your research into the legend of the 13

     19   crystal skulls, have you ever seen the 13 crystal skulls

     20   referred to as calaveras?

     21       A.   In the Spanish language, they would have had to

     22   have been.     But I've never seen them, no.

     23       Q.   The answer is no, right?

     24       A.   No.   It's no.

     25       Q.   Now, I believe you acknowledged, Mr. Aykroyd,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 307 of 391 Page ID
                                  #:16907                                      307


      1   that there are differences between the Crystal Head

      2   Vodka bottle and the KAH Tequila bottles?

      3       A.    There are.

      4       Q.    In fact, there are substantial differences in

      5   terms of the molding and painting?

      6       A.    There are differences in the paint and some of

      7   the molding.

      8       Q.    There are substantial differences, right?

      9       A.    I wouldn't say substantial, no.

     10                  MR. HUMMEL:     I would like to read from

     11   Mr. Aykroyd's deposition, page 214, line 23 to page 215,

     12   line 6.

     13                  THE COURT:     Repeat the reference again,

     14   please.

     15                  MR. HUMMEL:     Sure.    214, line 23, to 215,

     16   line 6.

     17                  MR. BERG:     No objection, Your Honor.

     18                  THE COURT:     You can read it.

     19                  MR. HUMMEL:     "QUESTION:     Do you notice any

     20   differences between the KAH Tequila bottles and the

     21   Crystal Head Vodka bottle?

     22                  "ANSWER:     Well, they are substantially

     23   different in terms of the molding and painting.              But

     24   they are still skulls.        And they are saying to the

     25   customer, 'I am a skull.         I'm a painted skull, but I'm a
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 308 of 391 Page ID
                                  #:16908                                      308


      1   skull.'

      2                  "Of course I notice the differences."

      3                  MR. BERG:     Your Honor, if I might rise to

      4   correct the misreading.        The word was consumer, not

      5   customer.

      6                  And may we have that again?

      7                  THE COURT:     Yes.    Counsel reread it.       If you

      8   believe that you did not read it correctly.

      9                  MR. HUMMEL:     I said customer?       I thought I

     10   said consumer.

     11                  THE COURT:     So just read it again.

     12                  MR. HUMMEL:     "QUESTION:     Do you notice any

     13   differences between the KAH Tequila bottles and the

     14   Crystal Head Vodka bottle?

     15                  "ANSWER:     Well, they are substantially

     16   different in terms of the molding and painting.              But

     17   they are still skulls.        And they're saying to the

     18   consumer, 'I am a skull.         I'm a painted skull, but I'm

     19   still a skull.

     20                  "Of course I notice the differences."

     21   BY MR. HUMMEL:

     22       Q.    So your testimony is that they are skulls in

     23   general appearance, but they have substantial

     24   differences, correct?

     25       A.    Both are skull-shaped vessels conveying alcohol.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 309 of 391 Page ID
                                  #:16909                                      309


      1   And I have said on the stand today that they do have

      2   differences, yes.

      3       Q.    In fact, the Crystal Head Vodka bottle is shaped

      4   like an anatomically correct human skull, correct?

      5       A.    As close as one could get, I guess, to an

      6   anatomically correct skull.         But, you know -- again, if

      7   it wasn't anatomically -- I would say as close as one

      8   could get to an anatomically correct skull, yes.

      9       Q.    Would you say it's an accurate glass rendering of

     10   a human skull?

     11       A.    Well, an infant skull?       A small woman's skull?

     12   It's as close a rendering as we could get.             I would say

     13   close to the anatomy of a real skull, sure.

     14       Q.    Do you believe this is an accurate glass

     15   rendering of a human skull, sir?

     16       A.    As I look at it today, it is not entirely

     17   accurate.     But it has anatomical features.          But not

     18   entirely accurate.       You know, you couldn't say that

     19   really.

     20       Q.    All right.

     21                  MR. HUMMEL:     Can I play -- this is a video.

     22   I would like to play a clip from Exhibit 626, Your

     23   Honor.

     24                  This is in evidence.        So can you play it,

     25   please.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 310 of 391 Page ID
                                  #:16910                                      310


      1                   (VIDEO PLAYED.)

      2   BY MR. HUMMEL:

      3       Q.   Now, the KAH Tequila bottle was originally made

      4   out of glass, right?

      5       A.   Yes.

      6       Q.   And then at some point in time, the production

      7   was switched to ceramic, right?

      8       A.   As far as I understand, yes.

      9       Q.   And, in fact, you know that the KAH Tequila

     10   bottles after about 2011 were switched to ceramic,

     11   right?

     12       A.   Yes.

     13       Q.   And now you said on direct that you had made an

     14   offhand comment in anger I believe about the KAH Tequila

     15   bottle looking like a monkey; is that correct?

     16       A.   I said that.     In emotional heat, yes.

     17       Q.   You said that right after KAH Tequila was

     18   introduced?

     19       A.   Upon seeing the bottle and -- the actual bottle.

     20       Q.   And then you regretted making that statement, I

     21   think?

     22       A.   Well, it was an insult.        I don't -- I don't feel

     23   that way now.

     24       Q.   And you didn't feel that way after making the

     25   first comment?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 311 of 391 Page ID
                                  #:16911                                      311


      1        A.   Again, I was angry.       And it was an insulting

      2   thing to say.

      3        Q.   So that was back in 2010?

      4        A.   Yes.

      5        Q.   And do you recall also making that comment at

      6   your deposition in 2013?

      7        A.   About?

      8        Q.   About the monkey skull.

      9        A.   I don't recall.       I don't recall that, no.

     10                    MR. HUMMEL:     I would like to read, Your

     11   Honor, from Mr. Aykroyd's deposition, page 212, line 23

     12   to page 213, line 5.

     13                    THE COURT:     Repeat the reference again,

     14   please.

     15                    MR. HUMMEL:     It's 212, line 23 to 213, line

     16   5.

     17                    MR. BERG:     Objection, Your Honor.      This is

     18   not proper impeachment.          We would ask the Court to

     19   review that.       The question was --

     20                    THE COURT:     I will review it.

     21                    MR. BERG:     Thank you, ma'am.

     22                    THE COURT:     The Court would sustain the

     23   objection and find it was not impeaching.

     24   BY MR. HUMMEL:

     25        Q.   Do you recall making the comment that the KAH
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 312 of 391 Page ID
                                  #:16912                                      312


      1   Tequila bottle looked like a monkey sometime after 2010?

      2       A.   Yes.    I did say that in a statement in

      3   preparation.      I did say it again.       Yeah.

      4       Q.   When did you say it again, sir?

      5       A.   In -- being deposed.

      6       Q.   And that was in 2013?

      7       A.   Yes.    I -- I think so, yeah.

      8       Q.   Now, you believed that the KAH Tequila bottles

      9   are much rounder than the Crystal Head vodka bottle,

     10   right?

     11       A.   Well, I don't know if they are equally as round.

     12   But they are both spheres.         And they are equally as

     13   round.    And they contain the same volume.

     14                   And, you know, as I said, there is

     15   difference in the width of the skull at the head in the

     16   back.

     17       Q.   Mr. Aykroyd, would you agree with me that the KAH

     18   Tequila bottles are much rounder than the Crystal Head

     19   Vodka bottle?

     20       A.   No, I don't agree.

     21                   MR. HUMMEL:     Your Honor, I would like to

     22   read from Mr. Aykroyd's deposition page 216, line 1

     23   through 4.

     24                   MR. BERG:     Your Honor, may I ask the Court

     25   to please review this.         That's -- we object.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 313 of 391 Page ID
                                  #:16913                                      313


      1                    THE COURT:     Yes.   I'm reviewing it now.

      2                    (PAUSE.)

      3                    THE COURT:     Yes.   Counsel may read it.

      4                    MR. HUMMEL:     "QUESTION:   And you would agree

      5   with me that the bottles are much rounder than the

      6   Crystal Head Vodka bottle?

      7                    "ANSWER:     They are a rounder skull."

      8                    THE WITNESS:     I don't believe that today.

      9   They don't look rounder to me.

     10                    If I said that then, that's what I thought

     11   then.    So --

     12   BY MR. HUMMEL:

     13       Q.   The Crystal Head Vodka bottle is narrower than

     14   the KAH Tequila bottles, right?

     15       A.   It is.

     16       Q.   And the Crystal Head bottle is taller than the

     17   KAH Tequila bottles, right?

     18       A.   Yes.

     19       Q.   And you did a demonstration where you put a roll

     20   of tape under the KAH Tequila bottle?

     21       A.   Yes.

     22       Q.   In the real world, the KAH Tequila bottle is not

     23   propped up by rolls of tape, right?

     24       A.   It does not have a base under it as ours does,

     25   correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 314 of 391 Page ID
                                  #:16914                                      314


      1       Q.    It lies flat, correct?

      2       A.    It does.

      3       Q.    And the Crystal Head Vodka bottle has this

      4   feature here, right?

      5       A.    Correct.

      6       Q.    And this feature, this base you call the ashtray,

      7   right?

      8       A.    That's been referred to as the ashtray, yes,

      9   uh-huh.

     10       Q.    Right.     So the Crystal Head Vodka bottle has an

     11   ashtray, and the KAH Tequila bottle has a flat bottom,

     12   right?

     13       A.    Correct.

     14       Q.    Now, the Crystal Head vodka bottle has an

     15   indentation at the temples, right?

     16       A.    It does.

     17       Q.    You can actually pick it up by the indentation in

     18   the temples, right?

     19       A.    Yes.

     20       Q.    And the KAH Tequila bottles do not have an

     21   indentation at the temples, right?

     22       A.    This one has an indentation.        I am looking at the

     23   -- this bottle right here.         It has an indentation right

     24   there behind the eye socket, above the cheek bone.

     25       Q.    So you believe that there's an indentation here
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 315 of 391 Page ID
                                  #:16915                                      315


      1   above the cheek?

      2       A.   As I look at this bottle today and hold it, yes,

      3   I believe there's an indentation there.

      4       Q.   The KAH Tequila bottle, while we're talking about

      5   the cheek, has a pronounced cheek, right?

      6       A.   Yes.

      7       Q.   And the Crystal Head Vodka bottle does not have

      8   that pronounced cheek, right?

      9       A.   Not as pronounced.

     10       Q.   The -- you would agree with me that the

     11   indentation as you see it on the KAH Tequila bottle

     12   which you put right above this cheek, that that's is not

     13   nearly as deep as the indentation in the Crystal Head

     14   Vodka bottle, right?

     15       A.   It is not.

     16       Q.   And, actually, the cheek is an important feature

     17   of the Crystal Head Vodka bottle, right?

     18       A.   It is.

     19       Q.   It's a feature that evolved during the design and

     20   which is in your view distinctive, right?

     21       A.   It's distinctive, sure.

     22       Q.   And it evolved during the design, right?

     23       A.   Well, it was in the original drawing.            It was in

     24   the original drawings.        So it evolved from John's

     25   drawing to final production in the way we see it here.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 316 of 391 Page ID
                                  #:16916                                      316


      1       Q.   Now, you think you testified that the mouth of

      2   the Crystal Head Vodka bottle is open, right?

      3       A.   Yes, it is open.      Grinning, smiling.

      4       Q.   And that's intentionally so, right?

      5       A.   It is.

      6       Q.   And the KAH Tequila bottle does not have an open

      7   mouth, right?

      8       A.   It has a painted smile.

      9       Q.   Has a painted series of teeth, and the teeth are

     10   clenched closed, right?

     11       A.   That's correct.

     12       Q.   And that's a difference between the two bottles

     13   also, right, sir?

     14       A.   That's a difference.

     15       Q.   On the Crystal Head Vodka bottle, it has a lot of

     16   contours, including the teeth, which create a certain

     17   look and feel, right?

     18       A.   Yes.

     19       Q.   And on the KAH Tequila bottles, it's entirely

     20   smooth to the touch, right?

     21       A.   Yes.

     22       Q.   If you're having trouble, you can pick it up.

     23       A.   Yes.     Well, except for the nose.       The nose has a

     24   profile as does ours.        It is exactly one inch across the

     25   bottom, so...
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 317 of 391 Page ID
                                  #:16917                                      317


      1                   The mouth is smooth, but not the nose part.

      2   It's basically the same volume there.

      3       Q.   And it's smooth throughout?         The texture is

      4   smooth on the KAH Tequila bottle, right?

      5       A.   It is.    Again, the nose, it protrudes as ours

      6   does.

      7       Q.   Does -- the nose protrudes -- you're making the

      8   -- keep wanting to make the distinction that the nose

      9   protrudes.      And you're -- you're talking about this

     10   little bump that's here on the KAH Tequila bottle,

     11   right?

     12       A.   Right.    Uh-huh.

     13       Q.   You're also then comparing that with this nose

     14   here on the Crystal Head Vodka bottle, right?

     15       A.   Yep.

     16       Q.   And on the Crystal Head Vodka bottle, it's much

     17   more pronounced, isn't it?

     18       A.   It is.

     19       Q.   Now, this is obvious, but the Crystal Head Vodka

     20   bottle is clear, right?

     21       A.   It is.

     22       Q.   And all the KAH Tequila bottles are painted?

     23       A.   They are.

     24       Q.   The Crystal Head Vodka bottle has no decoration,

     25   design on it at all?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 318 of 391 Page ID
                                  #:16918                                      318


      1       A.   No.

      2       Q.   And the KAH Tequila bottles, in fact, have

      3   elaborate decorations, right?

      4       A.   Yes.

      5       Q.   Including on the Reposado bottle an image of el

      6   diablito, right, the little devil?

      7       A.   Uh-huh.

      8       Q.   Now, you talked about bit about the cap also.

      9   And maybe before I get to the cap -- so I'll withdraw

     10   that.    I'll say:     Each of the KAH Tequila bottles says

     11   quite clearly in the front "KAH," right?

     12       A.   Yes.

     13       Q.   It says right there on the cap for everyone to

     14   see, K-A-H, right?

     15       A.   It does.

     16       Q.   And it describes it as being whatever the type of

     17   tequila it is, right?

     18       A.   Right.

     19       Q.   And the Crystal Head Vodka bottle has no text at

     20   all in the front, right?

     21       A.   No.

     22       Q.   But on the back of the bottle there is text on

     23   the KAH Tequila bottles telling you who the producer is,

     24   correct?

     25       A.   Correct.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 319 of 391 Page ID
                                  #:16919                                      319


      1       Q.   And on the Crystal Head Vodka bottle, the

      2   producer is on the back of the bottle, right?

      3       A.   Correct.

      4       Q.   It also identifies the producer and the importer,

      5   correct?

      6       A.   Yes.

      7       Q.   So let's talk about the cap for a second.

      8   Crystal Head Vodka uses a wood cap, right?

      9       A.   It does.

     10       Q.   And KAH Tequila uses a plastic cap, right?

     11       A.   Yes.

     12       Q.   And KAH Tequila actually identifies itself on the

     13   cap as KAH Tequila, right?

     14       A.   It does.

     15       Q.   And on the cap of the Crystal Head Vodka bottle,

     16   there is something completely different, right, if you

     17   look at it?

     18       A.   There is.

     19       Q.   The cap of the Crystal Head Vodka bottle has a

     20   stag, right?

     21       A.   Yes.

     22       Q.   And it has -- and the stag is the Aykroyd family

     23   crest, right?

     24       A.   A component of it.

     25       Q.   There is a crescent, right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 320 of 391 Page ID
                                  #:16920                                      320


      1       A.   Yes.

      2       Q.   And the crescent is intended to convey the City

      3   of New Orleans, right?

      4       A.   An affection to the City of New Orleans.

      5       Q.   And then these other characters which are the

      6   fleur-de-lis?

      7       A.   The fleur-de-lis, celebrating the Province of

      8   Quebec and the state of Louisiana.

      9       Q.   And it also says, "Crystal Head Vodka, Crystal

     10   Head" on the cap, right?

     11       A.   It does.

     12       Q.   And it identifies as being a triple distilled

     13   vodka?

     14       A.   It does.

     15       Q.   The overall impression of this cap is meant to

     16   create the sense of a dubloon, a Spanish dubloon, right?

     17       A.   Yes.

     18       Q.   And you associate that with pirates, right, and

     19   buccaneers?

     20       A.   Sure.

     21       Q.   Sure?    Or you do?     Are you agreeing with me today

     22   or do you actually believe it?

     23       A.   Well, I associate dubloons with -- you know,

     24   with -- well, not only pirates and buccaneers but the

     25   great Spanish fleet that came over and conquered South
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 321 of 391 Page ID
                                  #:16921                                      321


      1   America.     The treasure that was taken out of South

      2   America, the pieces of eight, the dubloons.             I associate

      3   them with King Philip of Spain and his wealth, as well

      4   as pirates and buccaneers.

      5       Q.   The reason that the -- sorry.          Did you finish?

      6       A.   Yes.

      7       Q.   The reason that the dubloon is there is to make

      8   an association with skulls of pirates or buccaneers,

      9   right?

     10       A.   More the gold, the pieces of eight, the gold that

     11   was in treasure ships.        And one could make that

     12   association, sure.

     13       Q.   Well, you would make the association?            You would

     14   make it a reference to buccaneers and pirates and that

     15   kind of aspect of skulls, right?

     16       A.   One could do that.

     17       Q.   And you do that, right?

     18       A.   I do.    But, again, you evoke so much history when

     19   you look at that.       The cross and the pieces of eight, I

     20   think of the -- you know, the conquest of the New World

     21   and the treasures that came out of South America, the

     22   gold mines and stuff.

     23       Q.   Let me move on to another topic.          So you often

     24   describe Crystal Head Vodka as being a pure spirit,

     25   right?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 322 of 391 Page ID
                                  #:16922                                      322


      1       A.   Yes.

      2       Q.   And one of the ways you differentiate Crystal

      3   Head Vodka as we discussed before is it has no

      4   additives, right?

      5       A.   No additives.

      6       Q.   One of the other differentiating factors that you

      7   use for Crystal Head Vodka is that it's from pristine

      8   Newfoundland glacial water, right?

      9       A.   Correct.

     10       Q.   And you also differentiate Crystal Head Vodka by

     11   saying that it's filtered many times, right?

     12       A.   Seven times, yes.

     13       Q.   And the last time it's filtered through something

     14   called Herkimer diamonds, right?

     15       A.   Herkimer diamonds, correct.

     16       Q.   In your view, filtering the Crystal Head Vodka

     17   through the Herkimer diamonds adds the last spiritual

     18   psychic touch to the vodka, right?

     19       A.   Well, Herkimer diamonds are a double-sided quartz

     20   crystal.     They're found in only two parts of the world,

     21   Afghanistan and upstate New York.           They have a

     22   mysterious property to them.          They are only found there.

     23   And they are beautiful, double-ended quartz crystals.

     24                    They are commonly used in the distillery

     25   industry.       And when we do our pour, we do our pour --
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 323 of 391 Page ID
                                  #:16923                                      323


      1   we've done it where we don't pour it through the diamond

      2   cone.     We've done it where we pour it through the

      3   diamond cone.        And in tests, people like it poured

      4   through the diamond cone.

      5                  Now, if you went to your high school

      6   chemistry teacher and said, What does pouring alcohol

      7   over Herkimer diamonds do for your fluid?             They'd say,

      8   Well, nothing.

      9                  But, you know, we are here in the realm of

     10   the spiritual in our marketing.             And people do like the

     11   taste.     And, honestly, when we pour the vodka through

     12   the cone, it just has that beautiful, satiny finish.

     13   And it's the touch that I like.

     14                  When I found out that other vodka producers

     15   used Herkimer diamonds, they said, Throw them in there,

     16   they kind of fit with our legend.

     17       Q.    Next topic.     You've never considered putting

     18   tequila in Crystal Head Vodka's bottle, right?

     19       A.    Well --

     20                  MR. BERG:     Excuse me, your Honor.        May we

     21   have a date?        That's vague.       Could we have a time

     22   period?

     23                  THE COURT:        Yes.    If counsel will include a

     24   time period.        "Never" --

     25                  THE WITNESS:        We never have.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 324 of 391 Page ID
                                  #:16924                                      324


      1                   THE COURT:     -- is broad.

      2                   THE WITNESS:     Never have considered.

      3                   MR. HUMMEL:     It was intended to be broad,

      4   Your Honor.

      5                   MR. BERG:     I'll withdraw my objection.

      6                   THE WITNESS:     To answer your question,

      7   again, we did not consider it because of my association

      8   with Patron.

      9   BY MR. HUMMEL:

     10       Q.   And you -- but you've always wanted to put vodka

     11   in the Crystal Head Vodka bottle, right?

     12       A.   Yes.

     13       Q.   And Crystal Head Vodka has not -- sorry.

     14   Withdraw that.

     15                   Globefill has never introduced tequila in

     16   this bottle, right?

     17       A.   No.

     18       Q.   And to your knowledge, KAH has never introduced a

     19   vodka in this bottle?

     20       A.   No.

     21       Q.   Or this bottle?

     22       A.   No.

     23       Q.   Or any of other KAH Tequila bottles?

     24       A.   No.

     25       Q.   Now, Globefill is not the first entity to ever
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 325 of 391 Page ID
                                  #:16925                                      325


      1   put alcohol in a skull, right?

      2       A.   I am not aware of any other brand that has

      3   alcohol in a skull.

      4       Q.   What about other types of alcohol, like medicinal

      5   alcohol; that has been input in skulls before, right?

      6       A.   At the turn of the century there would have been

      7   medicinal alcohol put into skulls.

      8                  Laudanum, which is opium, was a liquid form.

      9   And there are some old skull bottles that had laudanum

     10   in them, and there would have had alcohol in them, yes.

     11   In medicinal proportions.

     12       Q.   And industrial, right, also?

     13       A.   I suppose.     But not 40 proof potable alcohol.

     14       Q.   I think you testified a little bit about going to

     15   bottle signings; is that correct?

     16       A.   Yes, sir.

     17       Q.   And you go -- you've done about a hundred of

     18   them, I think?

     19       A.   More than that.

     20       Q.   Is correct that you've signed about a quarter of

     21   a million bottles of Crystal Head Vodka?

     22       A.   That's way beyond, that estimate.           I would say

     23   100,000.     About a hundred thousand.        About a hundred

     24   thousand.

     25       Q.   Mr. Aykroyd, you would agree with me that these
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 326 of 391 Page ID
                                  #:16926                                      326


      1   KAH Tequila bottles are neat, right?

      2       A.   Are...

      3       Q.   They're neat?

      4       A.   They are neat.

      5       Q.   And they speak to Kim Brandi's artistic

      6   abilities, right?

      7       A.   No one's denying Kim Brandi's artistic abilities

      8   or her eureka moment when she saw an opportunity to do a

      9   quick-follow product after ours.           No one is denying

     10   that.

     11       Q.   No one is denying that Ms. Brandi is an

     12   entrepreneurist, right?

     13       A.   Certainly, certainly not.         But -- yeah, an

     14   entrepreneurist who saw an opportunity and took

     15   advantage of it and made a mistake.           Let's just say

     16   that.    She made a mistake.       By infringing on our trade

     17   dress.

     18       Q.   You think that the KAH Tequila bottles have a

     19   pleasing appearance, right?

     20       A.   You know, I do now.       I do.

     21       Q.   You, I think, alluded to this in your direct, but

     22   you would have no objection to Ms. Brandi selling other

     23   products in her bottles, right?

     24       A.   Whatever she would like, as long as it's not

     25   beverage alcohol in a skull-shaped design as defined by
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 327 of 391 Page ID
                                  #:16927                                      327


      1   our trade dress.       But we're true to fact, we were in the

      2   market first.

      3       Q.    And the specific things that you suggested that

      4   she sell were salsa or honey, or moly, or maybe peppers

      5   in her calaveras, right?

      6       A.    I love honey, salsa, moly and peppers.

      7       Q.    Those things are things that you think Ms. Kim

      8   Brandi should sell in her bottles, right?

      9       A.    Well, as food stuff, sure, salt, pepper.           I mean,

     10   Kim Brandi could probably take and put motor oil in

     11   there, whatever she'd like, as long as it's not alcohol.

     12   That is my point.

     13       Q.    You don't want her to sell any alcohol in her KAH

     14   Tequila calaveras, right?

     15       A.    Because we have rights to this trade dress,

     16   skull-shaped bottle with alcohol.           And anything she

     17   would like to put in that, other than alcohol, I have no

     18   problem with that.

     19       Q.    Wouldn't matter if she wanted to put tequila,

     20   like she does, or gin or whisky or any other type of

     21   alcohol, it wouldn't matter to you; you want to keep her

     22   off the market?

     23       A.    We don't want to keep a -- we don't want to keep

     24   her off the market.       We do not want to keep her off the

     25   market.     That is incorrect.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 328 of 391 Page ID
                                  #:16928                                      328


      1                   We merely want to protect our trade dress.

      2   And if Kim came up with a -- say another design for a

      3   tequila bottle that she put a skull on it embossed, a

      4   nice little jug, you know what, put it right next to

      5   ours, we'd have no problem.

      6       Q.   You don't want her to put --

      7                   THE COURT:    Excuse me for a moment.        I just

      8   want to ask counsel about how much longer are you likely

      9   to be?

     10                   MR. HUMMEL:    Like two minutes, Your Honor.

     11                   THE COURT:    All right.

     12   BY MR. HUMMEL:

     13       Q.   Let's be clear, Mr. Aykroyd, you don't want her

     14   to put tequila in any skull-shaped bottle, right?

     15       A.   That's why we are here.

     16       Q.   She can -- there are no alterations she can make

     17   to this bottle to make it work for you, right?

     18       A.   Yes.    There is an alteration.

     19       Q.   What would that be, sir?

     20       A.   To eliminate the resemblance and the replication

     21   of a skull-shaped design.

     22       Q.   So as long as she has a skull-shaped design, you

     23   want her to stop selling KAH Tequila, right?

     24       A.   We believe it infringes on our trade dress and

     25   hurts our company and makes people believe that we are
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 329 of 391 Page ID
                                  #:16929                                      329


      1   now in the line extension of tequila and we are not.

      2       Q.    And your view is that any alcohol in any

      3   face-shaped or head-shaped or skull-shaped bottle would

      4   infringe your trade dress, right?

      5       A.    Yes, we do believe that.

      6       Q.    So you claim an absolute right to the use of a

      7   head-shaped bottle or a skull-shaped bottle?

      8       A.    As Coca-Cola does to their design; as Nike does

      9   to their swoosh; as any trade dress which claimed

     10   exclusive exclusivity, yes.

     11       Q.    So the answer is yes, any skull-shaped bottle, no

     12   matter how different to Crystal Head Vodka you claim is

     13   covered by your trade dress; is that correct?

     14       A.    Yes, sir.

     15       Q.    You want an absolute right to sell in the United

     16   States alcohol in a skull-shaped bottle, right?

     17       A.    Just like Nike does -- sells with their swoosh.

     18   Just like Coca-Cola does with their Coke design.               Like

     19   Pepsi does with their bottle.          This is our trade dress.

     20   This is our company life right here.            So we have to

     21   protect it.

     22       Q.    The answer to my question is --

     23       A.    We're not here -- Brandi or anybody else.            She's

     24   a hero.

     25                  THE COURT:     Excuse me.     I think you've
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 330 of 391 Page ID
                                  #:16930                                      330


      1   answered the question.

      2                  THE WITNESS:      Sure.    Sure.   Excuse me, Your

      3   Honor.

      4                  MR. HUMMEL:     No further questions, Your

      5   Honor.

      6                  THE COURT:     I assume there's redirect.         But

      7   how long?

      8                  MR. BERG:     Ten minutes at most, Your Honor.

      9   If the jury can stand that.

     10                  THE COURT:     Well, I will -- if we don't have

     11   to take a recess, then I let you finish.

     12                  Does any -- any of the jurors feel the need

     13   for a recess?      Apparently not.       So counsel may proceed.

     14                  Oh, I'm sorry.      Mr. Miller asked me to not

     15   forget that he wanted to conduct some examination.               And

     16   I did forget.

     17                  Mr. Miller.

     18                  MR. MILLER:     It's all right, your Honor.          I

     19   have that effect on people.

     20                            CROSS-EXAMINATION

     21   BY MR. MILLER:

     22       Q.   Just a few questions, Mr. Aykroyd.

     23       A.   Certainly.

     24       Q.   The early broken bottles back in 2007, when you

     25   had -- I think -- I believe it was about 400 different
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 331 of 391 Page ID
                                  #:16931                                      331


      1   bottle iterations that broke in the design process.

      2                       Do you recall that?

      3         A.     We -- what happened was, the bottles went through

      4   the fire, went through the line.             And they just didn't

      5   hold up.        And it wasn't until we got to about the 400th

      6   bottle in the first run that we had an integral product.

      7         Q.     Was there tweaking to the product that helped fix

      8   the problem?

      9         A.     At the factory.      In terms of the heat of the

     10   furnaces and the molding process there.             We didn't tweak

     11   it.        It was them that tweaked to get it right.

     12                       They had the mold.     The mold was finalized.

     13   But they had to play around with furnace temperature and

     14   that stuff.

     15         Q.     Did you take photographs of the failed efforts of

     16   the bottle?

     17         A.     I did not personally take any photographs.         But I

     18   think there's evidence of a failure that was forwarded

     19   to us by Bruni.

     20                       MR. MILLER:    Okay.   I haven't seen those.

     21   BY MR. MILLER:

     22         Q.     Did you take photographs like any of the earlier

     23   prototypes for the bottles?

     24         A.     Yes.    I didn't personally.     But, you know, Bruni

     25   would have, I suppose.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 332 of 391 Page ID
                                  #:16932                                      332


      1       Q.   Is Crystal Head Vodka currently available for

      2   sale in Mexico?

      3       A.   I'm not sure.      I don't know.

      4                  MR. MILLER:     That's all I have.       Thank you,

      5   sir.

      6                  THE COURT:     Redirect?

      7                          REDIRECT EXAMINATION

      8   BY MR. BERG:

      9       Q.   Mr. Aykroyd, let me point your attention first to

     10   Exhibit 755.

     11                  MR. BERG:     If Willow will bring that up.

     12                  Could we go to just 755 to remind the jury

     13   what this was.

     14   BY MR. BERG:

     15       Q.   Tell us -- this is a presentation to Wilson

     16   Daniels.     If you'll tell us who Wilson Daniels is, sir?

     17       A.   Wilson Daniels is a sub group of Infinium --

     18   essentially importer of the product.

     19                  So Wilson Daniels was acquired by Infinium

     20   is now under the Infinium umbrella.           Same company

     21   basically.

     22       Q.   Could you tell us, sir, who put this together?

     23       A.   That was put together in the Globefill offices.

     24       Q.   What was --

     25       A.   By one --
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 333 of 391 Page ID
                                  #:16933                                      333


      1         Q.   I'm sorry.

      2         A.   By one of our executives who is no longer with

      3   us.

      4         Q.   And what was it based on?

      5         A.   It was based on industry studies.

      6         Q.   You remember counsel took you to page 755-6.

      7   Let's go there.         He pointed out:    "Who drinks the super

      8   premium vodkas?"

      9                     And on that page, he pointed out, "Mainly

     10   white, but that is changing."

     11                     When was this presentation made, by the way?

     12         A.   Probably '07.

     13         Q.   '07?

     14         A.   I think so.

     15         Q.   Counsel did not -- went to the next page.

     16                     MR. BERG:   If we could go to the next page.

     17   BY MR. BERG:

     18         Q.   For reasons best known to him, did not point this

     19   sentence out (indicating).

     20                     Now, was this based on industry studies,

     21   sir?

     22         A.   It was based on some industry study.

     23         Q.   And what was this business about white people?

     24   Is that part of the demographic of people at the time

     25   who drank vodka?
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 334 of 391 Page ID
                                  #:16934                                      334


      1       A.   I guess according to the industry study this was

      2   based on, the data seemed to indicate that.

      3       Q.   In your experience, as the study said, has that

      4   demographic changed?

      5       A.   For our product?

      6       Q.   Yes.

      7       A.   Oh, yes.

      8       Q.   To whom do you sell your product?

      9       A.   Everyone.

     10       Q.   Where it says "Goths and bikers are not likely to

     11   drink your vodka"; is that true?

     12       A.   No.    I know quite a few motorcycle enthusiasts

     13   who enjoy the product.        In fact, theirs is a Goth bar in

     14   Hollywood they've totally devoted a wall to the product,

     15   and Goths and bikers have embraced it.

     16       Q.   Counsel also said -- pointed to the trademark.

     17                   MR. BERG:    Let's go to 700 if we can.         I

     18   want to see if I can figure this out myself.

     19                   If we can blow up the trademark, the

     20   principal register, the first line there.

     21   BY MR. BERG:

     22       Q.   Now, let me ask you:       As a businessman, do you

     23   have an understanding of the difference between trade

     24   dress rights and trademark rights?

     25       A.   I believe I do.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 335 of 391 Page ID
                                  #:16935                                      335


      1       Q.   Do trademark rights exist without a trademark?

      2       A.   Trade dress rights?

      3       Q.   I'm sorry.      Trade dress rights, yes.

      4       A.   Trade dress rights exist by being in the market

      5   first, being in the commerce first, you get your rights

      6   to your trade dress, without having to have a trademark.

      7       Q.   And counsel said -- spoke about the cap.            And he

      8   said, You don't have a trademark on the cap, it's on the

      9   bottle itself, the skull-shaped bottle.

     10                   Do you remember that?

     11       A.   Right.    No.   Yes.    That's what it says in the

     12   registration.

     13                   MR. BERG:    Now, could we go back to 574-A,

     14   the lower left-hand corner.

     15   BY MR. BERG:

     16       Q.   Is it a fair statement that trade dress applies

     17   to the full appearance of your bottle, sir?

     18       A.   Yes.

     19       Q.   And did you have the trade dress rights in that

     20   cap, sir?

     21       A.   Do we have a trade dress right in the cap?

     22       Q.   Yes.

     23       A.   Not according -- well, in trade dress, we do,

     24   yes.

     25                   We have a trade dress right to whatever was
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 336 of 391 Page ID
                                  #:16936                                      336


      1   in the -- whatever package went up into the market

      2   first, we have a trade dress right to, yes.

      3       Q.   And this brown cap, did you give Ms. Brandi

      4   permission to use that in her mold?

      5       A.   No.

      6       Q.   And are you convinced that's your cap?

      7       A.   The facet, the brown, it really looks like one of

      8   our caps that came right off her bottle and that she was

      9   utilizing in the production of her near exact replica.

     10       Q.   Counsel pointed out on that trademark --

     11                  MR. BERG:     We don't have to go back to that.

     12   If you will take that down.

     13   BY MR. BERG:

     14       Q.   Counsel pointed out that the lawyers, your

     15   lawyers then disclaim color.

     16                  Do you remember that?

     17       A.   So it says in the document.

     18       Q.   Did anywhere -- did your lawyers disclaim

     19   trademark rights to a skull-shaped bottle?

     20       A.   No.

     21       Q.   Does the color make any difference?           If you paint

     22   your bottle -- if you paint a skull-shaped bottle, as

     23   Ms. Brandi did, does that make any difference to you and

     24   why you're in Court?

     25       A.   No.   It's still a skull-shaped design purveying
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 337 of 391 Page ID
                                  #:16937                                      337


      1   alcohol, painted or not.

      2       Q.   Do you remember what -- Mr. Alexander's testimony

      3   about creating illusions?

      4       A.   Yes.

      5       Q.   And, clearly, there are many tiny, little

      6   differences in these bottles and some substantial

      7   differences, true?

      8       A.   I agree.

      9       Q.   What is the illusion that is created when you

     10   hold -- show those bottles side by side and at the same

     11   angle?

     12       A.   It is the illusion of sister skulls.           One

     13   associated with the other.

     14       Q.   Is this case, in your mind, sir, about the

     15   dissimilarities in those bottles or about the

     16   similarities in those bottles?

     17       A.   Oh, unquestionably the similarities in the

     18   replica of our original creative design.

     19       Q.   When Mr. Hummel questioned you about your

     20   religious beliefs earlier, did you mean to imply that

     21   that's the only basis for marketing of Crystal Head

     22   Vodka?

     23       A.   Oh, no.    We market on the quality of our fluid

     24   and the unique design package.

     25       Q.   Does the fact that Ms. Brandi marketed on Day of
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 338 of 391 Page ID
                                  #:16938                                      338


      1   the Dead and you marketed it first, at least, for a

      2   couple years, on the legend of the 13 crystal skulls,

      3   does that change the fact for you that those bottles --

      4   that her bottle is a knockoff of yours?

      5       A.   It does not change that fact.          Two separate

      6   marketing stories; two similar skulls.

      7                  MR. BERG:     Pass the witness.

      8                  THE COURT:     The witness may step down.

      9                  And we will recess today.         And we will

     10   return tomorrow morning at 8 o'clock.

     11                  Tomorrow's schedule, the jury will be

     12   recessed no later than 12.         12, noon.

     13                  You are excused for now.         See you tomorrow

     14   morning at 8:00 o'clock.

     15                  THE CLERK:     Please rise.

     16                  (JURY EXCUSED.)

     17                  THE COURT:     Just a couple of comments for

     18   tomorrow.     My expectation is that the plaintiffs will

     19   rest tomorrow subject to the right to reopen for

     20   purposes of offering exhibits, if you should discover

     21   that there are some that are not in evidence that you

     22   believe to be in evidence.

     23                  Is that correct?

     24                  MR. BERG:     That is correct, Your Honor.         And

     25   specifically as Mr. Vera informed the Court, we will
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 339 of 391 Page ID
                                  #:16939                                      339


      1   have a proffer of the existing trademarks.

      2                  THE COURT:     I'm actually prepared to listen

      3   to that proffer today if those who are going to make the

      4   proffer are here.       Just as I think about the planning, I

      5   will read the designations of the deposition this

      6   evening.     And as I indicated we'll meet early tomorrow

      7   and the Court will rule.         But you will need time to make

      8   any adjustments.       So maybe it is better for me to hear

      9   the proffer, if everyone is here and ready to make that

     10   proffer, before I read rather than after I read.               So i

     11   don't know if you're ready to do that or not.

     12                  MR. BERG:     My counsel -- my esteemed

     13   colleague Mr. Vera is shaking his head in frustration, I

     14   think.

     15                  MR. VERA:     Your Honor, maybe I was not

     16   clear.     We were talking about two things.          One is the

     17   oral argument on the designations.           And another is a

     18   separate proffer on the trademarks for which we would

     19   like to have all the trademarks lined out and that

     20   organized.     So those are two different things.

     21                  And if Your Honor has any desire to hear

     22   argument on the designations, then, yes, we can do that

     23   now.     But not on the trademark proffer.

     24                  THE COURT:     All right.     I am prepared to

     25   listen to the argument on the designations if defense
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 340 of 391 Page ID
                                  #:16940                                      340


      1   counsel is prepared to do that.          But you may not be

      2   prepared.     I said differently this morning.          But I

      3   thought if you were ready to do it now, I would just

      4   listen.

      5                  MR. HUMMEL:     Your Honor, I actually excused

      6   Ms. Rettig so I'm not prepared.

      7                  THE COURT:     All right.     So we'll go back to

      8   the original plan and meet tomorrow morning.

      9                  MR. HUMMEL:     Thank you, your Honor.

     10                  THE COURT:     So let me ask the defense, if

     11   the plaintiff is going to rest the first thing tomorrow,

     12   other than the deposition that's outstanding that needs

     13   to be read and ruled on and certain arguments made, are

     14   you prepared to go forward with other witnesses?

     15                  MR. HUMMEL:     Yes.    We are prepared to go

     16   forward with -- I think with the video witness tomorrow

     17   morning.

     18                  THE COURT:     How long do you think that will

     19   take?

     20                  MR. HUMMEL:     I lost my sheet of paper that

     21   has my timing, but I think it was 45 minutes for ours.

     22                  THE COURT:     And then once the video is

     23   played, who would be the next witness to be called in by

     24   the defense?

     25                  MR. MILLER:     Your Honor, the video is
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 341 of 391 Page ID
                                  #:16941                                      341


      1   actually a live testimony like we did today.

      2                  MR. HUMMEL:     Sorry.

      3                  THE COURT:     The witness testifying by video?

      4                  MR. HUMMEL:     We have a witness testifying by

      5   video, and then we have a video, which I believe we will

      6   be able to get together.         I think that's what we have.

      7                  THE COURT:     Just trying to figure out

      8   whether or not we will have enough to complete the

      9   session tomorrow.

     10                  So I have the 45 minutes with the witness

     11   who will be testifying by depo.          And then what else?

     12                  MR. HUMMEL:     Well, it's 45 minutes on our

     13   side.    I'm not sure how much cross will --

     14                  THE COURT:     How much cross?

     15                  MS. KIM:     Probably around 30, Your Honor.

     16                  THE COURT:     Just to make sure we are talking

     17   about the same thing, I'm asking about the witness who

     18   will be testifying by video --

     19                  MS. KIM:     Right.

     20                  THE COURT:     -- as we this morning.

     21                  MR. HUMMEL:     Yes, just to be clear, we will

     22   use names maybe.       Just to be clear.      Videotape witness.

     23                  So Mr. Poret is going to testify on the

     24   screen here.      He is going to go 45 minutes on direct and

     25   about a half an hour on cross.          So that gets us about an
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 342 of 391 Page ID
                                  #:16942                                      342


      1   hour and 15 minutes.

      2                  THE COURT:     That's what I understood.

      3                  MR. HUMMEL:     And the videotape itself is I

      4   believe is an hour and a half, hour and 15 minutes,

      5   somewhere around there.        Hour and 15 minutes.

      6                  THE COURT:     So the videotape itself, you are

      7   referring to the deposition?

      8                  MR. HUMMEL:     Escarcega, correct.

      9                  THE COURT:     That needs the Court to rule on

     10   objections to?

     11                  MR. HUMMEL:     Correct.

     12                  THE COURT:     And adjustments would have to be

     13   made depending upon how the Court rules.

     14                  MR. HUMMEL:     These guys are unbelievable.

     15   They can do it.

     16                  THE COURT:     So I'm just not sure that -- so

     17   how long is that videotape deposition?

     18                  MR. HUMMEL:     I think that videotape

     19   deposition is about an hour and 15 minutes, Your Honor.

     20                  I could have another witness here.           But I

     21   would rather not have him wait if he is not going to

     22   testify.

     23                  THE COURT:     Who would the other witness be?

     24                  MR. HUMMEL:     Mr. Zeigler.

     25                  THE COURT:     And what is the time estimate of
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 343 of 391 Page ID
                                  #:16943                                      343


      1   his direct?

      2                  MR. HUMMEL:       If we have time, he can come

      3   tomorrow, I think the direct will be about 10 minutes,

      4   15 minutes maybe.       Short.

      5                  THE COURT:     And the cross, similar,

      6   probably?

      7                  MS. KIM:     Yes, Your Honor.

      8                  THE COURT:     All right.     Then I will just

      9   make sure that I am ready to give counsel the rulings on

     10   the video deposition tomorrow.          I will listen to the

     11   arguments.     And I think the Court suggested 7:00 o'clock

     12   and no one seemed to object to that.            So we'll meet here

     13   tomorrow morning at 7 o'clock.          I will be prepared to

     14   listen to the argument that's going to be made

     15   concerning the video deposition and issue the rulings on

     16   the video deposition prior to Mr. Poret's testimony.                So

     17   that would be of those who need to make adjustments to

     18   the video time to do that.

     19                  MR. HUMMEL:       Thank you, Your Honor.

     20                  THE COURT:     So that should work.

     21                  MR. HUMMEL:       Thank you, Your Honor.

     22                  THE COURT:     Are there other matters to be

     23   discussed tonight?        I think I've provided the proposed

     24   jury instructions and the verdict form.            We are not

     25   going to discuss those tomorrow.           But I just wanted you
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 344 of 391 Page ID
                                  #:16944                                      344


      1   to have them so you could begin looking at them.               I

      2   would think that we would be discussing those, as I said

      3   earlier, on Tuesday, after the session.            So counsel

      4   should be prepared to discuss those at that time.

      5                  Are there exhibits that are going to be used

      6   with the witnesses who will be testifying tomorrow that

      7   you have not previously agreed upon?

      8                  MS. KIM:     There is definitely a slide and a

      9   demonstrative for Mr. Poret where we actually asked

     10   counsel for a clarification on where one of the images

     11   came from.     And at least I -- I wasn't copied on that

     12   e-mail.    I was on the original e-mail that went out.              So

     13   I don't know if there was a response back or if you've

     14   worked it out.

     15                  THE COURT:     Do you think you worked it out

     16   from the defense perspective?

     17                  MR. RAFFERTY:      I think we either have or

     18   will before tomorrow morning.

     19                  THE COURT:     You don't think that there will

     20   be anything that the Court needs to do with that?

     21                  MR. RAFFERTY:      I would hope not.

     22                  MR. BERG:     Just as a practical matter, Your

     23   Honor, I don't think the guards let us in until 7:00.

     24   So it might be 7:15 when we can get up here.

     25                  THE COURT:     Okay.    That's fine.
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 345 of 391 Page ID
                                  #:16945                                      345


      1                  MR. BERG:     Thank you.

      2                  MS. KIM:     And then just one last thing, Your

      3   Honor.    With Thomas Zeigler, who I believe defendants

      4   are planning on calling tomorrow if there's time, the

      5   vast majority of Mr. Zeigler's deposition had to do with

      6   defendant's trademarks and copyrights.            Obviously, those

      7   are all out, so we just want to make sure that that

      8   testimony isn't covered tomorrow.

      9                  THE COURT:     I think this is something that

     10   you could discuss among yourselves.           But maybe it should

     11   have a response since it's been raised.

     12                  MR. HUMMEL:     Your Honor, we are well aware

     13   of Your Honor's motions in limine rulings, and we will

     14   not tread over them.

     15                  THE COURT:     Anything else that you wish to

     16   raise at this time?

     17                  Then I will see you tomorrow morning at

     18   7:15.

     19                  THE CLERK:     Please rise.      This court's is

     20   adjourned.

     21                  (PROCEEDINGS CONCLUDED.)

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Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 346 of 391 Page ID
                                  #:16946                                      346


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      3                  CERTIFICATE OF REPORTER

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      5   COUNTY OF LOS ANGELES            )

      6                                    )   SS.

      7   STATE OF CALIFORNIA              )

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      9   I, SHERI S. KLEEGER, OFFICIAL COURT REPORTER, IN AND FOR

     10   THE UNITED STATES DISTRICT COURT FOR THE CENTRAL

     11   DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

     12   TO SECTION 753, TITLE 28, UNITED STATES CODE, THE

     13   FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF THE

     14   STENOGRAPHICALLY REPORTED PROCEEDINGS HELD IN THE

     15   ABOVE-ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE

     16   FORMAT IS IN CONFORMANCE WITH THE REGULATIONS OF THE

     17   JUDICIAL CONFERENCE OF THE UNITED STATES.

     18

     19

     20   DATE:    MARCH 25, 2017

     21

     22   /S/____________________

     23   SHERI S. KLEEGER, CSR

     24   FEDERAL OFFICIAL COURT REPORTER

     25
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 347 of 391 Page ID
                                  #:16947                                      347


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Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 348 of 391 Page ID
                                  #:16948                                  1


             $                10-2034 [1] - 1:13         16 [1] - 3:6             280:16, 302:21,           51:5
                              10-2034-CBM [1] -          17 [1] - 185:18          311:9, 312:7               26th [1] - 202:25
                             4:6                         17.8 [1] - 119:1          2011 [7] - 137:10,        27 [3] - 187:1, 187:2,
   $230 [1] - 27:23           100 [6] - 78:5, 161:5,     18 [2] - 25:14, 186:18   173:12, 173:15,           216:18
   $30 [2] - 64:9, 107:17    161:7, 162:20, 167:6,       1800 [5] - 110:10,       173:19, 264:3,             276,331 [1] - 3:5
   $35 [1] - 107:18          167:7                      114:7, 114:23, 157:1,     302:23, 310:16             28 [2] - 254:7, 347:12
   $40 [1] - 69:5             100,000 [1] - 326:4       160:12                     2012 [3] - 98:4, 98:7,    29 [1] - 253:24
   $700,000 [1] - 253:8       10019 [1] - 2:17           1800s [1] - 295:23       303:1                      2:00 [4] - 10:7, 10:15,
                              10036 [1] - 2:9            1875 [1] - 2:11           2013 [15] - 49:2,        11:7, 11:15
              '               10340 [1] - 1:23           18th [1] - 277:4         49:5, 50:2, 69:18,         2:30 [1] - 11:2
                              11 [4] - 49:2, 49:9,       19 [2] - 216:16, 306:7   75:12, 75:13, 75:24,

   '05 [2] - 225:16,
                             97:5, 231:25                192 [1] - 3:4            76:5, 76:22, 77:8,                   3
                              12 [9] - 69:19, 69:24,     1933 [2] - 41:11,        80:8, 81:6, 303:5,
  225:17
                             93:24, 184:17,             202:12                    311:12, 312:12
   '06 [3] - 225:16,                                                                                         3 [9] - 106:9, 120:1,
                             194:20, 249:10,             1949 [1] - 232:21         2014 [5] - 76:22,
  225:17                                                                                                    120:12, 132:15,
                             338:18                      1950s [1] - 230:10       77:8, 80:8, 81:6,
   '07 [5] - 232:5, 232:6,                                                                                  133:10, 134:5,
                              12-pack [1] - 184:18       1960s [1] - 297:3        303:9
  282:21, 333:18,                                                                                           134:14, 183:12, 288:6
                              120 [1] - 2:8              1969 [1] - 220:23         2016 [2] - 79:3, 79:4
  333:19                                                                                                     3-pack [1] - 185:9
                              1200 [1] - 155:25          1971 [1] - 221:17         2017 [3] - 1:20, 4:2,
   '08 [3] - 235:23,                                                                                         3/24/2010 [1] - 263:5
                              12:00 [4] - 9:18, 10:2,    1974 [1] - 97:4          347:20
  237:21, 282:22                                                                                             30 [7] - 91:23, 200:7,
                             10:11, 11:9                 1975 [1] - 222:17         21 [3] - 107:11,
   '30s [1] - 221:22                                                                                        200:10, 239:20,
                              12:30 [1] - 11:3           1978 [1] - 26:7          125:5, 291:1
   '6 [1] - 282:14                                                                                          245:12, 254:2, 341:21
                              13 [30] - 26:8, 26:25,     1979 [2] - 223:2,         210 [2] - 79:18, 79:23
   '66 [1] - 221:6                                                                                           30th [3] - 49:1, 49:5,
                             83:7, 119:4, 149:14,       223:6                      212 [4] - 3:4, 3:5,
   '69 [2] - 221:7, 221:8                                                                                   50:1
                             185:1, 227:19,              1980s [2] - 31:20,       311:17, 311:21
   '70s [1] - 232:25                                                                                         31 [1] - 202:24
                             281:21, 282:7,             34:17                      213 [2] - 311:18,
   '74 [1] - 221:18                                                               311:21                     312 [1] - 1:24
                             294:24, 295:2, 295:6,       1986 [3] - 202:22,
   '75 [1] - 223:4                                                                 213)894-6604 [1] -        31st [1] - 280:16
                             295:13, 295:15,            202:25, 203:17
   '79 [1] - 223:3                                                                1:25                       33 [1] - 263:13
                             299:21, 300:10,             1:30 [1] - 200:5
   '80s [1] - 32:1                                                                 214 [2] - 307:17,         33.9 [4] - 120:13,
                             301:5, 303:6, 303:11,
   '86 [1] - 203:18                                                               307:21                    120:19, 120:22,
                             303:14, 303:17,
                                                                   2               215 [2] - 307:17,        196:13
                             303:23, 305:10,
              /              306:2, 306:13,                                       307:21                     34 [1] - 216:9
                             306:14, 306:19,             2 [13] - 28:7, 113:15,    216 [1] - 313:3           35 [1] - 239:20
                             306:24, 306:25, 338:8      114:20, 120:1,             22 [1] - 51:4             36 [3] - 69:19, 187:8,
   /S [1] - 347:22
                              134 [5] - 123:2,          120:12, 122:7,             228 [1] - 306:7          187:10
   /TPHAOEBG [1] -
                             143:3, 145:6, 145:14,      125:23, 132:15,            22nd [3] - 69:18,         37 [3] - 187:8,
  32:22
                             149:2                      134:12, 142:9, 267:8,     277:17, 278:17            187:10, 304:9
                              14 [5] - 114:22,          288:6, 292:22              23 [9] - 1:20, 4:2,       3704 [1] - 2:5
             0               115:11, 173:5,              2,000 [2] - 137:10,      216:16, 235:25,            38 [2] - 39:18, 71:1
                             174:22, 219:1              137:15                    306:8, 307:17,             38th [1] - 29:13
   0 [1] - 262:20             14.5 [5] - 135:1,          20 [5] - 78:8, 78:10,    307:21, 311:17,            38TH [1] - 2:8
                             135:11, 136:11,            122:9, 198:6, 248:5       311:21                     39 [1] - 280:20
             1               138:5, 138:13               2000-E [1] - 78:18        232 [1] - 122:11
                              14.8 [1] - 119:1           2005 [2] - 282:13,        23RD [1] - 2:12                     4
                              144 [1] - 3:4             282:18                     24 [2] - 3:3, 76:24
   1 [15] - 113:14,                                      2006 [2] - 79:2,
                              15 [29] - 20:10,                                     24,772 [1] - 140:19
  115:2, 115:9, 119:25,                                                                                      4 [9] - 112:23,
                             20:13, 21:1, 21:12,        243:25                     24-hour [1] - 217:8
  120:12, 142:14,                                                                                           113:13, 113:20,
                             27:5, 49:2, 49:10,          2007 [2] - 231:20,        24.8 [5] - 119:1,
  142:15, 164:20,                                                                                           126:7, 133:18,
                             51:5, 52:6, 52:7, 92:3,    331:5                     194:23, 195:22,
  194:23, 195:21,                                                                                           134:17, 200:3, 281:5,
                             92:12, 114:9, 114:21,       2008 [7] - 173:22,       195:23, 196:12
  196:13, 199:12,                                                                                           313:4
                             114:22, 115:11,            235:25, 243:25,            24th [2] - 278:20
  226:17, 304:9, 313:3                                                                                       40 [4] - 35:24, 86:23,
                             135:7, 135:24,             262:20, 282:20,            25 [10] - 49:2, 49:9,
   1.13 [1] - 15:3                                                                                          120:14, 325:19
                             142:23, 198:6, 200:4,      302:14                    51:4, 64:9, 164:18,
   1/16 [1] - 270:7                                                                                          400 [4] - 231:21,
                             200:7, 219:2, 342:7,        2009 [2] - 267:10,       164:23, 165:9, 173:2,
   10 [12] - 69:19,                                                                                         231:22, 241:24, 331:6
                             342:10, 342:11,            302:17                    347:20
  69:24, 88:1, 138:6,                                                                                        400-plus [1] - 153:15
                             342:25, 343:10              201 [1] - 3:4             25,000 [1] - 140:13
  138:12, 173:6,                                                                                             400th [1] - 331:11
                              15-minute [2] - 92:2,      2010 [9] - 205:22,        250-page [1] - 5:12
  174:22, 227:25,                                                                                            402 [1] - 1:24
                             200:10                     249:20, 261:25,            25th [1] - 264:3
  246:25, 248:6, 343:9                                                                                       406 [1] - 293:6
                              151 [1] - 122:12          278:18, 278:20,            26 [3] - 49:2, 49:9,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 349 of 391 Page ID
                                  #:16949                                  2


   410 [1] - 2:19            618-52 [1] - 250:13                                   262:15                    228:5, 236:15, 294:5
                                                                   9
   42.99 [1] - 69:10         62 [4] - 248:4, 248:5,                                 access [1] - 238:21       additives [6] - 66:4,
   427 [1] - 2:19           249:9, 289:18                                           accommodate [2] -        66:5, 229:24, 236:15,
   43.9 [3] - 120:16,        626 [1] - 310:3            9 [4] - 118:1, 120:14,     11:22, 125:22             322:10, 322:11
  120:20, 120:22             628 [1] - 253:24          223:4, 262:20                accommodates [1] -        address [8] - 19:25,
   45 [6] - 22:4, 267:25,    63 [1] - 141:1             90 [1] - 242:4             10:20                     46:1, 75:3, 96:24,
  341:2, 341:16,             684 [1] - 180:11           900 [2] - 202:9,            according [6] -          155:6, 189:8, 197:24,
  341:18, 342:5              689 [4] - 3:6, 15:22,     209:10                      108:14, 269:19,           215:18
   455 [3] - 105:19,        16:3, 16:4                  90012 [1] - 1:24           288:14, 291:24,            addressing [3] - 6:2,
  155:25, 156:1                                         90067-2561 [1] - 2:12      334:7, 336:4              21:8, 57:25
                                                        92101 [1] - 2:20
   45TH [1] - 2:8                      7                                            accurate [7] - 78:5,      adds [1] - 322:23
   46 [2] - 134:7, 134:16                               93 [3] - 3:4, 134:7,       78:6, 78:9, 309:15,        adjourned [1] -
   48 [1] - 3:3                                        134:13                      309:20, 309:23,           346:1
                             7 [4] - 119:4, 166:20,     95 [1] - 217:6             309:24                     adjust [2] - 9:14,
   49 [1] - 141:5
                            223:4, 343:19               99 [1] - 217:5              achieve [1] - 57:14      253:8
   492 [5] - 284:3,
                             7.4 [1] - 166:11                                       achievement [1] -         adjustments [3] -
  284:5, 284:18, 285:5,
  285:8                      700 [4] - 262:6,                      A               88:3                      339:14, 342:18,
                            277:21, 277:22,                                         acid [2] - 228:3,        343:23
                            334:23
             5               74.5 [1] - 135:3            A-L-V-A-R-E-Z [1] -
                                                                                   232:25                     administer [1] -
                                                                                    acknowledged [1] -       92:19
                             743 [1] - 183:11          201:1
                                                                                   307:6                      administration [3] -
   5 [10] - 106:9,           750-milliliter [2] -        A-Y-K-R-O-Y-D [1] -
                                                                                    acquaintance [1] -       41:14, 95:19, 95:21
  114:24, 116:13,           107:15, 185:10             214:23
                                                                                   223:11                     admitted [6] - 16:1,
  117:1, 219:10,             753 [1] - 347:12            a.M [1] - 4:3
                                                                                    acquire [1] - 205:15     16:2, 16:3, 18:10,
  257:13, 282:14,            754 [7] - 182:13,           A.M [1] - 1:20
                                                                                    acquired [3] - 99:18,    180:14, 284:11
  304:10, 311:18,           182:16, 183:12,              ABC [2] - 238:10,
                                                                                   224:22, 332:25             ADMITTED [1] - 16:4
  311:22                    184:11, 184:17,            238:11
                                                                                    act [1] - 37:7            admittedly [1] -
   5,000 [2] - 243:12,      185:18, 186:18               abide [1] - 89:8
                                                                                    acted [1] - 53:25        86:25
  243:17                     7543 [1] - 183:10           abilities [2] - 326:12,
                                                                                    action [13] - 29:15,      adopted [2] - 39:9,
   50 [4] - 27:22, 41:22,    755 [3] - 291:4,          326:13
                                                                                   29:19, 29:21, 29:25,      53:23
  239:25, 249:10            332:16, 332:18               ability [1] - 87:24
                                                                                   48:4, 48:21, 51:24,        ads [1] - 238:18
   50-milliliter [3] -       755-6 [2] - 291:14,         able [12] - 8:14, 9:14,
                                                                                   70:23, 97:22, 97:23,       advance [3] -
  180:21, 183:15,           333:12                     23:9, 25:13, 87:15,
                                                                                   99:1, 136:15, 267:13      228:13, 238:15,
  184:19                     755-9 [2] - 293:4,        95:10, 131:17,
                                                                                    active [3] - 112:5,      238:17
   50-millimeter [1] -      293:13                     135:11, 231:11,
                                                                                   112:8, 112:10              advantage [2] -
  185:9                      77002-9550 [1] - 2:6      231:14, 234:4, 341:12
                                                                                    activity [1] - 174:12    39:16, 326:21
   551 [1] - 215:11          772 [7] - 123:25,           ABOVE [1] - 347:15
                                                                                    Actors [1] - 220:10       advertise [1] -
   574 [1] - 267:7          124:2, 251:25, 252:3,        ABOVE-ENTITLED
                                                                                    actual [28] - 9:2,       235:14
   574-A [2] - 265:12,      267:23, 287:14,            [1] - 347:15
                                                                                   70:16, 70:20, 71:6,        advertises [1] -
  335:19                    287:15                       absence [1] - 129:5
                                                                                   74:6, 74:14, 74:24,       65:23
   58.7 [5] - 118:24,        7:00 [4] - 8:14, 8:16,      Absolut [19] - 33:1,
                                                                                   78:4, 85:20, 86:3,         advertising [6] -
  120:10, 166:23,           343:17, 345:4              37:12, 40:3, 67:20,
                                                                                   91:3, 109:1, 109:15,      26:16, 27:13, 37:14,
  195:21, 196:11             7:15 [2] - 345:5,         68:1, 76:15, 76:17,
                                                                                   109:16, 109:17,           94:14, 94:19, 206:10
                            345:24                     131:13, 131:25,
                                                                                   109:19, 109:22,            advice [1] - 25:6
             6                                         132:13, 132:14,
                                                                                   110:7, 131:8, 135:24,      advise [4] - 10:21,
                                                       134:8, 134:12, 135:2,
                                       8                                           156:13, 192:1,            49:12, 69:21, 197:13
                                                       138:1, 138:6, 138:9,
                                                                                   209:19, 209:20,            advised [1] - 199:18
   6 [8] - 126:14, 160:6,                              174:15
                                                                                   209:21, 284:7,             aesthetic [3] - 251:2,
  160:7, 166:20,             8 [3] - 223:4, 248:6,       absolute [4] - 61:22,
                                                                                   298:14, 310:25            251:23, 252:17
  184:11, 223:4,            338:16                     102:17, 329:12,
  307:18, 307:22                                                                    ad [3] - 237:9, 257:9,    aesthetically [3] -
                             81 [1] - 291:1            329:21
                                                                                   257:10                    230:1, 251:9, 251:10
   6.6 [2] - 166:9,          825 [1] - 2:16              absolutely [8] -
  166:15                                                                            adapt [2] - 39:15,        affair [1] - 248:20
                             83.6 [1] - 135:2          48:15, 149:6, 233:8,
                                                                                   253:4                      affect [1] - 32:23
   60 [2] - 36:7, 78:11      85 [2] - 134:8, 134:14    256:14, 256:23,
                                                                                    add [2] - 7:4, 247:15     affected [2] - 31:8,
   60,000 [2] - 242:21,      86 [1] - 3:3              267:21, 286:16, 294:2
  243:1                                                                             added [1] - 162:21       42:18
                             8:00 [3] - 11:9, 11:25,     accelerate [1] -
   60-plus [1] - 35:23                                                              addition [4] - 27:16,     affecting [1] - 62:11
                            338:20                     243:22
                                                                                   132:22, 175:5, 262:3       affection [1] - 320:10
   618 [1] - 250:3                                       accept [3] - 46:7,
                                                                                    additional [3] - 54:1,    affidavit [12] - 211:7,
   618-28 [1] - 253:24                                 277:19, 281:18
                                                                                   80:22, 182:21             211:10, 211:12,
   618-4 [1] - 257:13                                    accepted [2] - 78:13,
                                                                                    additive [4] - 227:22,   211:20, 212:1, 212:6,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 350 of 391 Page ID
                                  #:16950                                  3


  212:13, 281:8,             250:12, 250:16           200:25, 201:5, 201:9,    251:6, 251:9, 252:20,      appear [6] - 101:3,
  281:10, 281:20,             albeit [1] - 168:11     208:9, 212:17, 214:4     268:10, 268:12,           103:1, 103:3, 131:23,
  281:25, 282:9               alcohol [40] - 24:22,    ambassador [1] -        268:17, 269:4, 269:8,     132:8, 132:10
   affiliated [2] -          26:4, 26:6, 28:11,       38:16                    271:4, 337:17              appearance [7] - 4:9,
  201:18, 205:9              29:8, 29:12, 39:19,       America [9] - 220:11,    angry [1] - 311:7        246:15, 247:5,
   affiliation [1] - 192:5   41:1, 41:14, 89:15,      235:20, 245:7, 304:3,     Anna [1] - 298:24        247:13, 309:4,
   afford [1] - 253:12       90:1, 225:12, 233:21,    321:7, 321:8, 322:2       announced [1] -          326:25, 335:23
   affordable [1] -          233:22, 233:23,           AMERICA [1] - 1:1       173:20                     appearances [3] -
  32:20                      234:11, 235:18,           American [2] - 220:9,    announcer [1] -          246:19, 246:22,
   Afghanistan [1] -         242:14, 249:23,          220:11                   221:2                     247:15
  323:2                      256:6, 277:9, 291:2,      amidst [3] - 108:19,     annual [2] - 27:22,       APPEARANCES [1] -
   afternoon [14] - 7:20,    309:6, 323:12, 325:7,    108:21, 193:12           28:16                     2:2
  10:17, 17:14, 17:15,       325:9, 325:10,            amount [17] - 8:4,       Annunciation [2] -        appeared [1] - 260:4
  18:3, 93:14, 106:11,       325:11, 325:13,          8:5, 21:5, 64:3, 64:5,   217:13, 218:3              appearing [1] - 11:20
  201:5, 201:6, 208:9,       325:16, 325:19,          107:21, 111:20,           answer [44] - 47:3,       appetizers [1] - 72:5
  208:10, 214:12,            327:6, 327:17,           111:22, 113:6,           47:16, 58:12, 58:13,       application [5] -
  277:1, 277:2               327:19, 327:22,          119:16, 120:5,           59:10, 66:16, 75:2,       264:10, 277:24,
   Afterparty [1] - 250:7    327:23, 328:2, 329:8,    152:12, 152:17,          75:4, 88:22, 88:24,       279:4, 283:2, 283:19
   afterwards [1] -          329:22, 337:7            152:19, 152:20,          89:3, 89:5, 106:3,         applied [5] - 283:4,
  213:25                      alcoholic [19] -        216:19, 216:23           116:24, 117:20,           283:8, 283:9, 283:10,
   agave [1] - 67:4          71:20, 72:12, 84:2,       Amsterdam [1] -         117:25, 126:6,            283:23
   age [3] - 218:24,         84:18, 107:12, 125:6,    76:12                    126:14, 128:13,            applies [1] - 335:22
  280:10, 297:5              172:8, 172:13,            Anaheim [3] -           133:12, 133:15,            apply [3] - 36:16,
   agencies [1] - 175:3      172:18, 172:21,          235:22, 237:19,          146:9, 147:12,            264:6, 300:18
   ages [1] - 216:14         172:22, 209:6,           262:21                   148:16, 150:20,            appoint [1] - 41:21
   aggregate [1] -           233:22, 234:12,           analogous [1] -         150:25, 151:5, 154:4,      appreciate [1] -
  165:22                     256:25, 263:9,           125:12                   154:8, 154:10,            214:4
   ago [8] - 40:24,          263:12, 278:13,           analytics [1] - 28:13   154:11, 154:21,            approached [2] -
  102:7, 141:25,             290:12                    analyze [2] - 94:7,     158:5, 163:22, 164:8,     29:18, 155:24
  177:12, 179:9,              alcohols [1] - 82:6     97:19                    165:14, 168:12,            approbation [1] -
  192:24, 241:24,             Alexander [9] -          analyzed [1] - 98:21    168:15, 175:20,           242:10
  244:12                     223:7, 224:15,            analyzing [1] -         281:13, 307:4,             appropriate [21] -
   agree [23] - 18:22,       271:19, 281:22,          295:22                   324:12, 329:17, 330:3     17:4, 101:17, 102:5,
  29:20, 57:11, 62:13,       281:23, 282:5, 286:3,     anatomical [1] -         ANSWER [12] - 51:9,      102:18, 128:15,
  108:9, 108:11, 147:4,      286:4, 286:5             309:23                   51:12, 51:17, 51:21,      128:19, 129:11,
  160:3, 209:24, 212:8,       Alexander's [2] -        anatomically [4] -      51:25, 70:4, 305:13,      138:21, 138:24,
  274:7, 274:11,             275:18, 337:8            309:10, 309:12,          306:14, 306:16,           147:9, 147:24,
  290:11, 290:15,             alien [2] - 215:11,     309:13, 309:14           308:3, 308:21, 313:13     150:17, 151:1,
  290:19, 299:9,             298:7                     anatomy [1] - 309:19     answered [6] -           152:20, 158:14,
  300:10, 312:23,             aliens [1] - 297:12      AND [3] - 347:9,        46:23, 46:24, 47:17,      158:15, 160:18,
  313:1, 313:10,              alike [1] - 186:11      347:13, 347:15           158:4, 170:2, 330:7       167:16, 167:22,
  315:16, 326:6, 337:14       allegation [2] -         Anderson [22] -          answering [1] -          193:24, 197:3
   agreed [9] - 7:6,         273:11, 274:1            29:16, 29:23, 45:5,      146:17                     appropriately [1] -
  15:8, 106:5, 229:8,         allowed [1] - 145:22    45:7, 45:8, 48:12,        answers [12] - 49:18,    183:19
  243:12, 244:21,             allowing [1] - 8:23     48:20, 52:3, 52:8,       49:24, 100:20, 111:9,      approval [6] - 104:4,
  247:24, 258:21,             alluded [1] - 327:2     52:19, 53:1, 53:4,       111:10, 111:11,           104:8, 104:9, 126:21,
  344:13                      almost [4] - 35:8,      53:10, 53:13, 53:19,     111:13, 111:16,           127:13, 257:18
   agreeing [1] - 321:2      192:15, 272:2, 275:14    55:13, 208:11,           145:12, 154:19,            approve [1] - 257:20
   agreement [3] - 14:5,      alteration [1] -        208:13, 208:17,          158:14, 293:8              approved [14] -
  17:3, 245:18               328:24                   208:19, 286:2             Anthony [2] - 242:1,     104:5, 104:12,
   ahead [5] - 201:10,        alterations [1] -        ANDROPHY [2] -          242:6                     104:21, 117:18,
  218:1, 249:17,             328:22                   2:3, 2:7                  anticipate [3] - 10:7,   117:22, 118:2,
  249:18, 251:4               altered [2] - 133:11,    Anejo [5] - 181:6,      11:10, 17:22              118:18, 127:1, 127:2,
   aided [1] - 136:4         290:9                    183:15, 210:20,           anticipating [1] -       127:4, 127:6, 164:25,
   ain't [1] - 234:23         altogether [2] -        210:23, 289:14           242:24                    165:2, 165:24
   airport [1] - 219:9       32:25, 40:3               ANGELES [5] - 1:21,      Antonio [1] - 238:4       approximate [1] -
   aisle [3] - 115:16,        ALVAREZ [2] - 3:4,      1:24, 2:12, 4:2, 347:5    apologies [1] -          102:25
  160:17, 169:18             200:19                    Angeles [1] - 231:8     126:22                     April [1] - 217:5
   al [1] - 4:8               Alvarez [9] - 197:21,    anger [1] - 310:20       apologize [2] -           arduous [1] - 57:1
   alarming [3] - 250:8,     197:25, 200:17,           angle [13] - 251:5,     154:16, 179:24             are.. [1] - 326:8
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 351 of 391 Page ID
                                  #:16951                                  4


   area [6] - 80:25,          aspects [6] - 26:14,       ATTORNEY [4] - 2:4,      214:16                     103:4, 139:11,
  85:24, 94:10, 94:16,       27:12, 289:20, 290:1,      2:5, 2:7, 2:15             Aykroyd [51] - 7:8,       225:21, 248:13,
  168:7, 240:2               306:2, 306:12               attorney [2] - 190:19,   11:10, 15:24, 38:13,       257:11, 258:17,
   areas [2] - 94:9,          asserted [1] - 178:2      190:21                    146:14, 147:16,            258:20, 259:1, 259:3,
  286:15                      assigned [1] -             attorneys [1] - 96:22    149:11, 174:18,            262:1, 334:19
   argue [3] - 8:17,         113:15                      attribute [2] - 81:22,   184:19, 184:24,             Bar [2] - 236:13,
  18:6, 58:19                 assist [1] - 266:24       83:13                     185:23, 198:15,            249:22
   argument [12] - 6:5,       assistance [2] -           audience [1] -           199:3, 214:14,              barreled [1] - 190:1
  6:6, 7:16, 7:21, 19:22,    18:23, 19:4                290:23                    214:22, 215:4, 215:6,       bars [7] - 30:23,
  19:24, 20:16, 21:4,         assistant [2] -            auditioned [1] -         216:4, 220:19, 232:3,      42:4, 90:15, 90:17,
  339:23, 340:3, 340:6,      219:15, 219:17             221:9                     234:6, 249:14, 252:2,      90:19, 235:10, 300:17
  343:20                      assisted [5] - 42:6,       August [1] - 75:12       252:7, 260:6, 260:19,       bartender [2] -
   arguments [8] -           106:16, 106:17,             Austin [1] - 259:22      262:13, 265:16,            246:19, 301:17
  6:10, 6:13, 7:24, 8:11,    136:3, 136:5                Australian [1] -         271:17, 274:17,             bartenders [5] -
  9:3, 19:8, 340:19,          associate [4] -           241:22                    277:1, 280:6, 281:4,       236:3, 236:15,
  343:17                     257:17, 320:24,             authority [1] - 297:7    285:7, 285:24,             248:14, 258:25,
   aroma [4] - 65:15,        321:4, 321:8                AutoCAD [2] - 231:6,     286:23, 288:11,            300:17
  67:2, 67:9, 226:10          associated [7] -          231:10                    288:16, 289:17,             base [23] - 35:19,
   aromas [1] - 65:12        83:3, 83:7, 147:15,         automatic [1] - 253:2    290:11, 291:6,             141:18, 142:1, 142:2,
   arranged [1] - 11:3       167:19, 304:1, 304:3,       automatically [1] -      295:10, 296:10,            142:17, 189:22,
   array [21] - 101:8,       337:19                     253:1                     297:15, 307:6,             189:23, 220:14,
  110:6, 110:8, 113:10,       association [4] -          autumn [1] - 223:3       312:23, 320:3, 326:6,      269:6, 269:7, 271:5,
  113:14, 119:3,             321:14, 321:18,                                      328:19, 331:3, 332:15      271:8, 271:9, 271:11,
                                                         available [4] - 30:16,
  122:16, 157:19,            321:19, 324:13             36:2, 71:25, 332:7         Aykroyd's [12] -          271:13, 271:15,
  158:7, 159:7, 159:15,       Association [1] -                                   9:21, 10:5, 38:10,         287:4, 287:25, 288:6,
                                                         AVENUE [1] - 2:16
  162:18, 163:1,             220:8                                                39:1, 81:23, 82:2,         288:7, 314:5, 314:12
                                                         average [2] - 152:16,
  163:19, 164:4,              assortment [1] -                                    199:11, 304:6, 306:7,       based [34] - 11:9,
                                                        299:13
  164:24, 165:10,            71:18                                                307:17, 311:17, 313:3      18:2, 35:16, 39:7,
                                                         avid [1] - 295:5
  165:13, 168:9,              assume [8] - 18:2,                                   Aztec [3] - 228:11,       48:21, 49:18, 51:24,
                                                         avoid [1] - 6:1
  170:19, 179:6              44:7, 44:17, 67:8,                                   297:13, 298:15             65:22, 66:21, 67:22,
                                                         Award [1] - 241:23
   arrays [17] - 110:13,     132:7, 255:24,                                        Aztecs [1] - 296:1        70:24, 73:3, 85:25,
                                                         award [1] - 96:14
  113:9, 113:16, 114:6,      292:22, 330:12                                                                  109:11, 114:10,
                                                         awarded [1] - 96:9
  115:20, 115:21,             assumed [2] - 87:1,        awards [5] - 96:5,                  B               135:5, 136:6, 137:10,
  118:21, 152:2, 152:5,      262:17                                                                          137:15, 140:13,
                                                        96:12, 241:13,
  158:2, 158:3, 160:7,        assuming [2] - 21:5,                                                           140:18, 144:8,
                                                        241:18, 241:19             B-R-U-C-E [1] - 93:9
  162:9, 166:3, 170:4,       199:21                                                                          161:19, 183:9, 190:9,
                                                         aware [41] - 57:3,        Bacardi [26] - 27:2,
  193:22, 193:24              assumption [1] -                                                               193:3, 193:5, 279:24,
                                                        58:3, 65:22, 69:4,        27:10, 27:20, 28:3,
   arrive [2] - 11:22,       292:25                                                                          292:3, 333:10,
                                                        69:9, 72:10, 76:21,       28:9, 28:19, 28:23,
  16:8                        assured [1] - 233:9                                                            333:11, 334:1, 334:3,
                                                        76:22, 76:25, 77:4,       29:18, 33:3, 40:10,
   art [5] - 224:3, 224:8,    AT [4] - 2:4, 2:5, 2:7,                                                        334:8
                                                        77:6, 80:12, 82:14,       43:18, 52:3, 52:6,
  224:9, 224:10, 225:8       2:15                                                                             basement [1] - 225:4
                                                        82:25, 85:19, 85:23,      52:7, 52:10, 52:14,
   Art [3] - 225:1, 225:4     attempt [3] - 59:10,                                                            bases [3] - 141:9,
                                                        86:5, 86:7, 92:21,        52:16, 52:19, 67:17,
   article [2] - 253:21,     87:1, 88:13                                                                     179:10, 288:3
                                                        126:8, 137:24, 170:9,     67:20, 67:21, 67:25,
  253:25                      attempting [3] -                                                                basic [1] - 100:22
                                                        176:13, 176:17,           68:1, 81:17
   articles [1] - 96:23      159:16, 257:17,            176:19, 177:21,                                       basis [14] - 25:7,
                                                                                   bachelor [1] - 95:17
   articulate [2] -          257:22                     193:13, 194:8, 204:9,                                77:11, 77:14, 98:18,
                                                                                   background [3] -
  154:22, 157:2               attend [4] - 217:11,      204:11, 249:15,                                      98:19, 140:16,
                                                                                  95:14, 217:11, 217:22
   artifacts [1] - 297:1     218:18, 238:14,            249:25, 257:8, 260:8,                                169:21, 169:25,
                                                                                   backing [1] - 206:9
   artificial [1] - 178:20   248:16                     273:8, 283:16,                                       170:16, 192:7, 241:9,
                                                                                   Bacon [1] - 219:21        266:10, 273:19, 338:2
   artist [2] - 224:13,       attended [2] - 38:22,     283:18, 283:22,            bad [1] - 111:17           bathroom [2] - 128:5
  245:21                     258:23                     325:8, 345:18              badly [1] - 261:10         batteries [1] - 115:24
   artistic [2] - 326:11,     attends [1] - 258:23       awareness [18] -          balding [1] - 223:15       Beam [2] - 142:3,
  326:13                      attention [12] - 65:4,    37:7, 129:5, 130:16,       ballpark [1] - 40:23      142:4
   Artists [2] - 220:9,      111:12, 155:15,            132:6, 132:23, 136:2,
                                                                                   balls [1] - 228:12         bear [1] - 136:18
  220:10                     204:14, 205:14,            136:10, 136:19,
                                                                                   band [2] - 120:19,         bearing [1] - 137:17
   ashtray [3] - 314:12,     206:22, 265:22,            137:18, 137:25,
                                                                                  220:18                      beautiful [10] -
  314:14, 314:17             265:25, 266:16,            138:15, 138:20,
                                                                                   Band [1] - 220:15         225:18, 225:20,
   aside [1] - 176:9         267:14, 281:4, 332:15      147:23, 148:3, 173:6,
                                                                                   bar [17] - 37:8, 55:21,   226:9, 228:8, 229:22,
   aspect [3] - 38:10,        attitudes [2] - 137:2,    174:21
                                                                                  62:20, 90:23, 90:25,       232:24, 233:5, 300:7,
  283:25, 321:21             137:7                       AYKROYD [2] - 3:5,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 352 of 391 Page ID
                                  #:16952                                  5


  323:4, 323:18             198:22, 198:25,          beverage [25] -           318:14, 325:20           228:4
   beautifully [1] -        199:22, 214:12,         24:21, 25:18, 26:3,         Bivens [1] - 4:10        Bombay [3] - 28:4,
  251:5                     215:1, 215:19,          26:5, 28:10, 29:8,          BIVENS [15] - 2:4,      37:18
   became [5] - 32:8,       250:14, 250:15,         29:12, 39:19, 41:1,        4:10, 4:13, 15:21,        bone [1] - 315:5
  40:9, 204:2, 223:20,      252:1, 252:6, 254:3,    41:14, 89:15, 172:8,       16:5, 197:25, 198:5,      book [2] - 78:21,
  249:15                    254:4, 254:7, 254:10,   225:18, 233:22,            200:16, 201:4, 208:4,    224:14
   become [5] - 37:3,       257:12, 257:14,         234:12, 235:17,            211:25, 212:14,           born [3] - 215:8,
  139:14, 204:11,           262:6, 262:11, 263:8,   249:23, 256:6,             212:16, 214:3, 214:6     215:9, 217:20
  249:25, 265:19            263:11, 263:14,         256:25, 259:2, 277:9,       biz [1] - 220:24         borrowed [1] - 38:13
   becomes [4] - 37:6,      263:16, 263:25,         291:2, 327:6                black [3] - 112:19,      boss [1] - 203:6
  40:4, 71:15, 234:12       264:1, 264:17,           beverages [19] -          170:22, 298:24            bothered [1] - 190:8
   beer [2] - 201:16,       264:18, 266:15,         71:20, 72:12, 84:2,         blackboard [1] -         bottle [416] - 34:15,
  208:15                    269:1, 269:4, 269:20,   84:18, 107:12, 125:6,      269:14                   37:18, 37:19, 37:21,
   began [12] - 32:10,      274:3, 274:4, 274:13,   172:13, 172:19,             Blanco [44] - 69:4,     38:23, 40:13, 40:18,
  32:11, 32:13, 32:19,      274:16, 275:25,         172:21, 172:22,            110:10, 112:18,          40:21, 41:1, 43:2,
  37:11, 75:24, 229:9,      286:19, 293:5,          201:17, 201:24,            112:20, 112:21,          45:4, 59:17, 60:8,
  229:11, 234:19,           297:17, 304:8,          201:25, 205:6, 209:6,      123:19, 123:22,          60:14, 60:15, 62:4,
  241:11, 243:25,           304:11, 304:17,         241:24, 263:9,             124:15, 124:21,          62:16, 62:20, 63:2,
  279:11                    305:2, 305:4, 306:9,    263:12, 278:14             126:1, 127:18,           69:5, 83:15, 83:16,
   begin [5] - 41:21,       307:23, 308:9,           Beverages [10] -          127:22, 145:15,          83:20, 83:23, 85:4,
  231:14, 271:20,           311:23, 312:2, 313:5,   201:19, 201:22,            145:17, 145:21,          85:7, 85:8, 87:10,
  276:22, 344:7             324:1, 324:11,          202:10, 202:15,            146:9, 146:18,           91:1, 107:15, 107:17,
   beginning [8] - 25:2,    330:14, 332:14,         203:2, 203:17,             147:13, 149:10,          107:18, 109:1, 109:7,
  38:14, 40:14, 244:3,      332:17, 332:20,         238:11, 243:8,             149:16, 160:13,          109:8, 109:9, 109:13,
  262:9, 264:22,            333:22, 333:23,         259:20, 259:24             160:19, 161:20,          109:16, 110:14,
  302:14, 302:24            334:23, 335:2,           BEVMO [1] - 240:9         161:25, 162:7,           110:15, 111:8,
   begins [2] - 42:3,       335:19, 335:21,          beyond [9] - 38:12,       162:10, 162:15,          111:21, 111:23,
  258:17                    336:17, 336:19,         39:1, 71:2, 103:6,         163:21, 164:6, 170:5,    112:12, 112:23,
   BEHALF [2] - 2:3,        338:13, 339:5,          154:1, 179:23, 296:6,      170:8, 171:15, 180:6,    112:24, 113:7,
  2:13                      339:18, 345:3, 345:7    298:5, 326:3               180:8, 180:10,           113:24, 114:3,
   behalf [6] - 78:14,       best [12] - 13:20,      bias [1] - 261:2          181:19, 181:22,          115:19, 119:17,
  174:12, 174:13,           41:13, 66:16, 77:17,     big [3] - 39:24,          185:10, 186:4, 191:5,    120:6, 120:15,
  200:20, 214:17, 292:5     97:2, 114:4, 170:6,     85:10, 257:6               210:14, 261:1,           122:12, 123:15,
   behavior [6] - 28:10,    170:10, 185:22,          bigger [1] - 115:6        272:10, 288:18           123:16, 123:22,
  70:11, 70:13, 70:17,      188:13, 211:15,          biggest [2] - 75:18,       Blancos [2] - 160:15,   124:7, 124:10,
  95:25, 96:2               333:24                  115:5                      160:16                   124:12, 124:14,
   behind [6] - 82:19,       better [8] - 9:22,      bikers [4] - 294:18,       blank [1] - 157:10      124:21, 124:22,
  82:22, 82:23, 82:25,      14:20, 113:25,          294:22, 334:16,             blends [1] - 32:2       124:24, 125:7,
  221:1, 315:5              163:10, 200:8, 226:7,   334:21                      block [1] - 297:4       125:14, 126:1,
   belief [5] - 75:8,       233:25, 339:14           bill [4] - 29:16, 45:8,    Bloomberg [1] -         127:18, 127:22,
  75:9, 297:16, 298:4,       between [45] - 7:2,    52:13, 259:21              303:2                    130:24, 131:10,
  298:18                    7:3, 33:23, 36:5,        Bill [5] - 45:5, 45:7,     blow [7] - 183:17,      131:12, 131:15,
   beliefs [1] - 338:1      59:19, 67:24, 67:25,    45:11, 208:11, 208:13      185:19, 186:3,           131:18, 131:19,
   belong [1] - 20:24       70:17, 77:7, 80:8,       billion [1] - 28:7        250:14, 254:3, 254:8,    131:20, 131:21,
                            81:5, 85:20, 86:6,       bills [1] - 202:19        334:25                   131:25, 132:1, 132:3,
   below [2] - 137:23,
                            86:15, 98:17, 102:2,     BIN [1] - 206:19           blowing [1] - 227:13    132:20, 133:6, 133:7,
  185:7
                            105:20, 112:7,           Binny [1] - 259:23         blown [1] - 236:17      133:8, 135:12,
   bench [1] - 16:7
                            128:20, 129:22,                                     blue [3] - 37:19,       135:22, 136:5, 136:6,
   benefit [1] - 39:10                               Binny's [1] - 259:23
                            135:19, 142:2, 144:6,                              252:7, 265:25            136:8, 141:13,
   benefits [1] - 44:19                              Binstein [1] - 259:23
                            146:2, 152:9, 165:7,                                Blue [2] - 242:2,       141:14, 145:11,
   benevolent [2] -                                  BIRD [1] - 2:10
                            174:2, 174:21,                                     242:6                    145:15, 145:17,
  298:8                                              bit [26] - 9:18, 66:18,
                            180:23, 200:7,                                                              145:18, 145:20,
   berg [1] - 305:1                                 88:5, 100:25, 119:12,       Blues [7] - 220:15,
                            204:19, 207:7,                                                              145:21, 145:22,
   Berg [4] - 7:7, 19:17,                           164:16, 168:21,            235:22, 236:6, 239:6,
                            207:10, 209:24,                                                             146:3, 146:7, 146:11,
  19:21, 304:25                                     184:23, 186:11,            246:23, 248:1
                            210:3, 213:17,                                                              146:18, 147:13,
   BERG [84] - 2:3, 2:4,                            197:10, 204:8, 215:6,       blues [1] - 246:24
                            223:18, 244:2,                                                              147:14, 147:15,
  2:7, 10:4, 10:12,                                 217:10, 220:24,             board [1] - 97:16
                            303:23, 305:10,                                                             148:13, 148:22,
  10:15, 11:5, 19:22,                               222:8, 224:7, 230:21,       boards [2] - 97:9,
                            307:7, 308:1, 308:19,                                                       149:10, 149:20,
  20:2, 20:9, 21:13,                                230:22, 232:15,            97:11
                            316:18, 335:4                                                               151:12, 151:23,
  21:17, 21:22, 22:17,                              234:1, 234:8, 258:14,       boat [1] - 246:21
                             Beverage [2] -                                                             152:5, 152:7, 152:13,
  197:24, 198:18,                                   259:10, 264:21,             body [2] - 163:13,
                            189:12, 206:19
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 353 of 391 Page ID
                                  #:16953                                  6


  152:21, 153:1, 153:2,   253:16, 254:17,         335:15, 335:23,           270:14, 270:19,           31:9, 31:11, 31:12,
  160:10, 160:20,         254:22, 254:24,         336:14, 336:25,           271:1, 287:21,            31:18, 32:9, 32:11,
  160:21, 160:24,         255:10, 256:5, 256:6,   337:3, 338:10             288:13, 288:15,           32:13, 32:18, 32:19,
  161:2, 161:4, 161:5,    256:11, 256:18,          bottle's [1] - 61:6      294:7, 314:17, 317:6      32:20, 32:23, 33:6,
  161:7, 161:8, 161:12,   257:1, 259:17,           bottled [1] - 189:7       bought [6] - 181:1,      33:8, 33:11, 33:12,
  161:13, 161:14,         260:19, 260:22,          bottles [125] - 61:16,   184:13, 260:19,           33:19, 33:23, 36:12,
  161:16, 161:20,         261:11, 261:18,         61:20, 62:6, 64:2,        260:24                    36:17, 36:22, 37:2,
  161:22, 161:25,         262:4, 262:22,          84:20, 86:6, 86:15,        Boulevard [1] -          37:4, 37:5, 37:17,
  162:8, 162:10,          263:20, 264:23,         88:1, 89:22, 112:13,      240:9                     37:24, 38:16, 39:23,
  162:15, 162:19,         264:24, 266:1, 266:2,   112:17, 114:6,             bourbons [1] - 32:2      56:22, 57:4, 57:8,
  162:20, 163:3, 163:7,   268:9, 269:11,          115:10, 115:11,            bowling [1] - 204:7      58:20, 59:2, 61:13,
  163:13, 163:14,         269:24, 269:25,         120:9, 121:4, 121:6,       box [21] - 5:6, 109:1,   62:25, 64:11, 64:15,
  163:15, 163:17,         270:4, 270:5, 270:20,   121:13, 121:16,           109:2, 109:8, 109:9,      64:22, 65:4, 65:20,
  163:19, 163:21,         270:22, 271:2, 271:7,   123:17, 123:19,           109:13, 109:16,           72:9, 76:14, 77:1,
  164:4, 164:6, 164:19,   271:8, 271:9, 271:11,   130:24, 132:4, 132:6,     109:24, 124:14,           77:2, 77:5, 78:5,
  165:7, 165:12, 166:3,   271:14, 273:4,          132:18, 133:22,           151:12, 151:13,           126:8, 129:11,
  166:25, 167:3, 167:5,   273:12, 273:13,         133:23, 153:10,           151:23, 152:13,           132:15, 132:16,
  167:15, 167:16,         274:18, 275:4, 277:7,   157:19, 158:3, 158:7,     160:9, 169:4, 219:2,      134:11, 135:6, 137:8,
  167:17, 168:4, 168:5,   277:10, 277:25,         159:7, 162:13, 163:1,     300:22, 300:24            137:21, 137:23, 138:1
  168:8, 168:10,          278:4, 278:9, 278:11,   163:19, 166:7,             BOXER [1] - 2:10          break [11] - 21:21,
  168:23, 169:4, 169:9,   279:4, 279:11,          166:12, 166:21,            boxes [1] - 154:1        22:16, 22:19, 92:2,
  169:14, 170:5,          279:17, 279:22,         167:6, 167:7, 167:8,       Boys [1] - 218:5         92:8, 200:4, 200:6,
  170:12, 170:14,         282:16, 283:9,          167:10, 167:11,            brand [55] - 26:21,      200:7, 200:10, 232:2
  170:22, 171:15,         283:10, 283:11,         167:14, 167:18,           34:1, 34:4, 34:5, 35:4,    BREAK [1] - 22:23
  171:24, 171:25,         283:13, 283:14,         168:9, 168:20,            35:8, 37:6, 37:8,          breakfast [2] - 237:4,
  172:4, 181:19,          283:17, 286:8, 287:1,   169:13, 170:7,            38:14, 39:1, 41:7,        237:8
  181:23, 182:25,         287:10, 287:11,         170:19, 171:6,            41:10, 41:23, 42:10,       breaking [2] -
  183:15, 183:18,         287:20, 288:18,         171:10, 171:16,           42:17, 43:17, 57:1,       231:23, 296:22
  184:12, 184:19,         288:21, 288:23,         172:5, 180:21,            62:11, 69:7, 69:9,         breaks [2] - 248:5,
  185:25, 186:4, 186:9,   288:24, 289:3, 289:4,   181:12, 182:9,            71:17, 71:21, 71:24,      248:7
  186:10, 187:21,         289:9, 289:14,          182:24, 185:22,           72:12, 82:2, 82:19,        bridge [1] - 78:12
  188:7, 188:25,          293:24, 294:1,          186:7, 186:10,            82:22, 82:23, 114:20,      brief [2] - 6:6, 41:11
  189:16, 189:17,         294:15, 299:17,         187:15, 188:2, 190:6,     114:24, 115:2,             briefly [1] - 81:9
  191:6, 193:16,          300:19, 302:9, 306:4,   190:7, 190:8, 190:9,      126:11, 128:17,            bright [1] - 295:24
  193:17, 193:21,         307:8, 308:2, 308:20,   190:10, 191:17,           128:18, 131:13,            bring [11] - 143:19,
  194:2, 194:12, 195:7,   309:9, 310:9, 310:21,   193:9, 193:14,            131:15, 131:18,           202:18, 206:6,
  196:7, 206:3, 206:7,    310:25, 312:7,          193:19, 194:7,            132:17, 133:18,           221:13, 226:1, 226:8,
  206:12, 206:17,         312:15, 312:25,         194:15, 210:4,            134:1, 134:13,            226:10, 226:11,
  206:21, 207:1, 207:2,   313:12, 313:19,         213:17, 231:14,           134:14, 134:15,           226:12, 226:13,
  207:12, 209:19,         313:22, 314:1, 314:3,   231:22, 238:22,           136:19, 137:18,           332:17
  209:20, 209:21,         314:9, 314:16,          252:25, 255:21,           142:9, 142:15,             bringing [1] - 225:19
  209:25, 213:21,         314:17, 314:20,         257:6, 266:22, 269:1,     148:14, 148:22,            brings [4] - 22:16,
  213:22, 225:12,         315:4, 315:8, 315:10,   271:12, 271:24,           149:18, 174:16,           129:1, 245:22, 271:4
  226:22, 226:23,         315:13, 315:17,         272:3, 273:16,            181:11, 190:13, 325:8      broad [4] - 32:15,
  227:13, 227:16,         315:20, 315:23,         273:21, 274:5, 306:1,      Brand [1] - 241:22       69:2, 324:7, 324:9
  228:8, 228:18,          316:8, 316:12,          306:12, 307:8, 308:1,      brand's [1] - 58:10       Broadway [1] -
  228:22, 228:24,         316:21, 317:10,         308:19, 310:16,            BRANDI [1] - 1:16        227:14
  229:11, 229:13,         317:16, 317:20,         312:14, 312:24,            Brandi [16] - 5:1,        broke [1] - 331:7
  229:17, 229:21,         317:22, 318:1, 318:5,   313:11, 313:20,           254:9, 254:12,             broken [1] - 331:5
  230:5, 230:7, 230:13,   318:11, 318:25,         313:23, 315:1,            256:13, 256:24,            Bros [1] - 240:8
  230:23, 230:25,         319:3, 319:7, 319:8,    316:18, 316:25,           276:10, 277:4,             Brother's [1] - 239:7
  232:4, 234:21, 236:9,   319:21, 319:25,         318:3, 318:8, 318:16,     277:14, 326:17,            Brothers [6] -
  237:11, 238:7,          323:24, 324:17,         319:4, 325:4, 325:15,     327:3, 327:14,            219:21, 220:15,
  238:13, 238:19,         324:22, 324:25,         326:2, 326:7, 326:24,     327:16, 330:4, 336:9,     231:8, 246:23,
  238:22, 239:15,         325:2, 325:21,          327:4, 327:14, 331:5,     337:4, 338:6              246:24, 248:1
  241:6, 243:25,          327:22, 328:9,          331:9, 332:4, 337:12,      Brandi's [3] - 14:14,     brought [12] - 86:17,
  250:18, 250:21,         328:20, 328:23,         337:16, 337:21,           326:11, 326:13            124:8, 184:24, 203:7,
  250:25, 251:2, 251:8,   329:9, 329:13,          337:22, 338:9              brands [65] - 25:3,      204:14, 205:14,
  251:12, 251:24,         329:17, 329:22,          bottom [15] - 112:17,    26:19, 27:16, 28:5,       211:12, 214:1, 246:6,
  251:25, 252:22,         329:25, 331:7,          120:8, 181:20, 188:7,     28:21, 30:22, 31:1,       253:9, 253:10, 265:25
  253:10, 253:11,         331:12, 331:22,         261:7, 262:25,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 354 of 391 Page ID
                                  #:16954                                  7


   Brown [7] - 43:19,       button [1] - 251:20      calculations [1] -        Captain [2] - 67:18,      cashier [1] - 203:24
  244:16, 244:19,           buy [16] - 62:7,        119:11                    67:25                      cast [1] - 222:23
  245:22, 248:7,           62:13, 62:16, 62:19,      CALIFORNIA [7] -          caption [1] - 187:15      catalog [2] - 77:17,
  248:10, 248:11           90:20, 90:24, 90:25,     1:3, 1:21, 1:24, 2:12,     Car [1] - 236:13         77:18
   brown [3] - 267:5,      91:1, 104:9, 104:17,     4:2, 347:7, 347:11         car [2] - 202:4, 242:8    categories [11] -
  336:9, 336:13            150:1, 184:18,            California [4] - 1:15,    card [1] - 220:18        24:23, 32:14, 32:16,
   Brown-Forman [1] -      204:25, 205:5, 209:8,    189:25, 215:14,            care [7] - 12:3,         32:19, 33:6, 33:19,
  43:19                    294:11                   215:16                    217:6, 217:7, 260:17,     35:13, 65:10, 71:4,
   BRUCE [1] - 93:2         buyer [1] - 243:7        Camarena [1] -           290:16, 293:19            141:16, 141:17
   Bruce [5] - 3:4,         buyers [1] - 259:2      68:11                      cared [1] - 163:18        categorize [3] -
  91:20, 92:17, 93:8,       buying [5] - 65:5,       campaign [1] -            career [10] - 172:18,    53:20, 64:17, 64:24
  93:16                    94:13, 158:19, 294:14    235:16                    220:19, 220:25,            category [17] -
   Bruni [5] - 230:9,       buys [1] - 90:5          Canada [18] - 76:20,     224:3, 224:8, 244:8,      31:25, 32:4, 63:21,
  230:14, 231:12,           BY [78] - 2:4, 2:7,     81:7, 189:18, 190:1,      244:18, 275:16,           63:22, 64:2, 64:12,
  331:25, 332:5            2:11, 2:14, 2:18,        215:9, 216:22, 217:1,     275:18, 275:19            75:18, 75:20, 76:4,
   buccaneers [5] -        24:10, 48:2, 52:1,       220:1, 225:19, 226:1,      careful [3] - 64:22,     80:5, 108:1, 137:6,
  320:25, 321:5,           59:12, 70:6, 73:16,      226:9, 226:16, 227:1,     64:25, 65:2               137:8, 141:23,
  321:10, 321:14,          78:20, 79:1, 79:17,      232:20, 232:21,            carefully [2] -          160:15, 180:6, 292:23
  321:20                   79:25, 81:4, 86:13,      242:22, 245:11,           260:10, 279:3              Catherine [2] -
   budget [2] - 27:23,     87:8, 89:6, 89:13,       245:23                     caretaker [1] -          222:5, 222:14
  28:16                    90:12, 93:13, 105:21,     Canadian [20] - 1:12,    296:19                     catted [2] - 250:19,
   Buffalo [1] - 259:25    124:5, 144:18, 151:9,    76:23, 77:1, 77:2,         Carriers [1] - 220:1     250:22
   bug [1] - 220:25        174:8, 175:24, 178:6,    77:3, 77:5, 77:7, 80:9,    carry [4] - 202:2,        caudad [3] - 250:23,
   build [2] - 231:14,     182:18, 184:9,           80:18, 215:10,            204:15, 205:16, 220:4     251:2, 251:5
  233:9                    192:14, 201:4, 208:8,    215:12, 219:1, 219:5,      cars [1] - 219:3          caught [1] - 206:22
   building [1] - 8:14     212:16, 215:1,           219:6, 219:10, 220:2,      carved [1] - 297:4        caused [2] - 12:6,
   built [1] - 271:13      215:19, 250:15,          220:8, 245:3, 245:4,       casa [1] - 68:11         260:14
   bullet [5] - 293:1,     252:6, 254:4, 254:10,    245:5                      case [69] - 5:4, 6:20,    causing [1] - 195:3
  293:14, 293:18,          257:14, 262:11,           Candy [2] - 222:5,       7:6, 12:1, 12:25,          Cazadores [1] -
  294:10, 294:17           263:11, 263:16,          222:12                    17:19, 17:20, 18:7,       43:19
   bump [1] - 317:16       264:1, 264:18,            cane [1] - 228:6         29:3, 29:4, 30:2,          Cazul [5] - 161:5,
   bunch [2] - 286:5,      266:15, 269:20,           cannot [5] - 41:16,      30:20, 38:11, 46:11,      161:7, 162:20, 167:6,
  286:14                   274:4, 274:16,           41:18, 46:24, 46:25,      47:7, 50:1, 53:14,        167:7
   burden [1] - 21:15      276:25, 277:23,          130:11                    53:15, 53:21, 54:13,       CBC [1] - 221:12
   burned [2] - 205:22,    281:3, 281:19, 285:6,     canted [6] - 251:19,     54:18, 55:25, 56:3,        CBM [1] - 1:13
  205:24                   285:23, 286:22,          252:11, 252:22,           56:14, 58:23, 64:10,       CD's [1] - 239:6
   Burt [1] - 259:24       287:18, 291:5,           253:2, 253:4, 271:7       64:18, 65:23, 67:17,       cease [4] - 258:7,
   buses [1] - 237:24      293:12, 297:21,           canvas [1] - 236:16      72:19, 74:5, 84:17,       261:24, 277:3, 277:6
                           305:14, 306:17,           cap [36] - 189:1,        85:19, 108:2, 111:6,       celebrating [1] -
   business [35] -
                           309:2, 310:8, 312:5,     189:20, 269:10,           125:7, 129:15,            320:13
  24:19, 26:6, 28:1,
                           313:18, 324:15,          269:23, 279:1, 279:4,     129:20, 131:7,             Celebration [1] -
  29:13, 41:24, 44:25,
                           328:18, 331:2, 332:2,    279:8, 279:9, 279:10,     143:22, 156:6,            305:22
  53:23, 56:7, 77:21,
                           332:14, 332:20,          279:13, 279:14,           156:10, 166:2,
  77:23, 78:8, 78:10,                                                                                    celebration [4] -
                           333:23, 335:2,           279:16, 279:18,           172:11, 175:22,
  87:16, 95:19, 95:21,                                                                                  186:9, 303:24,
                           335:21, 336:19           279:21, 279:22,           176:14, 176:18,
  201:20, 202:13,                                                                                       305:12, 305:15
  203:13, 205:23,                                   280:1, 280:2, 318:14,     176:19, 176:20,            celebrity [6] - 38:11,
  221:1, 228:17,                     C              318:15, 318:19,           176:21, 177:5,            38:12, 39:1, 81:24,
  233:22, 234:23,                                   319:13, 319:14,           177:10, 177:21,           82:5, 82:15
  235:9, 243:4, 245:2,                              319:16, 319:19,           177:23, 179:3,             center [5] - 37:14,
                            CA [1] - 2:20
  245:20, 248:4, 248:5,                             319:21, 319:25,           179:15, 190:16,           39:6, 270:21, 270:22,
                            cabaret [1] - 221:16
  248:11, 256:13,                                   320:16, 320:21,           192:16, 192:18,           270:24
                            Cabs [1] - 240:10
  262:15, 289:21,                                   335:13, 335:14,           192:20, 193:2, 196:6,      CENTRAL [2] - 1:3,
                            cafe [1] - 225:19
  290:2, 334:4                                      336:1, 336:2, 336:9,      196:12, 199:3, 211:3,     347:10
                            calavera [2] - 267:9,   336:12
   Business [5] - 95:20,                                                      211:8, 276:10, 337:20      Central [1] - 304:2
                           306:22                    cap's [1] - 270:1
  95:22, 96:13, 97:12                                                          cases [11] - 99:19,       cents [1] - 245:12
                            calaveras [7] -
   businesses [1] -                                  capable [1] - 289:22     99:21, 166:8, 171:5,       century [1] - 325:12
                           168:11, 181:23,
  97:15                                              capacity [2] - 29:6,     188:1, 188:11,             CENTURY [1] - 2:11
                           306:20, 306:21,
   businessman [1] -                                209:6                     188:12, 190:17,            ceramic [4] - 60:6,
                           307:1, 327:11, 327:20
  335:3                                              caps [3] - 61:3,         243:6, 243:12, 243:17     261:4, 310:13, 310:16
                            calculation [1] -
   busy [1] - 7:18                                  269:9, 336:14              cash [1] - 202:1          certain [9] - 64:3,
                           195:21
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 355 of 391 Page ID
                                  #:16955                                  8


  102:13, 105:14,           323:12                    344:16                    closer [1] - 66:13        colored [3] - 60:15,
  137:6, 145:1, 145:3,       Chicago [5] - 221:20,     clarify [2] - 264:13,    closest [1] - 162:14    111:14, 283:24
  145:5, 316:22, 340:19     221:22, 240:1,            283:20                    closings [1] - 19:12      colorful [2] - 179:4,
   certainly [14] - 10:7,   259:21, 259:23             class [2] - 255:14,      closure [1] - 61:1      179:11
  15:12, 16:22, 48:16,       chief [10] - 27:6,       263:13                    cloth [1] - 298:24        coloring [1] - 66:4
  87:11, 87:20, 87:24,      27:10, 27:20, 28:8,        classes [1] - 95:25      cloudy [1] - 300:3        colorings [1] - 66:5
  188:24, 224:1, 235:5,     28:19, 52:12, 201:13,      classify [1] - 99:8      CN [1] - 219:6            colorless [5] - 65:18,
  284:1, 326:19, 331:4      202:14, 204:2              clay [1] - 267:9         co [1] - 185:23         66:11, 66:14, 66:22,
   CERTIFICATE [1] -         children [3] - 216:10,    clean [5] - 66:23,       co-founded [1] -        68:3
  347:3                     216:15, 297:14            232:18, 233:23,          185:23                     colors [1] - 171:11
   CERTIFIED [1] - 1:12      chin [6] - 269:6,        236:14, 236:16            Coast [1] - 240:11        Colors [1] - 285:13
   CERTIFY [1] -            270:21, 270:23,            cleanliness [3] -        Coca [6] - 100:15,        column [2] - 183:16,
  347:11                    270:24, 287:6, 287:16     228:10, 229:24, 296:8    100:21, 102:8,           196:11
   chain [1] - 235:11        Chinese [1] - 261:19      clear [29] - 35:17,     102:10, 329:14,            combined [1] -
   chance [6] - 5:25,        chip [3] - 261:3,        37:12, 37:21, 40:13,     329:24                   165:20
  61:23, 116:17,            261:11, 261:13            57:23, 60:14, 68:2,       Coca-Cola [6] -           comedians [1] -
  116:23, 117:24, 223:6      chiseled [2] -           74:21, 161:16, 205:1,    100:15, 100:21,          244:13
   chances [1] - 14:22      272:14, 272:19            213:19, 256:3, 270:9,    102:8, 102:10,             coming [17] - 11:25,
   Chanel [1] - 227:25       choice [3] - 67:24,      271:7, 271:11, 283:9,    329:14, 329:24           34:25, 42:12, 93:24,
   change [4] - 213:6,      67:25, 71:24              283:10, 283:11,           cocktail [2] - 232:1,   104:18, 227:2,
  213:20, 338:9, 338:11      choices [1] - 33:6       283:13, 283:14,          301:19                   227:10, 235:13,
   changed [3] -             choose [6] - 32:24,      283:17, 288:16,           CODE [1] - 347:12       238:16, 238:18,
  162:18, 294:19,           60:21, 70:21, 72:6,       299:16, 300:2, 318:1,     coeducational [1] -     242:25, 243:22,
  334:10                    202:17, 295:24            328:19, 339:22,          218:15                   252:15, 259:8, 260:7,
   changes [3] - 87:4,       chooses [1] - 67:13      342:2, 342:3              Cognac [1] - 26:22      274:24
  90:7, 193:3                choosing [1] - 70:17      clearest [1] - 299:21    cognitive [1] -           commemorating [1]
   changing [3] -            chop [3] - 246:25,        clearly [7] - 38:8,     135:18                   - 281:21
  291:23, 291:25,           248:2, 269:7              39:22, 164:3, 182:10,     Coke [1] - 329:24         commence [1] -
  333:16                     Chopin [1] - 40:12       182:12, 318:17,           cola [3] - 100:13,      276:3
   channel [2] - 78:7,       chose [2] - 70:21,       337:11                   100:15                     comment [10] -
  90:18                     160:12                     clenched [1] -           Cola [6] - 100:15,      155:14, 156:2,
   Chapter [1] - 220:12      chosen [1] - 105:10      316:16                   100:21, 102:8,           156:20, 176:8, 275:5,
   chapter [1] - 220:13      Christina's [1] -         clerk [18] - 5:16,      102:10, 329:14,          275:6, 310:20, 311:6,
   characteristics [1] -    255:18                    15:5, 18:11, 18:12,      329:24                   311:11, 312:6
  291:20                     circle [1] - 266:4       18:15, 21:24, 22:16,      cold [1] - 112:2          comments [20] -
   characterize [1] -        circuit [1] - 184:10     92:19, 124:2, 197:5,      collaborate [1] -       153:21, 154:2,
  274:18                     Circuit [1] - 14:6       199:13, 199:18,          229:17                   154:25, 155:2, 155:8,
   characters [1] -          circulated [2] -         200:1, 219:10, 252:2,     collaborated [1] -      155:11, 155:13,
  320:11                    268:20, 295:19            252:4, 280:19, 280:25    230:3                    156:18, 178:10,
   charcoal [1] - 227:17     circumstances [3] -       CLERK [18] - 4:6,        colleague [3] -         178:11, 178:14,
   charge [3] - 246:15,     71:10, 223:9, 249:21      22:20, 22:25, 23:23,     29:17, 274:13, 339:19    178:15, 178:19,
  246:21, 247:3              Ciroc [3] - 43:22,       24:5, 92:4, 92:25,        colleagues [2] -        178:24, 179:3, 191:4,
   charged [1] - 27:17      82:8, 84:11               93:6, 182:14, 182:17,    52:6, 222:15             192:6, 302:20, 338:23
   charity [2] - 213:11      cities [5] - 217:18,     197:17, 200:18,           collected [2] -           commerce [2] -
   chart [1] - 165:21       238:1, 239:21,            200:23, 214:15,          182:19, 224:17           262:16, 335:11
   Chatham [1] -            239:22, 239:25            214:20, 287:14,                                     commercial [2] -
                                                                                collection [2] -
  234:13                     citizen [2] - 215:10,    338:21, 345:25                                    44:23, 94:10
                                                                               85:18, 180:14
   check [1] - 288:12       215:12                     client [1] - 25:7                                  Commission [2] -
                                                                                Collectors [1] -
   checked [2] - 12:4,       City [6] - 221:14,        clip [1] - 310:3        294:10                   95:4, 175:11
  115:12                    221:16, 222:11,            clock [1] - 150:19       collectors [1] -          commission [1] -
   checking [2] - 154:1,    296:20, 320:8, 320:10      close [10] - 66:2,      294:14                   226:15
  206:18                     claim [3] - 65:20,       66:10, 134:21,            college [4] - 218:16,     commissioned [1] -
   cheek [7] - 315:5,       329:12, 329:18            138:13, 223:20,          218:18, 219:18,          138:16
  315:7, 315:11,             claimed [5] - 283:5,     271:24, 309:11,          220:22                     commitment [2] -
  315:14, 315:18,           285:13, 285:15,           309:13, 309:18,                                   224:10, 247:23
                                                                                Color [1] - 285:15
  315:22                    285:22, 329:15            309:19                                              common [8] - 43:25,
                                                                                color [11] - 60:12,
   cheeks [2] - 272:1,       claiming [1] - 283:24     closed [2] - 148:5,                              109:12, 141:23,
                                                                               194:12, 224:11,
  272:4                      claims [2] - 94:17,      316:16                                            151:19, 153:11,
                                                                               267:4, 267:5, 283:5,
   cheese [2] - 103:13      94:22                      closely [2] - 83:6,                              153:12, 171:12,
                                                                               283:7, 283:19,
   chemistry [1] -           clarification [1] -      213:2                    285:22, 336:21, 337:2    290:12
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 356 of 391 Page ID
                                  #:16956                                  9


    commonly [4] -         252:10, 272:11, 288:2     concept [2] - 229:10,   173:14, 191:22            120:24, 121:2,
  115:13, 115:14,           compared [3] -          305:16                     conducting [6] -        121:23, 127:12,
  137:14, 323:5            136:21, 174:15,           concern [5] - 163:16,   56:24, 95:7, 106:19,      127:13, 129:17,
    communicate [1] -      286:11                   163:21, 164:6,           109:3, 140:20, 276:14     129:25, 143:23,
  191:17                    comparing [2] -         233:18, 259:5              conducts [1] - 94:25    144:6, 144:25, 146:1,
    communication [2] -    113:3, 317:19             concerned [10] -          cone [4] - 323:8,       147:9, 147:24,
  28:21, 37:14              comparisons [4] -       5:20, 10:2, 12:11,       323:9, 323:10, 323:18     148:17, 149:7, 156:6,
    communication's [1]    132:21, 267:20,          12:19, 163:24,             confer [4] - 13:20,     156:10, 157:9,
  - 27:13                  267:22, 268:2            164:18, 254:23,          18:21, 21:3, 274:13       164:15, 164:16,
    companies [19] -        Compass [1] -           261:15, 261:21,            CONFERENCE [1] -        164:17, 165:5, 165:6,
  25:1, 25:2, 68:7,        221:21                   261:22                   347:17                    165:23, 169:25,
  68:13, 68:15, 94:8,       compelling [2] -         concerning [2] -          conferences [1] -       171:24, 172:4, 176:3,
  94:11, 94:18, 94:20,     34:12                    199:16, 343:21           96:23                     176:10, 178:25,
  94:23, 104:21, 137:4,     compensate [1] -         concerns [2] -            conferencing [2] -      181:10, 183:5,
  141:23, 187:3,           106:10                   229:19, 232:10           11:12, 23:7               185:11, 185:12,
  188:12, 191:1,            compensated [2] -        concert [4] - 39:4,       conferred [1] -         185:17, 188:21,
  191:16, 230:13,          247:22, 247:24           246:23, 246:24, 248:1    257:25                    188:23, 190:11,
  261:19                    compete [3] - 63:23,     conclude [1] -            confident [1] - 168:7   194:24, 195:8,
    Company [5] - 25:8,    68:25, 70:8              142:19                     configuration [5] -     195:14, 195:18,
  26:8, 68:9, 187:22,       competing [2] -          CONCLUDED [1] -         263:20, 278:4, 278:8,     196:3, 196:4, 196:5,
  242:22                   69:13, 70:3              346:2                    278:10, 278:11            196:9, 196:14,
    company [82] - 25:9,    Competition [2] -        concluded [6] -           confines [1] - 106:7    196:19, 254:21,
  25:13, 26:7, 26:11,      129:9, 241:21            145:25, 149:1,             confirm [1] - 107:10    254:23, 255:7,
  26:21, 27:3, 41:21,       competition [3] -       149:21, 151:17,            confirmed [5] -         255:16, 255:22,
  42:7, 43:21, 44:18,      35:2, 35:6, 67:19        177:14, 190:9            125:4, 125:5, 125:6,      256:19, 260:14,
  44:22, 52:20, 53:7,       competitive [10] -       concludes [1] -         125:8, 125:10             272:8, 273:19, 288:25
  68:8, 68:16, 74:24,      34:10, 35:13, 35:18,     187:24                     conflict [1] - 227:7     Confusion [1] - 99:5
  81:18, 86:18, 87:20,     36:6, 63:5, 63:9,         concluding [1] -          CONFORMANCE [1]          congratulating [1] -
  104:2, 104:20,           63:12, 63:15, 67:9,      187:25                   - 347:16                  259:9
  104:22, 111:14,          68:3                      conclusion [7] -          confuse [7] - 95:12,     connect [2] - 102:15,
  115:1, 115:4, 115:5,      competitor [2] -        36:3, 157:8, 173:5,      98:12, 100:10,            299:10
  115:6, 116:4, 116:7,     39:15, 67:18             173:6, 173:7, 185:14,    100:24, 101:14,            connected [5] -
  116:11, 116:15,           complained [1] -        207:13                   143:24, 273:5             282:3, 301:24,
  116:18, 117:3, 117:6,    247:20                    concourse [6] -           confused [23] -         302:20, 303:7, 303:20
  117:18, 117:22,           complete [5] - 42:15,   105:24, 105:25,          14:17, 44:7, 44:15,        connecting [1] -
  118:3, 118:16,           199:10, 199:15,          106:12, 107:6, 123:8,    45:2, 86:5, 86:14,        282:6
  118:18, 119:5, 122:4,    212:25, 341:14           131:5                    100:15, 123:16,            CONNECTION [1] -
  126:9, 126:12, 127:2,     completed [1] -          conditions [2] -        147:1, 147:7, 147:11,     45:19
  127:3, 127:5, 140:7,     293:8                    128:15, 130:5            147:18, 147:22,            connection [18] -
  140:9, 140:10,            completely [5] -         conduct [16] - 70:15,   148:15, 169:22,           13:15, 102:1, 129:1,
  140:12, 142:3,           41:3, 65:8, 141:16,      70:23, 86:2, 94:5,       183:9, 191:10,            135:18, 156:5, 156:9,
  142:20, 149:17,          205:24, 319:22           96:21, 98:10, 98:25,     191:12, 191:13,           172:12, 195:3, 207:7,
  172:17, 172:25,           completes [1] - 59:9    99:3, 99:7, 108:12,      210:3, 213:16, 255:4,     207:10, 299:14,
  185:15, 187:25,           complex [3] - 70:11,    122:19, 130:18,          255:17                    303:17, 303:22,
  188:8, 201:13,           70:13, 78:3              139:1, 140:16,             confusing [2] -         305:10, 306:5, 306:24
  202:21, 203:4,            complexity [2] -        166:19, 330:21           185:17, 228:22             conquered [1] -
  203:11, 203:19,          70:15, 230:16             conducted [33] -          confusingly [1] -       321:6
  205:9, 229:3, 229:8,                              28:15, 38:24, 47:12,     273:14                     conquest [1] - 322:1
                            complimentary [2] -
  230:8, 230:11,                                    96:3, 96:15, 97:3,         confusion [88] -         conservative [2] -
                           103:12, 139:14
  246:16, 246:22,                                   97:6, 98:20, 99:4,       85:13, 85:20, 85:23,      196:2, 196:17
                            comply [1] - 277:11
  247:3, 247:4, 248:9,                              99:8, 105:2, 105:5,      86:3, 95:10, 98:17,        consider [16] -
                            component [1] -
  253:12, 257:25,                                   105:8, 105:15,           99:6, 99:9, 99:24,        23:19, 29:24, 47:8,
                           320:5
  262:4, 264:6, 289:24,                             105:16, 105:19,          103:20, 103:21,           50:11, 50:16, 63:14,
                            comport [1] - 263:4
  292:6, 329:6, 330:1,                              108:13, 113:18,          103:22, 103:23,           107:14, 150:10,
                            comprehensive [1] -
  333:1                                             122:20, 123:1, 123:3,    104:3, 104:7, 104:16,     150:11, 150:14,
                           237:12
    company's [1] -                                 123:5, 130:15,           105:20, 111:19,           150:22, 158:18,
                            computer [6] -
  27:17                                             130:20, 137:10,          111:20, 111:22,           261:19, 280:8,
                           106:20, 113:16,
    compare [9] - 112:7,                            137:11, 143:13,          113:6, 115:22,            284:24, 324:13
                           205:24, 231:6, 231:11
  119:18, 120:3, 135:2,                             153:16, 172:12,          115:25, 117:9,             consideration [1] -
                            computers [1] -
  135:14, 166:22,                                   172:20, 172:21,          119:16, 120:4, 120:5,     305:20
                           204:7
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 357 of 391 Page ID
                                  #:16957                                10


   considered [7] -         32:13, 32:15, 33:5,      113:13, 113:14,           copy [10] - 54:23,       161:21, 162:2,
  55:4, 74:3, 77:25,        33:11, 34:11, 35:23,     113:15, 113:20,          251:22, 264:11,           162:11, 162:22,
  78:2, 144:25, 323:23,     35:24, 38:17, 42:9,      119:25, 120:1,           267:2, 268:9, 273:3,      165:2, 165:3, 165:11,
  324:8                     44:8, 64:21, 65:7,       120:12, 164:20,          288:20, 288:22,           166:1, 167:13,
   considering [3] -        70:16, 70:20, 71:6,      194:23, 195:21,          289:2, 289:4              168:18, 169:6,
  23:18, 46:9, 218:10       71:10, 71:17, 71:20,     196:13                    copying [1] - 251:1      169:15, 169:19,
   consist [1] - 228:20     72:11, 94:3, 94:21,       control [32] - 46:15,    copyrights [2] -         171:22, 172:2, 172:6,
   consistent [10] -        95:12, 98:11, 101:4,     78:9, 110:17, 110:20,    13:15, 345:12             172:10, 173:21,
  32:7, 35:25, 36:8,        101:13, 102:22,          110:22, 111:5,            Corcoran [2] -           174:23, 174:25,
  37:1, 50:7, 50:13,        108:3, 130:23, 137:6,    111:25, 112:15,          224:23, 225:2             175:9, 175:12,
  134:10, 142:21,           140:11, 140:14,          112:16, 112:22,           cork [2] - 85:9, 85:10   179:18, 180:2, 181:2,
  173:5, 262:21             140:19, 143:23,          113:25, 120:14,           corn [4] - 234:5,        181:5, 181:7, 181:9,
   consistently [1] -       157:18, 190:21,          120:15, 120:18,          234:13, 234:15,           182:22, 188:17,
  31:20                     190:23, 193:25,          129:14, 145:19,          234:17                    190:12, 190:23,
   consisting [1] -         235:18, 236:3,           145:20, 162:19,           corner [1] - 335:20      191:10, 191:11,
  110:8                     239:11, 290:12, 291:2    163:10, 167:7,            Corona [2] - 208:14      192:5, 192:9, 192:23,
   consists [2] -            consumers' [2] -        167:11, 167:15,           Corporation [3] -        193:5, 195:17,
  263:18, 263:19            103:8, 130:8             167:22, 168:1, 168:4,    24:15, 233:2, 253:4       196:10, 202:19,
   construction [1] -        consuming [2] -         194:25, 195:1, 195:4,     corporation [2] -        209:3, 209:4, 209:10,
  117:14                    32:16, 239:1             196:3, 196:14, 255:3,    1:12, 1:15                210:4, 212:19, 221:5,
   CONSUELO [1] - 1:7        consumption [2] -       255:15                    corporations [1] -       223:16, 228:23,
   consultant [2] - 53:5,   36:15, 105:12             controls [21] -         25:6                      243:15, 249:3, 250:5,
  54:1                       contact [3] - 53:10,    110:18, 111:2, 113:2,     correct [203] - 29:1,    255:6, 263:23, 277:8,
   Consultant's [1] -       73:20, 74:5              113:5, 113:22, 114:1,    29:10, 30:11, 44:13,      277:18, 278:2,
  56:21                      contacted [3] -         114:4, 118:25,           48:13, 52:17, 52:18,      278:19, 278:20,
   Consulting [13] -        208:16, 211:4, 222:18    119:20, 124:18,          52:21, 53:11, 53:12,      279:14, 282:20,
  24:15, 24:19, 24:20,       contain [1] - 312:19    155:5, 163:11,           53:16, 53:17, 53:19,      282:22, 282:24,
  25:17, 25:20, 25:25,       contained [1] -         163:12, 167:4, 195:8,    54:11, 54:14, 54:18,      283:9, 291:10,
  26:3, 28:25, 52:17,       168:10                   195:10, 195:12,          54:21, 55:13, 55:16,      291:13, 293:20,
  53:7, 53:11, 53:24,        container [1] -         195:16, 196:2, 196:18    55:23, 55:25, 56:3,       304:21, 304:23,
  56:17                     100:13                    convenience [3] -       56:18, 57:2, 57:13,       305:22, 305:24,
   consulting [10] -         containment [1] -       11:23, 13:18, 101:3      58:24, 58:25, 59:5,       305:25, 306:3,
  24:21, 52:17, 56:17,      256:5                     convention [7] -        59:7, 60:6, 60:7, 60:9,   308:10, 309:5,
  56:25, 68:6, 68:12,        contains [1] - 185:25   38:19, 249:23,           60:16, 60:23, 61:3,       309:10, 309:12,
  77:21, 77:23, 93:21,       contemplated [1] -      258:12, 258:15,          61:20, 63:25, 65:15,      309:14, 310:21,
  94:1                      256:9                    258:24, 259:9, 259:12    67:6, 67:10, 67:11,       314:6, 314:7, 314:11,
                             content [3] - 212:7,     converge [1] - 128:3    68:4, 68:19, 68:20,       314:19, 316:17,
   consumed [3] -
                            212:9, 234:20             conversation [3] -      68:25, 73:4, 73:5,        319:5, 319:6, 319:9,
  35:23, 35:24
                             contents [2] - 79:12,   48:12, 48:16, 197:13     74:2, 74:9, 75:14,        319:11, 322:15,
   consumer [49] -
                            285:18                    conversations [1] -     76:9, 81:15, 82:4,        322:21, 325:21,
  28:10, 28:12, 28:18,
                                                     211:11                   82:21, 83:5, 84:4,        326:1, 329:19, 339:4,
  32:19, 36:9, 36:11,        contest [1] - 241:24
                                                      converted [1] - 161:3   84:16, 84:24, 85:9,       339:5, 342:14, 342:17
  42:12, 42:16, 44:15,       context [11] - 36:21,
                                                      converts [1] - 245:7    86:6, 87:18, 89:17,        CORRECT [1] -
  58:11, 58:20, 67:12,      77:20, 85:15, 86:16,
                                                      convey [3] - 187:19,    89:20, 90:3, 90:7,        347:13
  67:24, 70:11, 70:13,      88:10, 88:11, 145:1,
  90:9, 90:24, 95:10,       145:4, 145:5, 150:16,    229:23, 320:8            90:21, 91:5, 91:23,        correction [1] -
  95:25, 97:1, 97:2,        191:25                    conveying [1] -         91:24, 92:10, 92:11,      52:25
  97:10, 98:23, 98:25,       continue [4] - 45:24,   309:6                    92:22, 92:23, 109:20,      correctional [1] -
  99:3, 99:4, 103:16,       57:18, 239:12, 241:9      conviction [2] -        119:7, 121:5, 124:8,      219:11
  120:23, 129:25,            continued [1] - 303:1   267:15, 267:17           128:23, 132:10,            corrections [1] -
  141:9, 141:18, 142:1,                               convinced [1] -         135:13, 139:3, 143:1,     220:25
                             continues [1] -
  142:16, 142:19,           260:14                   336:12                   143:4, 143:8, 145:5,       correctly [9] - 54:12,
  188:3, 188:4, 188:6,                                cool [1] - 62:4         145:8, 146:12,            63:21, 84:9, 146:17,
                             continuing [1] -
  188:10, 188:18,                                     cooler [1] - 40:9       146:15, 146:19,           147:14, 183:3,
                            96:21
  190:5, 190:20,                                      cooler-type [1] -       146:21, 147:17,           183:22, 183:24,
                             continuously [1] -
  234:15, 234:24,                                    40:9                     148:4, 148:24, 149:4,     308:14
                            207:23
  260:15, 308:10,                                     copied [3] - 250:21,    151:7, 151:24,             corroborates [1] -
                             contours [1] -
  308:16, 308:24                                     267:16, 344:17           158:11, 159:4,            138:12
                            316:22
   consumer's [2] -                                   copies [3] - 46:14,     159:13, 160:11,            cosmic [1] - 298:7
                             contractor [1] -
  139:21, 140:2                                      256:18, 286:8            160:23, 161:10,            Cosmos [2] - 236:13,
                            219:19
   consumers [43] -                                   COPY [1] - 1:12         161:15, 161:17,           236:19
                             Control [14] -
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 358 of 391 Page ID
                                  #:16958                                11


   cost [2] - 251:14,      268:5, 279:25, 280:4,      198:7, 198:9, 198:12,   23:12, 46:21, 200:9,      176:25, 192:24
  253:6                    308:8, 309:1               198:19, 198:24,         216:6, 216:12, 252:2,       critique [1] - 242:12
   Costco [1] - 240:9       Court [54] - 6:6, 7:15,   199:5, 199:9, 199:23,   284:20                      cross [21] - 45:16,
   counsel [58] - 4:9,     7:22, 7:24, 8:18, 8:23,    199:25, 200:14,          COURTROOM [2] -          47:25, 144:13,
  21:23, 23:20, 47:14,     9:2, 9:3, 12:11, 12:23,    208:6, 211:24, 212:3,   22:24, 197:18             180:22, 180:24,
  50:1, 50:6, 50:19,       12:24, 14:3, 15:13,        214:5, 214:7, 214:9,     Courvoisier [1] -        184:5, 185:5, 198:21,
  59:9, 69:21, 73:12,      15:14, 15:18, 16:13,       214:24, 215:17,         26:21                     199:6, 208:6, 276:2,
  79:16, 79:21, 80:14,     17:1, 17:10, 21:15,        252:4, 264:15,           cover [2] - 240:13,      276:3, 276:12,
  89:4, 92:20, 93:10,      46:12, 47:16, 47:18,       266:10, 266:14,         250:12                    276:15, 296:21,
  144:15, 154:15,          47:19, 49:12, 49:20,       268:19, 268:24,          coverage [2] -           300:1, 321:25,
  164:12, 165:18,          50:2, 50:4, 50:22,         269:3, 269:15, 274:2,   236:24, 237:2             341:19, 341:20,
  182:14, 184:4, 187:7,    51:1, 51:2, 59:8,          274:10, 276:2, 276:6,    covered [4] - 173:11,    342:6, 343:11
  187:12, 197:8,           69:21, 89:2, 92:4,         276:20, 276:23,         173:14, 329:19,             CROSS [6] - 3:3,
  197:20, 197:21,          151:6, 197:7, 197:24,      280:21, 280:25,         345:14                    48:1, 144:17, 208:7,
  198:13, 198:15,          199:3, 200:6, 276:16,      281:12, 284:4, 284:8,    cracking [1] - 231:23    276:24, 331:1
  199:20, 200:5, 200:8,    280:13, 281:11,            284:12, 284:15,          craft [2] - 34:23,         CROSS-
  214:13, 214:24,          311:24, 312:3, 313:5,      284:17, 285:17,         39:23                     EXAMINATION [5] -
  264:15, 276:11,          337:5, 339:6, 339:13,      286:21, 293:10,          crafted [1] - 186:9      48:1, 144:17, 208:7,
  276:13, 276:17,          342:15, 342:19,            297:19, 304:7,           cranberry [1] -          276:24, 331:1
  284:13, 293:10,          343:17, 345:1              304:14, 304:19,         236:21                      cross-examination
  304:19, 305:6, 313:9,     COURT [219] - 1:2,        304:23, 304:25,          CRAVATH [1] - 2:14       [5] - 47:25, 144:13,
  324:4, 328:14,           1:23, 4:12, 4:16, 4:19,    305:3, 305:6, 306:10,    Crawlers [1] - 219:16    199:6, 276:12, 276:15
  330:19, 333:12,          4:24, 5:2, 6:12, 6:16,     307:19, 307:24,          crazy [3] - 142:20,        crucial [1] - 58:9
  333:21, 334:22,          7:14, 8:3, 8:6, 8:16,      308:13, 308:17,         155:16, 188:1               crystal [35] - 83:7,
  335:13, 336:16,          9:10, 9:16, 10:10,         311:19, 312:1, 312:3,    cream [3] - 234:5,       149:14, 185:1, 186:6,
  336:20, 339:18,          10:13, 10:18, 11:18,       313:7, 313:9, 324:4,    234:8, 234:13             227:19, 228:10,
  340:7, 343:15, 344:9,    12:16, 12:18, 13:3,        324:7, 328:13,                                    228:12, 240:24,
                                                                               create [4] - 243:19,
  344:16                   13:6, 13:19, 14:8,         328:17, 330:6,                                    281:22, 282:7,
                                                                              266:24, 316:22,
   COUNSEL [1] - 2:2       14:18, 15:4, 15:9,         330:12, 330:16,                                   294:24, 295:2, 295:3,
                                                                              320:22
   Counsel [8] - 23:1,     15:17, 15:20, 16:2,        332:12, 338:14,                                   295:6, 295:13,
                                                                               created [8] - 25:12,
  51:5, 79:10, 80:22,      16:6, 16:11, 16:16,        338:23, 339:8, 340:5,                             296:10, 297:11,
                                                                              41:15, 164:19, 165:7,
  80:25, 215:17,           17:18, 18:1, 19:3,         340:13, 340:16,                                   298:14, 298:16,
                                                                              167:12, 183:6, 255:7,
  285:17, 308:13           19:13, 19:19, 19:24,       340:24, 341:3, 341:9,                             299:14, 300:10,
                                                                              337:15
   counsel's [1] - 81:3    20:5, 20:14, 20:16,        341:13, 341:20,                                   301:5, 303:3, 303:6,
                                                                               creates [1] - 37:6
   count [4] - 57:8,       20:21, 21:1, 21:16,        341:22, 342:1, 342:8,                             303:11, 303:14,
                                                                               creating [4] - 159:20,
  89:18, 259:15, 259:18    21:19, 21:24, 22:5,        342:12, 342:15,                                   303:17, 305:10,
                                                                              228:17, 228:22, 337:9
   country [12] - 39:25,   22:8, 22:15, 22:18,        342:18, 342:22,                                   306:2, 306:14,
                                                                               creation [1] - 82:25
  105:9, 105:13,           22:21, 23:5, 45:16,        343:4, 343:6, 343:11,                             306:19, 306:25,
                                                                               creative [1] - 337:24
  105:17, 122:22,          45:20, 47:24, 49:3,        343:14, 344:1, 344:3,                             323:1, 338:8
                                                                               creators [3] - 251:10,
  140:11, 226:10,          49:8, 49:11, 49:15,        344:21, 344:25,                                     Crystal [286] - 29:17,
                                                                              256:10
  226:13, 226:14,          50:22, 51:1, 59:8,         345:6, 345:15,                                    31:2, 31:3, 31:10,
                                                                               credibility [5] -
  226:17, 237:7, 237:16    69:20, 70:1, 73:7,         345:21, 347:9,                                    33:20, 33:23, 34:1,
                                                                              23:17, 38:15, 50:9,
   counts [1] - 74:20      73:12, 78:23, 79:6,        347:10, 347:24                                    34:4, 38:2, 38:11,
                                                                              50:11, 50:17
   County [1] - 240:12     79:8, 79:10, 79:14,         court [19] - 53:15,                              39:5, 39:8, 39:11,
                                                                               credible [2] - 82:21,
   COUNTY [1] - 347:5      79:19, 80:13, 81:3,        175:21, 176:4, 176:6,                             40:16, 40:21, 41:21,
                                                                              82:23
   couple [14] - 39:21,    86:10, 87:5, 88:20,        176:15, 176:22,                                   42:7, 42:21, 43:2,
                                                                               crescent [2] - 320:6,
  128:21, 166:20,          88:24, 89:2, 89:12,        177:1, 177:2, 177:5,                              43:5, 44:2, 44:4, 44:7,
                                                      177:11, 177:13,         320:8
  229:4, 238:16,           90:11, 91:7, 91:9,                                                           44:15, 44:18, 45:3,
                                                      177:14, 177:23,          crest [1] - 320:4
  239:17, 240:1,           91:11, 91:17, 91:21,                                                         45:8, 48:8, 48:22,
                           91:25, 92:7, 92:12,        178:9, 179:13,           crisp [1] - 242:7
  240:10, 241:18,                                                                                       51:18, 51:20, 52:23,
                           92:15, 92:18, 93:10,       192:24, 193:5,           criteria [1] - 107:19
  247:18, 259:19,                                                                                       52:24, 64:11, 65:23,
                           123:23, 124:2,             304:11, 304:14           critical [4] - 176:8,
  275:12, 338:8, 338:23                                                                                 66:1, 66:5, 66:10,
                           144:13, 151:4,              Court's [3] - 13:18,   178:10, 179:8, 234:21
   courier [1] - 219:20                                                                                 66:19, 72:23, 73:1,
                           154:15, 163:25,            16:19, 17:7              criticism [5] -
   course [22] - 5:17,                                                                                  73:24, 74:1, 74:5,
                           165:17, 170:1, 174:7,       court's [2] - 179:8,   175:18, 175:19,
  7:19, 27:11, 34:2,                                                                                    74:7, 74:14, 74:24,
                           175:17, 177:17,            345:25                  176:1, 177:2, 179:11
  36:18, 38:6, 49:8,                                                                                    75:1, 75:7, 81:23,
                           177:19, 178:1, 178:4,       courthouse [1] -        criticisms [1] - 193:3
  61:5, 89:10, 95:24,                                                                                   82:1, 83:6, 83:10,
                           183:11, 183:23,            23:8                     criticized [8] -
  96:11, 106:23,                                                                                        83:23, 85:17, 85:20,
                           184:3, 184:8, 192:12,       courtroom [10] -       113:22, 175:15,
  198:18, 211:13,                                                                                       86:18, 86:21, 87:13,
                           196:22, 196:24,            11:24, 12:5, 23:10,     175:23, 176:4,
  213:9, 250:4, 255:21,                                                                                 87:14, 87:18, 87:20,
                           197:1, 197:19, 198:2,                              176:11, 176:14,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 359 of 391 Page ID
                                  #:16959                                12


  87:21, 89:21, 98:12,    257:20, 269:25,            Cutty [1] - 26:22       185:10, 303:20,           defendants' [1] -
  104:17, 104:19,         273:4, 282:6, 282:12,      CV [2] - 1:13, 4:6      303:24, 305:11,          17:19
  105:20, 108:18,         287:1, 288:20,                                     305:15, 305:22, 338:7     defense [12] - 8:3,
  108:21, 108:24,         289:13, 290:20,                      D              deal [5] - 174:11,      22:10, 22:12, 91:9,
  109:1, 109:4, 109:12,   290:24, 291:8,                                     174:14, 174:15,          198:7, 199:5, 199:23,
  109:24, 110:3,          291:11, 291:17,                                    174:16, 245:11           214:7, 340:6, 340:16,
  115:18, 116:19,         292:1, 293:15,             D.C [1] - 224:24         dealing [1] - 180:15    341:5, 344:22
  116:21, 119:6, 119:8,   293:23, 294:9,             dad's [1] - 217:5        dean's [1] - 96:8        define [2] - 31:12,
  121:11, 122:4,          294:15, 294:20,            Dallas [1] - 238:4       death [3] - 181:25,     66:12
  124:14, 127:19,         294:23, 295:1,             Dan [10] - 10:5,        241:2, 296:18             defined [1] - 327:6
  127:21, 129:20,         296:16, 299:14,           38:10, 81:23, 184:19,     deceased [1] - 231:9     definitely [2] -
  130:14, 130:16,         299:17, 299:18,           184:24, 185:23,           decide [5] - 13:7,      300:13, 344:14
  130:24, 131:10,         300:21, 301:8,            214:14, 215:4, 226:11    13:20, 13:23, 21:10,      definition [2] - 65:19,
  132:2, 132:3, 132:16,   301:11, 301:15,            Daniel [3] - 3:5,       205:17                   66:25
  132:19, 132:22,         301:24, 302:18,           214:22, 215:5             decided [3] - 41:13,     definitions [2] - 64:7,
  134:7, 134:15,          302:21, 303:7,             DANIEL [1] - 214:16     232:23, 257:25           66:24
  134:20, 134:22,         303:10, 303:13,            Daniels [10] - 43:20,    deciding [3] - 47:7,     degree [8] - 32:2,
  134:23, 135:1, 135:8,   303:23, 305:16,           189:25, 291:9,           50:9, 230:14             76:1, 76:2, 95:17,
  135:12, 135:16,         305:19, 307:7, 308:2,     291:11, 292:8,            decision [7] - 87:14,   95:19, 95:22, 95:23,
  135:19, 135:20,         308:20, 309:9,            292:20, 332:22,          87:16, 87:18, 177:11,    218:16
  135:22, 136:1, 136:5,   312:15, 312:24,           332:23, 332:25           177:13, 179:8, 210:8      DeJoria [3] - 226:1,
  136:8, 137:18, 138:1,   313:12, 313:19,            Danny [2] - 215:4,       decisions [1] - 64:22   226:3, 226:5
  138:4, 138:19,          313:22, 314:9,            243:1                     declaration [10] -       delay [1] - 16:9
  139:10, 139:24,         314:16, 314:20,            data [15] - 56:10,      212:2, 212:6, 212:13,     deliberate [1] - 285:2
  143:24, 146:3, 146:6,   315:13, 315:19,           78:9, 107:19, 113:19,    212:18, 213:5, 213:7,     deliberating [1] -
  146:10, 147:6,          315:23, 316:8,            125:11, 140:7, 140:8,    280:13, 280:15,          18:19
  147:15, 149:9,          316:21, 317:20,           140:15, 141:7,           281:8, 281:11             delivered [2] - 246:2,
  149:23, 151:12,         317:22, 317:25,           141:21, 157:8, 174:5,     declarations [4] -      297:14
  151:23, 152:5,          318:5, 318:25, 319:7,     195:16, 292:13, 334:8    55:10, 55:12, 73:14       demand [2] - 243:10,
  152:13, 160:9,          319:14, 319:21,            database [8] - 108:6,    declare [1] - 212:8     247:5
  160:10, 165:8,          319:25, 320:15,           137:15, 140:17,           decline [11] - 74:1,     demographic [5] -
  168:23, 169:9,          322:5, 322:8, 322:13,     140:18, 155:17,
                                                                             74:8, 75:24, 76:1,       290:23, 292:13,
  169:14, 169:18,         322:16, 322:22,           155:18, 157:6, 157:15
                                                                             76:5, 76:7, 76:15,       292:14, 334:5, 334:10
  171:25, 172:5,          323:24, 324:17,            DATE [1] - 347:20       76:19, 77:6, 80:17,       demographics [1] -
  173:19, 173:25,         324:19, 326:2,             date [9] - 49:3,        81:6                     31:21
  174:3, 174:5, 174:10,   329:18, 332:7, 338:2      49:25, 50:1, 75:12,       declined [2] - 76:23,    demonstrate [1] -
  174:12, 174:13,          crystals [1] - 323:4     79:15, 113:20,           80:10                    120:23
  174:20, 180:23,          CSR [2] - 1:23,          263:24, 277:5, 324:2
                                                                              decoration [1] -         demonstrated [1] -
  181:8, 181:15,          347:23                     dated [2] - 49:1,       318:5                    146:2
  182:11, 182:24,          Cuervo [13] - 33:2,      173:12                    decorations [1] -        demonstrating [1] -
  183:18, 183:20,         43:23, 43:24, 72:4,        daughters [2] -         318:9                    194:24
  183:22, 184:11,         72:7, 88:18, 112:23,      216:11, 216:12            deem [1] - 16:2          demonstration [1] -
  184:14, 184:19,         115:1, 120:15,             Davey [3] - 248:10,
                                                                              deemed [2] - 16:1,      313:25
  184:25, 185:8,          129:13, 163:3, 167:3,     248:16
                                                                             16:3                      demonstrative [2] -
  185:14, 185:21,         168:5                      DAVID [1] - 2:4
                                                                              deep [2] - 232:22,      173:2, 344:15
  185:24, 188:20,          curiosity [1] - 220:13    David [3] - 245:22,     315:19                    Denning [1] - 4:22
  189:15, 189:17,          curious [1] - 5:19       248:6, 259:22             deepen [1] - 224:5       DENNING [1] - 2:16
  189:20, 193:13,          current [1] - 201:12      DAY [1] - 1:19
                                                                              defendant [2] - 9:11,    dentist [1] - 295:10
  194:4, 204:8, 204:9,     cursive [2] - 100:14,     day's [1] - 244:14      91:23                     denying [3] - 326:13,
  204:12, 204:20,         102:12                     day-to-day [1] -
  205:2, 205:7, 205:12,                                                       DEFENDANT [1] -         326:15, 326:17
                           customer [4] -           77:23
  205:17, 205:19,                                                            2:13                      department [1] -
                          171:14, 308:6,             days [2] - 277:14,
  206:1, 206:25, 207:4,                                                       defendant's [2] -       28:13
                          308:11, 308:15            278:22
  207:7, 207:15, 208:1,                                                      179:5, 345:12             Department [4] -
                           customers [10] -          DBA [4] - 95:20,
  208:23, 209:12,                                                             Defendants [1] -        95:5, 175:8, 219:8,
                          94:3, 94:7, 94:13,        95:23, 96:7
  209:25, 210:7, 228:8,                                                      78:18                    219:14
                          181:1, 184:12,             de [3] - 189:8,
  229:25, 235:1, 236:8,                                                       DEFENDANTS [1] -         dependent [1] -
                          201:23, 202:2, 202:5,     320:12, 320:13
  237:22, 241:7,                                                             1:17                     67:11
                          202:9, 209:10              dead [1] - 186:9
  241:19, 243:6, 244:3,                                                       defendants [6] -         dependents [1] -
                           cut [4] - 230:25,         Dead [10] - 83:4,
  255:5, 255:12,                                                             6:22, 15:24, 19:25,      258:2
                          231:2, 231:4, 231:13      181:24, 185:9,
  255:21, 257:8, 257:9,                                                      92:21, 276:9, 345:9       depicted [2] -
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 360 of 391 Page ID
                                  #:16960                                13


  265:11, 279:8             132:19, 231:6            309:1, 309:5, 309:8,      225:17                     dissimilarities [4] -
   depo [1] - 341:17         desire [2] - 251:22,    337:12, 337:13             DIRECT [5] - 3:3,        256:22, 272:23,
   deposed [2] -            340:2                     different [77] - 5:20,   24:9, 93:12, 201:3,       286:15, 337:21
  176:21, 312:11             desist [4] - 258:8,     21:22, 23:8, 33:13,       214:25                     distillation [3] -
   deposition [38] - 5:9,   261:24, 277:3, 277:6     43:17, 50:14, 59:23,       direct [19] - 10:8,      232:16, 233:17,
  5:11, 5:12, 5:20, 5:24,    despite [1] - 70:15     60:8, 60:16, 60:19,       55:19, 59:14, 67:19,      234:19
  6:3, 7:12, 7:17, 8:20,     detail [1] - 282:16     60:21, 61:1, 61:3,        149:1, 159:14, 173:3,      distillations [1] -
  9:14, 49:1, 49:3,          detailed [1] - 229:2    61:10, 61:25, 64:7,       175:1, 187:7, 198:20,     234:2
  49:17, 49:19, 49:20,       details [1] - 280:7     65:10, 65:15, 65:20,      249:5, 278:2, 278:12,      distilled [6] - 25:10,
  49:21, 49:25, 50:3,        determine [3] - 86:3,   65:21, 66:17, 84:19,      281:4, 310:19, 327:2,     31:17, 43:10, 189:24,
  50:6, 50:23, 51:4,        130:17, 231:17           84:20, 89:7, 89:15,       342:5, 343:7, 343:9       234:14, 320:18
  72:19, 304:6, 304:20,      determined [1] -        100:1, 101:1, 101:16,      directed [2] - 26:12,     distiller [1] - 228:23
  306:7, 307:17,            243:7                    102:19, 110:12,           180:1                      distilleries [1] -
  311:12, 311:17,            determining [2] -       110:15, 110:20,            direction [1] - 33:1     39:24
  313:3, 339:11,            50:11, 170:17            111:2, 112:13, 113:2,      directly [3] - 41:16,     Distillery [1] - 233:2
  340:18, 342:13,            develop [2] - 28:1,     115:8, 121:14,            69:2, 179:16               distillery [2] -
  342:23, 342:25,           94:7                     123:13, 125:22,            director [6] - 26:9,     233:10, 323:5
  343:16, 343:21,            developing [2] -        127:23, 128:2, 128:5,     28:14, 29:16, 45:8,        distinction [1] -
  343:22, 345:11            27:17, 112:2             128:10, 128:11,           52:13, 289:25             317:14
   deputy [1] - 252:1        development [2] -       128:12, 128:14,            Directors [2] -           distinctive [9] -
   describe [6] - 41:9,     38:14, 41:6              133:23, 142:5, 142:6,     220:11, 249:2             37:18, 37:19, 37:24,
  108:15, 130:18,            developments [1] -      142:13, 147:25,            disagree [2] -           38:7, 39:6, 67:1,
  217:21, 264:19, 322:5     31:24                    166:10, 166:15,           159:25, 274:8             88:11, 316:1, 316:2
   described [12] -          deviant [1] - 221:1     166:18, 167:17,            disagreed [3] -           distinguish [1] - 34:6
  34:3, 35:8, 127:10,                                168:4, 170:9, 170:18,     175:22, 176:6, 176:15      distinguishing [1] -
                             device [2] - 296:2,
  128:20, 131:5, 152:3,                              171:7, 171:11,             disclaim [2] -           35:4
                            299:12
  208:25, 209:1,                                     186:20, 192:21,           336:21, 336:24             distributed [1] -
                             devices [2] - 228:12
  209:10, 225:10,                                    193:6, 193:7, 202:9,       disclaimed [1] -         235:8
                             devil [1] - 318:12
  281:21, 282:15                                     207:1, 234:2, 264:16,     283:19                     distribution [8] -
                             devoted [2] - 244:2,
   describes [1] -                                   276:11, 308:4,             disclosed [1] - 7:1      42:3, 42:8, 42:13,
                            334:20
  318:22                                             308:22, 319:22,            discount [2] -           42:14, 105:12,
                             Dewar's [1] - 28:4
   description [3] -                                 329:18, 331:6, 340:1      246:25, 248:2             235:12, 248:3, 248:25
                             diablito [1] - 318:12
  18:16, 18:17, 181:21                                differentiate [15] -      discover [1] - 339:1      distributions [1] -
                             Diageo [8] - 43:21,
   deserves [1] - 46:8                               37:24, 59:19, 59:22,       discuss [8] - 16:13,     249:8
                            84:7, 84:9, 115:4,
   design [36] - 43:1,                               60:2, 60:11, 60:18,       21:3, 30:8, 30:10,
                            115:5, 142:11, 188:8                                                          distributor [17] -
  96:1, 112:19, 112:21,                              60:22, 60:25, 61:6,       43:8, 344:6, 344:10,
                             diameter [1] - 269:12                                                       41:17, 41:18, 41:25,
  112:25, 121:14,                                    61:14, 61:15, 84:25,      345:16
                             diamond [3] - 323:7,                                                        42:2, 42:3, 42:6,
  121:17, 122:8,                                     87:2, 322:8, 322:16
                            323:9, 323:10                                       discussed [7] - 5:5,     44:23, 52:23, 90:2,
  125:22, 128:24,                                     differentiated [6] -     5:8, 122:18, 144:9,       90:5, 90:8, 90:9,
                             diamonds [6] -
  138:21, 161:19,                                    33:12, 34:13, 37:5,       225:11, 322:9, 344:4      90:13, 90:15, 90:21,
                            322:20, 322:21,
  186:6, 231:7, 231:10,                              57:17, 61:23, 89:25                                 209:9
                            322:23, 322:25,                                     discusses [1] -
  231:11, 282:2,                                      differentiating [1] -    303:14                     Distributors [4] -
                            323:13, 323:21
  305:16, 305:19,                                    322:12                                              201:14, 201:15,
                             Dias [2] - 242:1,                                  discussing [5] -
  305:21, 315:25,                                     differentiation [7] -                              201:18, 201:21
                            242:6                                              17:16, 36:9, 42:22,
  316:3, 318:6, 327:6,                               33:13, 33:15, 34:7,       113:22, 344:8              distributors [4] -
                             Diddy's [2] - 82:8,
  328:8, 329:2, 329:3,                               35:7, 38:9, 59:17,                                  38:18, 41:22, 236:3,
                            82:11                                               discussion [4] -
  329:14, 329:24,                                    85:3                                                259:3
                             Diego [1] - 240:15                                5:24, 14:2, 249:24,
  331:7, 337:6, 337:24,                               differently [4] -        258:11                     DISTRICT [5] - 1:2,
                             DIEGO [1] - 2:20
  338:5                                              66:18, 101:15,                                      1:3, 1:8, 347:10,
                             differ [1] - 65:12                                 disloyal [2] - 227:2,
   designated [6] -                                  125:21, 340:8                                       347:11
                             differed [1] - 110:24                             227:8
  5:12, 51:2, 79:7, 96:8,                             differs [1] - 100:4                                 divert [1] - 259:10
                             difference [10] -                                  display [5] - 109:4,
  106:14, 304:21                                      difficult [1] - 69:14                               DIVISION [1] - 1:4
                            69:1, 112:7, 128:19,                               109:7, 109:8, 109:9
   designations [5] -                                 digital [1] - 26:17       dispute [2] - 7:2, 7:3    division [1] - 140:12
                            129:21, 312:21,
  7:6, 339:11, 339:23,                                dimension [1] -           disregard [2] - 47:5,     Dixon [2] - 216:4,
                            316:18, 316:20,
  340:3, 340:6                                       270:2                     47:21                     216:5
                            335:4, 337:2, 337:4
   designed [5] -                                     dimensions [4] -          disregarded [1] -         DO [1] - 347:11
                             differences [15] -
  129:24, 155:6, 165:5,                              254:18, 268:8,            155:9
                            209:24, 213:18,                                                               dock [2] - 226:8,
  186:7, 186:8                                       271:21, 286:7
                            268:5, 307:7, 307:10,                               disrupt [1] - 6:20       226:12
   designing [1] - 164:4                              dining [1] - 259:2
                            307:12, 307:14,                                     dissertation [1] -        doctor [1] - 95:21
   designs [3] - 122:10,                              dinner [2] - 225:13,     96:4
                            308:1, 308:8, 308:19,                                                         doctoral [1] - 96:8
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 361 of 391 Page ID
                                  #:16961                                14


   document [6] -           248:5, 248:7, 252:18,     drinker [11] - 32:16,      EAST [1] - 2:11          element [5] - 112:11,
  212:7, 279:20,            259:21, 263:14,          32:17, 33:1, 36:14,         East [9] - 201:18,      112:24, 196:17,
  284:20, 291:6,            263:25, 270:3,           67:20, 71:23, 72:3,        201:20, 201:21,          250:8, 250:12
  292:12, 336:23            275:23, 285:10,          141:14, 141:15             202:10, 202:15,           elementary [2] -
   documents [8] -          297:10, 336:18,           drinkers [4] - 36:8,      203:1, 203:5, 203:16,    217:11, 218:3
  13:1, 30:19, 56:2,        338:14                   36:15, 36:16, 137:11       205:6                     Elementary [1] -
  56:7, 73:4, 73:25,         dozen [1] - 176:2        drinking [2] - 228:9,      easy [1] - 233:17       217:13
  136:16, 136:18             dozens [2] - 146:24,    299:11                      eat [1] - 197:15         Elements [13] - 4:7,
   Dokey [7] - 177:21,      148:20                    drinks [5] - 32:5,         editorial [3] - 97:9,   4:21, 12:14, 13:11,
  178:7, 192:16,             Dr [25] - 91:20,        141:18, 291:18,            97:11, 97:16             48:4, 144:22, 254:12,
  192:21, 192:23,           92:17, 93:14, 93:16,     292:20, 333:13              edits [1] - 212:24      258:6, 273:8, 274:5,
  193:4, 193:7              93:17, 95:15, 97:21,      drive [1] - 219:16         education [8] - 46:4,   276:10, 277:4, 277:14
   dollar [3] - 64:3,       100:3, 111:3, 120:21,     driven [1] - 43:5         46:9, 95:15, 96:6,        elements [11] -
  64:5, 245:12              121:19, 122:17,           driver [2] - 203:21,      96:22, 217:23,           62:12, 85:2, 107:24,
   dollars [3] - 28:17,     124:6, 132:7, 136:15,    219:20                     246:19, 301:17           112:15, 112:21,
  152:10, 245:5             142:24, 143:20,           driving [2] - 34:25,       educational [1] -       112:25, 161:24,
   domestic [2] - 25:16,    144:19, 144:23,          219:18                     217:11                   167:4, 195:1, 195:13,
  76:14                     150:19, 164:10,           DROOKS [1] - 2:10          Educational [1] -       228:15
   dominate [1] - 32:12     192:15, 194:21,           drop [1] - 140:17         218:6                     ELEMENTS [1] -
   Don [12] - 84:13,        196:8, 196:21             dropped [1] - 261:10       Edward [1] - 214:22     1:15
  84:15, 85:7, 110:10,       dramatic [2] - 76:7,     drunk [2] - 32:5,          Edwardian [1] -          eliminate [2] - 284:1,
  114:7, 115:3, 115:4,      76:13                    66:19                      295:11                   329:1
  142:12, 142:13,            Drambuie [1] - 26:23     dry [1] - 242:7            effect [3] - 73:1,       eliminating [1] -
  159:11, 188:6, 188:7       drank [3] - 67:21,       dubloon [3] - 320:22,     112:9, 330:25            269:7
   Donald [1] - 220:15      238:25, 334:6            321:13                      Effen [1] - 142:5        embossed [1] -
   done [42] - 5:18, 9:1,    draw [5] - 22:7,         dubloons [2] - 321:4,      efficient [1] - 44:25   328:9
  9:4, 14:12, 18:11,        227:12, 257:22,          321:8                       effort [4] - 37:23,      embraced [1] -
  36:1, 54:3, 68:12,        266:4, 267:13             Duck [1] - 220:15         42:6, 57:18, 274:22      334:21
  85:24, 86:2, 87:12,        drawing [6] - 228:25,    due [3] - 113:6,           efforts [3] - 82:2,      emergence [4] -
  95:1, 95:3, 105:22,       265:5, 265:11, 282:4,    119:16, 120:6              232:15, 331:21           32:9, 32:18, 34:23,
  105:23, 106:17,           316:4, 316:6              duly [4] - 24:2, 93:3,     egregious [1] -         37:16
  106:20, 108:6,             drawings [2] - 229:2,   200:21, 214:18             255:16                    emotion [1] - 275:11
  119:11, 136:22,           316:5                     Dunn [1] - 220:15          eight [8] - 55:7,        emotional [2] -
  175:6, 186:10, 192:2,      dreamed [1] - 236:18     during [18] - 7:18,       244:23, 295:17,          274:19, 310:22
  192:3, 192:15, 223:4,      dress [29] - 88:17,     9:14, 14:14, 96:5,         296:10, 296:12,           employed [4] -
  229:6, 235:11,            239:8, 256:17, 258:1,    96:11, 106:25,             321:8, 321:16, 321:25    81:16, 93:17, 93:19,
  244:10, 247:15,           260:12, 262:3,           132:12, 174:9,              EIGHTH [1] - 2:16       139:6
  249:8, 275:14, 286:5,     262:16, 262:17,          175:13, 243:24,             either [27] - 11:22,     employees [1] -
  302:7, 302:9, 302:11,     264:8, 326:23, 327:7,    244:10, 247:19,            15:16, 19:2, 37:8,       249:12
  323:7, 323:8, 325:23      327:21, 328:7, 329:5,    265:20, 276:12,            50:7, 57:17, 90:25,       employment [3] -
   Donna [4] - 216:4,       329:10, 329:15,          285:3, 305:19,             103:17, 114:9,           26:2, 218:21, 219:12
  216:5, 216:8, 216:10      329:19, 329:25,          315:25, 316:3              118:13, 120:11,           employs [2] - 81:18,
   door [1] - 169:8         335:5, 335:8, 335:9,      duty [1] - 62:24          130:7, 135:9, 135:24,    81:19
   dotted [1] - 279:5       335:10, 335:12,           dynamism [1] -            138:18, 140:1, 154:4,     empty [1] - 109:2
   double [2] - 322:25,     335:22, 335:25,          224:11                     154:20, 164:20,           enables [1] - 252:25
  323:4                     336:2, 336:4, 336:6,                                164:25, 165:15,           enabling [1] - 234:14
   double-ended [1] -       336:8
                             drew [2] - 265:22,
                                                                E               165:23, 166:4,            encounter [4] -
  323:4                                                                         170:25, 179:16,          101:4, 102:22, 103:4,
   double-sided [1] -       282:2                                               212:8, 344:23            108:21
  322:25                     drink [28] - 33:2,       e-mail [2] - 344:18        el [1] - 318:11          encounters [3] -
   doubt [4] - 43:4,        33:8, 36:8, 36:12,        early [8] - 7:19, 12:8,    elaborate [1] - 318:9   108:19, 169:18,
  58:19, 248:22, 301:7      62:21, 63:1, 70:21,      42:11, 92:1, 143:9,         elaborated [1] -        193:12
   down [32] - 10:7,        71:16, 90:25, 105:11,    280:6, 331:5, 339:12       55:19                     end [24] - 11:7,
  84:6, 105:24, 114:11,     135:4, 140:23,            earned [1] - 247:8         elderberry [1] -        14:10, 14:12, 14:16,
  148:5, 180:4, 182:5,      140:24, 141:1, 141:2,     earth [3] - 296:11,       236:21                   14:23, 14:24, 15:11,
  185:7, 186:15, 187:9,     141:3, 141:4, 141:5,     297:12, 298:6               elderly [1] - 217:5     15:14, 46:13, 48:7,
  205:23, 205:24,           141:11, 141:12,           easier [4] - 100:7,        eldest [1] - 216:18     62:1, 62:24, 64:21,
  226:12, 227:22,           171:5, 236:20,           135:13, 135:14,                                     68:21, 70:8, 119:10,
                                                                                 electronic [3] -
  238:23, 240:10,           293:15, 294:9,           251:17                                              124:1, 143:9, 143:19,
                                                                                224:14, 237:11,
  240:11, 240:15,           294:11, 334:17            easily [1] - 188:4                                 186:5, 195:24, 196:5,
                                                                                237:13
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 362 of 391 Page ID
                                  #:16962                                15


  196:12, 212:9            312:18                    145:6, 148:6, 148:12,      example [26] - 32:1,     exhibit [14] - 46:17,
   ended [6] - 143:11,      equipment [1] - 12:2     149:2, 153:8, 153:21,     40:3, 59:17, 60:5,       46:23, 46:25, 78:24,
  156:1, 195:24, 238:4,     Escarcega [5] - 7:1,     176:7, 176:16, 191:3,     63:9, 67:15, 72:5,       79:7, 123:23, 156:11,
  238:5, 323:4             7:4, 7:9, 7:11, 342:14    191:22, 191:23            94:15, 95:3, 96:21,      173:1, 180:12, 182:6,
   ending [1] - 237:13      Escarcega's [1] -         evidence [24] - 18:7,    101:2, 101:9, 101:23,    182:15, 280:21,
   endorsement [1] -       7:12                      46:10, 46:15, 46:16,      101:25, 102:7,           284:7, 284:19
  82:12                     ESQUIRE [7] - 2:4,       46:17, 46:19, 47:4,       103:12, 104:7,            EXHIBIT [1] - 16:4
   endorsements [1] -      2:8, 2:11, 2:14, 2:15,    47:6, 47:8, 47:22,        107:19, 112:1, 136:2,     exhibits [12] - 15:23,
  82:15                    2:16, 2:18                79:11, 183:5, 280:22,     139:10, 170:11,          18:9, 18:13, 18:15,
   endurance [1] -          essentially [4] -        284:9, 284:11,            185:14, 194:22,          18:18, 18:20, 18:24,
  241:2                    59:14, 204:4, 227:16,     284:21, 284:25,           207:21, 285:4            92:20, 92:22, 339:1,
   energy [4] - 241:3,     332:24                    285:3, 285:18,             examples [4] -          344:11
  296:3, 298:5, 298:17      established [1] -        297:25, 310:5,            39:18, 39:20, 84:5,       exist [6] - 26:18,
   engineer [2] - 95:16,   262:17                    331:24, 339:2, 339:3      88:7                     139:8, 139:21,
  298:7                     establishments [1] -      evoke [3] - 306:1,        excellent [1] -         160:22, 335:7, 335:10
   engineering [2] -       30:25                     306:12, 321:24            255:24                    existed [1] - 296:5
  95:17, 229:6              Estates [1] - 185:23      evolution [2] - 37:1,     Excellent [1] -          existence [1] -
   engineers [1] - 297:2    esteemed [1] -           37:10                     241:25                   202:11
   English [1] - 217:19    339:18                     evolved [3] - 315:25,     except [4] - 109:17,     existing [1] - 339:7
   enhance [1] - 259:5      estimate [14] - 17:19,   316:3, 316:5              195:5, 300:2, 317:4       exists [1] - 77:18
   enjoy [5] - 32:21,      22:2, 22:9, 22:12,         ex [2] - 111:3, 245:23    excess [1] - 28:16       EXIT [1] - 197:18
  72:3, 239:3, 239:11,     97:2, 198:2, 198:4,        ex-postee [1] -           exchange [1] - 106:8     expand [1] - 207:24
  334:19                   198:14, 198:20,           245:23                     excited [2] - 225:14,    expanded [1] - 33:7
   enjoyable [1] - 217:9   237:20, 245:1,             exact [22] - 34:20,      225:25                    expansion [1] -
   enjoying [1] - 239:9    259:14, 326:3, 343:6      146:25, 150:12,            exciting [1] - 226:19   208:2
   enlightened [1] -        estimation [1] - 88:2    152:17, 154:3,             excluded [3] - 13:15,    expect [9] - 7:11,
  228:9                     et [1] - 4:7             178:13, 178:18,           179:4, 179:11            7:18, 18:5, 22:12,
   enlightenment [1] -      ethnic [2] - 292:9,      178:21, 179:2,             exclusive [1] -         128:2, 135:5, 136:11,
  299:12                   292:17                    254:17, 254:18,           329:16                   184:4, 195:7
   enter [1] - 25:4         ethnicities [1] -        254:19, 254:20,            exclusivity [1] -        expectation [1] -
   entered [3] - 12:4,     292:18                    268:9, 270:8, 270:9,      329:16                   338:24
  39:9, 305:16              ethyl [1] - 234:11       270:10, 271:25,            excuse [16] - 9:17,      expected [1] -
   entering [1] - 41:7      Eugene [1] - 222:5       286:8, 286:20, 336:15     35:19, 59:21, 80:13,     135:17
   ENTERS [1] - 22:24       eureka [1] - 326:14       exactly [22] - 106:22,   88:20, 111:3, 163:25,     expecting [2] -
   entertainment [1] -      evaluate [1] - 94:21     147:2, 147:19,            182:14, 248:24,          104:17, 232:12
  220:20                    evangelist [1] -         148:21, 186:11,           270:6, 274:2, 286:19,     expedient [2] -
                           38:16                     192:17, 192:19,           324:1, 328:13, 330:6,    191:13, 191:15
   enthusiasts [1] -
                            evening [3] - 5:15,      201:21, 202:5,            330:8                     expensive [6] -
  334:18
                           7:18, 339:12              206:20, 215:15,            EXCUSED [1] -           32:11, 229:6, 253:5,
   entire [4] - 27:15,
                            event [1] - 213:12       227:20, 242:13,           338:22                   272:16, 272:17,
  28:2, 172:15, 236:6
                                                     268:9, 268:13,             excused [12] - 17:15,   272:19
   entirely [7] - 7:10,     events [1] - 302:11
                                                     268:16, 270:2,            22:21, 91:7, 91:13,       Experian [1] - 140:13
  65:24, 129:16,            eventually [5] -
                                                     270:13, 271:22,           92:3, 196:22, 197:2,      experience [20] -
  172:18, 309:22,          58:22, 230:8, 234:11,
                                                     287:22, 289:4, 317:5      197:20, 214:5, 214:9,    40:8, 46:4, 46:9, 54:2,
  309:24, 316:25           253:5, 255:6
                                                      EXAMINATION [13] -       338:19, 340:11           56:24, 61:9, 70:25,
   entities [1] - 95:7      Eveready [47] -
                                                     24:9, 48:1, 86:12,         executed [1] -          71:3, 71:8, 71:9, 86:1,
   ENTITLED [1] -          99:14, 99:17, 100:4,
                                                     93:12, 144:17,            101:15                   103:16, 139:9, 159:7,
  347:15                   100:6, 100:8, 100:23,
                                                     192:13, 201:3, 208:7,      executive [1] -         168:19, 171:6,
   entity [2] - 276:13,    101:20, 102:16,
                                                     212:15, 214:25,           230:19                   172:25, 260:22,
  325:6                    122:18, 122:20,
                                                     276:24, 331:1, 332:13      executives [2] -        294:14, 334:9
   entrepreneur [1] -      123:2, 123:5, 124:17,
                                                      examination [10] -       74:6, 333:8               experienced [1] -
  226:5                    125:1, 125:4, 125:16,
                                                     47:12, 47:25, 144:13,      exercise [2] -          21:10
   entrepreneurist [2] -   127:15, 128:17,
                                                     198:17, 199:6,            290:12, 290:16            experiences [2] -
  326:18, 326:20           128:18, 128:24,
                                                     199:10, 199:11,            Exhibit [16] - 15:22,   103:17, 168:24
   entries [1] - 181:11    129:4, 129:10,
                                                     276:12, 276:15,           16:3, 78:18, 182:13,      expert [33] - 29:5,
   entry [1] - 85:16       129:16, 129:22,
                                                     330:21                    183:12, 184:11,          29:7, 29:14, 29:19,
   environment [4] -       130:9, 130:11,
                           135:14, 135:15,            examine [2] -            250:3, 262:6, 265:12,    29:20, 30:17, 31:6,
  70:12, 159:20, 160:4,
                           136:7, 138:21,            124:23, 281:9             277:21, 277:22,          31:11, 35:11, 35:22,
  194:6
                           142:25, 143:10,            examined [4] - 24:2,     280:20, 284:3, 291:4,    41:5, 53:14, 53:15,
   equal [1] - 290:10
                           143:17, 144:24,           93:4, 200:21, 214:18      310:3, 332:16            53:25, 54:20, 54:23,
   equally [2] - 312:17,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 363 of 391 Page ID
                                  #:16963                                16


  55:1, 55:10, 62:3,                                   248:20, 289:19, 320:3       fellow [1] - 96:8           fine [15] - 6:9, 9:12,
                                       F
  62:22, 88:16, 97:22,                                  famous [1] - 185:25        fellowship [1] - 96:9      9:24, 11:7, 13:24,
  113:21, 114:3,                                        fancy [1] - 8:7            felt [3] - 70:25,          15:15, 15:16, 20:13,
  120:16, 120:21,           Fabrica [1] - 189:8         fans [1] - 38:25          193:23, 257:16              21:24, 66:13, 199:20,
  129:12, 136:14,           face [3] - 301:7,           far [7] - 110:9, 159:9,    female [1] - 291:21        200:3, 234:22,
  143:22, 163:9,           301:8, 329:9                183:4, 303:22, 305:7,       ferments [1] - 234:11      269:15, 345:6
  167:23, 172:8, 176:23     face-shaped [1] -          305:9, 310:14               few [18] - 45:22,           finest [1] - 38:20
   expertise [1] - 56:21   329:9                        farm [1] - 217:1          57:21, 86:14, 95:5,          finger [1] - 266:4
   experts [3] - 11:12,     facet [2] - 266:23,         fascination [1] -         148:10, 155:1, 155:4,        finish [10] - 7:19,
  30:18, 163:14            336:13                      184:25                     193:10, 197:12,             9:20, 9:23, 10:6,
   explain [24] - 27:8,     facets [4] - 265:6,         fashion [3] - 103:18,     218:11, 225:22,             218:12, 218:14,
  27:25, 49:20, 99:15,     265:10, 266:25              135:10, 140:1              229:12, 230:7,              242:8, 321:11,
  99:25, 100:3, 100:7,      facilities [1] - 105:6      fast [1] - 84:6           277:14, 278:22,             323:18, 330:17
  111:4, 116:23,            facility [1] - 233:8        fatty [1] - 228:3         296:25, 331:3, 334:18        finished [2] - 217:24,
  117:13, 117:25,           facing [1] - 124:11         fault [1] - 164:3          field [1] - 137:3          223:3
  119:14, 119:22,           fact [59] - 9:13,           favor [4] - 53:19,         fifteen [1] - 198:10        Finos [1] - 189:8
  123:4, 126:6, 126:14,    18:10, 36:7, 43:16,         53:20, 244:18, 260:12       fifth [1] - 43:8            fire [2] - 205:22,
  128:19, 129:21,          50:11, 52:5, 53:7,           favorable [2] - 31:21,     figure [6] - 10:9,         331:10
  154:13, 154:14,          53:18, 59:1, 61:13,         34:3                       94:12, 94:14, 246:24,        firing [1] - 231:15
  207:19, 212:1, 234:8,    62:19, 65:17, 66:1,          favorite [1] - 104:10     334:24, 341:13               firm [3] - 52:17,
  235:2                    67:20, 70:12, 71:5,          FAY [38] - 2:8, 15:7,      figures [3] - 73:18,       93:21, 97:4
   explained [2] -         71:9, 72:11, 72:15,         22:3, 23:2, 23:21,         80:7, 247:14                 first [102] - 5:7, 6:13,
  164:14, 206:4            73:23, 76:22, 81:16,        24:10, 45:13, 50:20,        file [1] - 10:18           19:18, 20:21, 21:25,
   explanation [3] -       82:5, 126:23, 130:17,       69:25, 79:5, 79:7,          filed [15] - 15:1,         24:2, 25:1, 31:5,
  117:7, 212:4, 212:12     146:16, 148:20,             86:11, 86:13, 87:8,        262:5, 263:2, 263:5,        31:19, 37:12, 38:5,
   explode [1] - 236:4     149:16, 150:2,              89:6, 89:13, 90:12,        265:4, 273:2, 273:8,        40:20, 41:24, 41:25,
   exploded [1] -          154:23, 155:5,              91:6, 91:8, 91:19,         277:13, 277:17,             44:3, 45:2, 51:8, 55:9,
  242:20                   160:24, 164:18,             91:24, 92:16, 92:23,       277:25, 278:16,             89:21, 90:2, 93:3,
   explore [1] - 64:25     164:23, 165:12,             93:11, 93:13, 105:3,       278:23, 280:5,              98:4, 99:19, 99:21,
   explored [1] - 30:21    169:12, 172:11,             105:21, 123:21,            280:12, 283:18              105:2, 107:10,
   exploring [1] - 25:15   188:18, 195:12,             123:25, 124:5,              filing [3] - 10:17,        108:23, 109:14,
   expose [1] - 236:4      196:18, 236:14,             144:11, 175:16,            15:2, 274:12                115:18, 120:13,
   exposed [1] - 259:7     247:21, 275:19,             177:16, 177:24,             fill [10] - 11:21,         124:9, 129:8, 133:6,
   exposure [4] -          277:17, 277:20,             178:3, 192:14,             154:18, 202:3,              134:9, 147:20,
  237:14, 239:1, 292:9,    294:4, 295:1, 295:8,        196:21, 196:23             250:24, 251:17,             148:12, 168:23,
  292:17                   302:13, 303:1,               Fay [1] - 23:3            251:18, 251:20,             169:13, 172:23,
   expressed [2] -         307:10, 309:9,               fears [1] - 255:8         251:21, 253:3, 253:4        172:24, 180:17,
  197:5, 233:18            310:15, 318:8, 327:7,        feasible [2] - 231:16,     filled [8] - 42:9, 58:7,   180:18, 180:19,
   expressly [1] - 192:6   334:19, 338:6, 338:9,                                  58:9, 153:25, 213:1,        181:3, 200:21,
                                                       231:17
   extends [1] - 103:6     338:11                                                 253:1, 253:14, 253:15       203:19, 206:1,
                                                        feature [8] - 250:20,
   extension [17] -         factor [2] - 50:16,                                    filler [1] - 253:2         206:14, 209:12,
                                                       283:5, 285:16,
  51:18, 86:20, 87:3,      180:18                                                  filling [1] - 252:21       209:14, 211:3,
                                                       285:22, 314:10,
  87:9, 207:2, 207:15,      factors [2] - 81:22,       314:12, 315:22,                                        212:23, 214:18,
                                                                                   film [1] - 222:14
  207:16, 207:18,          322:12                      315:25                                                 218:25, 222:16,
                                                                                   films [1] - 222:13
  207:20, 208:1,            factory [1] - 331:15        features [5] - 122:8,                                 225:11, 228:24,
                                                                                   filtered [2] - 322:17,
  210:25, 211:21,           fail [8] - 57:12, 57:15,   250:6, 256:19,                                         232:3, 232:4, 235:19,
                                                                                  322:19
  255:2, 255:5, 255:12,    57:16, 58:24, 59:3,         305:21, 309:23                                         235:20, 238:2,
                                                                                   filtering [1] - 322:22
  272:8, 329:7             61:17, 62:6, 129:16          February [1] - 225:16                                 239:17, 239:19,
                                                                                   final [11] - 22:8, 27:5,
   extensions [1] - 57:9    failed [1] - 331:21         february [1] - 225:17                                 240:17, 241:18,
                                                                                  42:24, 157:6, 157:15,
   extensive [1] - 237:1    failing [1] - 62:1          Federal [2] - 95:4,                                   242:17, 243:3, 243:5,
                                                                                  186:11, 218:5, 233:9,
   extent [4] - 13:12,      failure [1] - 331:24       175:10                     282:16, 282:21, 316:6       245:19, 245:21,
  17:3, 63:18, 275:20       fair [5] - 20:2,            FEDERAL [2] - 1:23,                                   249:25, 252:19,
                                                                                   finalized [1] - 331:18
   Extra [1] - 210:23      234:20, 275:15,             347:24                                                 254:9, 254:11,
                                                                                   finally [9] - 25:11,
   eye [7] - 270:11,       299:13, 335:22                                                                     254:14, 255:14,
                                                        federal [2] - 41:12,      33:10, 97:9, 110:21,
  270:12, 270:14,           familiar [9] - 76:25,                                                             262:13, 262:14,
                                                       176:11                     115:3, 125:10, 127:8,
  270:21, 270:22,          108:20, 110:3, 158:7,                                                              262:16, 263:1, 263:8,
                                                        Federation [2] -          142:11, 231:21
  270:24, 315:5            168:24, 208:17,                                                                    263:9, 270:22,
                                                       220:9, 220:12               financial [4] - 56:10,
                           265:16, 265:19, 291:6                                                              273:23, 274:17,
                                                        fees [2] - 246:15,        201:13, 202:14, 204:2
                            family [7] - 215:24,                                                              276:17, 276:18,
                                                       247:13                      financially [1] -
                           217:22, 244:25,                                                                    293:15, 296:17,
                                                        fell [1] - 223:19         206:9
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 364 of 391 Page ID
                                  #:16964                                17


  311:6, 325:6, 327:8,        follow [16] - 6:14,      forward [5] - 92:18,      full [11] - 173:13,      34:9, 63:12, 63:23,
  331:12, 332:15,            40:6, 45:1, 47:22,       220:4, 221:13,            173:17, 219:19,           65:11, 328:1
  335:1, 335:11, 336:8,      58:20, 88:13, 88:16,     340:20, 340:22            246:4, 246:21, 249:9,      girl [1] - 296:17
  338:7, 340:17              126:23, 126:24,           forwarded [1] -          254:9, 287:25,             girlfriend [1] -
   First [2] - 262:9,        224:2, 256:9, 273:3,     331:24                    301:13, 335:23            223:16
  262:20                     274:25, 283:21,           foundation [1] -          fun [2] - 217:9, 239:4    giveaway [2] -
   fit [1] - 323:22          289:23, 326:15           266:11                     function [3] - 103:10,   250:19, 250:23
   five [19] - 8:1, 10:19,    follow-on [1] -          founded [3] - 185:23,    103:11, 139:16             given [23] - 5:13,
  30:2, 30:7, 30:14,         126:24                   202:12, 221:21             fundamental [1] -        9:13, 14:17, 23:11,
  40:24, 55:9, 115:8,         follow-up [1] - 45:1     founding [1] - 25:22     107:24                    30:1, 46:10, 47:10,
  138:3, 152:10, 234:3,       followed [2] - 40:10,    four [26] - 11:15,        funds [1] - 249:8        49:18, 50:8, 50:9,
  287:21, 287:22,            40:15                    11:16, 55:9, 55:10,        funny [1] - 99:15        50:13, 50:15, 50:18,
  287:24, 295:16,             follower [8] - 39:9,    110:8, 110:12,             furnace [1] - 331:19     54:19, 88:25, 122:2,
  296:12, 296:13             39:12, 81:10, 81:14,     110:23, 113:9,             furnaces [1] - 331:16    124:11, 124:23,
   FIVE [1] - 1:19           81:20, 85:16, 88:6,      113:18, 113:19,            fusel [3] - 233:12,      165:13, 169:4, 187:7,
   fix [4] - 219:17,         89:8                     138:5, 143:15,            233:19, 234:1             191:4, 295:25
  253:6, 253:12, 331:13       followers [1] - 66:11   143:18, 152:2, 168:9,      future [2] - 150:6,       giver [1] - 217:8
   fixed [1] - 252:24         following [1] - 242:7   170:4, 199:14, 223:4,     150:22                     glacial [3] - 232:23,
   flagship [1] - 26:21       follows [6] - 24:3,     234:2, 234:3, 234:14,      fuzzy [2] - 131:16,      233:5, 322:14
   flat [2] - 314:7,         46:2, 93:4, 186:4,       234:18, 282:24,           131:23                     glass [17] - 59:20,
  314:17                     200:21, 214:18           287:9, 287:16, 287:17                               59:23, 59:24, 59:25,
   flatten [1] - 58:17        food [2] - 257:5,        four-times [1] -                    G              60:3, 60:9, 86:23,
   flattening [5] - 72:22,   327:15                   234:18                                              231:21, 261:3, 261:6,
  73:25, 74:7, 75:7           football [1] - 104:10    fourth [3] - 107:13,                               261:11, 272:15,
   flattens [1] - 58:4        FOR [2] - 347:9,        110:21, 295:8              Gallo [2] - 25:8, 68:9   283:24, 309:15,
   flavor [3] - 40:2,        347:10                    fragrance [3] -           game [1] - 178:20        309:20, 310:10
  40:4, 40:7                  forces [1] - 44:22      227:25, 233:20,            gap [1] - 78:12           Glass [1] - 230:9
   flavored [4] - 67:10,      FOREGOING [1] -         233:21                     gather [3] - 94:2,        glasses [1] - 248:14
  70:5, 76:3, 207:23         347:13                    franchises [1] -         94:4, 140:15               glassmaker [1] -
   flavorful [1] - 68:4       forehead [2] - 251:6,   221:24                     gathered [2] -           229:9
   flavors [2] - 40:2,       252:16                    Francisco [1] -          140:19, 174:6              GLOBEFILL [1] -
  89:18                       foreign [1] - 258:3     241:22                     Gene [1] - 222:13        1:11
   flawed [2] - 178:8,        forget [3] - 121:21,     fraternity [1] - 246:1    general [7] - 65:14,      Globefill [55] - 4:6,
  178:12                     330:21, 330:22            free [2] - 62:24,        77:3, 123:6, 203:25,      7:4, 23:3, 29:4, 29:15,
   fledgling [1] - 174:16     forklift [1] - 203:20   214:9                     238:6, 309:4              31:5, 35:11, 36:19,
   fleet [1] - 321:6          form [12] - 16:14,       French [1] - 217:19       generalize [1] - 65:8    41:5, 43:9, 56:3, 56:8,
   fleur [2] - 320:12,       16:18, 16:20, 41:8,       frequently [3] -          generally [16] - 11:1,   56:11, 73:4, 74:25,
  320:13                     43:12, 96:4, 139:15,     66:15, 142:21, 240:3      57:16, 57:19, 61:24,      92:17, 97:22, 136:15,
   fleur-de-lis [2] -        163:2, 167:1, 193:7,      fresh [1] - 14:22        64:8, 64:17, 64:19,       136:20, 138:16,
  320:12, 320:13             325:14, 344:5             Friday [3] - 7:12,       64:20, 64:21, 65:6,       147:16, 164:12,
   flex [1] - 219:16          Forman [1] - 43:19      11:1, 17:22               77:15, 113:12,            164:21, 164:25,
   flights [1] - 11:2         format [17] - 99:12,     friends [3] - 223:20,    144:24, 155:16,           165:7, 165:15,
                             99:14, 100:22, 101:6,    223:25, 244:20            160:3, 301:17             165:24, 166:5,
   flip [1] - 181:19
                             101:12, 108:17,           friendship [1] -          generate [1] - 120:3     171:25, 172:5,
   FLOOR [2] - 2:8,
                             123:13, 123:14,          224:5                      generation [2] -         174:13, 182:11,
  2:12
                             137:13, 137:14,           front [21] - 54:24,      239:8, 295:8              187:13, 188:20,
   Florida [5] - 24:18,
                             138:23, 139:22,          78:21, 124:11,             genuine [4] - 296:16,    190:1, 211:5, 244:3,
  230:7, 237:17,
                             192:24, 192:25,          124:22, 126:1, 131:9,     297:1, 297:6, 299:7       258:15, 260:12,
  238:12, 239:24
                             193:25, 194:1            131:12, 135:23,            geographical [1] -       277:3, 277:13,
   flower [1] - 236:21
                              FORMAT [1] - 347:16     136:8, 169:8, 173:13,     304:2                     277:24, 283:24,
   fluid [11] - 228:16,
                              formats [4] - 95:11,    250:6, 252:5, 267:23,      George [1] - 200:17      289:18, 290:5, 290:8,
  229:10, 239:10,
                             99:20, 99:23, 101:15     268:15, 272:4, 284:3,      German [1] - 295:23      292:5, 292:19,
  240:23, 241:12,
                              formatted [1] -         287:4, 287:13,             germane [1] - 156:3      300:11, 324:21,
  241:13, 271:6, 300:9,
                             125:21                   318:17, 319:1              get-go [1] - 58:24       325:6, 333:4
  300:19, 323:13, 338:4
                              formed [2] - 52:16,      frosted [2] - 37:21,      Ghostbusters [2] -        Globefill's [3] -
   fly [1] - 237:25
                             102:13                   40:13                     239:6, 244:13             289:20, 290:2, 294:8
   focus [1] - 94:6
                              former [2] - 29:17,      frustration [1] -         Gilda [3] - 222:5,        glyceride [2] - 228:4,
   focused [2] - 105:13,
                             162:19                   339:19                    222:10, 222:11            233:12
  122:23
                              formula [1] - 233:14     FTC [3] - 175:7,          Gin [2] - 28:4, 37:17     goal [5] - 243:4,
   folk [1] - 220:16
                              forth [1] - 171:17      175:8, 175:10              gin [7] - 32:3, 32:17,   243:5, 243:9, 243:11,
   folks [1] - 107:1
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 365 of 391 Page ID
                                  #:16965                                18


  243:13                    132:14, 134:8,          60:14, 60:15, 67:1,        75:8, 81:23, 82:2,      228:8, 229:25, 235:1,
    God [1] - 298:6         134:13, 135:3, 138:1,   78:17, 93:1, 147:19,       83:6, 83:11, 83:24,     236:8, 237:22, 241:7,
    God-head [1] - 298:6    138:8, 174:15           183:15, 186:7, 186:9,      85:18, 85:20, 86:18,    241:20, 243:6, 244:4,
    gold [5] - 144:25,       grin [1] - 236:10      186:10, 196:10,            86:21, 87:13, 87:14,    255:5, 255:13,
  145:2, 321:16, 322:3       grinning [1] - 316:9   200:18, 214:15,            87:18, 87:20, 87:21,    255:21, 257:8, 257:9,
    Goldring [1] - 259:21    grocery [3] - 78:7,    251:18, 252:2, 253:3,      89:22, 98:12, 104:17,   257:20, 269:25,
    golf [4] - 211:13,      90:18, 91:1             280:19, 303:23,            104:19, 105:20,         273:4, 282:6, 282:12,
  213:9, 213:11              gross [1] - 195:18     305:11, 335:20             108:18, 108:21,         287:1, 288:21,
    golfing [1] - 204:7      grounds [1] - 297:18    hand-fill [2] - 251:18,   108:24, 109:1, 109:2,   289:13, 290:20,
    goods [5] - 256:21,      Group [4] - 93:21,     253:3                      109:4, 109:12,          290:24, 291:8,
  260:16, 273:6,            93:23, 93:25, 97:3       hand-painted [1] -        109:24, 110:3,          291:12, 291:17,
  273:17, 289:1              group [7] - 24:20,     186:7                      115:18, 116:19,         292:1, 293:15,
    Goose [19] - 28:3,      112:3, 112:4, 145:19,    handbook [4] -            116:21, 119:6, 119:8,   293:23, 294:9,
  37:20, 40:14, 43:18,      163:17, 237:25,         77:11, 77:13, 78:11,       121:11, 122:4,          294:15, 294:20,
  71:25, 72:16, 131:20,     332:23                  79:2                       124:14, 127:19,         294:23, 295:1,
  131:21, 131:23,            groups [3] - 94:6,      handed [2] - 123:22,      127:21, 129:20,         296:16, 299:14,
  132:1, 132:13,            115:23, 171:7           148:12                     130:14, 130:16,         299:17, 299:18,
  132:14, 134:8,             grow [1] - 32:10        handful [1] - 153:18      130:24, 131:10,         300:21, 301:8,
  134:14, 135:3, 138:1,      grown [1] - 31:20       handle [1] - 9:22         132:2, 132:3, 132:17,   301:11, 301:15,
  138:8, 174:15              growth [3] - 31:23,     handled [1] - 230:15      132:19, 132:22,         301:24, 302:18,
    Goth [1] - 334:19       58:4, 58:8               handles [1] - 248:12      134:7, 134:15,          302:21, 303:7,
    Goths [4] - 294:18,      guards [1] - 345:4      handling [1] - 242:22     134:20, 134:22,         303:10, 303:13,
  294:22, 334:16,            guess [14] - 47:3,      hands [1] - 236:1         134:24, 135:1, 135:8,   305:16, 305:19,
  334:21                    154:24, 155:2, 155:9,    happily [1] - 301:21      135:12, 135:16,         307:7, 308:2, 308:20,
    government [6] -        155:12, 156:19,          happy [3] - 155:20,       135:19, 135:20,         309:9, 312:15,
  41:12, 95:7, 175:3,       157:11, 222:7,          232:8, 285:21              135:22, 136:1, 136:5,   312:24, 313:12,
  189:23, 233:4, 233:8      240:24, 244:23,          hard [4] - 188:6,         136:8, 137:18, 138:2,   313:19, 313:22,
    graced [1] - 217:4      245:17, 275:11,         189:13, 262:8, 274:24      138:4, 138:19,          314:9, 314:16,
    graduate [1] - 96:5     309:11, 334:7                                      139:10, 139:24,         314:20, 315:13,
                                                     hardware [1] -
                                                                               143:24, 146:3, 146:6,   315:19, 315:23,
    grain [1] - 189:24       guessing [1] - 155:7   231:12
                                                                               146:10, 147:6,          316:8, 316:21,
    grandfather [1] -        guided [1] - 28:20      HARRIS [1] - 2:4
                                                                               147:15, 149:9,          317:20, 317:22,
  295:10                     Guild [4] - 220:10,     Harris [1] - 4:10
                                                                               149:23, 151:12,         317:25, 318:5,
    grandkids [1] - 239:5   220:11, 249:2            Harvard [3] - 95:20,
                                                                               151:23, 152:5,          318:25, 319:7,
    granted [1] - 226:15     guitar [1] - 220:17    95:22, 96:14
                                                                               152:13, 160:9,          319:14, 319:21,
    graphic [3] - 161:19,    guy [2] - 242:2,        hatched [1] - 282:12
                                                                               160:10, 165:8,          319:25, 320:15,
  264:11                    242:3                    haul [1] - 225:5
                                                                               168:23, 169:9,          320:16, 322:5, 322:9,
    graphics [2] - 162:1,    guys [3] - 20:11,       hauler [1] - 219:22
                                                                               169:14, 169:19,         322:13, 322:16,
  162:21                    180:21, 342:20           haulers [1] - 220:3
                                                                               171:25, 172:5,          322:22, 323:24,
    gratifying [1] -                                 hauling [1] - 219:22
                                                                               173:19, 173:25,         324:17, 324:19,
  242:11                              H              head [12] - 17:23,        174:3, 174:5, 174:10,   326:2, 329:18, 332:7,
    great [20] - 34:13,                             155:22, 157:24,            174:13, 174:20,         338:2
  39:2, 56:21, 132:21,                              210:15, 251:6, 298:6,
                             habits [1] - 70:21                                180:23, 181:8,           Head's [1] - 74:24
  174:11, 174:14,                                   299:9, 312:21, 329:9,
                             Hair [1] - 226:6                                  181:15, 182:11,          head-shaped [2] -
  174:15, 174:16,                                   329:13, 339:19
                             half [28] - 21:4,                                 182:24, 183:18,         329:9, 329:13
  224:15, 226:24,                                    Head [283] - 29:17,
                            91:22, 97:5, 124:16,                               183:21, 183:22,          headed [1] - 28:13
  232:18, 233:7, 239:1,                             31:2, 31:3, 31:10,
                            124:17, 141:5,                                     184:12, 184:14,          heads [23] - 83:7,
  239:16, 242:5,                                    33:20, 33:23, 34:1,
                            141:11, 145:16,                                    184:19, 184:25,         149:14, 185:1,
  295:10, 296:7,                                    34:4, 38:2, 38:11,
                            145:17, 145:18,                                    185:8, 185:14,          227:19, 228:10,
  301:21, 321:6                                     39:5, 39:8, 39:11,
                            145:20, 147:4, 200:4,                              185:21, 185:24,         240:24, 241:3,
    great-grandfather                               40:17, 40:21, 41:21,
                            216:25, 218:19,                                    188:20, 189:16,         241:13, 242:24,
  [1] - 295:10                                      42:7, 42:21, 43:2,
                            244:14, 245:3, 245:4,                              189:17, 189:20,         282:7, 294:24, 295:2,
    greater [1] - 61:23                             43:5, 44:2, 44:4, 44:7,    193:13, 194:4, 204:8,
                            246:25, 248:2,                                                             295:3, 295:6, 295:13,
    green [4] - 37:18,                              44:15, 44:18, 45:3,        204:9, 204:12,
                            269:18, 269:19,                                                            296:11, 297:5,
  245:9, 299:22, 300:3                              45:9, 48:8, 48:22,         204:20, 205:2, 205:7,
                            270:1, 270:24,                                                             297:11, 298:14,
    greet [1] - 238:20                              51:18, 51:20, 52:23,       205:12, 205:17,
                            270:25, 342:6, 342:10                                                      299:21, 303:3,
    Grey [19] - 28:3,                               52:24, 64:11, 65:23,       205:19, 206:1,
                             halfway [1] - 261:13                                                      306:14, 306:20
  37:20, 40:14, 43:18,                              66:1, 66:5, 66:10,         206:25, 207:5, 207:8,
                             hallway [1] - 198:1                                                        healing [1] - 299:4
  71:25, 72:16, 131:20,                             66:19, 72:23, 73:1,        207:15, 208:1,
                             ham [1] - 103:13                                                           hear [10] - 6:13, 7:21,
  131:21, 131:22,                                   73:24, 74:1, 74:6,         208:23, 209:12,
                             hand [21] - 23:24,                                                        9:3, 23:9, 23:10,
  132:1, 132:13,                                    74:7, 74:14, 75:1,         209:25, 210:7, 210:8,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 366 of 391 Page ID
                                  #:16966                                19


  45:24, 48:7, 304:12,       68:21, 70:8, 166:21,      183:13, 184:1, 184:7,    human [4] - 280:11,      99:18
  339:14, 340:2              195:9, 218:1, 218:4,      192:11, 196:23,         309:10, 309:16,            hundred [7] -
    heard [13] - 8:11,       218:5, 218:21,            196:25, 197:25,         309:21                    160:14, 160:15,
  18:6, 45:24, 46:3,         220:22, 323:11            199:1, 199:8, 199:22,    hummel [1] - 20:19       242:3, 242:4, 325:23,
  49:17, 54:12, 54:16,        high-end [3] - 64:21,    199:24, 200:12,          Hummel [10] - 4:21,      326:4
  62:23, 177:10, 242:9,      68:21, 70:8               200:16, 211:25,         6:25, 11:6, 21:14,         hundreds [2] - 57:3,
  249:24, 254:11,             higher [6] - 62:23,      212:14, 214:6, 214:8,   21:17, 212:17,            57:7
  306:19                     166:24, 195:25,           214:12, 266:8, 269:2,   213:16, 277:2, 293:7,      hurt [2] - 203:15,
    hearsay [3] - 175:16,    196:16, 270:8, 298:4      269:13, 274:9, 276:1,   337:25                    261:15
  177:25, 178:2               highest [5] - 134:13,    276:19, 276:22,          HUMMEL [126] -            hurts [1] - 329:6
    heat [4] - 242:8,        138:7, 188:13, 193:16     280:24, 284:6,          2:15, 4:20, 6:24, 8:5,
  275:11, 310:22,             highlight [1] - 8:2      284:11, 286:20,         8:15, 9:12, 11:6,                     I
  331:15                      highly [2] - 34:9,       293:5, 297:17, 304:5,   12:13, 16:9, 16:12,
    heavily [2] - 105:13,    67:10                     304:13, 304:18,         17:17, 17:21, 18:25,
  167:23                      highway [1] - 242:8      305:2, 306:7, 306:9,    19:9, 19:17, 20:12,        I-S-A-A-C-S-O-N [1] -
    heavy [1] - 67:20         hired [1] - 53:4         307:23, 308:9, 310:4,   20:15, 20:23, 22:6,       93:9
    Hedges [8] - 282:3,                                311:17, 311:23,         45:17, 48:2, 48:25,        Ice [1] - 40:8
                              history [4] - 41:11,
  296:16, 297:3,             215:7, 224:10, 321:24     313:2, 313:5, 324:1,    49:5, 49:9, 51:6, 52:1,    iconic [2] - 37:13,
  298:22, 298:23,             hit [2] - 58:22, 257:7   324:10, 328:16,         59:12, 69:24, 70:2,       132:17
  299:18, 299:20, 300:3                                330:9, 330:11,          70:6, 73:10, 73:16,        ID [4] - 122:7, 122:9,
                              hits [3] - 242:18,
    Hedges' [1] - 227:19                               330:14, 330:24,         78:17, 78:20, 79:1,       122:11, 122:12
                             242:21, 243:2
    HELD [1] - 347:14                                  339:5, 339:21, 340:2,   79:9, 79:13, 79:17,        idea [29] - 20:6,
                              hoax [4] - 295:20,
    held [6] - 20:3, 20:8,                             340:11, 340:15,         79:25, 81:4, 86:8,        20:22, 123:6, 158:8,
                             297:8, 298:1, 298:12
  203:22, 232:1, 232:4,                                341:6, 341:21,          88:19, 88:22, 89:1,       159:6, 168:17,
                              hobbies [1] - 204:6
  268:21                                               342:25, 343:13,         89:11, 90:10, 91:10,      171:23, 188:1,
                              hold [5] - 172:7,
    Helena [1] - 189:25                                343:25, 344:2, 345:4,   198:8, 198:10, 199:7,     215:20, 220:20,
                             191:5, 315:8, 331:11,
                                                       345:9, 345:18           199:24, 208:8,            224:21, 226:24,
    help [7] - 18:18,        337:16
                                                        Honor's [1] - 345:19   211:23, 214:8, 266:8,     227:10, 231:18,
  94:11, 94:12, 94:20,        holder [1] - 215:11
                                                        HONORABLE [1] -        266:11, 274:9,            237:2, 238:7, 239:18,
  217:8, 229:9, 298:5         Hollywood [1] -
                                                       1:7                     276:18, 276:21,           240:4, 241:19, 244:3,
    helped [1] - 331:13      334:20
                                                        hope [3] - 198:22,     276:25, 277:21,           247:2, 247:12,
    helpful [4] - 7:14,       home [3] - 226:12,
                                                       291:25, 345:2           277:23, 280:19,           247:21, 257:3,
  18:14, 19:2, 206:11        239:10, 239:11
                                                        hopefully [1] -        280:23, 281:3,            271:16, 281:21,
    helps [1] - 10:8          honestly [1] - 323:17
                                                       260:17                  281:19, 284:6,            281:23, 282:6, 282:12
    Hemi [4] - 151:19,        honey [2] - 327:10,
                                                        hoping [1] - 5:11      284:10, 284:14,            identical [1] - 112:4
  246:7, 247:11, 248:6       327:12
                                                        hot [1] - 40:2         284:16, 285:6,             identification [4] -
    HEREBY [1] - 347:11       Honor [139] - 4:13,
                                                        hotel [1] - 259:1      285:23, 286:22,           78:19, 117:5, 280:24,
    herein [2] - 24:1,       4:14, 4:17, 4:20, 4:25,
                                                        hour [18] - 10:8,      287:15, 287:18,           284:4
  93:3                       5:21, 5:23, 5:25, 6:8,
                                                       19:23, 20:9, 20:10,     291:4, 291:5, 293:12,      identified [6] - 92:20,
    Herkimer [6] -           6:11, 6:25, 8:2, 8:15,
                                                       20:12, 21:1, 21:8,      297:21, 304:5, 304:9,     146:17, 147:14,
  322:20, 322:21,            9:9, 9:12, 10:4, 10:8,
                                                       21:12, 91:22, 198:23,   304:22, 304:24,           166:6, 166:13, 197:21
  322:23, 322:25,            10:17, 11:5, 11:6,
                                                       199:8, 200:4, 342:6,    305:1, 305:7, 305:14,      identifies [3] -
  323:13, 323:21             12:13, 12:21, 13:10,
                                                       342:7, 342:10,          306:6, 306:11,            319:10, 319:18,
    Hernan [2] - 4:14,       13:25, 15:2, 15:7,
                                                       342:11, 342:25          306:17, 307:16,           320:18
  5:21                       15:19, 15:21, 16:5,
                                                        hours [5] - 10:19,     307:21, 307:25,            identify [10] - 31:7,
    HERNAN [1] - 2:11        16:12, 17:17, 17:21,
                                                       11:15, 11:16, 21:4,     308:15, 308:18,           113:5, 118:6, 119:16,
    hero [1] - 330:5         17:25, 18:25, 19:11,
                                                       199:12                  309:2, 310:2, 310:8,      123:24, 134:18,
    Herradura [1] - 43:20    20:3, 20:13, 20:18,
                                                        house [1] - 225:23     311:16, 311:21,           135:8, 136:6, 148:13,
    hewlett [1] - 297:2      21:17, 21:23, 22:3,
                                                        House [3] - 235:21,    312:5, 313:2, 313:10,     166:4
    hewlett-Packard [1]      22:17, 23:22, 48:25,
                                                       235:22, 236:5           313:18, 324:9,             ignorance [1] - 129:6
  - 297:2                    49:6, 49:14, 50:20,
                                                        housekeeping [1] -     324:15, 328:16,            ignore [3] - 47:2,
    hex [1] - 265:5          51:6, 59:11, 69:25,
                                                       14:1                    328:18, 330:10,           47:6, 47:21
    hexagonal [11] -         78:25, 79:5, 79:9,
                                                        HOUSTON [1] - 2:6      340:11, 340:15,            ill [1] - 248:18
  264:22, 264:23,            81:2, 86:11, 89:1,
                                                        Houston [3] - 225:1,   340:21, 341:1, 341:8,      illusion [2] - 337:15,
  264:25, 265:6, 265:8,      89:11, 90:10, 91:16,
                                                       225:2, 238:4            341:10, 341:18,           337:18
  266:20, 279:8,             91:19, 92:11, 92:16,
                                                        Howard [1] - 302:3     342:2, 342:9, 342:14,      illusions [1] - 337:9
  279:10, 279:18,            92:23, 92:24, 93:11,
                                                        huge [1] - 38:8        342:17, 342:20,            image [5] - 102:10,
  279:21, 279:22             123:21, 144:16,
                                                        Hull [4] - 217:14,     342:24, 343:5, 343:8,     102:11, 229:23,
    Hi [1] - 238:18          154:16, 164:3, 170:3,
                                                       217:16, 217:18,         343:25, 344:2, 345:18     300:8, 318:11
    High [1] - 218:6         177:16, 177:18,
                                                       217:20                   humorous [1] -            images [3] - 102:13,
    high [11] - 64:21,       177:20, 177:24,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 367 of 391 Page ID
                                  #:16967                                20


  298:17, 344:16            320:21                     incorrect [1] - 328:6     inferior [1] - 261:17    169:12
   imagine [3] - 100:12,      impressive [1] -         increase [4] - 35:1,      inferred [2] - 127:20,    instant [1] - 37:7
  107:5, 131:3              224:15                    35:2, 37:10, 39:24        134:23                     instead [8] - 32:25,
   imbue [1] - 228:15         improper [1] -           increased [5] -           infinite [1] - 193:22    72:6, 72:7, 160:13,
   immediate [1] -          130:11                    19:19, 34:16, 34:19,       Infinium [21] - 52:20,   168:5, 179:6, 179:12,
  247:5                       improv [1] - 221:17     35:5, 193:19              52:22, 52:24, 53:2,       200:4
   immediately [3] -          improve [1] - 94:12      increasingly [3] -       53:4, 53:5, 53:8,          Institute [1] - 96:12
  168:25, 169:3, 228:19       impulse [1] - 65:7      25:10, 71:15, 71:22       53:11, 73:24, 74:6,        instruct [1] - 59:8
   impact [2] - 44:1,         IN [3] - 347:9,          incredible [2] -         74:25, 204:18,             instructing [1] - 14:4
  158:13                    347:14, 347:16            220:14, 233:6             204:20, 205:3,             instruction [19] -
   impeaching [1] -           inappropriate [4] -      indeed [1] - 291:1       208:20, 208:22,           14:8, 14:16, 14:18,
  312:4                     171:19, 191:25,            indentation [9] -        243:8, 257:10,            14:25, 15:2, 15:8,
   impeachment [3] -        192:3, 193:8              314:21, 314:23,           332:23, 332:25, 333:1     15:9, 15:11, 15:17,
  50:21, 79:9, 311:24         inarticulate [1] -      315:2, 315:3, 315:4,       inform [2] - 158:5,      17:9, 17:11, 46:1,
   imperative [1] -         154:22                    315:6, 315:9, 315:17,     235:17                    46:12, 47:10, 47:23,
  102:17                      Inc [2] - 189:12,       315:19                     information [15] -       49:16, 50:2, 79:21,
   imperfect [1] - 77:17    190:1                      independent [2] -        30:16, 51:15, 73:15,      284:22
   implementing [1] -         INC [1] - 1:15          96:3, 130:5               74:14, 74:24, 78:1,        instructions [17] -
  305:21                      incentive [1] - 106:9    Indianapolis [1] -       94:3, 94:4, 94:6,         14:4, 14:6, 14:7,
   implied [1] - 257:18       inception [1] -         240:1                     140:10, 152:21,           15:14, 16:14, 16:17,
   imply [1] - 338:1        247:17                     indicate [7] - 23:5,     186:15, 205:22,           16:20, 16:21, 17:7,
   import [1] - 26:7          inch [14] - 270:15,     80:24, 116:17,            205:25, 285:11            17:13, 18:5, 45:22,
   importance [1] -         270:16, 270:18,           137:23, 276:8,             informed [5] - 45:11,    74:16, 106:18,
  72:2                      270:19, 270:20,           292:11, 334:8             65:2, 65:3, 158:1,        114:10, 260:11, 344:5
   important [30] - 6:3,    271:2, 271:3, 287:9,       indicated [7] - 11:18,   339:6                      insult [2] - 275:11,
  6:4, 23:16, 25:10,        287:17, 287:25, 317:5     50:1, 50:4, 55:18,         infringe [1] - 329:10    311:3
  28:18, 30:2, 31:7,          inches [10] - 269:19,   121:23, 155:14,            infringed [2] - 256:7,    insulted [1] - 275:3
  31:17, 31:18, 31:24,      270:1, 270:5, 270:7,      339:12                    256:8                      insulting [2] - 275:3,
  32:14, 33:10, 34:22,      270:24, 270:25,            indicates [4] - 71:14,    infringement [2] -       311:7
  35:5, 37:3, 42:24,        287:21, 287:22,           138:12, 147:23,           256:18, 260:13             integral [1] - 331:12
  74:13, 74:23, 82:1,       288:6, 288:13             262:19                     infringes [1] - 329:5     intend [2] - 187:19,
  84:23, 107:23,              include [12] - 12:25,    indicating [3] -          infringing [2] -         197:22
  111:21, 122:24,           17:2, 17:5, 17:10,        121:1, 134:23, 212:8      261:5, 326:22              intended [6] - 65:17,
  133:4, 159:19,            21:2, 98:23, 156:14,       indicating) [1] -         infused [1] - 68:18      115:22, 197:22,
  171:13, 292:23,           160:18, 171:18,           333:25                     ingredient [4] -         277:8, 320:8, 324:9
  293:22, 315:22            171:20, 300:21, 324:4      indication [1] -         112:5, 112:8, 112:9,       intending [1] -
   importation [1] -          included [14] - 17:5,   150:23                    112:10                    198:13
  235:12                    17:8, 17:9, 22:11,         individual [2] - 1:16,    inherited [1] - 295:11    intent [1] - 95:9
   imported [11] - 32:9,    22:13, 22:15, 28:3,       276:14                     initial [1] - 58:16       intentionally [3] -
  32:11, 32:18, 76:8,       155:10, 157:5, 157:9,      industrial [1] -          initialed [1] - 213:1    131:16, 256:8, 316:10
  76:13, 76:20, 76:23,      157:15, 157:16,           325:18                     innovative [1] - 41:3     interaction [3] -
  81:6, 189:11, 208:15,     157:19, 193:18             industry [40] - 24:21,    input [2] - 155:9,       36:4, 67:22
  235:7                       includes [2] - 95:24,   24:22, 25:18, 26:4,       325:11                     interactivity [1] -
   importer [11] - 52:24,   172:15                    28:11, 29:9, 29:12,        inquire [2] - 199:13,    33:22
  74:25, 190:14, 243:8,       including [14] -        31:8, 31:18, 31:19,       301:16                     intercept [3] - 106:1,
  291:11, 292:2, 292:4,     15:13, 19:24, 20:10,      32:8, 32:10, 34:25,        inscriptive [2] -        107:1, 108:8
  294:8, 294:21,            20:14, 20:16, 30:17,      38:8, 39:14, 39:19,       108:14, 108:15             interest [8] - 38:13,
  319:10, 332:24            97:19, 115:9, 138:5,      41:2, 55:18, 62:3,         insert [3] - 300:22,     41:13, 53:22, 65:1,
   Importer [1] - 189:25    142:14, 172:24,           62:21, 77:18, 78:13,      300:25, 301:3             112:12, 195:5, 195:6,
   importing [1] -          302:3, 316:22, 318:11     81:19, 89:16, 107:22,      inserted [1] - 231:12    295:12
  226:16                      income [2] - 218:22,    139:6, 172:9, 206:18,      inserts [3] - 301:2,      interested [3] -
   imports [2] - 77:7,      292:22                    235:17, 249:23,           301:4                     29:19, 213:24, 259:3
  80:9                        inconsistent [2] -      260:15, 291:24,            inside [4] - 28:13,       interesting [4] -
   impose [1] - 304:11      50:8, 50:15               292:3, 292:11,            34:15, 109:8, 300:9       6:24, 34:14, 53:22,
   impossible [1] - 35:8      inconvenienced [1] -    302:11, 323:6,             inspired [3] - 181:23,   132:19
   impounded [1] -          10:3                      333:11, 334:1, 334:3,     266:2, 294:23              interestingly [3] -
  273:18                      INCORPORATED [1]        334:7                      instance [3] - 86:22,    132:18, 132:20,
   impressed [1] -          - 1:11                     infant [1] - 309:17      238:9, 246:23             221:23
  225:22                      Incorporated [2] -       inference [1] -           instances [4] -           internet [7] - 179:15,
   impression [1] -         4:7                       257:22                    47:11, 58:14, 65:7,       179:19, 180:4,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 368 of 391 Page ID
                                  #:16968                                21


  181:11, 182:5,            97:7, 211:3, 230:18,      260:23, 319:18,          328:10                    48:22, 51:8, 51:10,
  182:20, 186:16            289:20, 289:23, 290:1     335:15, 342:9, 342:12     juice [2] - 234:23,      51:16, 56:14, 68:24,
   Internet [1] - 255:20     involvement [1] -                                 236:21                    69:4, 69:13, 70:3,
   interpose [1] - 293:5    29:3                                 J              Julio [13] - 43:22,      72:25, 82:14, 83:1,
   interpret [1] - 135:25    involves [1] - 64:11                              84:13, 84:15, 85:7,       83:3, 83:18, 83:20,
   interpreted [1] -         involving [1] - 64:10                             110:11, 114:7, 115:4,     85:13, 85:20, 86:19,
                                                       Jabour [1] - 259:22     142:12, 142:13,           86:25, 98:12, 104:17,
  168:14                     IS [2] - 347:13,
                                                       Jack [1] - 43:20        159:11, 188:6, 188:7      104:19, 105:20,
   interrupt [2] - 92:1,    347:16
                                                       jalapeno [1] - 70:5      June [2] - 93:24,        108:19, 108:21,
  106:2                      Isaacson [26] -
                            91:20, 92:17, 93:8,        jalapenos [1] - 68:18   202:25                    110:4, 110:10,
   interview [13] -
  106:8, 106:11,            93:14, 93:16, 93:17,       James [2] - 244:16,      jurors [24] - 12:5,      110:14, 110:17,
  106:20, 108:13,           95:15, 97:21, 100:3,      244:19                   19:4, 21:19, 23:6,        111:1, 111:6, 111:7,
  108:25, 110:7,            111:3, 120:21,             jaw [2] - 268:11,       45:20, 47:21, 47:22,      112:18, 112:20,
  122:21, 123:10,           121:19, 122:17,           268:15                   49:16, 50:9, 91:11,       112:21, 113:2, 113:4,
  131:11, 131:24,           124:6, 132:7, 136:15,      JENNY [1] - 2:7         92:3, 197:5, 197:11,      113:21, 114:11,
  155:24, 158:16, 303:2     142:24, 143:20,            Jenny [1] - 4:17        197:19, 199:9,            114:14, 114:22,
   interviewed [5] -        144:19, 144:23,            Jim [1] - 142:4         199:14, 200:1,            115:12, 115:17,
  113:17, 121:22,           150:19, 164:10,            job [7] - 202:16,       268:17, 268:22,           118:22, 119:19,
  123:11, 145:7, 203:6      192:15, 194:21,           203:3, 209:8, 213:13,    276:8, 276:9, 284:19,     119:24, 120:10,
   interviewee [1] -        196:8, 196:21             218:25, 242:12           330:18                    121:12, 122:3,
  125:25                     ISAACSON [2] - 3:4,       John [16] - 222:5,       JURORS [1] - 197:18      122:16, 123:19,
   interviewees [1] -       93:2                      222:12, 223:6,            jury [69] - 5:4, 5:5,    124:15, 124:21,
  100:17                     isolate [2] - 111:20,    224:15, 226:1, 226:2,    10:20, 10:22, 12:9,       125:14, 126:1,
   interviewer [1] -        292:13                    226:5, 226:18,           14:4, 14:6, 14:7, 14:9,   127:18, 127:22,
  123:12                     isolating [1] - 111:22   227:12, 228:25,          14:17, 15:10, 16:7,       135:16, 135:19,
   interviewers [1] -        issue [36] - 6:3, 6:6,   229:12, 245:21,          16:14, 16:17, 17:15,      139:12, 139:24,
  106:18                    12:23, 14:3, 15:22,       248:6, 268:7, 271:19,    18:6, 18:14, 18:18,       143:24, 145:15,
   interviewing [5] -       21:14, 21:18, 31:5,       282:2                    18:24, 20:1, 21:8,        145:17, 145:21,
  105:6, 106:6, 106:14,     31:13, 34:7, 35:10,        John's [3] - 224:3,     22:16, 24:13, 27:8,       146:2, 146:8, 146:18,
  108:12, 109:15            35:12, 35:15, 36:19,      231:5, 316:5             50:4, 93:15, 100:1,       146:20, 147:14,
   interviews [14] -        36:23, 41:4, 41:6,         JOHNSON [1] - 2:18      111:4, 117:13,            148:23, 149:10,
  70:16, 100:16,            41:8, 43:7, 43:8,          join [1] - 222:16       119:14, 123:4, 139:4,     149:16, 149:18,
  105:19, 106:23,           43:12, 44:8, 70:11,        joined [2] - 27:2,      166:14, 197:1,            149:20, 149:22,
  106:25, 109:22,           70:12, 98:8, 98:13,       232:21                   197:12, 197:16,           156:25, 157:14,
  113:19, 123:3,            111:6, 129:19,             joint [1] - 6:5         197:17, 201:8,            160:21, 161:20,
  140:16, 140:17,           136:19, 140:4,             JON [1] - 2:18          207:19, 212:1,            161:25, 162:7, 162:9,
  143:11, 143:13,           143:21, 144:2, 180:1,      Jon [1] - 4:25          214:13, 215:3,            162:15, 163:20,
  149:2, 156:1              185:5, 343:21              Jonathan [2] -          215:15, 216:14,           164:5, 166:23,
                             issued [2] - 263:7,      151:18, 246:6            218:24, 221:15,           166:24, 166:25,
   intrinsics [1] - 67:22
                            264:2                      JORGE [2] - 200:19,     222:4, 226:2, 235:3,      167:5, 167:9, 167:10,
   introduce [5] -
                             issues [14] - 8:2,       200:25                   240:20, 241:19,           167:11, 167:24,
  24:13, 37:12, 93:15,
                            13:4, 14:13, 30:2,         Jorge [3] - 3:4,        252:13, 252:23,           169:13, 169:17,
  201:8, 215:3
                            30:7, 30:20, 38:1,        200:25, 201:9            258:14, 260:9,            170:5, 170:8, 170:10,
   introduced [12] -
                            38:3, 44:1, 45:25,         Jose [7] - 33:2,        260:10, 261:7,            171:6, 171:10,
  57:4, 59:6, 61:10,
                            103:7, 155:6, 243:19,     43:22, 43:24, 72:4,      264:19, 267:7, 268:2,     179:21, 180:6, 180:8,
  61:17, 173:22,
                            246:12                    88:17, 115:1, 163:3      268:20, 279:20,           180:10, 180:23,
  174:10, 223:11,
                             IT [1] - 204:1            Journal [1] - 97:12     284:23, 285:1, 293:9,     181:3, 181:15,
  223:19, 223:23,
                             Italy [1] - 230:8         journal [2] - 97:13,    330:15, 332:18,           181:19, 181:22,
  310:24, 324:21,
                                                      97:18                    338:17, 344:5             182:9, 182:10,
  324:24                     item [5] - 157:14,
                                                       JP [2] - 226:20,         JURY [2] - 22:24,        182:12, 182:23,
   introduction [6] -       181:3, 181:6, 181:8,
                                                      227:2                    338:22                    183:15, 185:8, 185:9,
  72:25, 173:23, 174:3,     184:14
                                                                                Justice [2] - 95:5,      185:14, 186:4, 186:7,
  174:4, 282:19, 282:22      items [7] - 55:7,         judge [1] - 23:17
                                                                               175:8                     186:11, 186:12,
   invested [1] - 191:16    55:10, 65:1, 149:22,       Judge [1] - 260:11
                                                                                                         186:19, 188:19,
   investment [1] -         149:23, 152:1, 156:23      JUDGE [1] - 1:8
                                                                                                         188:25, 189:1, 191:5,
  245:15                     iterations [1] - 331:7    judged [1] - 46:6                  K              191:6, 192:5, 193:12,
   invisible [1] - 184:25    itself [16] - 9:5,        judges [1] - 176:11
                                                                                                         193:18, 193:25,
   invited [1] - 213:12     33:17, 34:6, 62:10,        judging [1] - 50:17
                                                                                KAH [230] - 31:2,        194:3, 194:12,
   invoice [1] - 247:4      65:23, 66:1, 97:4,         JUDICIAL [1] -          31:3, 31:10, 39:8,        195:18, 206:21,
   involved [10] - 26:3,    106:20, 106:21,           347:17                   44:2, 44:3, 44:17,        206:23, 207:4, 207:8,
  26:5, 29:11, 38:13,       230:23, 232:16,            jug [2] - 234:23,       45:2, 45:4, 48:8,         207:25, 208:16,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 369 of 391 Page ID
                                  #:16969                                22


  209:14, 209:22,            14:14, 254:9, 254:11,       label [21] - 37:13,       235:16, 235:19,              Legal's [1] - 202:7
  209:25, 210:6, 210:8,      257:7, 257:16, 258:6,      40:13, 60:21, 60:22,       235:20, 237:5                legend [33] - 83:7,
  210:19, 210:23,            276:10, 279:23,            110:16, 160:21,             launched [6] - 41:10,      149:13, 228:11,
  249:15, 250:7,             326:11, 326:13,            161:13, 188:16,            235:23, 240:18,             230:1, 240:23, 241:3,
  250:21, 251:1, 251:8,      327:13, 327:16, 328:8      188:21, 188:22,            241:11, 262:22, 277:8       281:21, 282:3, 282:7,
  251:10, 251:24,             KIM [11] - 1:16, 2:7,     188:24, 189:3, 189:4,       launches [1] - 40:4        294:24, 295:2, 295:4,
  253:22, 255:3,             4:17, 49:6, 49:14,         189:5, 189:23, 191:7,       launching [1] - 42:22      295:6, 295:15, 296:3,
  255:23, 255:25,            69:23, 341:21,             191:9, 191:14, 192:7,       LAW [5] - 2:4, 2:5,        299:11, 300:10,
  257:21, 259:6,             341:25, 343:13,            271:5, 271:12              2:7, 2:15, 2:18             301:14, 301:23,
  260:13, 260:19,            344:14, 345:8               labeled [13] - 182:10,     law [7] - 5:16, 89:9,      302:15, 302:17,
  261:5, 269:10, 271:2,       kind [38] - 8:9, 93:25,   182:12, 182:25,            90:4, 256:4, 256:17,        302:20, 303:6,
  271:8, 271:14,             99:3, 99:4, 103:21,        183:2, 183:3, 183:19,      260:10, 262:15              303:11, 303:14,
  271:22, 273:12,            103:23, 104:3,             183:20, 183:22,             lawsuit [9] - 266:13,      303:23, 305:10,
  274:19, 275:4, 277:7,      104:15, 104:23,            183:24, 184:3,             273:8, 273:11,              306:2, 306:12,
  279:17, 287:11,            130:21, 137:4,             185:16, 189:22             273:15, 277:13,             306:18, 306:24,
  287:19, 288:7,             139:17, 141:21,             labelling [1] - 60:19     277:17, 278:22,             323:22, 338:8
  288:18, 289:10,            154:10, 161:1,              labels [5] - 44:24,       280:5, 280:13                legendary [1] - 38:24
  303:16, 303:19,            166:19, 177:11,            190:20, 190:21,             lawyer [5] - 46:16,         Legends [1] - 241:7
  306:1, 306:12, 307:8,      194:24, 203:14,            190:24, 190:25             46:18, 46:19, 48:3,          legends [2] - 301:4,
  308:1, 308:19, 310:9,      217:21, 219:4,              Labrador [1] - 233:4      48:4                        303:3
  310:15, 310:20,            220:24, 223:19,             lady [2] - 224:1,          lawyers [9] - 49:23,        lemony [2] - 228:1,
  310:23, 312:6,             228:1, 236:7, 236:19,      255:19                     211:4, 282:10,              233:12
  312:14, 312:23,            238:13, 240:24,             Lady [2] - 217:13,        282:11, 283:18,              lengthier [1] - 12:21
  313:20, 313:23,            244:20, 246:1,             218:3                      283:22, 336:20,              lengthy [1] - 302:13
  314:1, 314:3, 314:17,      249:11, 250:25,             lake [2] - 232:23,        336:21, 336:24               less [15] - 20:15,
  315:1, 315:10,             252:10, 261:2, 275:6,      233:5                       lead [3] - 38:1, 39:4,     22:7, 78:11, 143:5,
  315:17, 316:12,            275:10, 321:21,             language [2] - 107:9,     67:17                       148:10, 245:13,
  316:25, 317:10,            323:22                     307:2                       leading [3] - 90:10,       245:14, 270:16,
  317:16, 318:3, 318:8,       kinds [6] - 94:5,          lapidary [1] - 295:23     178:15, 288:24              272:16, 272:17,
  318:16, 318:17,            99:11, 99:20, 103:22,       large [8] - 27:21,         leads [1] - 36:3           275:21, 300:16,
  318:20, 319:4,             111:11, 231:23             28:6, 40:6, 44:21,          leap [1] - 128:25          300:18, 300:19,
  319:16, 319:18,             King [1] - 321:9          77:4, 140:9, 140:12,        learned [3] - 84:22,       302:24
  319:19, 324:24,             KLEEGER [3] - 1:23,       141:9                      192:25, 193:6                lesser [1] - 63:18
  325:4, 326:7, 326:24,      347:9, 347:23               largely [1] - 14:12                                    letter [6] - 258:5,
                                                                                    least [12] - 8:21,
  327:19, 329:4               knockoff [1] - 338:10      larger [1] - 25:6                                     258:7, 258:8, 261:25,
                                                                                   13:1, 47:11, 63:14,
   KAH's [9] - 111:20,        knowledge [4] -            largest [7] - 25:7,       82:12, 107:11,              277:3, 277:6
  111:23, 112:12,            107:22, 224:9,             25:9, 27:3, 32:4,          134:11, 198:16,              Letter [1] - 220:1
  113:6, 114:3, 119:17,      224:10, 324:24             43:21, 43:23, 75:19        223:21, 253:13,              lettering [1] - 100:14
  120:6, 120:16, 163:14       known [22] - 6:19,                                   338:7, 344:17                letters [1] - 102:12
                                                         Las [1] - 249:22
   KAHs [2] - 193:20,        101:22, 102:6, 102:8,                                  leave [8] - 16:7,           letting [1] - 19:13
                                                         laser [1] - 231:2
  195:6                      102:17, 128:17,                                       41:13, 154:14,
                                                         lasers [1] - 231:3                                     level [10] - 41:14,
   keep [9] - 18:21,         128:18, 129:18,                                       161:11, 203:4,              41:25, 42:5, 52:10,
                                                         last [24] - 14:1, 15:2,
  19:1, 21:7, 199:1,         129:20, 129:21,                                       203:12, 214:10,             52:14, 57:20, 247:22,
                                                        28:6, 43:7, 55:1,
  317:14, 328:2, 328:4,      130:1, 130:3, 130:4,                                  258:10                      247:23, 271:6, 271:10
                                                        85:12, 93:9, 122:5,
  328:5                      130:10, 130:11,                                        left [21] - 20:20, 26:9,
                                                        177:10, 187:8,                                          Levy [2] - 222:5,
   keeping [1] - 18:22       130:15, 130:17,                                       27:2, 28:23, 48:11,
                                                        191:21, 220:1, 233:3,                                  222:13
   Keith [3] - 4:21, 6:25,   130:25, 184:24,                                       52:7, 52:8, 52:9,            license [1] - 226:16
                                                        244:22, 273:7,
  11:6                       185:22, 188:13,            274:17, 275:14,            52:16, 52:19, 110:9,         lies [1] - 314:7
   KEITH [1] - 2:15          333:24                     275:19, 293:1,             131:21, 145:12,              life [8] - 26:6, 186:12,
   kept [1] - 298:24          knows [2] - 188:4,        294:10, 294:17,            180:25, 196:5,              222:2, 241:2, 244:16,
   Ketel [6] - 43:22,        234:24                     322:19, 322:23, 345:8      196:10, 219:18,             247:17, 258:1, 330:1
  71:23, 71:24, 72:3,                                    late [2] - 32:1, 217:3    220:25, 223:3, 242:8,        light [1] - 111:14
  72:7, 84:11                           L                lately [1] - 216:25       335:20                       likelihood [11] -
   key [4] - 38:3, 58:6,                                 latter [2] - 98:7,         left-hand [2] -            95:12, 98:11, 98:17,
  81:22, 258:21                                         218:7                      196:10, 335:20              99:24, 120:23, 121:1,
   kick [1] - 242:8           L.A [13] - 201:19,
                                                         Laudanum [1] -             legacy [1] - 244:21        129:17, 143:23,
   kid [1] - 231:8           201:20, 201:22,
                                                        325:14                      legal [8] - 54:13,         144:6, 176:3, 176:10
   kids [2] - 239:5,         202:10, 202:15,
                                                         laudanum [1] -            54:17, 65:19, 96:21,         Likelihood [1] - 99:5
                             203:1, 203:5, 203:16,
  239:7                                                 325:15                     99:21, 212:4, 258:5,         likely [15] - 101:13,
                             205:6, 231:7, 237:5,
   Kim [15] - 4:18, 5:1,                                 launch [5] - 25:17,       258:7                       105:11, 107:12,
                             240:2, 240:13
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 370 of 391 Page ID
                                  #:16970                                23


  107:21, 125:7, 125:9,      55:21, 56:22, 57:3,        108:5, 110:16,          159:22, 183:14,          257:24, 259:5
  143:24, 150:7, 150:9,      57:4, 77:11, 77:13,        112:15, 112:16,         184:18, 227:18,           magazines [1] -
  150:15, 150:23,            78:7, 78:11, 79:2,         112:22, 114:5,          299:17, 336:13           206:19
  157:15, 293:2,             90:16, 90:19, 91:1,        114:18, 114:23,          loosely [1] - 161:19     mail [8] - 219:19,
  328:14, 334:16             101:10, 103:3, 103:5,      115:15, 120:8,           Lorne [3] - 220:23,     219:20, 219:22,
   limine [2] - 13:16,       139:11, 151:16,            124:12, 127:17,         221:3, 222:19            220:3, 246:2, 344:18
  345:19                     153:6, 161:6, 168:20,      131:14, 131:20,          LOS [5] - 1:21, 1:24,    main [1] - 105:23
   limit [1] - 292:17        168:21, 169:8, 171:1,      134:17, 139:25,         2:12, 4:2, 347:5          maintain [2] -
   Limited [1] - 189:25      171:9, 171:15, 201:16      140:6, 140:25, 141:3,    Los [1] - 231:8         218:21, 234:4
   limited [2] - 176:9,       Liquor [4] - 202:7,       141:4, 141:22, 142:3,    LOST [1] - 45:19         major [3] - 25:13,
  292:8                      233:2, 240:8, 259:23       145:23, 152:8,           lost [3] - 205:25,      43:15, 77:1
   LINCENBERG [1] -           liquors [1] - 290:16      152:25, 153:1,          219:4, 341:1              majority [4] - 43:15,
  2:10                        Liquors [1] - 240:11      155:13, 155:20,          loud [1] - 80:4         57:12, 97:7, 345:11
   line [52] - 49:2, 49:9,    lis [2] - 320:12,         156:4, 159:16,           Louisiana [1] -          maker [2] - 230:5,
  51:4, 51:5, 51:17,         320:13                     159:21, 162:12,         320:14                   242:10
  53:23, 57:9, 86:20,         list [6] - 7:2, 7:4,      163:18, 166:17,          love [8] - 20:12,        Maker's [4] - 26:22,
  87:3, 87:9, 110:19,        18:15, 30:1, 137:20,       169:5, 179:20,          223:20, 226:9,           88:7, 88:9, 88:10
  110:21, 110:23,            137:23                     182:23, 185:13,         246:12, 261:1, 295:7,     maker's [1] - 37:19
  110:24, 110:25,             listed [4] - 15:23,       186:11, 187:21,         301:21, 327:12            makers [2] - 230:8,
  111:1, 143:16,             54:20, 55:15, 142:7        188:22, 188:24,          low [2] - 166:10,       250:21
  198:11, 207:2,              listen [7] - 23:16,       194:21, 194:22,         166:11                    makeup [1] - 298:4
  207:14, 207:16,            260:11, 339:8, 340:6,      211:15, 229:22,          lower [11] - 105:18,     male [1] - 291:20
  207:18, 207:20,            340:10, 343:16,            230:1, 251:15,          112:22, 119:3,            mall [11] - 105:22,
  208:1, 231:19, 253:1,      343:20                     260:10, 261:9,          136:12, 138:9,           105:24, 105:25,
  253:8, 255:2, 255:5,        lists [1] - 55:7          261:12, 268:10,         185:19, 185:20,          106:7, 106:13, 107:2,
  255:12, 257:5, 258:3,       litigation [2] - 94:25,   269:9, 270:3, 270:11,   195:23, 196:15,          107:7, 123:8, 123:11,
  262:9, 262:25, 263:1,      99:24                      270:18, 278:16,         335:20                   131:5, 145:11
  263:8, 268:14, 272:8,       live [5] - 11:22,         278:25, 279:3, 281:8,    LTD [1] - 185:24         malls [5] - 105:5,
  293:8, 307:17,             215:21, 215:24,            285:7, 285:10,           Lumber [1] - 129:15     105:7, 105:9, 105:22,
  307:18, 307:21,            221:16, 341:7              293:13, 294:7, 297:8,
                                                                                 lunch [1] - 200:10      130:20
  307:22, 311:17,             Live [4] - 221:4,         297:9, 297:25, 299:5,
                                                                                 LUNCH [1] - 200:13       man [3] - 216:1,
  311:18, 311:21,            222:12, 222:16,            299:6, 309:22,
                                                                                 luxury [4] - 32:20,     223:15
  313:3, 329:7, 331:10,      222:21                     313:15, 315:8,
                                                                                226:17, 232:13,           manager [6] -
  335:1                       lived [1] - 217:20        316:23, 319:23,
                                                                                292:20                   203:11, 203:24,
   line-up [1] - 110:21       living [5] - 298:14,      321:25
                                                                                 Luxury [1] - 241:22     203:25, 244:21,
   line-ups [5] - 110:23,    298:17, 298:19,             looked [22] - 30:20,
                                                                                 ly [1] - 49:18          289:22
  110:24, 110:25,            299:10, 299:12             109:4, 114:21,
                                                                                                          managers [2] -
  111:1, 143:16                                         121:17, 136:21,
   linear [2] - 268:15,
                              Living [1] - 259:8
                                                        138:11, 140:7,                    M              30:24, 259:2
                              LLP [1] - 2:14                                                              managing [1] -
  269:8                                                 140:18, 153:4,
                              load [1] - 219:9                                                           289:25
   lined [3] - 101:11,                                  160:17, 161:22,          M-A-R-M-O-L [1] -
                              local [2] - 39:23,                                                          manger [1] - 246:6
  171:10, 339:25                                        162:23, 181:14,         24:8
                             237:9                                                                        Manhattan [1] -
   lines [7] - 41:19,                                   190:17, 227:14,          M.B.A [1] - 95:18
                              located [8] - 24:16,                                                       225:21
  69:19, 69:23, 279:5,                                  227:15, 227:18,          ma'am [3] - 151:8,
                             105:6, 105:9, 105:10,                                                        mankind [3] -
  304:9, 306:7                                          230:7, 232:9, 275:7,    305:5, 312:2
                             106:7, 106:12,                                                              295:16, 296:13, 298:8
   lineup [5] - 142:8,                                  312:7                    machine [5] -
                             122:21, 123:10                                                               manner [1] - 228:13
  160:14, 160:16,                                        looking [30] - 19:5,   250:24, 251:17,
                              location [1] - 23:8                                                         manual [2] - 219:11,
  166:21, 193:19                                        102:3, 103:15,          251:21, 253:14,
                              locations [4] -                                                            219:12
   lipid [1] - 228:3                                    105:19, 108:2, 112:5,   253:15
                             122:21, 122:23,                                                              manufacture [3] -
   Liquer [1] - 26:23                                   112:11, 115:16,          machines [1] - 253:4
                             122:25, 130:21                                                              44:11, 141:24, 233:6
   liquid [14] - 34:15,                                 117:16, 133:15,          macro [1] - 31:7
                              logic [1] - 251:21                                                          manufactured [5] -
  39:2, 62:10, 63:2,                                    139:19, 141:16,          mad [2] - 274:21,
                              logical [1] - 207:13                                                       104:11, 148:14,
  83:15, 261:12, 271:9,                                 141:17, 158:3,          275:4
                              logically [2] -                                                            149:17, 185:23, 273:6
  293:23, 294:1, 296:8,                                 165:22, 180:8, 180:9,    Magazine [1] - 259:8
                             250:24, 251:13                                                               manufacturer [11] -
  300:25, 301:1, 325:14                                 180:20, 180:22,          magazine [13] -
                              London [1] - 299:24                                                        41:16, 43:19, 43:23,
                                                        185:4, 188:15,          97:12, 206:19,
   Liquid [1] - 259:7         look [91] - 5:16, 15:5,                                                    90:8, 142:2, 187:16,
                                                        188:21, 195:10,         209:15, 237:10,
   Liquidators [1] -         18:22, 28:9, 56:10,                                                         190:14, 254:25,
                                                        225:18, 225:20,
  129:15                     56:13, 62:3, 77:15,                                250:2, 250:4, 250:8,     255:7, 256:21, 261:18
                                                        253:16, 310:21,         253:19, 253:21,
   liquor [31] - 30:22,      79:18, 80:1, 80:4,                                                           manufacturers [7] -
                                                        315:3, 344:7            257:9, 257:10,
  37:9, 40:22, 42:3,         80:7, 102:23, 105:12,                                                       43:10, 44:11, 44:20,
                                                         looks [7] - 21:19,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 371 of 391 Page ID
                                  #:16971                                24


  65:20, 141:20,           172:13, 173:25,           matching [1] -           42:25, 58:9, 58:11,      219:23, 220:5,
  142:12, 142:18           174:12, 175:14,          178:20                    95:10, 95:12, 99:24,     222:23, 249:2
   manufactures [2] -      176:11, 185:5, 241:6,     material [1] - 275:3     111:19, 115:22,           members [2] -
  141:20, 142:18           241:10, 296:7,            materiality [1] -        117:9, 119:24,           214:13, 220:1
   MARCH [3] - 1:20,       300:20, 301:14,          297:18                    119:25, 120:1, 120:4,     memory [6] - 136:3,
  4:2, 347:20              323:16, 338:2, 338:12     materially [2] -         120:9, 120:10,           262:21, 263:4, 280:9,
   March [8] - 249:20,      Marketing [1] - 97:13   166:10, 166:15            120:13, 120:14,          280:10, 280:11
  261:25, 277:4,            marketplace [43] -       Materials [2] - 55:4,    127:11, 127:13,           Memphis [3] -
  277:17, 278:17,          33:24, 34:10, 36:2,      176:17                    128:6, 129:17,           220:12, 220:13,
  278:20, 280:16,          39:3, 39:8, 39:10,        materials [14] - 54:5,   129:25, 130:12,          220:17
  281:11                   41:7, 42:18, 51:8,       54:13, 54:17, 54:21,      130:16, 132:5, 138:4,     Mendoza [1] -
   MARELLA [1] - 2:10      76:11, 83:14, 85:14,     55:24, 56:13, 74:2,       138:22, 138:23,          248:12
   Margarita [4] - 72:4,   89:23, 101:5, 102:23,    74:10, 74:17, 74:19,      138:24, 147:9,            mental [1] - 51:14
  72:6, 72:7, 226:8        102:25, 108:5, 108:7,    82:16, 96:2, 179:6,       147:24, 150:14,           mention [3] - 147:6,
   mark [11] - 29:13,      121:10, 121:11,          182:19                    165:5, 169:23,           149:16, 265:8
  129:18, 263:17,          121:14, 121:17,           math [2] - 119:12,       170:23, 178:25,           mentioned [23] -
  263:18, 263:19,          134:11, 135:7,           120:8                     185:12, 185:17, 287:4    26:24, 34:5, 63:19,
  279:5, 283:6, 283:7,     139:25, 142:22,           mats [1] - 248:13         measured [4] -          82:8, 97:1, 102:21,
  283:9, 285:16, 285:22    152:25, 153:1, 153:2,     matter [23] - 55:16,     115:25, 164:15,          105:22, 108:13,
   Mark [5] - 26:22,       159:17, 167:15,          59:1, 65:14, 71:5,        164:17, 286:10           127:19, 128:16,
  37:19, 88:7, 88:9,       167:17, 188:3,           95:2, 98:21, 99:6,         measurement [5] -       128:23, 142:9,
  88:10                    188:14, 191:18,          101:9, 101:17, 103:2,     172:1, 172:3, 271:23,    142:11, 146:6, 149:9,
   Marked [1] - 285:11     194:6, 194:8, 194:17,    120:17, 138:24,           287:19, 288:3            149:11, 149:13,
   marked [3] - 78:18,     196:19, 254:21,          156:3, 168:2, 177:3,       measurements [6] -      151:18, 221:3,
  280:23, 284:4            256:20, 260:15,          178:2, 234:10, 273:7,     170:21, 170:24,          227:11, 233:12,
   market [35] - 25:2,     288:25                   327:25, 328:2,            271:18, 285:24,          252:21, 283:7
  25:4, 25:13, 25:16,       markets [1] - 201:23    329:18, 345:3             286:6, 286:14             merchandise [1] -
  34:16, 35:5, 39:16,       Markets [1] - 96:13      MATTER [1] - 347:15       measures [12] -         202:16
  43:16, 57:4, 59:6,        Marmol [26] - 23:4,      matters [4] - 59:14,     118:10, 119:19,           merely [1] - 328:7
  61:10, 86:17, 134:10,    24:7, 24:11, 24:14,      99:24, 200:5, 344:3       120:3, 120:18, 129:4,     MERY [1] - 2:5
  135:5, 161:9, 161:13,    24:17, 29:2, 35:10,       Max [2] - 296:23,        129:5, 134:4, 135:1,      Mesoamerican [3] -
  162:13, 173:20,          37:25, 41:4, 42:20,      300:1                     138:2, 138:3, 168:22     303:24, 305:11,
  202:7, 242:25,           45:13, 45:17, 48:3,       max [1] - 198:6           measuring [8] -         305:15
  253:11, 255:25,          48:15, 52:2, 58:12,       Mayan [2] - 186:12,      128:1, 128:10, 129:7,     messages [1] -
  258:19, 260:4,           59:13, 70:7, 72:10,      228:11                    135:17, 135:22,          94:22
  261:17, 262:18,          78:17, 78:21, 79:18,      Mayans [3] - 296:1,      148:17, 148:19            met [3] - 144:22,
  273:5, 279:18, 327:8,    86:14, 86:15, 87:21,     297:13, 298:15             mechanic [2] -          223:10, 233:14
  328:3, 328:5, 328:6,     89:14                     McCarthy [2] - 129:9,    219:15, 219:17            methodology [3] -
  335:10, 336:7, 338:4      MARMOL [2] - 3:3,       129:10                     media [13] - 26:18,     175:15, 175:22, 176:5
   Market [6] - 204:13,    23:25                     mean [25] - 14:12,       30:21, 224:14, 235:6,     methods [4] - 59:16,
  204:17, 204:24,           marmol [1] - 23:23      16:9, 32:22, 33:13,       236:24, 237:2,           128:2, 128:11
  204:25, 205:4, 205:5      Marmol's [2] - 49:1,    33:20, 34:6, 34:13,       237:11, 237:14,           Metropolitan [2] -
   marketed [6] -          69:18                    39:13, 111:4, 139:5,      240:5, 240:6, 242:20,    224:25, 225:3
  151:17, 151:20,           married [3] - 216:1,    157:21, 177:8, 189:3,     246:19, 302:5             Mexican [2] - 83:4,
  294:1, 294:3, 338:6,     216:3, 216:8             202:8, 207:2, 207:19,      medical [3] - 112:1,    274:11
  338:7                     MARSHALL [1] - 1:7      238:10, 247:15,           112:6                     Mexico [10] - 149:17,
   marketers [1] -          Marshall's [1] -        250:25, 252:11,            medicinal [3] -         189:9, 208:15, 273:9,
  140:11                   260:11                   257:19, 265:8,            325:10, 325:13,          273:16, 273:21,
   marketing [46] -         Martha [1] - 248:12     290:25, 327:15, 338:1     325:17                   274:5, 296:20, 304:2,
  26:7, 26:9, 26:12,        Martini [2] - 28:5,      meaning [3] - 85:23,      medicine [3] - 112:2,   332:8
  26:15, 27:6, 27:10,      236:13                   145:2, 212:5              112:3, 112:5              Miami [2] - 24:18,
  27:12, 27:20, 27:22,      mash [4] - 233:14,       meaningful [2] -          meet [12] - 7:15,       238:3
  27:24, 28:8, 28:19,      234:4, 234:7, 234:9      18:16, 18:17              8:13, 12:8, 13:20,        Michael [1] - 23:3
  37:4, 44:19, 52:13,       mask [1] - 233:20        means [11] - 33:22,      18:21, 21:3, 223:6,       MICHAEL [1] - 2:8
  66:8, 85:3, 93:20,        master [1] - 95:19      34:8, 39:14, 47:7,        238:19, 238:24,           Michaels [4] -
  94:1, 94:10, 95:23,       match [1] - 267:4       94:2, 103:24, 106:1,      339:12, 340:14,          220:23, 221:3, 221:8,
  95:24, 96:17, 96:20,      matched [5] -           134:20, 138:22,           343:18                   222:19
  96:23, 96:25, 97:10,     264:23, 264:24,          139:5, 141:12              meeting [1] - 236:2      Microsoft [1] - 177:5
  97:14, 136:20, 137:3,    267:5, 271:22             meant [1] - 320:21        melting [1] - 231:22     mid [1] - 166:13
  137:13, 172:12,           matches [1] - 272:6      measure [43] - 42:24,     member [5] - 78:13,      mid-teens [1] -
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 372 of 391 Page ID
                                  #:16972                                25


  166:13                   245:24                     moly [2] - 327:10,       334:18                    177:20, 177:24,
   middle [2] - 131:20,     minutes [33] - 8:1,      327:12                     mouth [5] - 272:14,      178:3, 178:6, 182:16,
  297:10                   12:22, 13:1, 20:10,        mom's [1] - 217:5        272:20, 316:7,            182:18, 183:12,
   might [50] - 12:21,     20:13, 20:18, 20:25,       moment [13] - 20:6,      316:13, 317:7             184:1, 184:6, 184:9,
  36:13, 44:15, 47:3,      21:1, 21:12, 22:4,        21:13, 49:6, 80:14,        move [8] - 39:16,        192:10, 192:14,
  54:1, 62:16, 64:25,      91:23, 92:3, 92:13,       88:20, 163:25, 234:6,     105:1, 121:19,            196:21, 196:23,
  72:6, 85:17, 87:3,       184:6, 197:12, 198:6,     238:24, 254:8,            122:17, 151:10,           196:25, 197:24,
  87:9, 101:4, 101:10,     198:8, 200:4, 200:10,     268:24, 274:14,           168:7, 184:2, 322:4       198:8, 198:10,
  103:3, 103:4, 103:13,    218:11, 227:15,           326:14, 328:13             moved [1] - 163:18       198:18, 198:22,
  104:11, 104:12,          328:16, 330:14,            money [10] - 91:3,        movement [1] -           198:25, 199:7,
  106:9, 112:2, 115:15,    341:2, 341:16,            191:16, 202:19,           38:25                     199:22, 199:24,
  139:7, 139:9, 139:10,    341:18, 342:5, 342:7,     244:24, 244:25,            moves [1] - 235:14       200:12, 208:8,
  139:11, 139:12,          342:10, 342:11,           245:7, 245:9, 247:12,      movie [4] - 244:7,       211:23, 214:8,
  151:3, 153:6, 153:11,    342:25, 343:9, 343:10     253:16, 272:18            244:15, 244:17,           214:12, 215:1,
  158:12, 158:18,           misconstrued [1] -        monkey [4] - 275:8,      275:16                    215:19, 250:14,
  159:2, 163:22,           58:8                      310:21, 311:14, 312:7      movies [1] - 244:22      250:15, 252:1, 252:6,
  167:19, 169:13,           misimpression [1] -       month [6] - 140:16,       moving [3] - 33:19,      254:3, 254:4, 254:7,
  190:11, 190:22,          54:9                      148:7, 148:9, 148:10,     223:5, 270:3              254:10, 257:12,
  193:19, 194:10,           mislabeled [1] -         177:12, 237:21             MR [296] - 4:14, 4:20,   257:14, 262:6,
  247:10, 252:7,           183:7                      months [8] - 25:14,      4:25, 5:21, 6:15, 6:24,   262:11, 263:8,
  268:10, 269:9, 273:8,     misreading [1] -         107:13, 107:14,           8:1, 8:5, 8:15, 9:8,      263:11, 263:14,
  273:20, 275:1,           308:10                    125:8, 140:20,            9:12, 10:4, 10:12,        263:16, 263:25,
  305:21, 308:9, 345:5      miss [2] - 12:6, 186:8   158:18, 159:3, 243:18     10:15, 11:5, 11:6,        264:1, 264:17,
   Mike [1] - 259:22        missing [2] - 295:17,     mood [1] - 67:23         12:13, 12:17, 12:20,      264:18, 266:8,
   Miller [6] - 5:1,       296:14                     MOORE [1] - 2:14         13:4, 13:9, 13:10,        266:11, 266:15,
  12:15, 12:16, 21:2,       mission [1] - 240:8       Morgan [2] - 67:18,      13:25, 14:1, 14:11,       269:1, 269:4, 269:20,
  22:9, 330:20              misstatement [1] -       67:25                     15:1, 15:7, 15:16,        274:3, 274:4, 274:9,
   MILLER [13] - 2:18,     286:20                     morning [41] - 4:12,     15:19, 16:9, 16:12,       274:13, 274:16,
  2:18, 4:25, 12:17,        mistake [2] - 326:21,    4:13, 4:14, 4:16, 4:17,   17:17, 17:21, 18:25,      275:25, 276:18,
  20:17, 20:24, 22:13,     326:22                    4:19, 4:20, 4:24, 4:25,   19:9, 19:17, 19:22,       276:21, 276:25,
  330:24, 331:2, 332:1,     Mitchell [10] - 226:6,   5:2, 5:21, 6:9, 7:22,     20:2, 20:9, 20:12,        277:21, 277:23,
  332:2, 332:10, 341:6     227:19, 282:3,            8:13, 8:17, 8:21, 9:6,    20:15, 20:17, 20:23,      280:19, 280:23,
   miller [1] - 330:23     296:16, 297:2,            9:15, 10:4, 11:25,        20:24, 21:13, 21:17,      281:3, 281:19, 284:6,
   miller's [1] - 20:16    298:22, 298:23,           17:24, 18:4, 24:11,       21:22, 22:3, 22:6,        284:10, 284:14,
   million [9] - 27:23,    299:17, 299:20, 300:3     24:12, 24:14, 45:25,      22:13, 22:17, 23:2,       284:16, 285:6,
  28:16, 88:1, 231:25,      mix [3] - 26:15, 37:4,   48:3, 128:4, 144:19,      23:21, 24:10, 45:13,      285:23, 286:19,
  245:3, 245:4, 245:13,    85:3                      144:20, 237:4, 237:7,     45:17, 48:2, 48:25,       286:22, 287:15,
  247:18, 326:2             mixed [1] - 236:19       338:16, 338:20,           49:5, 49:9, 50:20,        287:18, 291:4, 291:5,
   mimics [1] - 168:18                               340:8, 340:14,            51:6, 52:1, 59:12,        293:5, 293:12,
                            mixer [1] - 67:23
   mind [22] - 6:10,                                 340:23, 342:1,            69:24, 69:25, 70:2,       297:17, 297:21,
                            MMR [7] - 93:21,
  16:13, 16:17, 18:21,                               343:19, 344:24,           70:6, 73:10, 73:16,       304:5, 304:8, 304:9,
                           93:22, 93:25, 97:2,
  18:23, 21:8, 73:8,                                 345:23                    78:16, 78:17, 78:20,      304:11, 304:17,
                           172:16, 172:19,
  102:2, 102:10,                                      Moscow [1] - 241:23      79:1, 79:5, 79:7, 79:9,   304:22, 304:24,
                           172:24
  102:14, 103:8,                                      most [15] - 10:8,        79:13, 79:17, 79:25,      305:1, 305:2, 305:4,
                            mobile [1] - 237:23
  128:25, 129:1, 129:3,                              37:3, 78:2, 102:9,        81:4, 86:8, 86:11,        305:7, 305:14, 306:6,
                            model [5] - 14:5,
  135:19, 139:21,                                    109:12, 115:14,           86:13, 87:8, 88:19,       306:9, 306:11,
                           14:6, 14:18, 230:16,
  140:2, 169:1, 227:9,                               122:23, 133:3, 145:2,     88:22, 89:1, 89:6,        306:17, 307:16,
                           230:24
  233:21, 249:5, 337:20                              167:23, 193:24,           89:11, 89:13, 90:10,      307:21, 307:23,
                            modeling [1] -
   minds [3] - 14:23,                                193:25, 232:23,           90:12, 91:6, 91:8,        307:25, 308:9,
                           230:23
  130:8, 217:8                                       300:7, 330:14             91:10, 91:19, 91:24,      308:15, 308:18,
                            modern [1] - 9:13
   mine [3] - 29:17,                                                           92:11, 92:16, 92:23,      309:2, 310:2, 310:8,
                            mold [14] - 230:25,       Most [1] - 293:2
  189:13, 190:3                                                                92:24, 93:11, 93:13,      311:16, 311:21,
                           231:1, 231:4, 231:13,      mother [1] - 215:5
   mines [1] - 322:3                                                           105:3, 105:21,            311:23, 312:2, 312:5,
                           231:14, 266:1,             motif [1] - 167:19
                                                                               123:21, 123:25,           313:2, 313:5, 313:10,
   mini [2] - 257:6,       266:19, 266:21,            motion [3] - 10:17,
                                                                               124:5, 144:11,            313:18, 324:1, 324:9,
  296:22                   266:24, 279:23,           10:18, 224:12
                                                                               144:16, 144:18,           324:11, 324:15,
   miniature [1] - 194:6   331:18, 336:10             motions [2] - 13:16,
                                                                               151:9, 154:16, 164:2,     328:16, 328:18,
   minor [2] - 15:22,       molding [5] - 307:11,    345:19
                                                                               165:19, 170:3, 174:8,     330:10, 330:14,
  218:4                    307:13, 308:4,             motor [1] - 327:16
                                                                               175:16, 175:24,           330:24, 331:2, 332:1,
   minute [5] - 16:10,     308:22, 331:16             Motor [1] - 242:22
                                                                               177:16, 177:18,           332:2, 332:10,
  20:20, 102:7, 141:25,     Molotov [1] - 232:1       motorcycle [1] -
                                                                                                         332:14, 332:17,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 373 of 391 Page ID
                                  #:16973                                26


  332:20, 333:22,           212:25, 214:21,           330:18, 339:13,            140:8, 148:7, 158:18,     Northwestern [1] -
  333:23, 334:23,           220:15                    343:23                     159:3, 162:18, 163:5,    95:18
  335:2, 335:19,             named [4] - 142:4,        needed [2] - 10:21,       163:6, 181:19,            nose [9] - 271:1,
  335:21, 336:17,           295:1, 295:3, 296:23      231:21                     181:20, 182:4,           271:2, 317:4, 317:7,
  336:19, 338:13,            namely [3] - 137:15,      needs [7] - 9:4, 34:5,    200:15, 206:16,          317:11, 317:13,
  339:5, 339:18,            263:13, 278:14            212:3, 269:1, 340:18,      214:11, 238:23,          317:14, 317:19
  339:21, 340:11,            names [8] - 43:17,       342:15, 345:1              262:25, 266:3, 269:9,     nostalgia [1] -
  340:15, 340:21,           99:15, 99:18, 99:21,       neglect [1] - 189:16      270:11, 270:21,          264:21
  341:1, 341:6, 341:8,      132:8, 132:10,             NESSIM [1] - 2:10         292:15, 323:23,           Notarius [1] - 259:24
  341:10, 341:18,           259:19, 342:3              net [9] - 119:13,         328:10, 333:21,           note [2] - 51:14,
  342:2, 342:9, 342:14,      Napa [1] - 240:10        120:3, 120:12,             333:22, 341:4            258:21
  342:17, 342:20,            naps [1] - 10:17         120:13, 120:14,             NFL [2] - 104:9,         notes [4] - 241:16,
  342:24, 343:5, 343:8,      narrative [1] - 154:18   164:16, 195:24,            104:11                   242:1, 242:7, 242:9
  343:25, 344:2,             narrow [1] - 120:19      196:9, 196:16               nice [4] - 134:9,        nothing [3] - 5:8,
  344:23, 345:2, 345:3,      narrower [1] -            network [1] - 44:24       234:22, 299:2, 328:10    81:13, 323:14
  345:7, 345:18             313:19                     Networks [2] -             niche [1] - 294:18       notice [13] - 110:16,
   MS [23] - 4:10, 4:13,     NATHAN [1] - 2:16        176:19, 177:5               nickname [4] -          112:16, 112:19,
  4:17, 15:21, 16:5,         Nathan [1] - 4:22         never [25] - 16:1,        134:20, 134:25,          112:20, 112:23,
  49:6, 49:14, 69:23,        National [2] - 219:1,    19:19, 53:15, 54:3,        135:9, 138:5             131:14, 132:2, 266:6,
  197:25, 198:5,            219:6                     56:6, 62:21, 63:1,          Nickname [1] -          285:2, 307:25, 308:8,
  200:16, 201:4, 208:4,      nativist [1] - 298:18    79:7, 119:7, 119:8,        134:21                   308:18, 309:1
  211:25, 212:14,            natural [2] - 210:25,    132:11, 135:16,             night [5] - 15:2,        noticed [4] - 264:9,
  212:16, 214:3, 214:6,     211:21                    172:11, 232:24,            187:8, 225:10,           264:14, 271:21, 280:6
  341:21, 341:25,            naturally [1] - 254:16   249:9, 280:1, 305:16,      235:25, 236:7             notion [1] - 225:11
  343:13, 344:14, 345:8                               305:18, 307:3,              Night [4] - 221:4,       novelty [5] - 62:7,
                             nature [1] - 78:4
   multiple [6] - 33:8,                               323:23, 324:5, 324:6,      222:12, 222:16,          62:20, 87:22, 87:25,
                             Navajo [4] - 228:11,
  44:24, 140:19, 220:6,                               324:8, 324:21, 324:24      222:20                   88:2
                            296:1, 297:13, 298:15
  259:1                                                new [26] - 25:18,          nightclub [1] - 202:8    November [1] -
                             navigated [1] - 42:21
   Museum [6] -                                       33:11, 34:11, 34:25,        Nightclub [1] -         69:18
                             near [13] - 38:6,
  224:23, 224:24,                                     35:8, 41:7, 41:9,          249:22                    NUMBER [1] - 3:6
                            101:4, 114:11,
  224:25, 225:1, 225:4,                               51:15, 56:25, 57:4,         nightclubs [1] -         number [36] - 18:13,
                            114:22, 115:12,
  299:24                                              64:25, 143:16, 147:2,      201:24                   18:17, 34:16, 42:17,
                            130:7, 254:17,
   museums [2] -                                      147:19, 205:15,             Nike [2] - 329:14,      42:19, 64:6, 71:15,
                            254:18, 254:20,
  224:19, 224:21                                      207:1, 225:14,             329:23                   78:12, 95:3, 122:7,
                            270:8, 286:8, 336:15
   Musicians [1] -                                    225:18, 226:20,             nine [1] - 192:23       123:23, 136:11,
                             nearly [5] - 140:13,
  220:12                                              235:5, 242:24, 259:9,       Ninth [1] - 14:6        138:6, 138:7, 138:8,
                            141:1, 141:5, 165:9,
   must [6] - 41:17,                                  259:16, 272:3, 301:2        no-additive [2] -       138:13, 143:2, 143:3,
                            315:19
  47:2, 47:8, 225:4                                    New [7] - 11:13,          236:15, 294:5            145:14, 146:25,
                             neat [5] - 32:21,
   mutual [1] - 223:11      248:14, 326:7, 326:9,     76:12, 238:3, 320:9,        nobody [1] - 149:9      154:3, 155:21, 166:3,
   mysterious [1] -         326:10                    320:10, 322:1, 323:2        non [2] - 158:9,        166:6, 166:10,
  323:3                      necessarily [1] -         NEW [2] - 2:9, 2:17       195:8                    166:12, 166:22,
   mystical [1] - 295:9     212:4                      Newfoundland [7] -         non-premium [1] -       167:18, 179:9,
   myth [1] - 297:8          necessary [2] -          232:20, 232:21,            158:9                    182:15, 186:25,
                            171:18, 215:2             233:2, 233:4, 253:3,        non-zero [1] - 195:8    193:22, 195:24,
             N               necessity [2] - 10:16,   258:3, 322:14               none [2] - 89:24,       196:16, 262:25
                            160:4                      Newman [1] - 296:24       116:6                     numbered [1] -
                             neck [6] - 110:16,        Newman's [1] -             nonphysical [1] -       154:1
   name [41] - 24:5,
                            112:17, 160:21,           300:1                      103:19                    numbers [21] - 19:2,
  24:14, 33:16, 34:13,
                            167:9, 189:3, 189:4        newspaper [1] -            nonresponsive [1] -     19:4, 34:20, 35:25,
  62:9, 93:7, 93:8, 93:9,
                             need [33] - 5:5, 5:20,   237:10                     88:23                    119:13, 120:22,
  93:16, 99:10, 99:13,
                            6:12, 8:1, 8:22, 8:24,     next [50] - 19:9, 23:1,    noon [2] - 237:8,       134:13, 135:4,
  99:14, 116:20, 131:2,
                            10:18, 11:2, 11:19,       23:4, 41:4, 41:6,          338:18                   165:21, 166:23,
  131:15, 131:17,
                            18:8, 19:14, 20:17,       48:19, 80:19, 90:22,        normally [3] -          166:24, 192:4,
  132:2, 133:18, 134:1,
                            21:3, 21:11, 21:14,       90:24, 92:15, 103:1,       120:25, 127:25,          193:20, 195:9,
  134:19, 134:20,
                            21:21, 22:11, 22:16,      107:13, 107:14,            131:22                   195:10, 195:12,
  134:22, 134:25,
                            67:12, 119:11, 136:6,     108:10, 109:13,             north [1] - 64:9        195:19, 196:16,
  135:9, 135:12,
                            152:21, 193:14,           109:25, 110:1, 110:5,       NORTH [1] - 1:24        259:17
  135:20, 135:23,
                            193:15, 194:2,            115:20, 117:10,             Northeast [1] -          numerous [1] -
  135:24, 135:25,
                            197:10, 230:25,           120:2, 120:7, 121:20,      239:25                   41:22
  138:5, 144:21, 167:9,
                            231:1, 231:2, 272:20,     130:13, 130:15,             northern [1] - 215:18    NY [2] - 2:9, 2:17
  200:24, 201:9, 202:6,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 374 of 391 Page ID
                                  #:16974                                27


                             occupation [2] -        124:6, 126:13, 131:4,   176:6, 176:7, 177:14,     203:20, 231:7
            O
                            107:20, 201:12           131:23, 133:2, 135:4,   178:11, 178:15,            operators [3] -
                             occur [1] - 72:9        139:4, 143:21,          179:10, 179:24,           259:1, 274:23
   o'clock [7] - 11:15,      occurred [3] - 88:17,   177:24, 239:22,         180:13, 181:19,            opine [2] - 36:20,
  199:12, 200:3,            173:25, 271:16           241:11, 256:10,         182:6, 182:9, 183:14,     43:9
  338:16, 338:20,            October [5] - 49:1,     262:16, 282:4, 283:1,   187:9, 188:15,             opining [1] - 72:25
  343:17, 343:19            49:5, 50:1, 237:21,      341:3                   189:22, 191:21,            opinion [58] - 29:19,
   O'Hara [2] - 222:6,      264:3                     One [5] - 43:22,       192:17, 192:19,           31:6, 31:11, 31:13,
  222:14                     odorless [4] - 65:17,   71:23, 72:3, 72:7,      192:22, 198:3,            31:16, 35:11, 35:14,
   oath [4] - 24:2,         66:11, 66:14, 66:22      84:11                   206:14, 206:20,           35:19, 36:23, 36:25,
  49:22, 92:19, 93:4         OF [13] - 1:1, 1:3,      one [228] - 6:17,      213:12, 213:15,           37:25, 41:5, 41:8,
   object [10] - 46:19,     1:19, 2:2, 2:3, 2:13,    11:12, 14:1, 14:5,      213:18, 213:19,           42:20, 43:1, 43:12,
  47:15, 50:20, 79:5,       347:3, 347:5, 347:7,     15:23, 17:4, 17:13,     219:25, 221:20,           43:14, 43:15, 44:1,
  266:8, 274:9, 275:3,      347:11, 347:13,          19:19, 20:20, 21:8,     224:15, 225:6,            44:2, 46:5, 46:6,
  297:18, 313:6, 343:18     347:16, 347:17           22:8, 28:20, 32:5,      227:19, 230:15,           46:10, 63:21, 64:14,
   objection [40] -          offer [5] - 84:2,       33:2, 35:22, 37:3,      243:2, 255:16,            66:21, 70:25, 74:11,
  15:25, 46:22, 46:24,      176:23, 183:14,          38:1, 38:3, 38:4,       255:19, 257:3,            75:6, 75:10, 85:12,
  47:1, 47:16, 47:19,       184:18, 284:13           38:20, 43:4, 43:7,      260:24, 265:23,           85:13, 85:25, 87:21,
  49:12, 69:22, 69:25,       offered [3] - 17:2,     44:19, 50:5, 55:9,      265:25, 266:20,           98:9, 98:11, 98:13,
  79:6, 88:19, 88:21,       84:5, 178:1              56:16, 59:13, 60:14,    266:21, 267:2,            98:15, 98:16, 98:18,
  88:24, 91:9, 175:16,       offering [5] - 79:11,   60:22, 61:13, 62:12,    269:17, 269:18,           98:19, 99:1, 99:6,
  177:16, 177:19,           266:12, 284:13,          63:4, 65:21, 68:15,     270:1, 270:4, 270:7,      116:9, 120:21,
  178:5, 196:24,            284:14, 339:1            73:10, 75:20, 77:10,    270:15, 270:16,           126:25, 143:22,
  196:25, 214:7, 214:8,      offers [1] - 46:17      78:2, 81:22, 82:10,     270:17, 270:18,           144:1, 144:4, 144:5,
  255:25, 256:2, 257:1,      offhand [1] - 310:20    84:5, 84:6, 84:14,      270:19, 271:2, 271:3,     176:23, 176:25,
  266:10, 284:12,            office [4] - 221:25,    85:2, 88:7, 94:10,      273:7, 274:17, 275:7,     177:4, 177:7, 179:8,
  286:19, 286:21,           246:3, 249:11, 283:23    94:25, 96:12, 97:11,    282:1, 282:5, 285:4,      192:2, 266:12, 279:21
  293:6, 297:19,             officer [10] - 27:7,    99:12, 99:16, 100:9,    287:13, 290:4, 290:7,      opinions [19] - 29:5,
  304:17, 304:19,                                    100:23, 101:7, 103:4,   296:4, 296:7, 296:17,     29:7, 29:8, 29:20,
                            27:10, 27:20, 28:8,
  304:24, 305:3, 306:9,                              103:18, 103:23,         296:21, 296:23,           29:24, 30:7, 30:14,
                            28:19, 52:13, 201:13,
  307:23, 312:4,                                     103:24, 104:5,          299:22, 299:23,           31:4, 45:23, 45:25,
                            202:15, 203:10, 204:3
  324:11, 327:3                                      104:21, 107:17,         299:24, 300:1, 300:2,     46:5, 54:6, 59:13,
                             offices [1] - 333:4
   Objection [3] -                                   107:24, 110:17,         300:3, 303:23,            63:4, 67:7, 73:3,
                             OFFICES [1] - 2:18
  89:11, 90:10, 311:23                               110:25, 111:2, 112:3,   305:11, 309:11,           75:11, 97:23
                             OFFICIAL [3] - 1:23,
   objectionable [1] -                               112:15, 113:10,         309:13, 315:3, 317:5,      opium [1] - 325:14
                            347:9, 347:24
  168:2                                              113:16, 113:17,         321:17, 321:22,            opportunities [2] -
                             offshoot [1] - 221:21
   objections [4] - 5:13,                            113:18, 114:3,          322:8, 322:12,            25:16, 39:17
                             often [6] - 118:23,
  14:14, 17:7, 342:16                                115:19, 115:21,         326:15, 326:17,            opportunity [17] -
                            141:18, 151:17,
   objects [1] - 299:3                               116:3, 116:10,          333:6, 333:8, 336:13,     6:2, 6:5, 17:6, 19:25,
                            238:18, 259:14, 322:4
   obliterating [1] -                                116:18, 116:22,         337:18, 339:22,           33:25, 47:18, 118:5,
                             oftentimes [1] -
  278:17                                             117:8, 117:17,          343:18, 344:16, 345:8     124:12, 124:23,
                            171:8
   observation [1] -                                 117:20, 118:13,          one's [1] - 326:13       126:6, 126:14, 169:5,
                             oil [1] - 327:16
  279:24                                             118:15, 118:17,          one-third [1] - 143:5    173:17, 191:5,
                             oils [4] - 233:12,
   observed [2] - 224:8,                             119:21, 119:22,          ones [7] - 59:2, 59:3,   293:11, 326:14,
                            233:19, 233:20, 234:1
  275:18                                             120:15, 121:20,         63:18, 74:3, 153:14,      326:20
                             old [9] - 107:11,
   obtain [1] - 218:16                               121:21, 124:17,         185:20, 252:19             opposed [4] - 36:13,
                            125:5, 216:25, 219:2,
   obvious [6] - 130:14,                             127:18, 128:6,           online [1] - 137:11      134:19, 143:18,
                            232:17, 235:22,
  250:18, 268:6, 272:9,                              128:15, 128:17,          Ontario [4] - 215:9,     145:20
                            269:11, 301:2, 325:15
  286:12, 317:25                                     129:1, 133:6, 133:7,    217:18, 229:4, 234:13      opposite [3] - 141:3,
                             older [1] - 125:5
   obviously [11] -                                  133:8, 135:5, 137:19,    opaque [1] - 271:9       174:4, 186:5
                             oldest [1] - 140:17
  43:24, 44:6, 116:20,                               139:9, 139:18,           open [6] - 227:24,        oral [3] - 6:5, 6:6,
                             Olives [1] - 43:25      140:23, 142:7, 143:5,
  134:15, 245:21,                                                            292:16, 292:17,           339:23
                             ON [2] - 2:3, 2:13      146:9, 146:13, 152:2,
  266:1, 272:13, 273:3,                                                      316:8, 316:9, 316:12       Orange [2] - 240:11,
                             on-premise [1] -        153:8, 156:25, 157:4,
  281:17, 283:12,                                                             opened [3] - 238:9,      240:12
                            27:15                    157:14, 160:7,
  345:12                                                                     240:17, 240:22             orange [2] - 299:23,
                             onboard [1] - 203:7     163:14, 164:25,
   occasion [7] - 28:9,                                                       opening [1] - 237:19     300:2
                             once [29] - 17:1,       165:10, 168:10,
  33:2, 33:8, 67:12,                                                          operating [1] - 204:2     orbit [3] - 270:14,
                            17:19, 18:6, 18:18,      169:21, 170:19,
  67:23, 72:4, 72:8                                                           operations [1] -         270:15, 270:19
                            42:2, 42:14, 45:7,       170:25, 172:23,
   occasionally [1] -                                                        203:11                     order [24] - 7:21,
                            51:13, 58:7, 58:9,       172:24, 175:22,
  19:3                                                                        operator [2] -           11:19, 30:11, 39:10,
                            77:15, 118:5, 122:21,    175:25, 176:1, 176:3,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 375 of 391 Page ID
                                  #:16975                                28


  41:24, 47:4, 98:25,         overridden [1] -         185:11, 185:13,           182:20, 183:6,              party [1] - 49:23
  101:13, 102:4, 106:9,      251:22                    186:19, 254:2, 254:7,     202:18, 222:18,             pass [7] - 45:15,
  106:23, 125:1,              overrule [2] - 46:22,    257:12, 267:7,            241:6, 244:21,             86:8, 144:11, 169:9,
  128:16, 130:6, 130:9,      178:4                     291:14, 292:15,           254:15, 260:13,            208:4, 275:25, 338:13
  133:23, 137:5, 139:1,       overruled [5] - 8:8,     292:19, 293:4, 293:8,     279:5, 285:10,              past [9] - 36:13,
  161:1, 193:15,             175:20, 266:14,           293:13, 293:16,           285:13, 286:10,            40:24, 68:12, 71:3,
  230:25, 243:12, 265:1      274:10, 297:20            304:9, 307:17,            288:3, 288:9, 288:10,      170:6, 199:12, 239:9,
   ordered [1] - 47:20        overseas [1] - 25:3      311:17, 311:18,           292:13, 295:4, 298:3,      243:24, 269:11
   ordering [1] - 72:5        own [12] - 25:11,        313:3, 333:12,            300:11, 300:14,             Patrick's [1] - 218:6
   orders [3] - 202:3,       28:16, 30:19, 87:15,      333:15, 333:21,           303:15, 317:7, 334:5        Patron [24] - 110:9,
  243:22                     102:1, 128:25,            333:22                     participant [3] -         114:7, 114:18,
   organic [1] - 25:12       168:12, 227:3,             pages [4] - 113:24,      113:17, 115:19, 124:7      114:19, 142:7, 142:8,
   organization [2] -        244:24, 248:8,            180:4, 180:15, 183:10      participants [32] -       157:1, 157:4, 184:14,
  27:21, 28:6                276:21, 301:14             paid [4] - 53:5, 91:4,   109:24, 113:8,             187:22, 188:5,
   organizational [1] -       owned [7] - 115:1,       246:17, 247:7             121:23, 124:25,            225:14, 226:1, 226:6,
  96:1                       115:4, 233:3, 289:17,      paint [9] - 87:10,       125:15, 132:23,            226:9, 226:16, 227:1,
   organized [1] - 340:1     296:23, 299:23            161:6, 161:18, 289:5,     143:3, 143:6, 148:1,       227:4, 227:6, 245:22,
   origin [1] - 260:16        owner [1] - 248:4        289:9, 289:14,            148:11, 149:7, 152:5,      246:3, 260:25, 324:14
   original [21] - 89:24,     owners [2] - 259:1,      307:12, 337:2, 337:3      152:22, 153:15,             Patrón [1] - 225:19
  99:19, 195:2, 195:13,      296:15                     painted [19] - 86:25,    153:21, 153:25,             pattern [2] - 264:23,
  228:25, 261:4,              owns [2] - 226:5,        161:8, 161:14,            154:17, 156:13,            264:24
  262:18, 264:22,            226:6                     162:20, 167:8, 186:7,     156:16, 158:1, 159:2,       Paul [4] - 226:1,
  265:4, 265:13,                                       213:18, 272:16,           159:6, 160:9, 163:17,      226:3, 226:5, 226:6
                                                       272:20, 288:20,           164:7, 164:24, 166:4,
  265:14, 265:15,                       P                                                                    PAUSE [4] - 50:25,
  288:1, 288:24, 316:4,                                288:22, 288:23,           166:6, 170:20,             274:15, 276:5, 313:8
  316:5, 337:24,                                       289:2, 308:6, 308:24,     194:10, 194:14,             pay [3] - 65:4,
  340:14, 344:18              P.C [1] - 2:10           316:14, 316:15,           194:24                     202:18, 244:20
   Original [1] - 28:4        Pacific [1] - 215:22     318:3, 337:7               participate [2] -          paying [2] - 111:12,
   originality [1] -          package [8] - 60:5,       painters [1] - 224:16    108:9, 108:11              155:15
  224:11                     60:22, 62:14, 234:22,      painting [4] - 224:12,    participated [2] -         payment [1] - 247:5
   originally [4] - 95:16,   283:13, 336:7, 338:5      307:11, 308:4, 308:22     145:7, 153:15               peaches [2] - 234:5,
  261:6, 279:10, 310:9        packages [1] - 94:19      pal [1] - 259:23          particular [24] -         234:8
   originated [1] -           packaging [36] -          Palisades [1] -          16:13, 16:16, 17:10,        peer [2] - 97:13,
  281:23                     26:16, 27:14, 33:16,      215:22                    51:23, 62:17, 86:22,       97:17
   originating [1] -         34:14, 36:21, 37:3,        paper [5] - 8:8,         94:13, 99:4, 99:20,         peer-reviewed [1] -
  281:22                     37:5, 37:11, 37:13,       227:17, 252:8, 285:2,     100:9, 104:22, 106:3,      97:17
   Orlando [1] - 38:19       37:24, 37:25, 38:5,       341:1                     118:14, 125:9, 132:6,       penalty [2] - 212:10,
                             39:5, 40:15, 40:16,        paperless [1] - 37:13    137:9, 150:7, 158:21,
   Orleans [3] - 238:3,                                                                                     212:11
                             59:14, 59:16, 59:20,       paradigm [1] - 66:10     164:24, 230:16,
  320:9, 320:10                                                                                              Penitentiary [1] -
                             59:22, 60:2, 60:11,        paragraph [3] -          264:10, 265:22,
   otherwise [3] -                                                                                          219:10
                             60:16, 60:19, 60:25,      254:8, 254:9, 281:5       266:6, 280:2
  112:14, 158:6, 272:6                                                                                       Penn [1] - 96:13
                             61:6, 61:7, 61:19,         parallel [2] - 117:14,    particularly [4] -
   Otis [1] - 220:16                                                                                         people [110] - 32:23,
                             61:23, 62:1, 62:3,        229:10                    88:4, 166:22, 195:9,
   Ottawa [5] - 215:9,                                                                                      62:6, 62:13, 62:19,
                             62:7, 62:12, 84:22,        Parallel [3] - 176:17,   280:6
  217:17, 217:18,                                                                                           62:24, 63:1, 71:16,
                             88:12, 89:15, 294:25      176:19, 177:5              parties [9] - 7:2, 7:3,
  218:6, 218:7                                                                                              71:19, 72:11, 100:10,
                              packagings [1] -          pardon [2] - 261:23,     7:15, 13:19, 16:19,
   ourselves [1] - 258:4                                                                                    100:16, 100:24,
                             61:10                     297:17                    95:1, 95:2, 95:6,
   outlandish [1] -                                                                                         102:10, 105:11,
                              Packard [1] - 297:2       parenthetically [1] -    175:6
  155:16                                                                                                    105:24, 107:7,
                              packet [1] - 15:13       248:16                     partner [6] - 24:15,
   output [2] - 165:6,                                                                                      107:25, 108:2, 108:3,
                              PAGE [2] - 3:6,           parents [1] - 217:4      25:21, 25:22, 245:21,      108:4, 111:10,
  275:23
                             347:15                     PARK [1] - 2:11          245:22, 246:8              111:15, 112:3, 112:4,
   outside [4] - 4:23,
                              page [50] - 49:2,         Parker's [1] - 242:2      partners [7] -            114:9, 118:12,
  5:3, 151:13, 160:10
                             49:9, 51:4, 51:5, 55:1,    part [43] - 15:10,       245:19, 245:20,            118:20, 122:3, 122:6,
   outstanding [2] -
                             69:19, 79:18, 79:20,      25:5, 25:17, 41:15,       247:1, 247:19,             122:15, 123:7,
  304:15, 340:18
                             79:22, 79:23, 180:13,     44:7, 44:10, 51:3,        247:20, 248:21,            123:15, 124:20,
   over-sucrose [1] -
                             180:17, 180:19,           78:6, 82:12, 82:18,       267:19                     125:13, 127:17,
  228:2
                             180:22, 180:25,           83:10, 85:17, 98:7,        partnership [1] -         131:4, 131:17,
   overall [4] - 27:17,
                             181:14, 181:18,           143:13, 147:20,           26:2                       132:11, 135:7,
  162:15, 268:3, 320:21
                             181:20, 182:4, 183:6,     147:21, 151:15,            parts [2] - 37:3,         135:11, 135:21,
   overlap [3] - 141:10,
                             183:12, 184:11,           159:19, 180:3,            323:1                      145:7, 149:20,
  141:25, 142:1
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 376 of 391 Page ID
                                  #:16976                                29


  149:25, 150:18,          134:5, 134:17, 138:3,    171:3, 331:21,            placed [9] - 30:24,         Plus [14] - 24:15,
  151:2, 151:12,           166:7, 248:7             331:23, 332:3            124:10, 124:22,             24:19, 24:20, 25:17,
  151:21, 153:3, 153:4,     percentages [2] -        phrase [1] - 207:18     206:24, 266:24,             25:20, 25:25, 26:3,
  153:9, 154:21,           119:3, 165:22             phrasing [6] -          279:10, 279:23,             28:25, 52:17, 53:7,
  154:22, 154:23,           Perez [1] - 78:15       106:24, 150:12,          284:17, 297:12              53:11, 53:23, 56:16,
  155:18, 155:25,           PEREZ [1] - 78:16       178:14, 178:18,           places [2] - 94:18,        56:21
  156:2, 156:14,            perfect [1] - 257:4     178:21, 179:2            105:11                       point [48] - 17:25,
  158:16, 164:19,           performed [1] -          Phyllis [2] - 296:23,    plaintiff [12] - 5:22,     20:7, 20:9, 26:17,
  164:23, 165:10,          220:22                   299:25                   9:8, 9:23, 12:18, 29:4,     35:21, 37:17, 44:25,
  165:13, 166:20,           perfume [1] - 233:24     physical [3] - 103:6,   91:18, 91:22, 92:16,        63:20, 69:11, 75:15,
  168:8, 171:2, 171:5,      perhaps [4] - 37:20,    103:19, 139:7            97:22, 198:5, 200:16,       77:22, 92:3, 92:8,
  174:24, 179:17,          102:11, 108:19, 188:2     physically [3] -        340:17                      114:15, 125:10,
  191:4, 191:12,            period [9] - 172:16,    130:7, 140:1, 168:3       Plaintiff [3] - 200:20,    150:3, 150:8, 150:18,
  191:18, 191:19,          173:11, 174:9,            pick [10] - 42:12,      214:11, 214:17              150:23, 157:10,
  192:4, 192:9, 195:3,     219:23, 244:10,          114:6, 145:22,            PLAINTIFF [2] -            158:21, 158:22,
  210:7, 213:21, 222:7,    247:19, 305:20,          188:25, 193:20,          1:13, 2:3                   179:9, 187:23, 197:4,
  222:9, 229:5, 235:13,    324:3, 324:5             196:3, 251:3, 286:23,     plaintiff's [1] - 199:3    220:4, 221:13,
  236:9, 239:10,            perjury [2] - 212:10,   314:23, 317:3             plaintiffs [9] - 4:11,     228:19, 229:1,
  239:15, 242:23,          212:11                    pick-up [1] - 42:12     4:15, 4:18, 6:22, 7:8,      232:12, 234:3,
  244:18, 255:1, 255:4,     permanent [1] -          picked [4] - 132:13,    15:6, 18:2, 129:17,         237:22, 242:3,
  255:20, 258:2, 259:8,    222:23                   165:10, 168:16,          338:24                      242:20, 248:13,
  259:11, 259:15,           permanently [1] -       193:16                    plaintiffs' [2] - 69:20,   249:14, 262:2, 263:1,
  259:17, 295:19,          221:2                     picking [6] - 42:9,     101:21                      293:1, 293:7, 293:18,
  298:11, 298:13,           permission [2] -        166:20, 166:23,           plan [11] - 6:17, 8:16,    293:22, 294:10,
  298:22, 300:16,          104:13, 336:10           195:13, 196:2, 196:18    9:17, 10:1, 27:18,          294:17, 310:12,
  301:16, 323:9,            permit [5] - 8:17,       picture [12] - 131:9,   27:24, 28:1, 28:2,          327:18, 332:15,
  323:16, 329:6,           8:18, 10:23, 51:3,       131:12, 133:10,          28:6, 200:8, 340:14         333:24
  330:25, 334:4, 334:5     199:10                   133:12, 134:7,            plane [1] - 268:15          pointed [7] - 74:3,
   People [2] - 293:14,     permitted [2] - 46:4,   186:18, 186:21,           planet [1] - 299:3         272:13, 333:13,
  293:19                   46:18                    209:17, 238:24,           planning [4] - 16:15,      333:15, 334:22,
   pepper [1] - 327:15      person [26] - 37:8,     266:3, 266:5, 266:7      20:7, 339:10, 345:10        336:16, 336:20
   peppers [2] - 327:10,   46:3, 116:4, 116:7,       pictures [11] -          plans [1] - 10:23           points [5] - 6:2, 69:2,
  327:12                   116:11, 116:15,          109:18, 109:21,           plant [2] - 67:5,          88:4, 138:3, 242:4
   Pepsi [1] - 329:25      116:19, 117:3, 117:6,    113:24, 131:9, 132:9,    234:10                       police [1] - 255:10
   per [1] - 21:2          117:19, 117:22,          132:24, 236:1, 254:5,     planted [1] - 169:1         politely [1] - 106:1
   percent [63] - 35:24,   118:3, 118:16,           265:16, 265:22, 267:6     plastic [1] - 319:16        pollution [1] - 232:25
  36:7, 76:24, 78:5,       118:19, 126:9,            piece [11] - 8:8,        platform [2] - 44:23,       pool [1] - 42:16
  78:8, 78:10, 78:11,      126:12, 127:2, 127:3,    224:25, 225:2, 225:3,    231:13                       popular [1] - 40:4
  118:24, 119:1, 119:4,    127:5, 146:5, 146:8,     225:4, 227:16, 252:8,     play [12] - 7:6, 7:9,       population [2] -
  120:10, 120:19,          156:21, 157:6,           272:15, 272:17, 285:2    7:11, 8:19, 8:21,           31:22
  120:20, 120:22,          181:14, 255:16,           pieces [6] - 224:18,    234:1, 236:12,               Poret [1] - 342:4
  134:7, 134:8, 134:13,    291:20                   230:10, 298:16,          244:21, 310:2, 310:3,        poret [1] - 344:15
  134:14, 134:16,           personal [4] - 72:15,   321:8, 321:16, 321:25    310:5, 331:19                poret's [1] - 343:22
  135:1, 135:2, 135:3,     75:9, 85:25, 246:18       piggybacking [1] -       PLAYED [1] - 310:7          portfolio [6] - 27:16,
  135:7, 135:11,            personally [7] -        274:24                                               28:3, 28:22, 44:8,
                                                                              played [6] - 5:9,
  135:24, 136:11,          206:14, 210:3,            piled [1] - 238:22                                  207:24, 208:2
                                                                             7:13, 8:20, 9:5,
  138:5, 138:6, 138:13,    230:17, 232:15,           pillars [1] - 43:5                                   portion [1] - 304:20
                                                                             220:16, 341:4
  141:1, 141:5, 160:15,    298:2, 331:23, 332:5      Pinnacle [1] - 142:5                                 portions [2] - 5:12,
                                                                              player [3] - 25:10,
  160:16, 164:18,           perspective [2] -        pipeline [5] - 42:1,                                8:23
                                                                             220:14, 220:17
  164:23, 165:9, 166:9,    174:17, 344:22           42:5, 42:18, 58:7,                                    position [6] - 25:20,
                                                                              Players [1] - 221:21
  166:11, 166:15,           pertain [1] - 30:20     58:9                                                 27:6, 28:8, 87:19,
                                                                              playing [3] - 9:2,
  166:20, 166:23,                                    pirates [5] - 320:24,                               203:19, 204:1
                            pertains [1] - 14:21                             204:7, 213:11
  173:5, 173:6, 174:22,                             321:5, 321:10,                                        positions [1] -
                            pertinent [1] - 156:3                             plays [1] - 292:22
  194:23, 195:21,                                   321:14, 321:20                                       203:22
                            PH [1] - 1:25                                     pleased [2] - 232:8,
  195:22, 195:23,                                                                                         positive [10] - 155:4,
                            phases [1] - 42:22       Pius [1] - 218:4        234:18
  196:12, 196:13,                                                                                        228:13, 228:14,
                            phenomena [1] -          place [8] - 32:19,       pleasing [6] - 230:2,
  246:25, 248:4, 248:5,                                                                                  241:3, 295:25, 297:9,
                           295:9                    60:22, 124:2, 199:16,    251:10, 251:11,
  248:6, 249:10, 289:18                                                                                  297:24, 298:5, 299:11
                            Philip [1] - 321:9      202:2, 235:20, 252:4,    252:16, 252:17,
   percentage [7] -                                                                                       positivized [1] -
                            phone [1] - 211:11      280:25                   326:25
  118:12, 118:20,                                                                                        296:2
                            photographs [4] -        placebo [1] - 112:6      plenty [1] - 206:10
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 377 of 391 Page ID
                                  #:16977                                30


   possession [2] -          premises [1] -             pretty [6] - 12:8,       1:19, 346:2, 347:14     142:12, 146:18,
  295:16, 296:13            235:10                     20:5, 122:13, 137:15,      proceedings [2] -      179:14, 184:13,
   possibilities [1] -       premium [50] - 31:8,      274:21, 301:13            16:10, 53:21            189:18, 204:11,
  233:7                     31:9, 31:11, 31:12,         previous [3] - 49:18,     process [19] - 42:3,   204:15, 204:23,
   possible [7] - 14:10,    32:8, 36:17, 36:22,        50:7, 50:8                57:1, 94:21, 101:2,     204:24, 205:4,
  40:3, 63:3, 65:18,        37:2, 37:4, 63:21,          previously [11] -        102:22, 108:14,         205:13, 205:15,
  66:2, 66:22, 71:12        63:22, 64:1, 64:12,        32:15, 40:25, 50:12,      108:16, 108:24,         206:2, 206:4, 206:5,
   possibly [5] - 40:24,    64:14, 68:21, 114:13,      50:14, 63:19, 108:20,     139:23, 140:14,         206:11, 206:16,
  62:18, 63:18, 63:23,      114:15, 114:16,            110:2, 130:22,            168:19, 230:21,         207:3, 207:16, 208:3,
  87:7                      114:25, 115:14,            168:24, 188:3, 344:13     233:17, 282:15,         213:14, 213:24,
   post [2] - 105:23,       132:16, 132:17,             price [26] - 44:5,       282:18, 282:23,         214:1, 225:14,
  246:3                     149:23, 158:8, 158:9,      62:10, 69:2, 69:10,       305:19, 331:7, 331:16   225:20, 231:16,
   postal [1] - 245:25      158:19, 158:20,            86:23, 88:4, 107:16,       ProdExpo [1] -         231:18, 232:13,
   Postal [1] - 220:2       158:23, 158:25,            107:17, 114:15,           241:23                  233:1, 233:9, 235:5,
   postee [2] - 245:23,     159:2, 180:6, 232:13,      125:9, 150:3, 150:7,       Produce [1] - 202:6    235:18, 236:5,
  245:24                    255:1, 290:12,             150:18, 157:18,            produce [5] - 43:11,   240:18, 242:25,
   posters [1] - 238:17     290:16, 291:18,            157:21, 157:22,           229:12, 234:11,         243:8, 243:23, 244:6,
   postpone [1] - 5:24      333:14                     158:21, 158:22,           243:20, 289:10          248:15, 256:9,
   potable [1] - 325:19      premiumness [1] -         180:5, 180:7, 210:13,      produced [4] - 56:3,   257:17, 258:22,
   potential [3] - 36:4,    37:11                      210:16, 210:19,           56:14, 189:7, 190:1     261:5, 261:16, 264:7,
  39:17, 220:25              preparation [2] -         210:22, 232:12, 265:1      producer [7] - 84:2,   282:21, 291:3,
   potentially [3] -        265:20, 312:9               prices [3] - 107:17,     84:18, 84:25, 221:4,    326:15, 331:12,
  141:13, 168:1, 168:18      Preparatory [1] -         157:23, 158:2             319:4, 319:8, 319:10    331:13, 332:24,
                            218:4                       pricing [7] - 26:16,      producers [1] -        334:11, 334:14,
   pour [6] - 249:17,
                             prepare [5] - 30:13,      27:14, 179:20, 180:1,     323:20                  334:19, 334:20
  323:6, 323:7, 323:8,
                            153:20, 282:9, 292:3,      180:10, 180:15,            producing [2] -         production [9] -
  323:17
                            292:12                     180:20                    221:10, 252:16          234:19, 243:19,
   poured [4] - 236:22,
                             prepared [17] - 6:20,      pride [1] - 294:4         product [140] -        243:22, 275:22,
  261:11, 261:12, 323:9
                            8:12, 18:6, 54:6,           prides [1] - 66:1        30:16, 33:16, 33:17,    279:11, 279:12,
   pouring [1] - 323:12
                            198:16, 211:10,             priesthood [1] -         34:14, 35:1, 35:7,      310:12, 316:6, 336:15
   power [2] - 87:23,
                            258:5, 282:11, 339:8,      218:10                    40:9, 44:4, 45:3,        products [73] - 25:3,
  298:21
                            340:5, 340:7, 340:8,        primarily [3] - 24:22,   45:12, 51:15, 67:13,    30:23, 34:25, 35:2,
   powers [1] - 298:4
                            340:12, 340:20,            26:15, 76:15              67:22, 74:1, 83:17,     38:25, 57:16, 57:21,
   PR [1] - 26:16
                            340:21, 343:19,             primary [1] - 217:7      86:17, 90:13, 90:20,    84:19, 85:1, 94:12,
   practical [1] - 345:3
                            344:10                      Principal [1] - 263:15   90:25, 94:13, 94:19,    95:13, 97:14, 98:17,
   practically [1] - 94:8
                             preparing [1] -            principal [3] -          100:9, 100:11,          101:3, 101:5, 101:8,
   practice [3] - 25:5,
                            187:13                     216:19, 216:23, 335:1     100:23, 100:24,         101:14, 102:23,
  94:9, 94:16
                             presence [2] - 5:4,        print [3] - 237:9,       101:7, 101:21, 102:2,   102:24, 103:1, 103:3,
   pragmatist [1] -
                            258:19                     237:14, 302:5             102:3, 102:5, 102:8,    103:9, 103:14, 104:1,
  298:10
                             present [4] - 6:9,         pristine [2] - 232:24,   102:9, 102:14,          104:4, 109:17,
   precise [1] - 231:3
                            6:17, 7:24, 101:11         322:13                    102:17, 103:4, 103:5,   109:22, 110:7, 116:3,
   predict [1] - 59:2                                                                                    116:6, 116:11,
                             presentation [12] -        private [3] - 95:1,      103:17, 103:25,
   predisposed [1] -                                                                                     116:14, 116:18,
                            38:18, 262:18, 268:4,      95:6, 175:6               104:5, 104:22,
  34:11                                                                                                  117:5, 117:17,
                            291:8, 291:17, 292:1,       privileged [1] -         109:19, 110:24,
   predominantly [1] -                                                                                   117:21, 118:16,
                            294:8, 294:20, 303:9,      224:18                    111:25, 116:4, 116:7,
  31:21                                                                                                  118:18, 118:21,
                            332:21, 333:17              problem [9] - 10:25,     116:12, 116:14,
   prefer [5] - 12:24,                                                                                   119:2, 126:8, 126:11,
                             presentations [1] -       11:4, 199:23, 252:21,     116:15, 116:25,
  15:13, 71:23, 260:24,                                                                                  130:7, 131:8, 137:6,
                            38:20                      252:23, 253:7,            117:2, 117:3, 117:19,
  260:25                                                                                                 137:7, 139:2, 139:8,
                             presented [8] -           327:24, 328:11,           117:21, 117:23,
   preference [2] -                                                                                      139:14, 139:15,
                            205:13, 206:4,             331:14                    118:2, 118:3, 118:6,
  72:15, 72:20                                                                                           139:17, 139:20,
                            212:22, 213:23,             problems [3] -           118:7, 118:14,
   preferences [1] -                                                                                     140:2, 141:8, 141:10,
                            292:4, 292:5, 292:12,      199:20, 199:21,           118:23, 125:24,
  31:25                                                                                                  142:16, 142:18,
                            292:19                     231:24                    126:3, 126:9, 126:12,
   preliminary [1] -                                                                                     143:14, 143:18,
                             preserve [1] - 13:22       proceed [6] - 23:20,     127:1, 127:6, 129:1,
  15:10                                                                                                  144:7, 156:25, 157:4,
                             president [6] - 27:6,     93:10, 144:15,            129:2, 129:3, 129:5,
   premeditated [1] -                                                                                    179:5, 179:12,
                            27:9, 52:12, 53:1,         214:24, 276:23,           129:6, 129:25, 130:2,
  256:10                                                                         130:4, 130:10,          194:10, 194:19,
                            93:20, 172:16              330:19
   Premier [1] - 259:24                                                          133:10, 133:11,         202:18, 207:11,
                             PRESIDING [1] - 1:8        proceeding [1] -
   premiere [1] - 222:20                                                         133:19, 134:2, 134:6,   207:24, 226:20, 327:4
                             prettiest [2] - 299:22,   23:13
   premise [2] - 27:15,                                                          134:18, 139:10,          professional [5] -
                            300:4                       PROCEEDINGS [3] -
  235:9                                                                                                  26:6, 66:21, 105:6,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 378 of 391 Page ID
                                  #:16978                                31


  242:10, 293:2             proposes [1] - 17:1      77:16, 177:4, 177:7      241:4, 244:24,            308:18, 313:10
   professionals [1] -      propped [1] - 314:4       publishes [2] -         244:25, 250:11,            question's [1] -
  27:22                     proprietary [1] -        97:13, 97:18             251:11, 251:14,           235:24
   Professor [1] -         28:15                      Pucker [1] - 142:5      251:16, 251:18,            questioned [1] -
  129:10                    props [1] - 276:21        pull [4] - 58:11,       252:8, 256:13, 257:9,     337:25
   proffer [15] - 12:21,    protect [5] - 256:16,    180:4, 277:21, 277:22    271:5, 271:12,             questioning [1] -
  13:2, 13:3, 13:8,        258:4, 262:4, 328:7,       purchase [13] -         271:15, 287:13,           50:5
  13:13, 13:14, 13:21,     330:2                     107:13, 125:7, 125:9,    291:4, 296:22,             questionnaire [1] -
  13:22, 339:7, 339:9,      protection [3] -         150:6, 150:7, 150:9,     313:25, 315:18,           107:9
  339:10, 339:15,          262:3, 262:15, 264:7      150:18, 159:2, 194:1,    324:16, 325:7,             questionnaires [1] -
  339:16, 339:24, 340:4     protects [1] - 256:4     201:25, 202:16, 210:8    325:13, 327:16,           153:25
   profile [3] - 233:15,    prototype [1] - 267:9     purchased [5] -         327:23, 327:25,            questions [78] -
  271:15, 317:5             prototypes [1] -         51:10, 104:14,           328:9, 328:10,            23:9, 30:1, 49:18,
   program [7] - 96:7,     332:4                     107:11, 125:6, 150:3     328:12, 328:20,           49:24, 70:24, 75:3,
  106:21, 113:16,           protrudes [3] -           purchaser [1] -         333:3, 333:4              80:23, 91:11, 100:10,
  221:9, 221:22, 231:3,    317:11, 317:13,           159:10                    puts [4] - 125:24,       101:12, 106:2, 106:3,
  237:13                   317:15                     purchasers [3] -        126:2, 126:9, 127:1       106:13, 106:24,
   programmed [1] -         proud [4] - 219:25,      64:14, 290:15, 290:19     putting [4] - 164:12,    107:2, 107:3, 107:4,
  106:22                   235:21, 236:4, 239:11      purchases [2] -         176:9, 187:19, 323:23     107:5, 107:7, 107:9,
   programming [1] -        provide [13] - 24:25,    205:7, 290:17                                      107:10, 108:9,
  27:15                    25:6, 29:5, 29:6,          purchasing [7] -                  Q               115:22, 115:23,
   progress [1] -          29:20, 30:7, 30:13,       64:22, 107:14, 108:3,                              115:24, 117:8, 118:9,
  289:24                   31:5, 35:11, 41:5,        150:5, 150:10,                                     118:11, 118:13,
                                                                               qualifications [2] -
   prohibition [2] -       136:15, 143:22,           150:11, 150:22                                     124:25, 125:2, 125:3,
                                                                              107:23, 145:10
  41:12, 202:12            154:10                     pure [10] - 65:24,                                125:12, 125:15,
                                                                               qualified [15] -
   project [4] - 25:7,      provided [4] - 35:21,    228:7, 294:2, 294:4,                               125:18, 126:16,
                                                                              106:4, 106:5, 109:23,
  244:24, 244:25,          113:23, 155:14, 344:4     296:8, 300:6, 300:7,                               126:18, 126:20,
                                                                              113:8, 115:19,
  266:25                    provider [1] - 140:10    300:8, 300:9, 322:5                                126:24, 127:11,
                                                                              121:22, 124:7,
   projects [2] - 25:11,    provides [1] - 24:20      purest [2] - 299:20,                              127:12, 127:14,
                                                                              125:15, 131:4, 143:2,
  247:17                    providing [1] - 29:19    300:5                                              132:5, 132:24, 133:3,
                                                                              143:6, 145:9, 194:9,
   proliferated [1] -       province [3] -            purity [8] - 66:13,                               133:4, 133:5, 133:6,
                                                                              194:14, 194:23
  76:3                     232:21, 232:22, 233:4     66:14, 228:9, 229:24,                              133:7, 133:8, 133:21,
                                                                               qualify [8] - 107:4,     140:21, 140:23,
   proliferation [3] -      Province [3] -           300:6, 300:24, 301:1,
                                                                              108:9, 123:8, 123:9,      145:11, 146:9,
  34:24, 39:23, 40:2       217:19, 217:20,           301:19
                                                                              125:1, 125:13, 151:2,     146:17, 148:21,
   promote [2] - 82:2,     320:13                     purport [1] - 296:15
                                                                              151:22                    150:20, 152:22,
  301:11                    provinces [1] -           purpose [5] - 18:23,
                                                                               qualifying [1] - 124:8   154:5, 154:6, 154:7,
   promoted [2] -          217:18                    47:9, 179:20, 195:4,
                                                                               quality [15] - 33:16,    154:15, 157:3,
  219:15, 260:2             proximate [5] -          263:12
                                                                              34:14, 83:17, 107:19,     158:13, 165:13,
   promoting [1] -         103:11, 103:14,            purposes [5] - 7:16,
                                                                              125:11, 214:1, 233:8,     165:23, 192:10,
  302:18                   139:3, 139:5, 139:7       16:15, 50:5, 285:20,
                                                                              241:12, 255:3, 255:9,     197:1, 211:23,
   promotion [1] -          proximately [1] -        339:1
                                                                              255:10, 255:13,           241:18, 266:9,
  26:16                    78:8                       PURSUANT [1] -
                                                                              261:21, 261:22, 338:4     275:12, 330:10, 331:3
   promotional [1] -        proximity [7] - 103:7,   347:11
                                                                               quarter [16] - 198:23,    quick [15] - 39:9,
  302:13                   103:16, 130:6, 139:9,      pursuing [1] -
                                                                              199:8, 270:4, 270:7,      39:12, 81:10, 81:14,
   promotions [1] -        139:15, 139:17, 140:4     244:17
                                                                              270:18, 270:20,           81:20, 85:16, 88:5,
  174:19                    psychic [1] - 322:24      purveying [1] - 337:6
                                                                              287:9, 287:17,            88:8, 88:13, 88:15,
   pronounced [4] -         psychology [1] -          push [2] - 251:19,      287:23, 287:24,
  315:11, 315:14,                                    300:20                                             89:8, 256:9, 273:3,
                           221:1                                              288:6, 288:8, 288:11,
  315:15, 317:23                                      put [63] - 5:5, 7:5,                              274:25, 326:15
                            public [8] - 27:14,                               288:13, 288:14, 326:1
   proof [1] - 325:19                                13:23, 15:1, 37:23,                                 quick-follow [4] -
                           174:21, 238:20,                                     quarters [1] - 244:5
                                                     62:20, 67:7, 84:19,                                256:9, 273:3, 274:25,
   proper [3] - 228:23,    239:2, 258:25,                                      quartz [3] - 297:4,
                                                     126:8, 126:11, 153:9,                              326:15
  260:18, 311:24           273:19, 301:7, 301:8                               322:25, 323:4
                                                     160:6, 164:11, 173:1,                               quick-follower [3] -
   properly [2] - 57:17,    Public [1] - 219:14                                Quebec [4] - 217:14,
                                                     173:3, 174:17, 180:6,                              81:10, 81:14, 81:20
  182:25                    publications [1] -                                217:16, 217:18,
                                                     180:11, 187:1,                                      quickly [3] - 39:16,
   property [1] - 323:3    96:24                                              320:14
                                                     194:20, 227:8, 227:9,                              153:1, 153:4
   proportions [5] -        publicity [4] -                                    QUESTION [12] -
                                                     227:20, 227:25,                                     quite [11] - 57:25,
  254:18, 268:8,           235:16, 237:12,                                    51:7, 51:10, 51:13,
                                                     228:3, 228:5, 228:8,                               166:8, 177:6, 177:8,
  271:21, 286:7, 325:17    238:15, 289:23                                     51:19, 51:22, 70:2,
                                                     229:20, 234:16,                                    224:12, 237:1,
   proposed [4] -           publish [1] - 79:11                               305:9, 306:11,
                                                     236:15, 238:17,                                    269:11, 271:10,
  16:19, 17:7, 344:4        published [3] -                                   306:15, 307:25,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 379 of 391 Page ID
                                  #:16979                                32


  272:19, 318:17,          rapid [2] - 103:18,        reads [1] - 46:1        10:2, 91:25, 92:5,       119:13
  334:18                  139:22                      ready [7] - 13:7,       92:12, 197:4, 197:10,     reference [12] - 28:9,
   quiz [1] - 153:5        rate [5] - 246:18,        47:25, 144:15,           197:14, 197:16,          77:16, 77:22, 79:23,
   quotations [1] -       246:21, 247:16,            339:15, 339:17,          200:2, 200:11,           80:14, 146:10,
  128:21                  247:25, 248:1              340:9, 343:15            330:17, 330:19,          146:13, 304:7, 304:8,
   quote [2] - 129:8,      rated [1] - 242:6          reaffirm [1] - 199:2    338:15                   307:19, 311:19,
  129:12                   rather [5] - 14:10,        real [11] - 42:17,       RECESS [3] - 92:6,      321:20
   quotes [1] - 153:9     141:17, 302:13,            159:21, 160:1, 160:2,    92:14, 200:13             referenced [1] -
                          339:16, 343:2              160:22, 169:7,            recessed [1] -          119:5
            R              Raul [4] - 3:3, 23:4,     171:14, 178:25,          338:18                    referred [6] - 99:20,
                          24:7, 24:14                245:7, 309:19, 314:3      recessing [2] -         112:11, 129:13,
                           RAUL [2] - 23:25,          really [30] - 38:12,    10:11, 10:20             306:20, 307:1, 314:14
   Radio [2] - 220:8,     24:7                       62:4, 67:21, 67:23,       recession [1] - 76:2     referring [12] - 31:1,
  220:10                   Ray [7] - 204:13,         84:23, 129:4, 139:19,     recipes [3] - 258:18,   40:17, 40:18, 73:25,
   radio [6] - 237:7,     204:16, 205:9,             160:22, 176:7,           301:19, 301:20           98:22, 103:20, 119:6,
  237:13, 237:15,         205:11, 206:4,             180:19, 199:1,            recognition [1] -       127:21, 136:24,
  238:18, 302:1           206:24, 213:25             213:23, 214:4, 217:9,    174:21                   253:25, 301:3, 342:13
   Radner [2] - 222:5,     reach [7] - 31:13,        224:12, 230:11,           recognize [1] - 131:1    reflected [3] - 180:9,
  222:10                  35:14, 36:23, 98:13,       231:15, 234:18,           recognized [1] -        181:10, 193:1
   Rafferty [3] - 4:23,   99:1, 99:5, 144:1          237:12, 242:11,          129:11                    reflecting [1] -
  13:10, 144:21            reached [2] - 14:5,       247:21, 259:15,           recollection [7] -      194:17
   RAFFERTY [30] -        177:11                     267:3, 270:8, 295:25,    56:4, 80:9, 80:21,        reflects [2] - 5:3,
  2:14, 13:10, 14:1,       reacting [1] - 275:10     296:4, 299:7, 309:25,    80:23, 81:5, 198:20,     193:3
  14:11, 15:1, 15:16,                                336:13                   285:19                    refresh [5] - 72:24,
                           reaction [5] - 232:7,
  15:19, 92:24, 144:16,                               realm [1] - 323:15       recommended [4] -       80:23, 81:5, 198:19,
                          236:7, 236:17,
  144:18, 151:9,                                      reason [8] - 53:18,     114:3, 120:16,           285:19
                          238:13, 257:15
  154:16, 164:2,                                     73:25, 132:13,           129:13, 167:23            refreshed [1] -
                           READ [1] - 304:16
  165:19, 170:3, 174:8,                              160:12, 167:25,           RECORD [1] -            280:18
                           read [71] - 5:14, 5:17,
  175:24, 177:18,                                    261:14, 321:11,                                    refreshes [2] - 80:9,
                          6:10, 6:12, 6:14, 7:17,                             304:16
  177:20, 178:6,                                     321:13                                            80:21
                          15:10, 15:11, 15:12,                                 record [14] - 5:3,
  182:16, 182:18,                                     reasonable [7] -                                  regard [2] - 125:20,
                          15:14, 16:24, 45:22,                                13:5, 13:23, 13:24,
  183:12, 184:1, 184:6,                              19:15, 19:16, 40:5,
                          46:12, 46:13, 49:1,                                 15:22, 24:6, 47:5,       126:21
  184:9, 192:10,                                     44:14, 188:10,
                          49:13, 49:15, 50:3,                                 47:21, 93:7, 199:16,      regarding [1] -
  196:25, 344:23, 345:2                              280:10, 280:11
                          51:5, 69:17, 69:21,                                 200:24, 214:21,          232:16
   Rail [1] - 219:6                                   reasonably [3] -
                          70:1, 79:20, 80:4,                                  277:12, 277:19            regardless [1] -
   Railway [3] - 219:1,                              127:20, 134:23,
                          80:19, 83:2, 131:16,                                 recorded [1] - 49:24    128:7
  219:5, 219:6                                       135:25
                          131:17, 131:25,                                      records [2] - 56:7,      regards [1] - 264:11
   rain [1] - 232:25      132:1, 177:4, 188:7,        reasoning [1] -         220:16                    region [1] - 304:2
   raise [10] - 9:16,     189:13, 190:8, 190:9,      154:18                    recoup [1] - 245:15      register [2] - 263:15,
  9:25, 12:11, 17:6,      190:10, 190:20,             reasons [8] - 46:5,      recreate [1] - 160:1    335:1
  23:24, 93:1, 200:6,     190:22, 190:24,            46:10, 74:7, 111:11,      recreating [1] -         registered [1] -
  200:18, 214:15,         190:25, 191:9,             111:15, 122:2,           160:2                    264:2
  345:22                  191:19, 192:7,             193:10, 333:24            RECROSS [1] - 3:3        Registered [1] -
   raised [3] - 235:24,   211:17, 212:21,             Rebecca [1] - 4:22       red [7] - 37:19,        264:3
  293:7, 345:17           212:23, 213:2,              REBECCA [1] - 2:15      88:11, 88:14, 88:15,      registration [1] -
   Ramiro's [1] - 202:7   253:19, 253:21,             rebirth [1] - 181:25    100:13, 102:11,          335:18
   Ramos [7] - 204:13,    262:8, 262:19,              rebuttal [3] - 18:1,    102:12                    regret [2] - 275:1,
  204:16, 205:9,          284:23, 285:21,            18:4, 20:10               Redding's [1] -         275:3
  205:11, 206:4,          293:9, 304:6, 304:14,       recalculating [1] -     220:17                    regretted [1] - 311:1
  206:24, 213:25          306:6, 306:10,             17:23                     REDIRECT [5] - 3:3,      regular [3] - 77:11,
   ramp [1] - 243:21      307:16, 307:24,             receive [3] - 7:7,      86:12, 192:13,           77:14, 159:10
   ran [2] - 113:12,      308:14, 308:17,            96:5, 97:25              212:15, 332:13            regularly [1] - 96:18
  113:13                  311:16, 313:3, 313:9,       received [6] - 46:16,    redirect [6] - 86:10,    REGULATIONS [1] -
   random [3] - 105:25,   339:11, 339:16,            46:23, 46:25, 96:11,     192:12, 211:24,          347:16
  106:12, 133:23          340:19                     241:5, 284:24            293:11, 330:12,           reinforced [1] -
   randomly [1] -          reading [11] - 7:20,       recent [2] - 177:6,     332:12                   267:15
  113:15                  51:3, 181:22, 190:3,       177:8                     reduce [1] - 265:1       reject [1] - 46:7
   range [4] - 36:12,     190:7, 190:10,              recently [3] - 34:21,    reenforced [1] -         relabeled [1] - 167:8
  119:4, 120:19, 120:25   190:19, 191:14,            212:21, 290:9            188:2                     relate [1] - 100:20
   rank [1] - 38:5        212:18, 304:20              recess [14] - 9:17,      refer [2] - 116:20,      related [19] - 35:13,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 380 of 391 Page ID
                                  #:16980                                33


  35:18, 36:5, 44:1,          remove [2] - 195:5,       REPORTER [4] -           130:16, 130:19,          134:18, 137:16,
  63:5, 63:8, 63:11,         252:7                     1:23, 347:3, 347:9,       130:20, 131:3,           137:19, 137:20,
  67:9, 68:4, 96:19,          removed [4] - 152:1,     347:24                    132:12, 132:21,          137:22, 140:25,
  97:10, 102:24, 136:1,      155:16, 155:18, 156:2      REPORTER'S [1] -         133:2, 133:4, 134:4,     141:4, 143:17,
  139:2, 168:17,              removing [1] -           1:19                      134:12, 135:9,           146:16, 166:9,
  185:15, 194:11,            196:19                     reports [6] - 30:17,     135:21, 136:20,          166:11, 168:15,
  194:15, 248:10              render [5] - 45:23,      55:18, 56:5, 156:10,      136:21, 137:3, 137:4,    168:16
   relatedness [1] -         70:25, 97:22, 98:8,       180:13, 182:7             137:9, 137:20,            responding [1] -
  72:8                       98:10                      Reposado [6] -           138:12, 138:14,          242:23
   relating [2] - 103:7,      rendered [5] - 45:25,    160:13, 181:3, 185:9,     138:18, 138:19,           response [16] -
  226:19                     63:4, 75:11, 75:23,       210:17, 289:10,           138:20, 138:21,          118:13, 127:20,
   relations [1] - 27:15     76:8                      318:11                    140:3, 140:20,           127:21, 146:6,
   relationship [3] -         rendering [3] -           represent [5] -          140:22, 153:3,           149:10, 149:20,
  104:23, 204:19,            309:15, 309:18,           108:1, 144:22,            166:19, 173:12,          154:5, 156:24,
  204:22                     309:21                    193:25, 204:23,           179:16, 179:19,          156:25, 157:3,
   relationships [1] -        rented [1] - 237:24      296:15                    179:22, 179:23,          157:14, 239:12,
  104:8                       reopen [1] - 338:25       representations [1] -    180:1, 180:3, 180:8,     239:16, 274:19,
   relatively [6] - 64:15,    rep [1] - 204:13         179:5                     180:9, 193:23,           344:19, 345:17
  100:8, 120:19,              repeal [1] - 41:12        representatives [1] -    196:18, 306:18,           responses [11] -
  137:12, 195:11,             repeat [2] - 307:19,     42:7                      306:24                   23:10, 122:14,
  242:19                     311:19                     represented [3] -         researcher [2] -        122:15, 140:19,
   relevance [1] -            repertoire [2] - 33:7,   208:14, 208:22,           295:5, 295:9             148:21, 156:6,
  297:18                     36:12                     276:11                     researches [1] -        156:11, 156:22,
   relevant [3] - 55:15,      replaced [1] - 110:14     representing [3] -       137:13                   157:2, 157:13, 195:15
  141:13, 141:15              replica [7] - 254:18,    213:13, 276:13,            researching [1] -        responsibilities [3] -
   reliable [4] - 77:25,     266:1, 271:22,            276:14                    227:23                   26:13, 27:9, 202:14
  78:2, 78:11, 145:3         274:25, 299:12,            represents [1] -          resemblance [1] -        responsible [3] -
   relied [1] - 71:8         336:15, 337:24            108:6                     329:1                    26:14, 26:20, 27:11
   relieve [1] - 10:16        replicate [5] -           reproduce [1] -           resembled [2] -          rest [8] - 7:8, 17:25,
   religion [1] - 240:25     108:24, 171:14,           162:12                    163:2, 163:9             22:12, 155:13,
   religious [2] - 298:3,    193:15, 193:17, 194:6      requesting [1] - 21:7     resembles [1] -         157:12, 199:4,
  338:1                       replicated [2] -          required [2] - 47:22,    163:8                    338:25, 340:17
   rely [1] - 28:9           121:17, 250:19            154:18                     resembling [4] -         restaurant [4] - 37:8,
   remain [2] - 197:11,       replicates [6] -          requirement [4] -        163:20, 164:5, 167:1     72:6, 90:23, 90:25
  223:25                     101:1, 102:22,            101:20, 102:4,             residence [2] -          Restaurant [1] -
   remake [1] - 244:12       108:18, 139:23, 194:5     102:16, 102:19            215:13, 216:21           202:8
   remarkable [1] -           replicating [5] -         requirements [2] -        resident [1] - 215:11    restaurants [5] -
  38:16                      110:2, 115:15,            101:16, 101:18             resolution [1] -        30:23, 42:4, 90:16,
   remember [39] -           121:10, 152:24,            requires [3] - 128:24,   260:18                   90:19, 201:24
  81:11, 84:9, 102:21,       193:11                    251:18, 253:2              resolve [5] - 21:14,     resting [1] - 9:23
  108:17, 110:1,              replication [3] -         reread [1] - 308:13      188:20, 188:23,           restrict [1] - 239:17
  119:15, 137:25,            261:22, 271:16, 329:1      research [90] -          190:11                    result [11] - 32:9,
  138:4, 138:7, 143:15,       reply [1] - 182:20       27:14, 28:10, 28:12,       resolved [1] - 7:5      41:11, 76:2, 118:8,
  146:22, 146:23,             report [20] - 30:4,      28:14, 28:15, 28:18,       resources [1] - 57:18   119:10, 128:12,
  146:25, 155:1,             30:5, 35:21, 54:20,       30:19, 30:21, 36:1,        respect [2] - 40:16,    232:9, 267:6, 267:12,
  155:21, 157:23,            54:23, 55:2, 55:10,       36:2, 70:23, 71:14,       75:1                     273:15, 292:10
  178:13, 178:17,            74:4, 75:12, 75:23,       85:24, 93:20, 94:1,        respected [1] - 225:8    results [13] - 113:3,
  178:21, 179:1,             76:8, 113:21, 113:23,     94:5, 94:11, 95:24,        respects [1] - 254:17   113:4, 118:10,
  179:13, 180:12,            128:22, 129:14,           96:1, 96:4, 96:15,         respond [1] - 141:21    127:15, 127:22,
  193:10, 195:4,             136:23, 137:17,           96:19, 96:23, 97:14,       responded [2] -         128:14, 128:20,
  206:20, 212:18,            155:21, 173:13,           97:18, 98:10, 98:19,      226:21, 226:25           129:22, 134:3,
  218:2, 232:3, 235:19,      173:17                    98:20, 98:22, 105:9,       respondent [8] -        134:10, 170:17,
  238:8, 242:16, 276:9,       reported [2] - 5:7,      105:16, 106:19,           101:24, 101:25,          173:4, 194:21
  283:25, 284:19,            298:23                    109:3, 109:11,            102:1, 122:7, 128:25,     retail [21] - 38:24,
  284:22, 333:12,             REPORTED [1] -           111:18, 112:1, 112:6,     133:24, 153:6, 166:7     41:16, 42:8, 69:10,
  335:16, 336:22, 337:8      347:14                    113:11, 114:19,            respondents [22] -      107:16, 107:17,
   remind [1] - 332:18        reporter [2] - 304:12,   119:13, 121:15,           100:16, 100:17,          109:5, 109:12,
   reminded [1] - 267:7      304:14                    121:17, 123:1,            100:18, 118:24,          157:21, 157:22,
   reminiscent [1] -          Reporter [2] - 97:17,    123:20, 124:13,           119:1, 119:3, 124:16,    157:23, 158:2,
  161:24                     97:18                     125:22, 129:14,           124:17, 134:6,           201:23, 210:13,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 381 of 391 Page ID
                                  #:16981                                34


  210:16, 210:19,             role [6] - 36:21,         217:6, 217:7, 231:22,     206:23, 207:25,           seat [3] - 93:6,
  210:22, 235:8,             221:9, 234:7, 234:9,       279:11, 331:12            208:16, 209:12,          200:23, 214:20
  235:10, 235:12,            244:14, 292:23              runway [1] - 219:9       209:14, 209:17,           seated [4] - 22:25,
  273:17                      roles [1] - 244:11         Russian [2] - 232:17,    224:23, 232:3, 232:7,    92:7, 197:20, 200:14
   retailers [2] - 240:10,    roll [4] - 41:23,         241:24                    236:9, 250:2, 250:10,     Second [2] - 221:14,
  258:25                     234:25, 235:2, 313:25       Russians [1] -           251:10, 255:18,          222:11
   retails [2] - 69:4,        rolling [2] - 28:2,       241:25                    256:10, 257:15,           second [28] - 25:5,
  69:10                      140:15                                               257:23, 274:17,          27:3, 35:10, 35:12,
   retained [9] - 29:5,       rolls [1] - 314:4                    S              282:4, 286:12,           42:4, 85:16, 94:16,
  95:3, 95:5, 97:21,          ROOM [1] - 1:24                                     326:14, 326:20           120:14, 129:12,
  98:5, 113:21, 136:14,       room [18] - 78:15,                                   sax [1] - 220:16        133:7, 147:4, 147:21,
  167:24, 175:2                                          sacrifice [2] - 244:7,    scale [2] - 128:6,      155:21, 160:20,
                             106:6, 106:14,
   retired [1] - 246:3                                  275:15                    128:7                    162:19, 180:14,
                             108:12, 109:15,
   rettig [1] - 340:12                                   sacrificed [1] -          scales [4] - 128:5,     181:6, 184:14,
                             123:10, 124:9,
   Rettig [1] - 4:23                                    275:19                    128:9, 128:11, 128:12    213:25, 221:16,
                             124:10, 131:7,
   return [2] - 42:16,       145:10, 151:22,             safe [1] - 20:2           scenario [4] -          227:15, 245:22,
  338:16                     197:12, 222:7,              sale [4] - 88:1, 90:2,   108:18, 110:2,           293:1, 293:8, 293:14,
   returned [1] - 276:7      225:21, 236:2,             248:13, 332:8             169:17, 193:11           293:18, 294:10,
   revealed [1] - 71:2       238:21, 259:2, 285:1        sales [22] - 26:16,       schedule [5] - 10:9,    319:13
                              rose [1] - 14:13          29:16, 37:7, 44:22,       18:3, 246:18, 275:23,     second-to-last [2] -
   revenue [3] - 28:7,
                              Rosi [2] - 223:21,        45:8, 52:13, 58:17,       338:17                   293:1, 294:10
  58:8, 78:5
                             223:23                     72:23, 73:14, 73:18,       schematic [1] -          secondly [1] -
   review [20] - 30:3,
                                                        74:1, 74:8, 74:15,        231:6                    107:11
  49:7, 50:23, 54:17,         Rossi [1] - 28:5
                                                        75:1, 75:8, 75:24,         scholarship [1] -        section [4] - 40:12,
  54:19, 56:2, 73:24,         rotating [1] - 217:7
                                                        76:5, 78:4, 258:3,        96:9                     55:4, 169:10, 180:25
  74:16, 77:11, 77:13,        roughly [2] - 239:20,
                                                        300:11, 300:15             school [10] - 217:12,    SECTION [1] -
  80:14, 80:15, 97:13,       270:23
                                                         salsa [2] - 327:10,      218:1, 218:3, 218:4,     347:12
  136:16, 137:22,             round [6] - 265:3,
                                                        327:12                    218:5, 218:15,            sections [2] - 51:2,
  173:17, 281:12,            265:7, 265:14,
  311:25, 312:1, 313:6                                   salt [1] - 327:15        218:20, 218:21,          169:8
                             269:10, 312:17,
   reviewed [18] -                                       Sam [1] - 295:10         220:22, 323:11            security [3] - 203:10,
                             312:19
  28:14, 30:15, 30:19,                                   San [3] - 238:4,          School [4] - 95:20,     203:11, 203:12
                              rounded [1] - 112:17
  49:11, 51:1, 54:6,                                    240:15, 241:22            95:22, 217:13, 218:6      see [131] - 23:6,
                              rounder [5] - 312:15,
  54:10, 54:13, 54:19,                                   SAN [1] - 2:20            schools [1] - 295:18    30:23, 32:13, 37:21,
                             312:24, 313:11,
  54:21, 55:24, 56:5,        313:13, 313:15              sanction [1] - 257:21     science [2] - 95:17,    37:23, 50:21, 53:22,
  56:6, 73:4, 73:18,          routine [2] - 195:11       sangria [1] - 25:12      299:5                    54:4, 55:5, 56:19,
  80:17, 80:25, 97:17         rows [1] - 171:11          Santillan [1] - 298:16    scientific [1] -        100:10, 100:19,
   reviewing [1] - 313:7      royal [2] - 219:20,        sapphire [1] - 37:18     170:16                   100:23, 101:10,
   RHOW [1] - 2:10           219:22                      Sapphire [1] - 28:4       scintilla [1] - 149:7   101:19, 102:14,
   RIGGET [1] - 2:15          Rule [1] - 293:6           Sark [1] - 26:22          scope [1] - 75:2        103:24, 103:25,
   right-hand [1] -           rule [5] - 7:22, 47:18,    sat [1] - 286:10          Scotch [1] - 26:22      104:4, 104:19, 105:8,
  183:15                     50:24, 339:13, 342:15       satiny [1] - 323:18       scotch [4] - 32:2,      105:18, 107:6, 107:8,
   rights [14] - 256:4,       ruled [1] - 340:19         satisfied [1] - 232:8    32:16, 33:1, 34:9        108:24, 109:16,
  256:17, 279:13,             ruler [4] - 269:14,        Saturday [4] - 221:4,     Scotches [1] - 28:5     109:20, 110:6,
  279:15, 327:21,            269:19, 285:25,            222:12, 222:16,            screen [11] - 101:20,   110:13, 113:16,
  335:5, 335:7, 335:8,       286:24                     222:20                    105:8, 105:19, 107:6,    113:18, 116:3, 116:6,
  335:9, 335:10,              rules [6] - 6:7, 7:25,     save [1] - 253:16        109:17, 137:22,          116:14, 117:18,
  335:11, 335:25,            14:6, 46:15, 46:19,         saving [1] - 272:17      158:17, 159:5,           117:21, 118:22,
  336:25                     342:19                      savings [1] - 265:2      250:11, 265:17, 342:5    118:25, 119:2, 120:7,
   rise [6] - 22:20, 92:4,    ruling [1] - 6:1           saw [51] - 32:1, 32:7,    Screen [1] - 220:10     120:9, 122:1, 122:2,
  197:17, 308:9,                                        38:18, 40:20, 40:22,       screened [1] -          122:6, 122:9, 122:25,
                              rulings [7] - 8:7,
  338:21, 345:25                                        40:25, 44:3, 45:2,        159:11                   123:2, 129:1, 131:19,
                             8:18, 9:3, 9:15,
   risk [1] - 19:10                                     45:4, 48:17, 51:8,         screening [1] - 159:1   132:23, 133:3, 134:5,
                             343:15, 343:21,
   ritual [1] - 181:25                                  51:13, 89:21, 113:10,      scripted [1] - 133:3    135:6, 137:9, 137:21,
                             345:19
   RNDC [1] - 259:21                                    113:12, 115:19,            scrying [2] - 228:11,   138:6, 138:8, 139:10,
                              rum [7] - 32:3, 33:14,
   road [2] - 219:14,                                   115:21, 124:17,           296:2                    139:12, 139:13,
                             63:9, 63:23, 65:11,
  275:22                                                131:9, 133:7, 145:14,      sculpture [1] - 229:1   139:24, 139:25,
                             67:18, 207:23
   Robert [2] - 242:2                                   145:17, 145:20,                                    142:4, 142:6, 150:17,
                              Rum [3] - 28:3, 33:3,                                Seagrams [3] -
   robust [1] - 28:12                                   156:23, 169:13,                                    152:2, 168:19,
                             67:17                                                207:21, 208:3
                                                        195:18, 206:1,                                     168:25, 169:3,
   Rocky [1] - 259:20         Rum's [1] - 67:17                                    seal [1] - 85:9
                                                        206:16, 206:20,                                    169:13, 171:15,
   Rod's [1] - 219:19         run [6] - 113:20,                                    search [1] - 230:18
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 382 of 391 Page ID
                                  #:16982                                35


  171:16, 181:15,           141:24, 142:18,            session [7] - 5:15,       288:23, 306:4, 309:6,    261:7, 262:1, 302:3,
  182:2, 184:15,            202:17, 205:4,            9:17, 9:18, 12:7,          309:9, 327:6, 327:22,    337:16
  184:20, 185:11,           205:16, 205:17,           18:12, 341:15, 344:9       328:20, 329:2, 329:3,     showed [29] -
  186:1, 186:13,            206:11, 207:24,            SESSION [2] - 1:20,       329:9, 329:13,           108:25, 109:15,
  186:22, 186:24,           209:9, 228:9, 232:13,     4:3                        329:17, 329:22,          109:18, 110:13,
  187:3, 187:17,            243:6, 243:16,             sessions [2] -            335:15, 336:25,          115:18, 116:5, 116:7,
  193:13, 194:18,           256:24, 300:21,           246:20, 301:17             337:3, 337:6             116:12, 116:16,
  195:7, 196:8, 209:19,     327:10, 327:14,            set [26] - 8:19, 16:19,    share [5] - 134:10,     117:3, 117:19,
  209:20, 226:21,           327:19, 329:21,           17:1, 101:12, 107:5,       135:5, 141:18,           117:23, 118:3, 119:5,
  231:15, 233:19,           334:14                    117:8, 117:11,             142:16, 142:17           124:6, 127:7, 130:23,
  238:19, 239:8,             selling [20] - 42:17,    117:13, 125:12,             shared [1] - 51:23      130:24, 131:8,
  243:24, 250:1, 250:6,     114:20, 114:24,           126:16, 126:24,             shares [3] - 290:4,     131:11, 137:20,
  252:20, 257:16,           115:2, 115:9, 132:15,     127:11, 127:12,            290:8, 290:10            146:8, 151:11, 152:4,
  263:2, 263:9, 263:17,     142:15, 170:7,            133:6, 133:7, 133:8,        sheet [1] - 341:1       160:8, 163:19, 166:3,
  264:3, 265:6, 265:10,     170:10, 180:23,           134:9, 143:16,              shelf [8] - 62:20,      255:19, 279:20
  266:12, 266:23,           180:24, 188:13,           193:23, 193:24,            101:4, 101:11, 103:1,     showing [7] -
  266:25, 268:17,           193:17, 205:19,           228:17, 238:14,            139:8, 139:12, 161:3,    109:12, 123:14,
  272:7, 276:13, 278:4,     225:12, 277:7, 277:9,     238:20, 243:9, 243:10      171:10                   123:15, 123:17,
  279:7, 281:25,            293:22, 327:3, 329:4       sets [4] - 7:5, 118:13,    shelves [3] - 235:15,   123:19, 131:8, 135:21
  284:20, 285:10,            sells [2] - 90:15,       128:20, 130:5              273:18                    shown [24] - 109:21,
  285:13, 285:15,           329:23                     settle [2] - 16:21,        SHERI [3] - 1:23,       109:23, 110:25,
  287:12, 288:15,            semantics [1] -          18:5                       347:9, 347:23            111:1, 111:2, 113:8,
  290:25, 294:12,           161:11                     settled [2] - 230:8,       shift [3] - 32:1,       124:9, 127:17,
  299:7, 315:17, 316:6,      seminar [1] - 258:22     233:10                     76:11, 76:13             132:11, 133:11,
  318:20, 334:24,            seminars [1] - 96:22      settling [1] - 17:12       shifting [2] - 31:25,   145:11, 151:23,
  338:19, 345:23             Seminary [1] - 218:4      seven [4] - 162:18,       32:7                     152:6, 160:9, 162:8,
   see-through [1] -         seminary [3] - 218:8,    234:3, 247:14, 322:18       shipped [1] - 261:10    163:16, 164:24,
  37:21                     218:13, 218:14             several [6] - 38:4,        ships [1] - 321:17      168:8, 168:9, 169:3,
   seeing [21] - 39:22,      send [2] - 229:15,       207:18, 211:1,              shirt [3] - 104:10,     169:4, 170:19, 279:5
  39:24, 101:24,            247:4                     224:18, 253:13,            104:12, 104:13            shows [6] - 35:22,
  101:25, 123:8,             sending [1] - 239:10     256:12                      shop [1] - 221:23       100:9, 118:10,
  123:15, 127:21,            senior [3] - 27:6,        shake [1] - 76:3           shopping [1] -          165:22, 182:23,
  135:12, 135:20,           27:9, 52:12                shake-out [1] - 76:3      261:18                   182:24
  135:23, 136:5, 136:6,      sense [4] - 32:20,        shakers [1] - 248:14       short [9] - 17:22,       shut [2] - 10:6,
  146:6, 149:10,            69:2, 290:13, 320:22       shaking [2] - 236:1,      19:20, 21:21, 22:18,     205:23
  149:20, 166:19,            sent [2] - 258:5,        339:19                     85:7, 184:10, 197:4,      side [25] - 12:2,
  267:12, 267:13,           277:3                      shape [17] - 38:7,        199:2, 343:10            12:14, 17:6, 21:2,
  286:7, 288:8, 310:25       sentence [1] -           40:19, 43:1, 59:17,                                 21:11, 22:4, 46:18,
                                                                                  shorter [1] - 9:19
   seek [1] - 244:16        333:25                    122:11, 122:12,                                     109:9, 109:10,
                                                                                  shortly [2] - 40:10,
   seeking [1] - 228:23      separate [6] -           162:15, 163:2,                                      131:10, 131:12,
                                                                                 103:5
   seem [3] - 9:7, 183:5,   113:24, 141:9,            163:20, 164:5, 168:8,       shot [2] - 203:14,      139:8, 186:5, 189:22,
  268:9                     141:17, 191:1,            168:10, 206:8, 207:2,      248:13                   217:19, 243:5,
   sees [7] - 39:15,        338:11, 339:24            207:12, 263:20, 265:7       shots [1] - 225:22      289:23, 295:25,
  108:18, 110:3, 110:4,      September [4] -           shaped [59] - 41:1,                                297:8, 297:9, 337:16,
                                                                                  Show [2] - 230:7,
  168:23, 168:24,           222:17, 235:23,           87:10, 89:22, 111:8,                                341:19
                                                                                 249:22
  169:17                    235:25, 262:20            111:21, 111:23,                                      sided [1] - 322:25
                                                                                  show [37] - 100:15,
   segment [1] - 40:1        Sepúlveda [1] -          112:12, 112:14,                                      sides [4] - 265:8,
                                                                                 100:17, 100:23,
   seized [1] - 273:17      240:9                     113:3, 113:6, 119:17,      101:7, 102:2, 102:9,     297:8, 297:25, 299:8
   selected [8] - 17:4,      serial [1] - 262:24      120:6, 121:4, 121:6,       102:14, 109:18,           sidetracked [1] -
  116:25, 118:14,            series [4] - 101:8,      121:11, 121:12,            125:14, 135:15,          15:25
  118:21, 118:22,           107:8, 122:6, 316:15      121:13, 121:16,            135:16, 145:18,           sight [1] - 152:1
  118:23, 119:1, 119:3       seriously [2] - 178:8,   132:18, 132:20,            162:7, 170:11,            sign [4] - 211:7,
   selecting [1] -          178:12                    168:20, 191:17,            170:14, 170:21,          212:7, 238:22, 239:7
  122:16                     servers [1] - 242:21     194:7, 195:7, 196:6,       170:24, 187:16,           signature [2] -
   selection [1] -           Service [2] - 219:10,    206:12, 206:17,            220:24, 221:1,           281:14, 281:15
  179:14                    219:19                    206:21, 225:12,            222:18, 223:5,            signed [5] - 211:18,
   Self [1] - 202:6          service [3] - 25:1,      226:22, 226:23,            225:18, 230:6, 237:9,    212:9, 212:11,
   sell [27] - 25:13,       201:23, 259:4             256:5, 257:1, 273:12,      239:15, 250:3,           281:17, 326:1
  41:16, 41:19, 41:24,       services [3] - 24:21,    277:9, 278:9, 278:11,      252:13, 257:11,           significance [1] -
  44:24, 87:24, 90:13,      25:1, 94:12               283:11, 283:17,            258:17, 258:20,          43:2
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 383 of 391 Page ID
                                  #:16983                                36


   significant [2] - 88:3,   107:14, 158:18,         309:21, 311:14,          153:9, 153:12,            105:23, 108:8, 110:2,
  144:6                      159:3, 234:3, 265:8     312:21, 313:13,          153:14, 153:20,           150:13, 150:21,
   significantly [1] -        size [3] - 107:15,     325:7, 325:9, 325:15,    162:18, 163:5, 163:6,     155:12, 157:10,
  34:19                      137:15, 270:12          327:6, 327:22, 328:9,    187:11, 187:15,           157:13, 161:18,
   signing [3] - 237:14,      skeleton [1] - 122:7   328:20, 329:2, 329:3,    196:8, 344:14             168:23, 169:17,
  238:8, 239:15               skeptics [1] - 229:5   329:9, 329:13,            Slide [6] - 142:23,      183:8, 185:13,
   signings [8] - 38:23,      sketched [1] -         329:17, 329:22,          160:6, 160:7, 187:1,      187:24, 193:12,
  174:19, 237:11,            227:16                  335:15, 336:25,          187:2, 194:20             212:7, 251:19,
  238:14, 246:19,             sketches [4] -         337:3, 337:6              slides [6] - 109:21,     261:15, 261:16,
  302:9, 325:21              229:12, 229:14,          skull-like [1] -        132:11, 164:11,           272:7, 280:10, 289:4,
   silent [1] - 37:7         230:22, 230:24          112:24                   186:25, 187:6             289:9, 289:13
   silver [1] - 226:9         skill [1] - 224:9       skull-shape [1] -        slight [2] - 75:16,       someplace [1] -
   Silver [6] - 40:10,        skills [1] - 225:8     43:1                     251:7                     296:5
  110:9, 114:18, 142:8,       skip [1] - 184:23       skull-shaped [52] -      slightly [1] - 110:20     sometime [3] - 7:20,
  184:15, 188:5               skull [133] - 38:7,    41:1, 87:10, 89:22,       small [5] - 25:2,        227:13, 312:7
   similar [22] - 40:15,     41:1, 43:1, 44:5,       111:8, 111:21,           106:8, 166:8, 244:14,      sometimes [12] -
  86:23, 101:12, 103:9,      85:16, 86:23, 87:10,    111:23, 112:12,          309:17                    47:4, 47:14, 62:6,
  113:2, 123:6, 125:2,       89:22, 109:25, 111:8,   112:14, 113:3, 113:6,     smaller [5] - 40:6,      62:15, 95:1, 95:2,
  125:19, 128:8,             111:21, 111:23,         119:17, 120:6, 121:4,    71:15, 134:15,            95:6, 103:12, 212:10,
  130:20, 132:16,            112:12, 112:14,         121:6, 121:11,           184:13, 196:15            212:11, 228:5
  132:19, 139:16,            112:23, 112:24,         121:12, 121:13,           smart [1] - 157:16        somewhat [2] -
  207:2, 207:12,             113:3, 113:6, 119:17,   121:16, 168:20,           smell [5] - 227:24,      99:18, 173:4
  271:24, 273:14,            120:6, 120:15, 121:4,   194:7, 195:7, 196:6,     233:20, 233:21,            somewhere [5] -
  273:21, 274:6,             121:6, 121:11,          206:12, 206:17,          233:23                    166:12, 198:10,
  338:12, 343:11             121:12, 121:13,         206:21, 225:12,           smile [3] - 229:23,      225:5, 297:10, 342:11
   similarities [7] -        121:16, 122:11,         226:22, 226:23,          272:21, 316:14             son [1] - 259:24
  272:24, 273:4,             122:13, 127:19,         256:5, 257:1, 273:12,     smiling [2] - 236:9,      soon [5] - 14:9,
  286:12, 288:24,            129:13, 134:22,         277:9, 278:9, 278:11,    316:9                     237:19, 240:21,
  337:22, 337:23             161:23, 162:24,         283:11, 283:17,           Smirnoff [9] - 40:5,     280:5, 280:12
   similarity [4] - 44:5,    163:2, 163:3, 163:8,    288:23, 306:4, 309:6,    40:8, 43:21, 67:19,        sooner [1] - 14:20
  87:1, 254:17, 268:4        163:9, 163:13,          327:6, 327:22,           68:1, 84:10, 84:11,        sophisticated [4] -
   similarly [1] - 127:10    163:15, 163:17,         328:20, 329:2, 329:3,    142:14, 188:8             64:15, 230:10,
   Simmons [1] - 140:9       163:20, 164:5, 165:8,   329:9, 329:13,            Smirnoff's [1] - 85:4    290:20, 290:21
   simple [4] - 70:7,        167:2, 167:3, 167:19,   329:17, 329:22,           Smithsonian [5] -         sorry [24] - 35:20,
  133:14, 191:13,            167:22, 168:1, 168:4,   335:15, 336:25,          224:24, 225:3,            59:11, 73:20, 126:19,
  191:15                     168:5, 168:9, 168:10,   337:3, 337:6             295:21, 299:6, 299:25     156:8, 158:4, 183:13,
   simplified [2] -          168:20, 186:6, 186:7,    skulls [31] - 122:10,    smoky [1] - 226:9        185:20, 194:13,
  160:2, 160:4               189:22, 189:24,         181:23, 268:6,            smooth [4] - 317:1,      199:22, 209:13,
   simply [9] - 75:8,        194:7, 195:7, 196:6,    281:22, 286:6,           317:7, 317:9, 317:10      217:23, 248:19,
  133:20, 154:1, 190:7,      206:8, 206:12,          286:11, 299:14,           snow [1] - 227:13        264:12, 269:12,
  226:7, 233:14,             206:17, 206:21,         300:11, 301:5, 303:6,     so.. [2] - 65:7, 317:6   278:20, 286:4,
  260:16, 288:20, 289:2      207:12, 225:12,         303:11, 303:14,                                    297:15, 321:11,
                                                                               social [3] - 26:17,
   simultaneously [1] -      226:22, 226:23,         303:17, 303:23,                                    324:19, 330:20,
                                                                              30:21, 242:20
  229:10                     227:16, 227:19,         305:10, 306:2,                                     333:7, 335:9, 341:8
                                                                               socket [1] - 315:5
   single [12] - 146:5,      256:5, 257:1, 259:16,   306:13, 306:19,                                     sort [4] - 154:12,
                                                                               sockets [2] - 270:11,
  146:8, 146:9, 146:13,      263:20, 268:11,         306:25, 308:5,                                     239:12, 258:19, 293:2
                                                                              270:12
  165:12, 166:2,             268:15, 269:6, 270:4,   308:23, 309:3,                                      source [18] - 77:17,
                                                                               soda [1] - 236:22
  176:13, 193:15,            270:12, 271:22,         321:14, 321:21,                                    77:25, 103:23, 104:1,
                                                                               software [2] - 231:3,
  193:21, 194:2,             272:2, 272:4, 273:12,   325:11, 325:13,                                    115:25, 127:12,
                                                                              231:13
  279:17, 294:15             277:9, 278:9, 278:11,   337:18, 338:8, 338:12                              153:12, 154:13,
                                                                               sold [10] - 26:22,
   singling [1] - 127:18     282:2, 282:3, 283:11,    slanted [2] - 162:9,                              165:20, 181:11,
                                                                              90:1, 97:14, 115:13,
                             283:17, 288:23,         162:13                                             188:5, 190:6, 254:21,
   sister [1] - 337:18                                                        115:14, 149:17,
                             297:3, 298:22,           slate [1] - 236:16                                256:20, 260:16,
   sit [7] - 22:22, 97:11,                                                    171:7, 187:3, 189:24,
  97:16, 171:23,             298:23, 299:20,          slide [28] - 100:2,                               261:15, 273:5, 289:1
                                                                              231:25
  238:23, 271:6, 271:10      306:4, 306:22, 308:6,   105:3, 117:10,                                      sourced [4] - 164:20,
                                                                               solely [1] - 62:14
                             308:7, 308:24,          118:10, 119:21,                                    165:15, 166:4, 232:20
   sits [1] - 233:5                                                            solid [1] - 297:3
                             308:25, 309:6,          120:2, 120:7, 120:8,                                sources [1] - 64:7
   sitting [4] - 73:17,                                                        solve [1] - 190:7
                             309:10, 309:12,         120:11, 122:1, 123:1,                               South [4] - 304:3,
  131:24, 209:5, 266:20                                                        someone [30] -
                             309:14, 309:16,         125:17, 128:21,                                    321:6, 321:7, 322:2
   situation [1] - 32:22                                                      10:22, 12:2, 33:1,
                             309:17, 309:19,         140:8, 142:7, 142:24,                               south [2] - 240:14,
   six [6] - 107:13,                                                          78:14, 85:17, 97:25,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 384 of 391 Page ID
                                  #:16984                                37


  259:22                     241:21, 276:10            159:21, 160:8, 169:2,      90:4, 91:2, 93:7,         71:16, 75:19, 144:19,
   southern [1] -             SPIRITS [1] - 1:15       193:9, 194:22              200:23, 214:20,           147:22, 155:10,
  215:18                      spirits [22] - 24:22,     SS [1] - 347:6            233:3, 264:15, 320:14     197:22, 210:8, 220:5,
   space [1] - 235:9         25:10, 25:18, 27:3,        St [3] - 189:25,           state-owned [1] -        223:25, 233:1, 233:3,
   Spain [1] - 321:9         31:17, 34:16, 34:23,      218:4, 218:5               233:3                     287:11, 308:5,
   Spanish [4] - 306:21,     43:10, 44:10, 44:11,       staff [6] - 5:7, 12:6,     statement [11] -         308:23, 308:25, 337:6
  307:2, 320:22, 321:6       63:22, 64:15, 65:10,      27:19, 27:22, 106:16,      47:20, 147:4, 147:21,      stint [1] - 221:14
   speaker [1] - 258:21      65:12, 75:18, 75:20,      106:17                     149:19, 234:20,            stock [1] - 273:16
   speaking [12] -           90:5, 111:13, 115:5,       stag [2] - 320:1,         275:15, 299:13,            stocked [1] - 210:11
  57:16, 57:19, 61:24,       115:7, 290:12, 292:11     320:3                      311:1, 312:8, 335:22       stole [1] - 223:16
  64:8, 64:17, 64:19,         spiritual [3] - 295:9,    stage [1] - 222:14         statements [3] -          stop [5] - 226:2,
  64:20, 64:21, 65:6,        322:23, 323:16             stages [1] - 42:11        94:18, 94:23, 213:4       234:6, 277:7, 277:9,
  144:24, 221:3, 245:5        spiritualist [1] -        stand [8] - 45:20,         stater [1] - 240:8       329:4
   special [1] - 220:24      295:11                    92:25, 144:14,              states [8] - 41:22,       stopper [1] - 112:18
   specialty [1] - 37:11      spirituality [2] -       214:14, 268:18,            105:10, 105:14,            stopping [1] - 123:7
   species [1] - 298:7       241:1, 295:12             276:4, 309:7, 330:15       105:15, 142:10,            store [39] - 37:9,
   specific [16] - 49:25,     splitting [1] - 297:4     standard [10] -           227:6, 239:18             40:22, 48:9, 48:11,
  95:11, 96:9, 106:18,        spoken [1] - 96:22       15:17, 61:19, 99:23,        States [20] - 32:5,      48:18, 48:23, 55:21,
  108:14, 108:15,             sponsored [16] -         107:15, 137:4,             41:10, 75:25, 76:8,       91:1, 101:3, 101:10,
  111:20, 111:22,            104:5, 104:13,            137:13, 140:10,            76:9, 76:23, 77:7,        103:3, 103:6, 104:16,
  113:24, 114:10,            104:21, 117:18,           144:25, 145:2, 262:14      77:19, 80:10, 81:7,       104:18, 108:19,
  156:20, 195:20,            117:22, 118:2,             standard-size [1] -       114:20, 114:25,           115:16, 139:11,
  196:6, 238:8, 238:10,      118:18, 122:3, 127:1,     107:15                     115:2, 115:9, 132:16,     153:7, 161:6, 168:20,
  327:9                      127:2, 127:4, 127:6,       standing [2] - 19:10,     142:15, 215:12,           168:22, 171:9,
   specifically [10] -       164:20, 165:2,            107:6                      227:4, 291:12, 329:22     171:15, 194:18,
  113:5, 114:8, 119:16,      165:15, 166:5              stands [1] - 95:21         STATES [6] - 1:1,        194:19, 203:25,
  120:6, 128:16, 155:6,       sponsorship [10] -        staple [1] - 84:12        1:2, 1:8, 347:10,         204:1, 205:6, 205:16,
  202:5, 281:17,             104:4, 104:8, 126:21,      star [1] - 297:14         347:12, 347:17            209:1, 210:11, 214:2,
  283:25, 339:6              127:13, 153:11,            start [23] - 7:20,         station [1] - 221:2      238:8, 238:11,
   specifics [3] - 203:9,    254:22, 256:20,           17:20, 19:13, 25:1,         statistic [1] - 292:11   238:16, 273:17,
  280:14, 280:17             257:18, 273:6             56:17, 56:22, 56:25,        statistically [1] -      298:17
   specified [1] -            spout [13] - 162:9,      57:12, 57:14, 58:3,        166:18                     Store [1] - 202:7
  140:14                     250:20, 250:22,           58:14, 58:17, 58:23,        statistics [2] - 78:6,    stores [22] - 30:22,
   specify [1] - 283:11      250:23, 251:1, 251:2,     83:14, 100:6, 108:25,      96:1                      38:24, 42:4, 90:16,
   spectacular [4] -         251:5, 252:11,            179:25, 198:16,             status [4] - 38:11,      90:18, 90:19, 109:4,
  224:13, 241:17,            252:22, 252:25,           222:10, 237:17,            38:12, 39:1, 87:25        114:8, 114:9, 114:11,
  242:1, 244:13              253:2, 253:17             243:21, 254:8               stay [7] - 10:24,        114:12, 114:21,
   spectrum [1] - 186:6       spouts [2] - 162:13,      start-up [4] - 25:1,      199:10, 199:14,           114:22, 115:11,
   speeches [2] - 96:16      253:5                     56:22, 58:14, 83:14        199:18, 199:19            151:16, 169:8, 171:2,
   spell [4] - 24:5, 93:7,    spread [1] - 249:11       start-up's [1] - 58:17     stayed [4] - 156:21,     201:23, 202:6, 209:9,
  200:24, 214:21              SPRING [1] - 1:24         start-ups [6] - 56:17,    229:7, 296:3              240:4, 240:7
   spend [5] - 152:12,        squat [1] - 85:7         56:25, 57:12, 57:14,        staying [2] - 87:23,      stories [1] - 338:12
  152:14, 152:18,             Squirt [47] - 99:13,     58:3, 58:23                199:11                     story [27] - 33:16,
  216:19, 216:23             99:16, 100:4, 100:25,      started [14] - 18:25,      steak [2] - 32:22        34:14, 39:2, 82:19,
   spent [5] - 26:8,         101:1, 101:6, 101:12,     26:6, 28:25, 116:1,         steel [2] - 231:1,       82:22, 82:23, 82:25,
  27:5, 106:10, 217:2,       102:19, 102:21,           123:14, 124:14,            231:2                     83:10, 185:1, 228:9,
  244:6                      102:24, 105:2, 105:4,     155:23, 202:25,             stem [2] - 162:3,        228:15, 240:23,
   spheres [1] - 312:18      108:17, 121:3,            203:20, 219:1,             162:5                     241:12, 242:24,
   spirit [12] - 33:20,      122:20, 123:14,           221:22, 236:12,             STENOGRAPHICA            244:16, 254:15,
  35:1, 44:20, 62:17,        125:4, 125:13,            284:23                     LLY [1] - 347:14          295:7, 296:7, 296:8,
  72:9, 88:1, 91:4,          125:20, 127:11,            starting [4] - 51:4,       step [3] - 90:22,        297:24, 300:12,
  207:1, 228:7, 241:1,       127:23, 129:23,           56:25, 124:15, 237:13      90:24, 338:14             300:15, 300:24,
  322:5                      129:24, 130:2, 130:3,      starts [5] - 58:4,         steps [3] - 91:3,        300:25, 301:22,
   Spirit [1] - 250:7        130:6, 138:22,            107:4, 232:18,             262:2, 262:4              303:15, 303:19
   Spirits [14] - 4:7,       138:23, 138:25,           262:24, 283:13              Stern [1] - 302:3         straight [9] - 120:10,
  4:21, 48:4, 144:22,        139:22, 143:6,             STATE [1] - 347:7          stern [1] - 287:8        162:3, 163:7, 228:6,
  185:24, 187:22,            143:13, 143:15,            State [1] - 96:13          stick [2] - 71:20,       251:1, 251:14,
  204:18, 204:20,            151:11, 153:16,            state [16] - 4:9, 24:5,   72:12                     251:16, 252:18,
  205:3, 208:20,             153:24, 154:6, 154:7,     41:14, 41:18, 41:19,        still [20] - 8:19,       252:25
  208:22, 230:6,             156:7, 157:9, 159:6,      46:5, 67:12, 78:9,         19:10, 45:17, 67:9,        straight-up [1] -
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 385 of 391 Page ID
                                  #:16985                                38


  252:25                    153:21, 153:24,           57:15, 57:20, 58:10,      213:12                   182:21, 191:3,
   straightforward [2] -    155:19, 156:7, 157:9,     58:16, 61:24, 81:23,       supply [1] - 204:24     191:11, 192:1, 192:4,
  100:9, 140:23             165:4, 165:6, 167:2,      82:1, 82:18, 83:14         support [2] - 157:7,    192:16, 192:21,
   strategic [3] - 25:6,    191:22, 191:23,            successful [6] -         157:8                    192:23, 193:1, 193:2,
  27:17, 27:24              196:4, 334:3, 334:7,      40:10, 57:21, 62:12,       supported [3] - 39:3,   193:9, 193:11, 194:4,
   strategies [2] -         334:9                     82:7, 82:10, 82:11        180:5, 180:9             194:5, 194:16,
  28:21, 94:8                Study [1] - 96:12         successfully [2] -        suppose [2] -           194:22, 195:25,
   strategy [10] - 27:13,    studying [2] -           25:12, 42:21              325:19, 332:6            291:24, 292:10
  39:9, 39:12, 81:10,       149:22, 152:13             succession [3] -          supposed [2] -           Survey [1] - 99:5
  81:14, 81:16, 81:20,       stuff [5] - 239:7,       103:18, 139:13,           159:21, 196:20            surveyed [1] - 138:1
  95:25, 96:19, 96:25       248:14, 322:3,            139:22                     suppress [1] -           surveyor [1] - 219:14
   Strategy [5] - 93:21,    327:15, 331:20             sucrose [1] - 228:2      300:16                    surveys [30] - 86:2,
  93:22, 93:25, 97:3,        stuffs [1] - 257:5        sufficient [3] - 71:1,    surprising [1] -        94:5, 94:25, 95:1,
  172:16                     sub [2] - 201:16,        138:19, 138:20            127:25                   95:7, 95:9, 96:19,
   STREET [4] - 1:24,       332:23                     sugar [4] - 181:24,       survey [126] - 99:4,    96:24, 97:1, 97:2,
  2:5, 2:8, 2:19             subdivision [1] -        228:5, 228:6, 234:16      99:13, 100:4, 100:5,     97:7, 97:8, 97:10,
   stress [2] - 70:10,      215:20                     sugars [1] - 233:13      100:7, 100:8, 100:23,    97:19, 98:23, 98:25,
  241:12                     subject [4] - 157:5,      suggest [6] - 13:19,     100:25, 101:1,           99:3, 99:7, 99:8, 99:9,
   stretch [3] - 45:20,     225:24, 273:7, 338:25     57:20, 61:22, 65:20,      101:21, 102:20,          99:10, 99:11, 99:12,
  144:14, 276:4              submission [2] - 6:5,    185:7, 257:3              102:22, 102:24,          103:22, 129:10,
   stricken [4] - 47:5,     281:18                     suggested [7] -          105:5, 106:4, 106:6,     131:7, 144:25,
  47:8, 47:20, 268:3         submit [3] - 14:7,       69:10, 163:13,            106:21, 107:24,          175:14, 176:3, 292:3
   strictly [3] - 20:3,     30:3, 30:5                210:22, 257:5, 282:1,     108:4, 111:10,            suspect [1] - 44:8
  48:17, 74:19               submitted [9] -          327:9, 343:17             113:22, 119:9, 123:5,     sustain [3] - 46:23,
   strike [3] - 89:2,       12:25, 28:7, 54:18,        suggesting [6] -         123:14, 124:17,          47:1, 312:3
  216:20, 230:4             156:6, 156:10, 182:6,     163:22, 164:7,            125:4, 125:13,            sustained [6] - 8:8,
   striking [1] - 120:17    182:20, 280:13,           168:11, 168:14,           125:16, 125:20,          89:12, 90:11, 177:17,
   strikingly [1] -         281:15                    271:23, 282:2             127:11, 127:16,          177:19, 286:21
  127:22                     submitting [2] -          suggestion [1] -         127:23, 129:23,           sustains [2] - 47:16,
   strip [2] - 233:11,      280:15, 281:10            114:2                     129:24, 130:2, 130:3,    47:19
  234:1                      subsequent [1] -          suggestiveness [2] -     131:8, 132:5, 136:10,     SWAINE [1] - 2:14
   stripped [1] - 227:22    296:18                    194:16, 194:17            136:11, 137:25,           swear [2] - 23:21,
   strive [1] - 37:5         subsequently [4] -        suit [2] - 40:15,        138:2, 138:3, 138:8,     214:19
   striven [1] - 70:10      219:20, 223:21,           273:2                     138:10, 138:23,           Sweden [1] - 76:18
   striving [1] - 159:25    237:6, 265:1               SUITE [1] - 2:19         138:25, 139:23,           sweet [3] - 228:1,
   stroke [1] - 32:15        substantial [11] -        summer [3] - 223:2,      140:13, 142:25,          232:24, 242:7
   strong [2] - 42:25,      98:16, 121:1, 144:5,      226:8, 232:5              143:7, 143:9, 143:10,     sweetness [2] -
  83:10                     146:1, 152:12,             super [23] - 31:8,       143:13, 143:15,          234:15, 234:16
   struck [2] - 254:16,     152:15, 307:10,           31:11, 31:12, 36:17,      143:17, 148:17,           swept [1] - 162:5
  268:8                     307:14, 307:15,           36:22, 37:2, 37:4,        149:8, 153:8, 153:15,     switched [2] -
                            309:4, 337:12             63:21, 63:22, 64:1,       153:16, 154:6, 154:8,    310:13, 310:16
   structure [2] - 192:1,
                             substantially [3] -      64:12, 64:14, 68:21,      154:17, 155:10,           swoosh [2] - 329:15,
  193:7
                            166:24, 308:3, 308:21     114:13, 114:15,           156:6, 156:10,           329:23
   structured [2] -
                             substantive [1] -        114:16, 114:25,           156:13, 156:16,           sworn [5] - 24:2,
  191:23, 191:24
                            176:1                     115:14, 158:9,            156:21, 156:23,          49:21, 93:4, 200:21,
   struggling [1] -
                             substitute [2] - 71:6,   290:15, 291:18,           157:5, 159:6, 159:15,    214:18
  66:24
                            71:10                     292:23, 333:13            159:21, 160:4, 160:8,     symbolize [1] -
   stuck [1] - 296:21
                             substitutes [1] -         superb [1] - 255:23      168:16, 168:17,          181:25
   studied [1] - 153:4
                            139:17                     superior [1] - 290:22    169:2, 170:12,            syndicated [3] -
   studies [6] - 96:11,
                             subtract [2] - 120:11,    supermarket [1] -        171:19, 171:20,          28:14, 30:20, 36:1
  131:6, 144:24,
                            195:19                    101:2                     172:12, 172:20,           synonymous [1] -
  176:10, 333:11, 334:1
                             subtracted [2] -          supermarkets [1] -       172:22, 173:10,          37:6
   studio [1] - 275:21
                            195:15, 195:22            257:6                     173:24, 174:3, 174:6,     system [3] - 41:15,
   study [35] - 132:23,
                             subtracting [2] -         supplement [1] -         174:11, 174:20,          78:4, 231:6
  136:2, 136:3, 137:3,
                            196:11, 196:15            218:22                    174:22, 176:7,
  137:4, 138:15,                                                                                          Systems [1] - 226:6
                                                                                176:12, 176:14,
  144:24, 145:6, 146:2,      succeed [3] - 35:9,       supplemental [1] -
                                                                                177:15, 178:7,
  147:23, 147:25,           59:3, 61:20               264:7
                                                                                178:10, 178:11,
                                                                                                                    T
  148:2, 148:3, 148:6,       success [16] - 38:1,      supplier [2] - 204:24,
                                                                                178:15, 178:19,
  148:12, 149:2,            39:5, 39:7, 39:11,        205:2
                                                                                178:25, 179:4,            T-shirt [3] - 104:10,
  149:25, 151:11,           40:14, 43:3, 43:5,         suppliers [2] - 43:16,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 386 of 391 Page ID
                                  #:16986                                39


  104:12, 104:13              220:24, 221:9, 237:4,      316:25, 317:10,          119:8                       Texas [2] - 239:24,
   table [4] - 21:23,         237:5, 237:8, 237:15       317:16, 318:3, 318:8,     terms [11] - 7:15,        259:22
  124:10, 124:22,              Temecula [2] -            318:16, 319:4,           61:22, 88:15, 247:13,       text [8] - 105:3,
  238:21                      240:9, 240:15              319:16, 319:18,          272:4, 290:21, 300:8,      184:20, 185:19,
   Tahlequah [1] - 6:3         temperature [1] -         319:19, 325:4, 326:7,    307:11, 308:4,             185:20, 186:3,
   TAKEN [3] - 22:23,         331:19                     326:24, 327:20, 329:4    308:22, 331:15             186:19, 318:25, 319:3
  92:14, 200:13                temples [3] - 314:21,      tequila [114] - 32:3,    terrible [1] - 232:1       texture [1] - 317:9
   talent [1] - 224:9         314:24, 315:2              35:12, 35:24, 36:5,       test [27] - 100:14,        THAT [2] - 347:11,
   talented [1] - 231:9        ten [11] - 12:22, 13:1,   36:8, 36:14, 36:15,      102:3, 102:5, 102:18,      347:15
   tall [4] - 37:21, 40:13,   20:18, 20:24, 26:1,        36:16, 43:11, 43:17,     103:21, 105:1, 105:2,       THE [276] - 4:6, 4:12,
  85:4, 163:7                 184:6, 198:8, 198:9,       43:23, 44:12, 44:16,     105:4, 112:11, 113:4,      4:16, 4:19, 4:24, 5:2,
   taller [1] - 313:22        275:14, 275:19,            63:5, 63:23, 64:11,      113:14, 119:10,            6:12, 6:16, 7:14, 8:3,
   Tallinna [1] - 43:20       330:14                     65:11, 65:15, 67:1,      121:3, 121:7, 122:18,      8:6, 8:16, 9:10, 9:16,
   Tampa [2] - 238:3,          tend [2] - 22:7, 62:24    67:4, 67:10, 68:4,       122:20, 122:21,            10:10, 10:13, 10:18,
  238:12                       tending [1] - 248:18      68:7, 68:8, 68:9,        124:20, 125:1, 147:8,      11:18, 12:16, 12:18,
   Tanqueray [1] -             Tequila [124] - 31:2,     68:10, 68:13, 68:21,     168:22, 169:16,            13:3, 13:6, 13:19,
  37:17                       31:3, 31:10, 33:2,         68:22, 70:3, 70:5,       169:17, 169:20,            14:8, 14:18, 15:4,
   Tanteo [9] - 68:16,        39:9, 43:19, 43:20,        70:17, 70:22, 71:7,      194:12, 231:14             15:9, 15:17, 15:20,
  68:18, 68:21, 68:25,        43:22, 44:2, 44:3,         71:11, 71:16, 83:21,      tested [10] - 103:22,     16:2, 16:6, 16:11,
  69:7, 69:9, 69:12,          44:17, 45:2, 48:8,         84:3, 84:13, 84:18,      107:16, 110:18,            16:16, 17:18, 18:1,
  69:15, 70:2                 48:22, 51:8, 51:11,        85:18, 86:25, 101:10,    110:19, 110:22,            19:3, 19:13, 19:19,
   tape [2] - 314:1,          51:16, 56:14, 68:18,       105:11, 105:13,          114:2, 139:2, 142:8,       19:24, 20:5, 20:14,
  314:4                       68:24, 68:25, 69:4,        107:13, 107:16,          143:14, 163:14             20:16, 20:21, 21:1,
   target [3] - 290:23,       69:12, 70:3, 82:14,        108:3, 111:7, 114:14,     testified [23] - 24:2,    21:16, 21:19, 21:24,
  291:1, 291:3                83:1, 83:3, 83:18,         114:20, 114:24,          47:13, 50:13, 50:14,       22:5, 22:8, 22:15,
   targets [1] - 42:14        83:20, 84:15, 85:13,       115:16, 122:24,          52:2, 54:12, 58:6,         22:18, 22:20, 22:21,
                              86:20, 98:12, 125:14,      139:12, 140:24,          75:17, 81:9, 84:1,         22:25, 23:5, 23:23,
   task [5] - 135:13,
                              143:25, 146:3,             141:2, 141:6, 141:11,    93:4, 170:6, 172:22,       24:4, 24:5, 24:7,
  135:15, 136:4, 136:5,
                              146:20, 147:14,            141:12, 141:13,          175:1, 176:2, 200:21,      45:16, 45:20, 47:24,
  136:7
                              148:23, 149:22,            141:15, 141:19,          214:18, 278:2,             49:3, 49:8, 49:11,
   taste [15] - 65:12,
                              181:15, 181:22,            141:24, 142:2, 142:9,    278:12, 282:13,            49:15, 50:22, 51:1,
  65:14, 65:21, 66:17,
                              182:10, 182:12,            142:19, 147:13,          289:17, 316:7, 325:20      59:8, 59:11, 69:20,
  66:18, 66:25, 67:2,
                              182:24, 186:7,             149:17, 150:3,            testify [6] - 176:20,     70:1, 73:7, 73:11,
  67:9, 228:2, 233:14,
                              188:19, 189:1, 191:5,      158:19, 158:23,          176:21, 260:7,             73:12, 73:13, 78:23,
  234:4, 234:15,
                              191:6, 192:5, 194:3,       159:2, 159:11,           286:17, 342:4, 343:3       78:25, 79:6, 79:8,
  236:14, 261:1, 323:17
                              206:21, 206:23,            160:12, 160:17,           testifying [10] - 23:7,   79:10, 79:14, 79:19,
   Taste [1] - 241:25
                              207:4, 207:8, 207:25,      160:18, 161:5,           46:21, 92:10, 173:16,      79:24, 80:13, 81:2,
   tasted [2] - 83:18,
                              208:17, 209:14,            162:20, 169:10,          209:5, 341:9, 341:10,      81:3, 86:10, 87:5,
  213:25
                              209:22, 210:1, 210:6,      181:4, 181:6, 185:10,    341:17, 341:24,            87:7, 88:20, 88:24,
   tasteless [5] - 65:18,
                              210:9, 210:14,             187:3, 187:24,           344:12                     89:2, 89:12, 90:11,
  66:11, 66:14, 66:22,
                              210:23, 226:1, 226:6,      206:21, 225:20,           testimony [40] -          91:7, 91:9, 91:11,
  68:3
                              245:22, 249:15,            226:17, 226:22,          6:18, 9:21, 10:5,          91:15, 91:17, 91:21,
   tasting [4] - 213:24,
                              250:7, 251:8, 251:25,      227:1, 227:3, 227:5,     14:14, 14:15, 14:21,       91:25, 92:4, 92:7,
  241:16, 242:5, 290:22
                              253:22, 255:3,             227:8, 227:21,           22:1, 23:14, 23:16,        92:12, 92:15, 92:18,
   taught [1] - 96:2
                              255:23, 255:25,            250:25, 255:2,           36:10, 46:3, 46:6,         92:25, 93:5, 93:6,
   Taylor [5] - 26:8,
                              257:21, 259:6,             255:10, 255:13,          46:7, 47:20, 48:7,         93:8, 93:10, 105:4,
  26:12, 26:20, 26:25,
                              260:13, 260:20,            255:21, 256:13,          49:7, 49:17, 49:21,        123:23, 124:2, 124:4,
  27:2
                              273:12, 274:19,            259:9, 259:16,           50:6, 50:7, 50:8,          144:13, 151:4, 151:8,
   teacher [1] - 323:12
                              277:7, 279:17,             318:23, 323:24,          50:13, 50:15, 50:18,       154:15, 163:25,
   teaching [1] - 96:2                                   324:21, 327:25,
                              287:11, 287:19,                                     69:18, 84:23, 91:21,       165:17, 170:1, 174:7,
   team [2] - 21:22,                                     328:9, 328:20, 329:7
                              303:16, 303:19,                                     92:1, 166:14, 211:1,       175:17, 175:21,
  104:10                                                  tequilas [19] - 70:8,
                              306:1, 307:8, 308:1,                                223:13, 255:18,            177:17, 177:19,
   technician [3] -                                      108:20, 108:22,
                              308:19, 310:9,                                      280:7, 286:20, 309:3,      178:1, 178:4, 182:14,
  11:24, 21:20, 219:9                                    110:4, 110:8, 114:6,
                              310:15, 310:20,                                     337:8, 341:7, 343:22,      182:17, 183:11,
   technology [1] - 9:13                                 114:14, 114:17,
                              310:23, 312:7,                                      345:14                     183:23, 184:3, 184:8,
   teens [1] - 166:13                                    115:7, 115:15, 142:6,                               192:12, 196:22,
                              312:14, 312:24,                                      testing [2] - 103:21,
   teeth [3] - 316:15,                                   142:8, 158:9, 158:10,                               196:24, 197:1,
                              313:20, 313:23,                                     144:8
  316:22                                                 179:21, 188:11,                                     197:17, 197:18,
                              314:1, 314:3, 314:17,                                tests [3] - 100:1,
   Television [2] -           315:1, 315:10,             188:13, 193:12                                      197:19, 198:2, 198:7,
                                                                                  128:15, 323:9
  220:8, 220:9                315:17, 316:12,             Tequilas [1] - 189:8                               198:9, 198:12,
                                                                                   TEXAS [1] - 2:6
   television [7] -                                       term [2] - 119:7,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 387 of 391 Page ID
                                  #:16987                                40


  198:19, 198:24,         40:11, 103:5                thrilled [1] - 232:9       tomorrow [36] - 5:10,     303:9
  199:5, 199:9, 199:23,    therefore [2] - 44:14,     throughout [3] -          6:8, 7:22, 8:13, 8:17,      total [7] - 19:22,
  199:25, 200:14,         209:17                     122:22, 140:11, 317:9      8:20, 9:1, 9:2, 9:18,      31:8, 105:19, 110:23,
  200:18, 200:22,          thesis [1] - 96:4          Throw [1] - 323:21        9:21, 9:23, 10:1,          123:2, 143:2, 282:23
  200:23, 200:25,          they've [7] - 107:11,      THURSDAY [2] -            10:11, 10:25, 11:8,         totally [1] - 334:20
  208:6, 211:24, 212:3,   131:1, 167:8, 190:25,      1:20, 4:2                  11:16, 16:23, 17:14,        touch [4] - 34:21,
  214:5, 214:7, 214:9,    231:25, 334:20              Thursday [1] - 18:4       338:16, 338:19,            317:1, 322:24, 323:19
  214:15, 214:19,          thin [1] - 85:4            tie [1] - 305:22          338:24, 338:25,             touched [1] - 232:25
  214:20, 214:22,          thing's [1] - 298:11       tier [2] - 41:15, 78:4    339:12, 340:14,             tour [3] - 237:17,
  214:24, 215:17,          thinking [4] - 94:4,       ties [1] - 185:1          340:17, 340:22,            237:24, 238:2
  252:4, 264:15,          225:16, 227:10,             tilt [1] - 253:17         341:15, 343:9,              towards [6] - 32:3,
  266:10, 266:14,         299:11                      tilted [3] - 252:11,      343:16, 343:19,            37:1, 37:2, 76:11,
  268:19, 268:23,          thinks [1] - 46:18        252:12, 252:22             344:6, 344:12,             137:7
  268:24, 269:3, 269:5,    third [11] - 36:19,        timing [3] - 7:10,        344:24, 345:10,             town [4] - 217:16,
  269:15, 269:16,         75:20, 94:24, 107:12,      19:11, 341:2               345:14, 345:23             226:12, 237:15,
  274:2, 274:10,          131:19, 133:8, 143:5,       tiny [2] - 180:21,         tomorrow's [2] -          238:19
  274:11, 276:2, 276:6,   181:8, 181:18,             337:11                     9:17, 338:17                Toyota [1] - 242:21
  276:20, 276:23,         216:17, 239:8               tirelessly [1] -           tongue [1] - 242:4         track [1] - 19:1
  280:21, 280:25,          thirds [2] - 141:1,       301:11                      tonight [1] - 344:4        traction [1] - 57:19
  281:2, 281:12,          141:10                                                 took [34] - 25:12,         Trade [2] - 95:4,
                                                      TITLE [1] - 347:12
  281:14, 284:4, 284:8,    Thomas [1] - 345:9                                   48:21, 95:25, 114:2,       175:10
                                                      title [4] - 80:1, 90:7,
  284:12, 284:15,          THOMAS [1] - 2:14                                    138:18, 154:24,             trade [34] - 38:17,
                                                     187:11, 293:16
  284:17, 285:17,          thousand [3] - 97:6,                                 155:2, 155:8, 155:12,      88:17, 230:6, 235:17,
                                                      Tito's [2] - 76:11,
  285:21, 286:21,         326:4, 326:5                                          156:18, 157:10,            249:23, 256:17,
                                                     76:14
  287:14, 287:16,          thousands [6] - 57:7,                                161:12, 161:13,            258:1, 258:17,
                                                      TO [1] - 347:12
  293:10, 297:19,         57:9, 57:10, 59:2,                                    161:14, 163:11,            260:12, 260:15,
                                                      today [54] - 7:19,
  304:7, 304:14,          89:19, 255:20                                         171:2, 182:5, 186:15,      262:3, 262:15,
                                                     10:6, 10:12, 10:13,
  304:19, 304:23,                                                               191:13, 195:20,            262:17, 264:8,
                           three [58] - 24:25,       10:25, 11:4, 11:7,
  304:25, 305:3, 305:6,                                                         195:21, 204:1,             326:22, 327:7,
                          28:2, 32:5, 41:15,         11:16, 12:7, 12:8,
  306:10, 307:19,                                                               211:15, 228:24,            327:21, 328:7, 329:5,
                          42:21, 55:9, 78:4,         12:12, 12:22, 16:23,
  307:24, 308:13,                                                               229:3, 229:4, 235:19,      329:10, 329:15,
                          91:3, 94:8, 109:6,         25:7, 30:3, 30:8, 32:4,
  308:17, 311:19,                                                               270:17, 275:11,            329:19, 329:25,
                          110:18, 111:1, 111:2,      33:11, 36:11, 43:8,
  312:1, 312:3, 313:7,                                                          282:18, 282:23,            335:4, 335:8, 335:9,
                          112:13, 113:1,             54:9, 69:12, 73:17,
  313:9, 313:14, 324:4,                                                         297:2, 326:20, 333:12      335:10, 335:12,
                          113:13, 114:6,             75:6, 75:17, 75:19,
  324:6, 324:7, 324:8,                                                           tools [1] - 28:20         335:22, 335:25,
                          115:10, 118:25,            144:9, 171:23,
  324:12, 328:13,                                                                top [32] - 37:20, 38:6,   336:2, 336:4, 336:6,
                          119:2, 119:19, 120:9,      173:16, 185:22,
  328:17, 330:6, 330:8,                                                         85:10, 112:18, 132:8,      336:8
                          122:5, 132:4, 132:6,       197:6, 197:9, 197:22,
  330:12, 330:16,                                                               137:21, 155:22,             Trademark [2] -
                          132:8, 132:24, 133:5,      198:13, 198:17,
  332:12, 338:14,                                                               157:24, 162:9,             97:17, 97:18
                          133:22, 138:1, 142:4,      199:12, 199:19,
  338:21, 338:23,                                                               183:19, 184:21,
                          142:6, 142:13, 152:9,      200:2, 201:7, 209:5,                                   trademark [31] -
  339:8, 340:5, 340:13,                                                         186:19, 187:21,
                          170:8, 171:10,             239:14, 260:17,                                       12:23, 13:4, 262:5,
  340:16, 340:24,                                                               189:1, 210:15, 250:6,
                          171:16, 173:21,            275:9, 285:25,                                        263:22, 264:4,
  341:3, 341:9, 341:13,                                                         264:20, 264:22,
                          182:9, 186:20,             303:13, 309:7,                                        264:10, 265:4,
  341:20, 341:22,                                                               264:25, 265:3, 265:5,
                          186:21, 193:8,             309:22, 313:14,                                       277:24, 278:7,
  342:1, 342:8, 342:12,                                                         265:13, 265:14,
                          193:14, 193:18,            315:8, 321:2, 338:15,                                 278:13, 279:3,
  342:15, 342:18,                                                               266:17, 267:13,
                          199:12, 216:11,            339:9, 341:7                                          279:14, 279:15,
  342:22, 343:4, 343:6,                                                         269:23, 270:3, 270:4,
                          218:19, 234:2, 244:5,       today's [2] - 5:15,                                  283:2, 283:4, 283:12,
  343:11, 343:14,                                                               270:5, 270:13,
                          245:17, 253:13,            70:12                                                 283:19, 283:23,
  344:1, 344:3, 344:21,                                                         270:19, 296:21
                          269:17, 270:23,             together [13] - 7:6,                                 284:1, 334:22,
  344:25, 345:6,                                                                 topic [2] - 322:4,
                          270:24, 288:8,             67:7, 164:12, 171:11,                                 334:25, 335:5, 335:7,
  345:15, 345:21,                                                               323:23
                          288:10, 288:13,            222:12, 222:13,                                       335:12, 335:14,
  345:25, 347:10,                                                                topics [2] - 96:18,
                          288:14                     226:13, 229:11,                                       336:16, 336:25, 340:4
  347:12, 347:13,                                                               96:24
                           Three [1] - 43:24         281:23, 286:10,                                        Trademarks [1] -
  347:14, 347:15,                                                                tops [3] - 266:20,
                           three-quarter [3] -       333:3, 333:4, 341:12                                  129:9
  347:16, 347:17                                                                266:21, 267:2
                          288:8, 288:13, 288:14       Tokey [7] - 177:21,                                   trademarks [9] -
   theater [1] - 221:17                                                          Toronto [7] - 219:21,
                           three-tier [2] - 41:15,   178:7, 192:16,                                        13:13, 13:14, 95:13,
   theirs [2] - 207:17,                                                         220:23, 221:2,
                          78:4                       192:21, 192:23,                                       97:19, 97:20, 339:7,
  334:19                                                                        221:12, 221:24,
                           three-year [1] - 28:2     193:3, 193:7                                          339:24, 339:25,
   themselves [1] -                                                             221:25, 246:2
                           threshold [1] - 58:22      Tom [2] - 13:10,                                     345:12
  61:14                                                                          Total [2] - 238:10,
                           threw [1] - 275:4         144:21                                                 traditional [1] -
   thereafter [2] -
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 388 of 391 Page ID
                                  #:16988                                41


  181:23                     199:1, 199:15,             223:18, 225:11,           212:10, 212:11,          225:9
   trained [3] - 95:16,      233:25, 234:2, 255:6,      227:15, 229:17,           223:9, 232:22,            unquestionably [1] -
  106:19, 123:11             256:16, 291:2, 292:13      237:24, 239:19,           243:18, 249:21,          337:23
   trainee [1] - 26:7         trying [5] - 65:5,        241:23, 243:18,           251:18, 256:17,           unrealistic [1] -
   transcend [1] - 32:14     256:12, 256:15,            244:12, 244:18,           293:6, 294:8, 314:1,     178:16
   transcended [1] -         256:16, 341:13             244:22, 245:3, 245:4,     314:5, 333:1              unusual [3] - 84:1,
  87:25                       Tuesday [9] - 7:13,       245:13, 253:13,            underline [1] -         107:21, 188:1
   TRANSCRIPT [3] -          8:21, 9:1, 9:6, 12:24,     255:21, 271:24,           293:13                    unusually [1] -
  1:19, 347:13, 347:15       14:3, 17:15, 17:24,        276:9, 288:8, 288:12,      underneath [2] -        191:17
   translated [1] - 231:5    344:9                      288:14, 295:18,           185:19, 186:19            up [118] - 8:19,
   Transport [1] - 219:8      Tundra [1] - 219:15       299:23, 299:25,            underscored [1] -       12:12, 12:19, 20:20,
   transportation [1] -       turn [7] - 38:25,         316:18, 323:1,            293:18                   20:23, 25:1, 28:13,
  11:4                       42:25, 55:1, 58:10,        328:16, 338:11,            understood [2] -        42:9, 42:12, 45:1,
   travel [1] - 11:1         243:23, 291:14,            338:12, 339:22, 340:1     63:20, 342:8             56:22, 56:25, 58:14,
   TRAVIS [1] - 2:5          325:12                      two-minutes [1] -         undertake [2] - 137:5   62:1, 74:11, 83:14,
   tread [1] - 345:20         turn-out [1] - 38:25      227:15                     undertaken [1] -        101:11, 110:19,
   treasure [2] - 321:7,      turned [1] - 227:13        two-thirds [2] -         174:12                   110:21, 114:2, 128:4,
  321:17                      turning [4] - 143:12,     141:1, 141:10              undoubtedly [1] -       128:7, 145:23, 153:9,
   treasures [1] - 322:2     149:3, 149:5, 149:6         type [6] - 40:9,         282:11                   154:9, 155:20, 156:1,
   treated [1] - 23:14        TV [2] - 221:2,           59:20, 207:1, 255:7,       unearthed [1] -         160:6, 164:11,
   treatise [1] - 129:8      301:24                     318:22, 328:1             185:2                    168:16, 171:10,
   tremendous [1] -           tweak [1] - 331:16         types [6] - 24:25,        unfair [4] - 121:6,     173:1, 173:3, 174:5,
  76:19                       tweaked [1] - 331:17      59:23, 61:1, 61:25,       194:3, 194:9, 194:13     180:11, 181:21,
   trend [5] - 58:20,         tweaking [1] -            99:8, 325:10               Unfair [1] - 129:9      183:17, 185:19,
  71:17, 71:22, 75:15,       331:13                      typical [1] - 238:7       unfairly [1] - 168:14   186:3, 187:1, 188:25,
  75:16                       twice [1] - 241:22         typically [9] - 10:19,    unfamiliar [1] -        189:16, 193:23,
   trends [8] - 31:7,         twin [3] - 217:17,        11:1, 41:9, 41:20,        172:18                   193:24, 194:20,
  31:8, 31:17, 33:18,        217:18                     84:17, 94:4, 109:4,        unfortunately [1] -     195:14, 195:24,
  33:19, 34:2, 35:17,         two [105] - 21:4, 55:9,   171:7, 171:16             11:13                    196:2, 196:3, 196:12,
  36:9                       55:12, 64:11, 80:10,        typo [1] - 186:9          union [3] - 219:24,     196:18, 203:10,
                             86:6, 86:15, 95:12,                                  220:5, 220:18            204:4, 205:22, 217:2,
   trial [10] - 11:14,
  30:17, 30:18, 45:23,       95:13, 96:12, 97:11,                  U               Union [2] - 220:1,      225:24, 227:2,
                             98:17, 99:8, 99:9,                                   220:12                   227:10, 227:12,
  47:13, 49:22, 50:13,
                             99:25, 100:7, 103:22,                                 unions [1] - 220:6      227:16, 227:24,
  50:15, 284:23, 285:3                                   U.S [6] - 25:4, 27:4,
                             104:4, 107:17,                                        unique [12] - 61:25,    229:1, 231:10,
   TRIAL [1] - 1:19                                     31:22, 74:25, 189:24,
                             112:16, 113:23,                                      62:14, 89:25, 122:13,    231:23, 232:1,
   triangular [1] - 271:2                               294:21
                             115:23, 121:3, 121:6,                                132:17, 132:20,          233:13, 238:4,
   tribe [1] - 228:13                                    U.S.A [1] - 27:2
                             121:16, 128:1, 128:5,                                161:2, 161:4, 161:8,     238:14, 238:17,
   tribe's [1] - 296:2                                   Ultima [1] - 142:10
                             128:8, 128:10,                                       206:3, 213:22, 338:5     238:20, 238:22,
   tribes [1] - 299:13                                   Ultimat [1] - 187:21
                             128:11, 128:12,                                       uniqueness [1] -        239:8, 239:15,
   tribute [1] - 244:20                                  ultimate [1] - 195:16
                             128:20, 129:22,                                      213:23                   240:17, 241:4,
   tried [1] - 234:2                                     ultimately [3] -
                             130:5, 130:25, 131:6,                                                         243:21, 247:15,
   tries [1] - 78:11                                                               Unit [1] - 220:2
                             131:7, 132:5, 133:3,       28:23, 96:3, 209:9                                 247:25, 250:11,
   trip [1] - 239:13                                                               United [21] - 32:5,
                             133:21, 139:8,              Ultmat [3] - 142:10,                              250:14, 251:1, 251:3,
   triple [1] - 320:18                                                            41:10, 75:24, 76:7,
                             140:22, 141:1,             188:4, 188:5                                       251:15, 251:16,
   trouble [1] - 317:3                                                            76:9, 76:23, 77:7,
                             141:10, 143:17,             umbrella [1] - 333:1                              252:18, 252:25,
   troubling [1] - 190:3                                                          77:19, 80:10, 81:7,
                             144:6, 154:15,              unable [1] - 151:5                                254:3, 254:8, 258:18,
   truck [2] - 203:20,                                                            114:20, 114:25,
                             164:10, 167:4,              unacceptable [2] -                                259:8, 259:20,
  219:20                                                                          115:2, 115:9, 132:15,
                             168:13, 168:17,            254:25, 261:17                                     259:24, 259:25,
   true [11] - 53:14,                                                             142:10, 142:15,
                             168:19, 171:10,             unaided [2] - 136:7,                              263:8, 268:18,
  66:2, 71:7, 170:22,                                                             215:12, 227:4,
                             176:2, 183:10, 185:7,      136:10                                             268:21, 269:14,
  171:4, 172:7, 172:14,                                                           291:12, 329:21
                             185:20, 186:10,             unassisted [1] -                                  272:6, 277:21,
  223:15, 327:7,                                                                   UNITED [6] - 1:1,
                             187:6, 191:16,             136:7                                              277:22, 278:25,
  334:17, 337:13                                                                  1:2, 1:8, 347:10,
                             193:18, 194:7,              unbelievable [1] -                                282:2, 282:5, 286:23,
   TRUE [1] - 347:13                                                              347:12, 347:17
                             194:10, 194:15,            342:20                                             287:1, 287:10, 291:4,
   truth [2] - 49:23,                                                              University [3] -
                             194:18, 199:15,             uncovered [1] -                                   292:16, 292:17,
  178:1                                                                           95:18, 96:13, 96:14
                             205:23, 207:11,            298:24                                             314:4, 314:23, 317:3,
   try [18] - 20:15, 22:6,                                                         unless [3] - 10:22,
                             210:4, 213:17,              under [19] - 43:17,                               328:8, 331:11,
  33:11, 34:11, 61:15,                                                            158:6, 200:5
                             216:13, 217:4,             49:22, 71:10, 80:5,                                332:17, 334:25,
  158:17, 164:2,                                                                   unloaded [1] - 219:2
                             221:20, 221:24,            149:18, 171:5,                                     336:7, 345:5
  165:19, 198:25,                                                                  unquestionable [1] -
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 389 of 391 Page ID
                                  #:16989                                42


   Up [1] - 244:16            verdict [4] - 16:14,     40:12, 43:11, 43:16,      39:5, 39:11, 40:17,      130:25, 132:8, 142:5,
   up's [1] - 58:17          16:18, 16:20, 344:5       44:11, 44:16, 63:5,       40:21, 42:21, 43:2,      142:14, 185:8, 188:9,
   upcoming [1] - 125:8       version [5] - 110:14,    63:8, 63:11, 63:14,       43:20, 43:22, 43:25,     188:11, 188:13,
   ups [11] - 56:17,         110:20, 124:20,           63:22, 65:11, 65:14,      44:2, 44:15, 45:3,       207:23, 227:24,
  56:25, 57:12, 57:14,       160:2, 160:4              65:17, 66:2, 66:15,       45:9, 48:8, 48:22,       228:2, 291:18,
  58:3, 58:23, 110:23,        versions [1] - 110:12    66:22, 66:23, 66:24,      52:23, 52:24, 64:11,     292:20, 333:14
  110:24, 110:25,             versus [3] - 4:7,        67:8, 67:21, 68:3,        65:23, 66:1, 66:5,        voice [1] - 21:8
  111:1, 143:16              173:6, 177:5              70:18, 70:22, 71:6,       66:10, 66:19, 67:19,      volume [11] - 41:6,
   upset [1] - 274:25         vessels [1] - 309:6      71:11, 71:23, 72:8,       72:23, 73:1, 74:7,       42:11, 42:12, 42:15,
   upstate [1] - 323:2        vice [3] - 27:6, 27:9,   72:16, 75:15, 75:18,      74:14, 75:1, 75:8,       58:22, 75:21, 77:4,
   upward [2] - 75:15,       52:12                     75:24, 76:1, 76:5,        76:12, 76:16, 80:5,      77:18, 88:3, 312:19,
  75:16                       VICKIE [1] - 2:5         76:8, 76:14, 76:23,       81:23, 82:2, 83:6,       317:8
   usage [1] - 137:2          Victorian [1] -          77:1, 77:2, 77:3, 77:7,   83:11, 84:10, 85:20,      volunteer [1] -
   uses [4] - 99:12,         299:24                    80:10, 81:6, 82:9,        87:13, 87:14, 87:18,     301:18
  99:13, 319:14, 319:16       VIDEO [2] - 45:19,       83:24, 84:3, 84:18,       87:22, 89:22, 98:12,      voted [1] - 241:25
   usual [3] - 9:19,         310:7                     86:21, 115:9, 119:8,      115:18, 119:6, 122:4,     voting [2] - 290:4,
  275:23                      video [22] - 9:5,        125:7, 127:20,            127:19, 137:18,          290:8
   utilizing [1] - 336:15    11:11, 11:20, 21:25,      131:22, 132:15,           143:24, 204:8, 204:9,     VS [1] - 1:14
                             22:1, 23:7, 92:10,        134:22, 135:12,           204:12, 204:20,
                                                       137:10, 137:23,           205:2, 205:7, 205:12,               W
             V               241:4, 302:14, 303:5,
                                                       140:23, 141:1, 141:5,     205:17, 205:20,
                             310:2, 340:22, 341:3,
                             341:6, 341:9, 341:11,     141:11, 141:12,           206:1, 207:5, 207:8,
   vague [1] - 324:2                                   141:14, 141:19,           208:1, 208:23,            W.A [5] - 26:8, 26:12,
                             341:24, 343:16,
   value [3] - 32:10,                                  141:24, 142:2,            209:13, 209:25,          26:20, 26:24, 27:2
                             343:21, 343:22,
  84:12, 251:11                                        142:10, 142:11,           210:7, 210:8, 235:1,      wait [8] - 14:15, 16:7,
                             343:24
   vanilla [1] - 242:7                                 142:15, 142:19,           236:8, 244:4, 257:10,    59:9, 80:19, 200:8,
                              videos [1] - 302:7
   variables [1] - 62:11                               146:3, 146:10,            282:6, 282:12,           245:24, 268:24, 343:2
                              videotape [5] -
   variations [1] - 89:18                              147:15, 149:23,           288:21, 289:14,           waiters [1] - 236:3
                             342:3, 342:9, 342:12,
   varied [2] - 71:17,                                 151:12, 151:23,           290:20, 290:24,           waiting [3] - 11:21,
                             342:23, 342:24
  71:22                                                152:5, 152:13, 158:8,     291:12, 291:18,          14:10, 45:21
                              view [21] - 32:20,
   varieties [4] - 170:9,                              160:9, 160:10,            292:1, 293:23, 294:9,     waitresses [1] -
                             39:7, 44:25, 63:24,
  171:7, 186:20, 186:21                                168:23, 169:8, 169:9,     294:15, 294:23,          236:4
                             67:8, 68:2, 68:4,
   variety [2] - 171:1,      68:24, 73:1, 81:13,       169:18, 173:20,           295:1, 299:14,            walk [2] - 104:17,
  179:15                     87:20, 180:5, 180:7,      173:25, 174:10,           300:21, 301:8,           202:2
   various [4] - 136:16,     260:18, 273:19,           174:13, 174:20,           301:12, 301:15,           walking [1] - 105:24
  158:2, 174:18, 185:2       298:8, 306:1, 306:11,     181:8, 181:15,            301:24, 302:21,           wall [1] - 334:20
   vary [1] - 64:6           316:1, 322:22, 329:8      182:24, 183:18,           303:10, 305:17,           wants [2] - 10:14,
   vast [3] - 57:11, 97:7,                             184:12, 184:19,           305:19, 307:8, 308:2,    300:17
                              viewed [2] - 158:2,
  345:11                                               185:1, 185:21,            308:20, 309:9,            warehouse [1] -
                             158:13
   Vegas [6] - 238:5,                                  185:25, 187:2,            312:25, 313:12,          203:24
                              viewer [1] - 299:1
  239:13, 239:14,                                      187:22, 187:24,           313:19, 314:9,            warehouseman [1] -
                              viewing [2] - 48:22,
  249:22, 258:20                                       189:18, 194:4,            314:16, 315:13,          219:2
                             152:20
   vegetable [1] -                                     227:22, 227:23,           315:20, 315:23,           warmth [1] - 298:25
                              views [1] - 72:22
  234:10                                               232:16, 232:18,           316:8, 316:21,            Warner [1] - 231:8
                              virgin [1] - 236:16
   vehicles [1] - 219:16                               236:15, 236:22,           317:20, 317:22,           warning [1] - 189:23
                              virtue [1] - 146:2
                                                       242:9, 246:5, 250:25,     317:25, 318:5,            WAS [1] - 16:4
   velocity [3] - 42:16,      visit [2] - 171:1,
                                                       255:1, 255:23, 257:8,     318:25, 319:7,            Washington [1] -
  42:25, 58:10               239:21
                                                       261:17, 263:13,           319:14, 319:21,          224:24
   velvet [1] - 298:24        visited [8] - 30:21,
                                                       278:14, 282:19,           319:25, 320:15,           water [11] - 66:17,
   Vera [4] - 4:15, 5:22,    151:16, 171:4, 171:5,
                                                       287:1, 290:22,            322:5, 322:9, 322:13,    232:18, 232:19,
  339:6, 339:19              238:1, 239:19,
                                                       293:19, 294:5,            322:16, 322:22,          232:20, 232:22,
   VERA [13] - 2:11,         239:25, 240:5
                                                       294:22, 301:19,           324:17, 324:19,          232:24, 233:7,
  4:14, 5:21, 6:15, 8:1,      visits [1] - 55:21
                                                       303:7, 312:15,            326:2, 329:18, 332:7,    236:22, 249:17,
  9:8, 12:20, 13:4, 13:9,     visual [2] - 191:18,     314:20, 320:19,           338:3                    322:14
  13:25, 92:11, 200:12,      252:16                    322:24, 323:17,            Vodka's [3] - 294:20,    waters [1] - 66:17
  339:21                      vodka [158] - 32:3,      323:20, 324:16,           303:13, 323:24            wax [4] - 37:19,
   verbal [2] - 154:5,       32:4, 32:6, 32:17,        324:25, 334:6, 334:17      vodka's [1] - 232:17    88:11, 88:14, 88:15
  191:19                     33:14, 34:8, 35:12,        Vodka [143] - 28:4,       vodkas [24] - 40:6,      ways [8] - 61:5,
   verbatim [4] -            35:22, 35:23, 35:25,      31:2, 31:3, 31:10,        65:21, 70:8, 76:3,       61:13, 90:9, 109:7,
  155:11, 156:6,             36:5, 36:8, 36:14,        33:1, 33:21, 34:1,        76:19, 80:18, 84:12,
  156:11, 156:18             36:15, 36:16, 40:1,                                                          135:13, 168:13,
                                                       37:20, 38:2, 38:12,       101:11, 115:8,
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 390 of 391 Page ID
                                  #:16990                                43


  193:24, 322:8             181:20, 211:17,          wishes [5] - 6:11,        witnesses [15] -         227:9
   wealth [1] - 321:9       226:13, 298:11          79:16, 79:22, 144:14,     11:19, 11:21, 14:12,       WPA [1] - 221:22
   wearing [1] - 19:11       Wholesale [9] -        276:3                     35:22, 45:23, 46:21,       write [2] - 84:6,
   web [5] - 180:4,         201:19, 201:20,          WITH [1] - 347:16        47:13, 50:10, 50:17,      96:18
  180:14, 181:15,           201:22, 202:10,          withdraw [4] - 184:2,    170:1, 197:8, 199:15,      Writers [1] - 220:10
  183:6, 241:4              202:15, 203:2, 203:5,   318:15, 324:11,           200:2, 340:20, 344:12      writing [1] - 8:10
   Website [7] - 83:2,      203:16, 205:6           324:20                     witnesses' [1] -          written [13] - 8:7,
  240:18, 240:21,            wholesaler [5] -        withdrawn [3] -          23:16                     30:4, 30:5, 74:10,
  240:22, 242:16,           201:16, 209:1, 209:3,   57:22, 208:25, 209:13      Wolf [1] - 206:20        96:23, 106:21,
  242:17, 303:13            209:6, 209:8             witness [84] - 6:21,      WOLPERT [1] - 2:10       129:15, 129:16,
   websites [1] - 55:15      wholesalers [3] -      7:2, 10:1, 10:2, 10:20,    woman [6] - 216:7,       148:20, 154:2, 191:4,
   Wednesday [2] -          202:17, 236:2, 258:25   11:8, 11:10, 11:11,       223:12, 223:23,           192:6
  17:24, 18:3                wide [2] - 36:12,      11:17, 11:20, 11:22,      295:21, 296:20, 299:6      wrote [9] - 89:21,
   week [2] - 243:2,        84:12                   15:24, 23:1, 23:4,         woman's [1] - 309:17     96:2, 96:3, 113:21,
  277:11                     widely [2] - 129:11,   23:6, 23:7, 23:11,         women [1] - 244:13       114:11, 155:8,
   weekend [1] - 9:4        259:7                   23:14, 23:15, 23:18,       won [4] - 241:20,        177:13, 213:6, 219:11
   weeks [2] - 148:10,       widen [1] - 292:14     23:19, 23:22, 24:1,       241:21, 241:22,
  238:16                     wider [3] - 272:1,     45:15, 45:24, 47:11,      241:23                              X
   weight [3] - 46:8,       272:3, 272:5            47:15, 47:17, 47:24,       wonderful [3] -
  50:17, 128:7               widest [3] - 288:3,    49:21, 49:22, 50:5,       224:1, 224:11, 239:10
                            288:8, 288:10           50:12, 50:14, 53:15,                                 XO [1] - 225:19
   welcome [1] - 19:11                                                         wonders [1] - 9:13
   well-being [1] -          width [2] - 271:1,     59:9, 73:7, 78:23,         wood [1] - 319:14
  298:25                    312:21                  79:14, 86:9, 89:5,         wooden [1] - 264:22                Y
   well-informed [2] -       wife [4] - 203:3,      91:7, 91:17, 92:9,         word [20] - 7:7,
  65:2, 65:3                203:12, 248:12,         92:15, 92:18, 92:25,      54:16, 131:21,             year [13] - 28:2,
   well-known [17] -        248:18                  93:3, 123:22, 124:3,      131:22, 131:25,           29:13, 57:3, 61:11,
  101:22, 102:6, 102:8,      wild [6] - 154:24,     144:12, 151:4, 164:1,     132:1, 158:20,            61:17, 77:15, 87:24,
  102:17, 128:17,           155:2, 155:9, 155:12,   183:23, 196:22,           158:25, 163:11,           89:15, 222:20, 243:5,
  128:18, 129:18,           156:18, 157:11          197:2, 197:21,            186:12, 189:13,           243:14
  129:20, 129:21,            Willa [1] - 262:9      197:23, 198:12,           190:4, 210:25,             year-in [1] - 87:24
  130:1, 130:3, 130:4,       William [1] - 208:11   198:15, 200:15,           211:20, 219:4,             year-out [1] - 87:24
  130:10, 130:11,            willing [6] - 33:11,   200:20, 208:5, 214:5,     232:18, 263:2, 300:8,      years [48] - 26:1,
  130:15, 130:17,           64:25, 123:9, 197:6,    214:11, 214:17,           306:22, 308:10            26:8, 26:25, 27:5,
  130:25                    199:14, 199:18          252:5, 268:21,             words [4] - 50:12,       29:11, 37:15, 38:19,
   well-structured [1] -     Willow [1] - 332:17    275:25, 281:1,            104:1, 187:20, 262:12     39:18, 40:24, 52:6,
  191:23                     Wilson [8] - 189:25,   284:18, 285:5,             worker [1] - 245:25      52:7, 69:15, 71:1,
   WEST [1] - 2:8           291:9, 291:11, 292:8,   285:19, 338:13,            workers [1] - 219:11     80:11, 93:24, 94:9,
   WESTERN [1] - 1:4        292:19, 332:21,         338:14, 340:22,            Workers [1] - 220:2      97:3, 97:5, 107:11,
   western [1] - 224:24     332:22, 332:25          341:4, 341:9, 341:10,      works [6] - 9:8, 9:12,   125:5, 173:19, 179:9,
                             wilson [1] - 332:23    341:16, 341:23,           100:4, 128:24,
   whatsoever [2] -                                                                                     192:23, 202:24,
                             window [1] - 37:21     342:3, 343:1, 343:4       204:18, 230:19
  135:10, 305:21                                                                                        205:23, 216:9,
                             windows [1] -           WITNESS [34] - 3:3,       Works [1] - 219:14
   Whisky [2] - 25:16,                                                                                  218:19, 219:2, 223:4,
                            227:14                  24:4, 24:7, 59:11,
  26:23                                                                        World [3] - 230:6,       224:2, 239:18,
                                                    73:11, 73:13, 78:25,
   whisky [5] - 33:15,       wine [9] - 24:22,                                241:21, 322:1             239:19, 241:23,
                                                    79:24, 81:2, 87:7,
  63:15, 63:23, 207:22,     25:9, 25:13, 103:13,                               world [26] - 25:9,       244:12, 244:23,
                                                    91:15, 93:5, 93:8,
  328:1                     172:17, 172:25,                                   43:21, 43:23, 115:5,      245:17, 246:2, 247:2,
                                                    105:4, 124:4, 151:8,
   white [11] - 100:13,     201:16, 229:3, 242:3                              115:6, 159:22, 160:1,     253:13, 258:2,
                                                    175:21, 200:22,
  102:12, 112:19,            Wine [4] - 25:8,                                 160:3, 160:22, 169:7,     259:11, 275:14,
                                                    200:25, 214:19,
  160:20, 161:14,           230:7, 238:10, 303:9                              171:14, 178:25,           275:19, 282:24,
                                                    214:22, 268:23,
  236:21, 260:24,            Wines [1] - 185:24                               184:25, 230:11,           301:23, 305:20, 338:8
                                                    269:5, 269:16,
  291:23, 292:10,            wing [1] - 224:25                                231:25, 233:3, 235:6,      yesterday [2] - 5:13,
                                                    274:11, 281:2,
  333:16, 334:4              winning [1] - 241:13                             235:17, 236:5,            7:8
                                                    281:14, 285:21,
   White [2] - 236:13,       winter [1] - 282:18                              242:23, 295:14,            York [2] - 11:13,
                                                    287:16, 313:14,
  236:19                     Wirtz [2] - 259:20                               295:19, 296:25,           323:2
                                                    324:6, 324:8, 324:12,
   Whittier [4] - 201:14,    wish [8] - 13:23,                                304:2, 314:3, 323:1        YORK [2] - 2:9, 2:17
                                                    330:8
  201:15, 201:18,           197:14, 199:15,                                    Worldwide [1] -           you.. [1] - 252:8
                                                     witness' [3] - 11:23,
  201:21                    199:19, 268:19,                                   189:11                     young [1] - 216:7
                                                    14:21, 46:9
   whole [10] - 18:23,      268:22, 268:25,                                    worried [1] - 203:14      Young's [6] - 204:13,
                                                     witnessed [1] -
  26:17, 31:19, 149:19,     345:21                                             worry [1] - 20:22        204:16, 204:24,
                                                    38:21
  171:1, 173:24,             wished [1] - 200:5                                worrying [2] - 20:19,    204:25, 205:4, 205:5
Case 2:10-cv-02034-CBM-PLA Document 633 Filed 11/14/17 Page 391 of 391 Page ID
                                  #:16991                                44


   younger [1] - 222:7
   yourself [15] - 24:13,
  30:13, 66:19, 93:15,
  106:15, 139:20,
  160:24, 172:8,
  179:16, 201:8, 215:3,
  271:17, 280:8, 294:4,
  297:11
   yourselves [1] -
  345:16
   YouTube [2] - 302:7,
  303:5

             Z

   Zeigler [2] - 343:5,
  345:9
   Zeigler's [1] - 345:11
   Zenobia [1] - 4:10
   ZENOBIA [1] - 2:4
   zero [4] - 166:10,
  166:16, 166:18, 195:8
